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                    Exhibit C
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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


In re:                                                       Chapter 15

NEXTPOINT FINANCIAL INC. et al.,                             Case No. 23-10983 (TMH)

                Debtors in a foreign proceeding. 1           (Jointly Administered)


NOTICE OF (A) FILING OF CHAPTER 15 PETITIONS AND RELATED CHAPTER 15
   DOCUMENTS SEEKING RECOGNITION OF CANADIAN PROCEEDINGS AS
FOREIGN MAIN PROCEEDINGS OR IN THE ALTERNATIVE FOREIGN NON-MAIN
             PROCEEDINGS AND (B) RECOGNITION HEARING

        PLEASE TAKE NOTICE that on July 26, 2023 (the “Petition Date”), NextPoint
Financial Inc., as the duly authorized foreign representative (the “Foreign Representative”)
with respect to the foreign proceedings, Case No. 5-235288 (the “Canadian Proceedings”),
commenced by the above-captioned Debtors (collectively, the “Debtors”) in the Supreme Court
of British Columbia (the “Canadian Court”) for which an order was entered recognizing their
application on July 25, 2023, pursuant to the Companies’ Creditors Arrangement Act, R.S.C.
1985, c. C-36 (as amended, the “CCAA”), filed an Official Form 401 Petition for each of the
Debtors [D.I. 1] (collectively for each of the Debtors, the “Chapter 15 Petitions”) under chapter
15 of title 11 of the United States Code (the “Bankruptcy Code”) commencing these
proceedings ancillary to the Canadian Proceedings (collectively, the “Chapter 15 Cases”), and
the Verified Petition for (I) Recognition of Foreign Main Proceedings or, in the Alternative,
Foreign Non-main Proceedings, (II) Recognition of Foreign Representative, (III) Recognition of
Initial Order and Amended and Restated Initial Order, and (IV) Related Relief Under Chapter
15 of the Bankruptcy Code [D.I. 5] (the “Verified Petition”) and Motion of the Foreign
Representative for Chapter 15 Recognition and Final Relief [D.I. 13] (the “Recognition
Motion”) seeking recognition of the Canadian Proceedings as foreign main proceedings within
the meaning of chapter 15 of the Bankruptcy Code. A true and correct copy of the Chapter 15
Petitions, the Verified Petition, and the Recognition Motion (without duplication) are attached to
this Notice as Exhibit A, Exhibit B, and Exhibit C, respectively.
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          The Debtors in these chapter 15 proceedings, together with the last four digits of their business
identification numbers are: NextPoint Financial Inc. (6134); LT Holdco, LLC (8090); LT Intermediate Holdco, LLC
(0811); SiempreTax+ LLC (6145); JTH Tax LLC (8391); Liberty Tax Holding Corporation (N/A); Liberty Tax
Service, Inc. (N/A); JTH Financial, LLC (1522); JTH Properties 1632, LLC (0248); Liberty Credit Repair, LLC
(5427); Wefile, LLC (6778); JTH Tax Office Properties, LLC (0248); LTS Software LLC (6450), JTH Court Plaza,
LLC (2116); 360 Accounting Solutions LLC (8312); LTS Properties, LLC (9088); NPI Holdco LLC (1936); CTAX
Acquisition LLC (6975); Community Tax Puerto Rico LLC (4349); Community Tax LLC (8001); NPLM Holdco
LLC (8132); MMS Servicing LLC (7430); LoanMe, LLC (5663); LoanMe Funding, LLC (2305); LM Retention
Holdings, LLC (N/A); LoanMe Trust-Prime 2018-1 (0257); LoanMe Trust SBL 2019-1 (N/A); LoanMe Stores,
LLC (3810); InsightsLogic, LLC (0818); and LM 2020 CM I SPE, LLC (N/A). The location of the Debtors’
headquarters is 500 Grapevine Hwy, Suite 402, Hurst, TX 76054, and the Debtors’ mailing address is 1133 Melville
St., Suite 2700, Vancouver, BC V6E 4E5.



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         PLEASE TAKE FURTHER NOTICE that copies of the Chapter 15 Petitions and
related filings in the Chapter 15 Cases are also available (a) for a fee via PACER by visiting
http://ecf.deb.uscourts.gov/ (a PACER login and password are required to retrieve a document),
(b) on the public website maintained by the Debtors’ noticing agent, Stretto, Inc.,
[https://case.stretto.com/nextpoint], or (c) upon written request (including by e-mail) to counsel
to the Foreign Representative, DLA Piper (US) LLP, 1201 N. Market Street, Suite 2100
Wilmington, Delaware 19801 (Attn: R. Craig Martin, Esq. [craig.martin@us.dlapiper.com]), and
1251 Avenue of the Americas, New York, New York 10020 (Attn: Rachel Ehrlich Albanese, Esq.
[rachel.albanese@us.dlapiper.com]           and       Jamila        Justine      Willis,      Esq.
[jamila.willis@us.dlapiper.com]).

       PLEASE TAKE FURTHER NOTICE that on July 27, 2023, the Bankruptcy Court
entered the Order Granting Provisional Relief [D.I. 39] (the “Provisional Relief Order”),
granting provisional, injunctive, and related relief, including, but not limited to, granting
recognition of and giving effect in the United States to the Initial Order entered in the Canadian
Proceedings. True and correct copies of the Provisional Relief Order, and the corresponding
motion, are attached to this Notice as Exhibit D and Exhibit E, respectively.

       PLEASE TAKE FURTHER NOTICE that the Bankruptcy Court scheduled a hearing
for August 18, 2023 at 10:00 a.m. (prevailing Eastern time) before the Honorable Thomas M.
Horan (the “Recognition Hearing”) on the Chapter 15 Petitions to consider the recognition of
the Canadian Proceedings as foreign main proceedings and give full force and effect to orders
entered in the Canadian Proceedings and related relief in accordance with the relief requested in
the Recognition Motion.

        PLEASE TAKE FURTHER NOTICE that any party in interest wishing to submit a
response, answer, or objection to the Chapter 15 Petitions or Recognition Motion must do so
pursuant to the Bankruptcy Code, the Federal Rules of Bankruptcy Procedure, and the Local
Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the
District of Delaware, and such response, answer, or objection must (a) be in writing, (b) set forth
in detail the factual and legal bases therefor, (c) be filed with the United States Bankruptcy Court
for the District of Delaware, Office of the Clerk of the Court, 824 Market Street, Wilmington,
Delaware 19801, and (d) be served upon counsel for the Foreign Representative, DLA Piper
(US) LLP, 1201 N. Market Street, Suite 2100 Wilmington, Delaware 19801 (Attn: R. Craig
Martin, Esq. [craig.martin@us.dlapiper.com]), and 1251 Avenue of the Americas, New York,
New York 10020 (Attn: Rachel Ehrlich Albanese, Esq. [rachel.albanese@us.dlapiper.com] and
Jamila Justine Willis, Esq. [jamila.willis@us.dlapiper.com]), so as to actually be received no
later than August 11, 2023 at 4:00 p.m. (prevailing Eastern time).

      PLEASE TAKE FURTHER NOTICE that hearings in this matter, including the
Recognition Hearing, shall take place at the United States Bankruptcy Court for the District of
Delaware, 824 North Market Street, Wilmington, Delaware 19801.

       PLEASE TAKE FURTHER NOTICE that all parties in interest opposed to the
Chapter 15 Petition or the Foreign Representative’s request for relief in the Recognition Motion
must appear at the Recognition Hearing at the time and place set forth herein, which may be
adjourned from time to time without further notice except for an “in court” announcement at the

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Recognition Hearing or a filing on the docket of the Chapter 15 Cases of the date and time to
which the Recognition Hearing has been adjourned.

       PLEASE TAKE FURTHER NOTICE that at such hearing the Court may order the
scheduling of a case management conference to consider the efficient administration of these
chapter 15 cases.

       PLEASE TAKE FURTHER NOTICE that your rights may be affected. You should
read the Verified Petition carefully and discuss it with your attorney, if you have one in
connection with these chapter 15 cases. If you do not have an attorney, you may wish to
consult one.

       PLEASE TAKE FURTHER NOTICE that unless later ordered by the Bankruptcy
Court, any claims process for the Debtors will occur as part of the Canadian Proceedings and not
in connection with the Chapter 15 Cases.

     PLEASE TAKE FURTHER NOTICE THAT IF NO RESPONSES OR OBJECTIONS
ARE RECEIVED IN ACCORDANCE WITH THIS NOTICE, THE BANKRUPTCY COURT
MAY GRANT THE RELIEF REQUESTED BY THE FOREIGN REPRESENTATIVE
WITHOUT FURTHER NOTICE OR HEARING.




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Dated: July 28, 2023           Respectfully submitted,
       Wilmington, Delaware
                               DLA PIPER LLP (US)

                               /s/ R. Craig Martin
                               R. Craig Martin, Esq. (DE 5032)
                               1201 N. Market Street, Suite 2100
                               Wilmington, DE 19801
                               Telephone: (302) 468-5700
                               Facsimile: (302) 394-2462
                               Email: craig.martin@us.dlapiper.com

                               -and-

                               Rachel Ehrlich Albanese, Esq. (pro hac vice admitted)
                               Jamila Justine Willis, Esq. (pro hac vice admitted)
                               1251 Avenue of the Americas
                               New York, New York 10020
                               Telephone: (212) 335-4500
                               Facsimile: (212) 335-4501
                               Email: rachel.albanese@us.dlapiper.com
                                       jamila.willis@us.dlapiper.com

                               Counsel to the Foreign Representative




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                               EXHIBIT A TO NOTICE

                                 Chapter 15 Petitions




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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

 __________     District of __________
 District of Delaware

                         23-10983
 Case number (If known): _________________________ Chapter 15                                                                                  Check if this is an
                                                                                                                                                  amended filing



Official Form 401
Chapter 15 Petition for Recognition of a Foreign Proceeding                                                                                                12/15

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write debtor’s name and case number (if known).



1.   Debtor’s name
                                            NextPoint Financial Inc.
                                           _____________________________________________________________________________________________




2.   Debtor’s unique identifier            For non-individual debtors:

                                                       Federal Employer Identification Number (EIN)      ___ ___ – ___ ___ ___ ___ ___ ___ ___

                                                             723516134
                                                        Other ___________________________.                     Business Number
                                                                                           Describe identifier _____________________________.


                                           For individual debtors:

                                                       Social Security number:    xxx – xx– ____ ____ ____ ____

                                                       Individual Taxpayer Identification number (ITIN): 9 xx – xx – ____ ____ ____ ____

                                                       Other ___________________________. Describe identifier ______________________________.



3.   Name of foreign
     representative(s)                      NextPoint Financial Inc.
                                           ____________________________________________________________________________________________


4.   Foreign proceeding in which
     appointment of the foreign             Supreme Court of British Columbia
                                           ____________________________________________________________________________________________
     representative(s) occurred

5.   Nature of the foreign
                                           Check one:
     proceeding
                                                 Foreign main proceeding
                                                 Foreign nonmain proceeding
                                                 Foreign main proceeding, or in the alternative foreign nonmain proceeding


6.   Evidence of the foreign                     A certified copy, translated into English, of the decision commencing the foreign proceeding and
     proceeding                                   appointing the foreign representative is attached.

                                                 A certificate, translated into English, from the foreign court, affirming the existence of the foreign
                                                  proceeding and of the appointment of the foreign representative, is attached.

                                                 Other evidence of the existence of the foreign proceeding and of the appointment of the foreign
                                                  representative is described below, and relevant documentation, translated into English, is attached.
                                                  _______________________________________________________________________________________

                                                  _______________________________________________________________________________________


7.   Is this the only foreign                    No. (Attach a statement identifying each country in which a foreign proceeding by, regarding, or against the
     proceeding with respect to                   debtor is pending.)
     the debtor known to the
     foreign representative(s)?
                                                 Yes




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Debtor          NextPoint  Financial Inc.
                _______________________________________________________                                                  23-10983
                                                                                                  Case number (if known)_____________________________________
                Name



8.    Others entitled to notice          Attach a list containing the names and addresses of:
                                         (i)    all persons or bodies authorized to administer foreign proceedings of the debtor,
                                         (ii)   all parties to litigation pending in the United States in which the debtor is a party at the time of filing of this
                                                petition, and
                                         (iii) all entities against whom provisional relief is being sought under § 1519 of the Bankruptcy Code.


9.    Addresses                          Country where the debtor has the center of its                  Debtor’s registered office:
                                         main interests:


                                         Canada
                                         ______________________________________________                  1133 Melville St., Suite 2700
                                                                                                         ______________________________________________
                                                                                                         Number     Street

                                                                                                         _______________________________________________
                                                                                                         P.O. Box

                                                                                                         Vancouver BC V6E4E5
                                                                                                         _______________________________________________
                                                                                                         City         State/Province/Region ZIP/Postal Code


                                                                                                         Canada
                                                                                                         _______________________________________________
                                                                                                         Country




                                         Individual debtor’s habitual residence:                         Address of foreign representative(s):



                                         _______________________________________________                 1133 Melville St., Suite 2700
                                                                                                         _______________________________________________
                                         Number     Street                                               Number     Street

                                         _______________________________________________                 _______________________________________________
                                         P.O. Box                                                        P.O. Box

                                         _______________________________________________                 Vancouver BC V6E4E5
                                                                                                         _______________________________________________
                                         City         State/Province/Region ZIP/Postal Code              City         State/Province/Region ZIP/Postal Code


                                         _______________________________________________                 Canada
                                                                                                         _______________________________________________
                                         Country                                                         Country




10. Debtor’s website (URL)
                                          www.nextpointfinancial.com
                                         ____________________________________________________________________________________________________




11. Type of debtor                       Check one:

                                               Non-individual (check one):

                                                     Corporation. Attach a corporate ownership statement containing the information
                                                      described in Fed. R. Bankr. P. 7007.1.

                                                     Partnership

                                                     Other. Specify: ________________________________________________

                                               Individual




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Debtor      NextPoint  Financial Inc.
            _______________________________________________________                                              23-10983
                                                                                          Case number (if known)_____________________________________
               Name




12. Why is venue proper in this      Check one:
   district?                             Debtor’s principal place of business or principal assets in the United States are in this district.
                                         Debtor does not have a place of business or assets in the United States, but the following
                                          action or proceeding in a federal or state court is pending against the debtor in this district:
                                          ___________________________________________________________________________.

                                         If neither box is checked, venue is consistent with the interests of justice and the convenience
                                          of the parties, having regard to the relief sought by the foreign representative, because:
                                          ___________________________________________________________________________.



13. Signature of foreign
   representative(s)                 I request relief in accordance with chapter 15 of title 11, United States Code.

                                     I am the foreign representative of a debtor in a foreign proceeding, the debtor is eligible for the
                                     relief sought in this petition, and I am authorized to file this petition.

                                     I have examined the information in this petition and have a reasonable belief that the
                                     information is true and correct.

                                     I declare under penalty of perjury that the foregoing is true and correct,


                                      /s/ Peter Kravitz
                                         ________________________________________________           Peter Kravitz
                                                                                                    _______________________________________________
                                         Signature of foreign representative                        Printed name


                                     Executed on         07/26/2023
                                                         __________________
                                                          MM / DD / YYYY



                                        ________________________________________________           _______________________________________________
                                         Signature of foreign representative                        Printed name


                                     Executed on         __________________
                                                          MM / DD / YYYY




14. Signature of attorney
                                      /s/ R. Craig Martin
                                         _________________________________________________ Date                  07/26/2023
                                                                                                                _________________
                                         Signature of Attorney for foreign representative                       MM   / DD / YYYY


                                         R. Craig Martin
                                         _________________________________________________________________________________________________
                                         Printed name
                                         DLA Piper, LLP (US)
                                         _________________________________________________________________________________________________
                                         Firm name
                                         1201 North Market Street, Suite 2100
                                         _________________________________________________________________________________________________
                                         Number     Street
                                         Wilmington
                                         ____________________________________________________          DE          19801
                                                                                                       __________________________________________
                                         City                                                           State          ZIP Code


                                         (302)  468-5700
                                         ____________________________________                            craig.martin@us.dlapiper.com
                                                                                                        __________________________________________
                                         Contact phone                                                  Email address




                                          5032
                                         ______________________________________________________ DE
                                                                                                ____________
                                         Bar number                                             State




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                               RESOLUTIONS CONSENTED TO IN WRITING
                                      BY ALL DIRECTORS OF

                                       NEXTPOINT FINANCIAL INC.
                                            (the "Company")

                                             AS OF JULY 25, 2023

     We, the undersigned, being all the directors of the Company (the “Board”), hereby consent to and
     adopt in writing the following resolutions:

     BACKGROUND:


A.        The Company and certain of its direct and indirect subsidiaries (the “Subsidiaries”) intend to enter
          into a Restructuring Support Agreement (the “Restructuring Agreement”) with the Sponsors, the
          Credit Facility Agents and the Supporting Secured Lenders (as such terms are defined in the
          Restructuring Agreement) pursuant to which the Company will proceed with a corporate
          restructuring and related transactions (the “Transaction”).

B.        A draft of the Restructuring Agreement has been provided to the Board (the “Draft Restructuring
          Agreement”).

C.        The Board has considered presentations by the management and the financial and legal advisors
          of the Company regarding the liabilities and liquidity of the Company, the strategic alternatives
          available to the Company and the effect of the foregoing on the Company’s business.

D.        The Board has had the opportunity to consult with the management and the financial and legal
          advisors of the Company and fully consider each of the strategic alternatives available to the
          Company.

E.        The Board has determined it is in the best interests of the Company to seek protection pursuant to
          the Companies’ Creditors Arrangement Act (the “CCAA”) and recognition of the CCAA proceedings
          under Chapter 15 of title 11 of the U.S. Bankruptcy Code to, inter alia, implement the Transaction
          (the “Proceedings”).

F.        In connection with the Proceedings and pursuant to the terms of the Restructuring Agreement, the
          Company and the Subsidiaries are required to enter into certain additional agreements (together,
          the “Ancillary Restructuring Documents”).

G.        A term sheet for interim financing has been provided to the Board (the “DIP Financing Term
          Sheet”).

H.        The Board has determined it is in the best interests of the Company to borrow additional funds to
          effectuate the restructuring contemplated in the Draft Restructuring Agreement on substantially the
          terms and subject to the conditions described to the Board and set forth in the DIP Financing Term
          Sheet.

I.        A draft sales and investment solicitation process has been provided to the Board (the “SISP
          Proposal”).

J.        The Board has determined it is in the best interests of the Company to commence a marketing and
          sale process on substantially the same terms and subject to the conditions set forth in the SISP
          Proposal.

K.        Scott Terrell has acted as Interim Chief Executive Officer of the Company since May 31, 2023.
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L.    The Corporate Governance and Nominating Committee of the Board (the “Nominating
      Committee”) has recommended that Scott Terrell be appointed as the permanent Chief Executive
      Officer of the Company.

RESOLVED THAT:

1.    The Company is authorized and directed to enter into the Restructuring Agreement in substantially
      the same form as the Draft Restructuring Agreement, with such amendments, additions or deletions
      as may be approved by any one officer or director of the Company, with such approval to be
      evidenced by the execution of the Restructuring Agreement.

2.    The Company is authorized and directed to enter into, and to cause the applicable Subsidiaries to
      enter into the Ancillary Restructuring Documents, as may be approved by any officer or director of
      the Company, with the execution thereof to be the evidence of such approval.

3.    The Company and the Subsidiaries are authorized to file an application with the Supreme Court of
      British Columbia for protection pursuant to the CCAA (the “Application”).

4.    The Company and the Subsidiaries are authorized to seek recognition of applicable orders in the
      CCAA proceedings in ancillary insolvency proceedings under Chapter 15 of Title 11 of the U.S.
      Bankruptcy Code in the United States Bankruptcy Court for the District of Delaware.

5.    The Company is authorized to engage FTI Consulting Canada Inc. to assist in the Application and
      to act as Monitor in such Proceedings.

6.    The Company is authorized, empowered and directed to act as foreign representative in connection
      with the insolvency proceedings commenced under Chapter 15 of Title 11 of the U.S. Bankruptcy
      Code in the United States Bankruptcy Court for the District of Delaware.

7.    The Company is authorized and directed to engage and employ the law firm of DLA Piper (Canada)
      LLP and DLA Piper LLP (US) as restructuring counsel to represent and assist the Company in
      carrying out its duties under the Restructuring Agreement, the Ancillary Restructuring Documents,
      and the applicable insolvency laws of Canada and the United States of America, and to take any
      and all actions to advance the Company’s rights and obligations under the Restructuring
      Agreement and the applicable insolvency laws.

8.    The Company is authorized and directed to engage and employ the firm of Province, LLC to
      represent and assist Peter Kravitz as Chief Restructuring Officer and the Company in carrying out
      its duties under the Restructuring Agreement, the Ancillary Restructuring Documents, and the
      applicable insolvency laws of Canada and the United States of America, and to take any and all
      actions to advance the Company’s rights and obligations under the Restructuring Agreement and
      the applicable insolvency laws.

9.    The Company is authorized and directed to engage and employ the firm of Stretto, Inc. as noticing,
      claims and balloting agent and administrative advisor to represent and assist the Company in
      carrying out its duties under the Restructuring Agreement, the Ancillary Restructuring Documents,
      and the applicable insolvency laws of Canada and the United States of America, and to take any
      and all actions to advance the Company’s rights and obligations under the Restructuring
      Agreement and the applicable insolvency laws.

10.   The Company is authorized and directed to engage and employ the firm of Kekst CNC, Inc. as
      strategic communications consultant to represent and assist the Company in carrying out its duties
      under the Restructuring Agreement, the Ancillary Restructuring Documents, and the applicable
      insolvency laws of Canada and the United States of America, and to take any and all actions to
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      advance the Company’s rights and obligations under the Restructuring Agreement and the
      applicable insolvency laws.

11.   The Subsidiaries are hereby authorized to enter into or cause their subsidiaries to enter to, issue,
      execute, deliver and perform their respective obligations under the Restructuring Agreement and
      Ancillary Restructuring Documents, as applicable, substantially in the forms presented to the
      officers, directors and/or members of the applicable Subsidiaries, subject to such deletions,
      amendments or additions thereto as any officer or director may agree.

12.   The Company is hereby authorized to enter into a financing agreement on substantially the same
      terms and subject to the conditions set forth in the DIP Financing Term Sheet, with such
      amendments, additions or deletions as may be approved by any one officer or director of the
      Company, with such approval to be evidenced by the execution of such financing agreement.

13.   In accordance with the recommendation of the Nominating Committee, Scott Terrell is hereby
      appointed as Chief Executive Officer of the Company effective as of the date hereof, to serve at
      the discretion of the Board.

14.   Scott Terrell, in his capacity as Chief Executive Officer, and Peter Kravitz, in his capacity as Chief
      Restructuring Officer, acting alone or with one or more officers of the Company are authorized,
      empowered and directed to execute and file on behalf of the Company all petitions, schedules,
      lists, motions, papers or documents, and to take any and all action that they may deem necessary
      or proper to effectuate the restructuring contemplated by the Restructuring Agreement.

15.   Any officer or director of the Company be and is hereby authorized to execute all documents and
      do all other things as may be deemed necessary or desirable in connection with giving effect to
      these resolutions.

16.   Any acts taken prior to the effective date of this resolution by any director or officer in connection
      with the matters covered in these resolutions is hereby approved, ratified and confirmed.


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Execution Procedure

17.   These resolutions may be signed and delivered by electronic means, and may be signed in as
      many counterparts as may be necessary, each of which will be deemed to be an original, and
      together, will constitute one and the same instrument. Notwithstanding the date of execution, these
      resolutions will be deemed to bear the date set out above.




  ________________________________                     ________________________________
             24 Jul, 2023 3:17:52 PM EDT
  DON TURKLESON                                        MARYANN BRUCE



  ________________________________                     ________________________________
             24 Jul, 2023 3:55:32 PM EDT
  WILLIAM MINNER                                       LOGAN POWELL24 Jul, 2023 2:42:02 PM EDT




  ________________________________                     ________________________________
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  ALICIA MORGA                                         NIK AJAGU
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            Execution Procedure

            17.      These resolutions may be signed and delivered by electronic means, and may be signed in as
                     many counterparts as may be necessary, each of which will be deemed to be an original, and
                     together, will constitute one and the same instrument. Notwithstanding the date of execution, these
                     resolutions will be deemed to bear the date set out above.




                ________________________________                      ________________________________
                DON TURKLESON                                         MARYANN BRUCE



                ________________________________                      ________________________________
                WILLIAM MINNER                                        LOGAN POWELL



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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                        Chapter 15

    NEXTPOINT FINANCIAL INC., et al.,                             Case No. 23-[•] (•)

                   Debtors in a foreign proceeding.1              (Jointly Administered)


                          LIST PURSUANT TO RULE 1007(a)(4) OF THE
                        FEDERAL RULES OF BANKRUPTCY PROCEDURE

             NextPoint Financial Inc., in its capacity as the duly-appointed foreign representative (the

“Foreign Representative”) for the above-captioned debtors (collectively, the “Debtors”), which

are subject of the proceedings (the “Canadian Proceedings”) currently pending before the

Supreme Court of British Columbia (the “Canadian Court”), initiated pursuant to the Companies’

Creditors Arrangement Act, R.S.C. 1985, c. C-36 (as amended, the “CCAA”), respectfully

represents:

I.           Administrator in Foreign Proceedings Concerning the Debtors

             NextPoint Financial Inc. is the Court-appointed foreign representative (the “Foreign

Representative”) in the Canadian Proceedings.                    FTI Consulting Canada Inc. is the Court-

appointed monitor (the “Monitor”) in the Canadian Proceedings. The Foreign Representative




1
         The Debtors in these chapter 15 proceedings, together with the last four digits of their business identification
numbers are: NextPoint Financial Inc. (6134); LT Holdco, LLC (8090); LT Intermediate Holdco, LLC (0811);
SiempreTax+ LLC (6145); JTH Tax LLC (8391); Liberty Tax Holding Corporation (N/A); Liberty Tax Service Inc.
(N/A); JTH Financial, LLC (1522); JTH Properties 1632, LLC (0248); Liberty Credit Repair, LLC (5427); Wefile
LLC (6778); JTH Tax Office Properties, LLC (0248); LTS Software LLC (6450), JTH Court Plaza, LLC (2116); 360
Accounting Solutions LLC (8312); LTS Properties, LLC (9088); NPI Holdco LLC (1936); CTAX Acquisition LLC
(6975); Community Tax Puerto Rico LLC (4349); Community Tax LLC (8001); NPLM Holdco LLC (8132); MMS
Servicing LLC (7430); LoanMe, LLC (5663); LoanMe Funding, LLC (2305); LM Retention Holdings, LLC (N/A);
LoanMe Trust-Prime 2018-1 (0257); LoanMe Trust SBL 2019-1 (N/A); LoanMe Stores, LLC (3810); InsightsLogic,
LLC (0818); and LM 2020 CM I SPE, LLC (N/A). The location of the Debtors’ headquarters is 500 Grapevine Hwy,
Suite 402, Hurst, TX 76054, and the Debtors’ mailing address is 1133 Melville St., Suite 2700, Vancouver, BC V6E
4E5.


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believes that, other than the Canadian Proceedings, there are no foreign proceedings pending with

respect to the Debtors.

      The Foreign Representative’s mailing address is:

      NextPoint Financial Inc.
      1133 Melville Street, Suite 2700
      Vancouver, BC V6E 4E5

      The Monitor’s address is:

      FTI Consulting Canada Inc.
      TD Waterhouse Tower
      79 Wellington Street West
      Suite 2010, P.O. Box 104
      Toronto, Ontario M5K 1G8

II.       All Parties to Litigation Pending in the United States in which a Debtor is a Party at
          the Time of Filing of the Chapter 15 Petitions

             798 Tremont Holding, LLC
               798 Tremont Holding, LLC v. WeFile LLC d/b/a Liberty Tax Service, WeFile Inc.,
                 NY Tax Inc., and NextPoint Financial Inc., Case No. 815112/2022E (Supreme
                 Court of the State of New York, County of Bronx)

             Alexia Agnant and Demetress Corporation
               JTH Tax LLC d/b/a Liberty Tax Service v. Alexia Agnant and Demetress
                 Corporation, Case No. 1:22-cv-02385 (E.D.N.Y.)
             Attorney General in the State of California
               People v. JTH Tax, Inc., No. 07-460778 (Cal. Super. Ct.)

             Brandon Ali
               Brandon Ali v. LoanMe, LLC, Case No. 23NWCV00277 (Los Angeles County
                 Superior Court)

             Brent Turner
               Brent Turner v. NextPoint Financial Inc. and JTH Tax LLC d/b/a Liberty Tax
                 Service, Case No. CC-23-03216-B (County Court for the County of Dallas, Texas)

             Caleb LH Marker, Hart L. Robinovitch, Arielle Canepa, Flinn Milligan and Hrag
              Alexanian
               Caleb LH Marker, Hart L. Robinovitch, Arielle Canepa, Flinn Milligan, Hrag
                 Alexanian v LoanMe, LLC (p.k.a. LoanMe Inc.), Case No. 1220072796 (JAMS
                 Consumer Arbitration)

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            Carolyn Karrh
              Carolyn Karrh served a demand letter asserting negligence against a franchisee.

            Channell White
              Channell White v. Liberty Tax, Case No. MJ-32247-cv-0000038-2023 (Magisterial
                District Court in Delaware County, PA (small claims court))

            CMB Tax Service, LLC, Jeffrey Serbus, and Cindy Serbus
              JTH Tax LLC d/b/a Liberty Tax Service f/k/a JTH Tax, Inc. v. CMB Tax Service,
               LLC, Jeffrey Serbus, and Cindy Serbus, Case No. 4:21-cv-00022-M (E.D.N.C.)

            Denise Crumwell
              Denise Crumwell, individually and on behalf of all other persons similarly situated
                v. JTH Tax LLC, Case No. 1:23-cv-1755 (S.D.N.Y.)

            Department of Justice (Eastern District of Virginia)
              Department of Justice v Franchise Group Intermediate L 1, LLC, d/b/a Liberty
                Tax Service, Case No 2:19-cv-653 (District Court for the Eastern District of
                Virginia Norfolk Division)

            District of Columbia
              District of Columbia v. JTH Tax LLC f/k/a JTH Tax Inc. d/b/a Liberty Tax Service,
                Case No. 2022 CA 4285 B (Superior Court, District of Columbia)
            First Bank
              First Bank v. JTH Tax LLC d/b/a Liberty Tax Service, Case No. 1:22-cv-7303
                 (E.D.N.Y.)
            Gorilla Tax Services, Inc.; Sarkauskas Empire, Inc.; Sarkauskas Enterprises, LLC
              Gorilla Tax Services, Inc., Sarkauskas Empire, Inc., and Sarkauskas Enterprises,
                LLC v. JTH Tax LLC, Case No. 01-21-0017-9382 (E.D. Va.)
            Gulf Coast Marketing Group Inc.
              Gulf Coast Marketing Group Inc. v. JTH Tax LLC f/k/a JTH Tax Inc. d/b/a Liberty
                Tax Service and SiempreTax LLC, Case No. 2:21-cv-78 (E.D. Va.)
            Leopoldo Duran Abreu
              Leopoldo Duran Abreu v. ADBSM Holding Group LLC, Demetress Corporation,
                Rocket Tax Inc., and JTH Tax Inc., Case No. 508375/2023 (Kings County Supreme
                Court, New York)

            Lorenzo Dillard, Shannon Dillard, and Signature Taxx, Inc.
              JTH Tax LLC d/b/a Liberty Tax Service f/k/a JTH Tax, Inc. v. Lorenzo Dillard,
                Shannon Dillard, and Signature Taxx, Inc., Case No. 1:22-cv-01677 (D. Md.)



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            Michel Jacobs
              Michael Jacobs and Meridian Power Group Inc. v. Community Tax, Case No. 01-
                22-004-0052 (American Arbitration Association)

            Mufeed Haddad, Michael Budka, Mary Johnson, Mark Johnson, and M&M Business
             Group, LP
              Mufeed Haddad, Michael Budka, Mary Johnson, Mark Johnson, and M&M
                Business Group, LP v. JTH Tax LLC, Case No. CL21000441-00 (Circuit Court for
                the City of Virginia Beach, Virginia

            Randy Cabrera
              Cabrera v. LoanMe, LLC et. al., Case No. 5:22-cv-01368-JGB-SHK (United States
                District Court, California Central District (Eastern Division – Riverside))

            Renee Labrado
              Renee Labrado v. JTH Tax Inc., Case No. BC715076 (Superior Court of California,
                County of Los Angeles)

            Road King Development, Inc. and ZeeDee, LLC
              Road King Development, Inc. and ZeeDee, LLC v. JTH Tax LLC d/b/a Liberty Tax
                Service, Case No. 2:21-cv-00055-RAJ-LRL (E.D. Va.)

            Sheila and Dennis Smith
              Sheila and Dennis Smith v. Community Tax, Case No. 1-22-0003-2263 (American
                Arbitration Association)

            Shirleghta Givan
              Shirleghta Givan v. LoanMe, LLC (p.k.a. LoanMe Inc.), Case No. 2023-01314865
                (Orange County Superior Court)

            Sismas Group and Polymorphic, Inc.
              Sismas Group and Polymorphic, Inc. v. LoanMe, Inc., LoanMe, LLC, JTH Tax LLC
                d/b/a Liberty Tax, Case No.: 23 GDCV 00953 (Los Angeles County Superior Court,
                California)

            Stephen A. Gilbert and G-QTS Inc.
              JTH Tax LLC d/b/a Liberty Tax Service v. Stephen A. Gilbert and G-QTS Inc., Case
                No. 8:22-cv-00625 (M.D. Fla.)

            Tuan Vo
              Tuan Vo v. LoanMe, LLC (p.k.a. LoanMe Inc.), Case No. 8:17cv72 (United States
                District Court for the Central District of California)

III.    Entities Against Whom Provisional Relief is Sought Pursuant to 11 U.S.C. § 1519

        See attached Schedule 1.

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IV.       Corporate Ownership Statement Pursuant to Rules 1007(a) and 7007 of the Federal
          Rules of Bankruptcy Procedure

          Pursuant to Rules 1007(a) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the

Foreign Representative submits the following list of entities that hold ownership interests in the

Debtors:

          A.      NextPoint Financial Inc.

          NextPoint Financial Inc. is a publicly held company and its shares are traded on the Toronto

Stock Exchange (the “TSX”) under the ticker “NPF” and the OTCQB Exchange in the United

States under the ticker “NACQF”. The following entities own of 5% or more of NextPoint

Financial Inc.’s ownership interests:

         Tracy Neuberger 2020 Family Trust (Sponsor PVS) – 7.62%
         NextPoint Advisors, LLC (Barry Rosenstein) (Sponsor PVS) – 7.62%
         Bliksum (LoanMe) – 11.66%
         Intermediate L – 16.30%
         Cannell Capital – 5.34%
         Omega Capital Partners, LP – 5.34%
         B. Riley Financial – 5.34%

          B.      LT Holdco, LLC

          NPI Holdco LLC owns 100% of the ownership interests of LT Holdco, LLC.

          C.      LT Intermediate Holdco, LLC

          LT Holdco, LLC owns 100% of the ownership interests of LT Intermediate Holdco, LLC.

          D.      SiempreTax+ LLC

          LT Intermediate Holdco, LLC owns 100% of the ownership interests of SiempreTax+ LLC.

          E.      JTH Tax LLC

          LT Intermediate Holdco, LLC owns 100% of the ownership interests of JTH Tax LLC.

          F.      Liberty Tax Holding Corporation

          JTH Tax LLC owns 100% of the ownership interests of Liberty Tax Holding Corporation.


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        G.       Liberty Tax Service, Inc.

        JTH Tax LLC owns 60% of the ownership interests of Liberty Tax Service, Inc., and

Liberty Tax Holding Corporation owns 40% of the ownership interests of Liberty Tax Service,

Inc.

        H.       JTH Financial, LLC

        JTH Tax LLC owns 100% of the ownership interests of JTH Financial, LLC.

        I.       JTH Properties 1632, LLC

        JTH Financial, LLC owns 100% of the ownership interests of JTH Properties 1632, LLC.

        J.       Liberty Credit Repair, LLC

        JTH Tax LLC owns 100% of the ownership interests of Liberty Credit Repair, LLC.

        K.       Wefile, LLC

        JTH Tax LLC owns 100% of the ownership interests of Wefile, LLC.

        L.       JTH Tax Office Properties, LLC

        JTH Tax LLC owns 100% of the ownership interests of JTH Tax Office Properties, LLC.

        M.       LTS Software LLC

        JTH Tax LLC owns 100% of the ownership interests of LTS Software LLC.

        N.       JTH Court Plaza, LLC

        JTH Tax LLC owns 100% of the ownership interests of JTH Court Plaza, LLC.

        O.       360 Accounting Solutions LLC

        JTH Tax LLC owns 100% of the ownership interests of 360 Accounting Solutions LLC.

        P.       LTS Properties, LLC

        JTH Tax LLC owns 100% of the ownership interests of LTS Properties, LLC.

        Q.       NPI Holdco LLC

        NextPoint Financial Inc. owns 100% of the ownership interests of NPI Holdco LLC.

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        R.       CTAX Acquisition LLC

        NPI Holdco LLC owns 100% of the ownership interests of CTAX Acquisition LLC.

        S.       Community Tax Puerto Rico LLC

        CTAX Acquisition LLC owns 100% of the ownership interests of Community Tax Puerto

Rico LLC.

        T.       Community Tax LLC

        CTAX Acquisition LLC owns 100% of the ownership interests of Community Tax LLC.

        U.       NPLM Holdco LLC

        NPI Holdco LLC owns 100% of the ownership interests of NPLM Holdco LLC.

        V.       MMS Servicing LLC

        NPLM Holdco LLC owns 100% of the ownership interests of MMS Servicing LLC.

        W.       LoanMe, LLC

        NPLM Holdco LLC owns 100% of the ownership interests of LoanMe, LLC.

        X.       LoanMe Funding, LLC

        LoanMe, LLC owns 100% of the ownership interests of LoanMe Funding, LLC.

        Y.       LM Retention Holdings, LLC

        LoanMe, LLC owns 100% of the ownership interests of LM Retention Holdings, LLC.

        Z.       LoanMe Trust Prime 2018-1

        LM Retention Holdings, LLC owns 100% of the ownership interests of LoanMe Trust

Prime 2018-1.

        AA.      LoanMe Trust SBL 2019-1

        LM Retention Holdings, LLC owns 100% of the ownership interests of LoanMe Trust SBL

2019-1.



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        BB.      LoanMe Stores, LLC

        LoanMe, LLC owns 100% of the ownership interests of LoanMe Stores, LLC.

        CC.      InsightsLogic, LLC

        LoanMe, LLC owns 100% of the ownership interests of InsightsLogic, LLC.

        DD.      LM 2020 CM I SPE, LLC

        LoanMe, LLC owns 100% of the ownership interests of LM 2020 CM I SPE, LLC




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                      DECLARATION UNDER PENALTY OF PERJURY

        I, Peter Kravitz, am the Chief Restructuring Officer and an authorized signatory of the

foreign representative, NextPoint Financial Inc., in these chapter 15 cases. In such capacity, I am

familiar with the operations and financial affairs of the Debtors. I declare under penalty of perjury

under the laws of the United States of America that any information provided in the foregoing

“List Pursuant to Rule 1007(a)(4) of the Federal Rules of Bankruptcy Procedure” is true and

correct to the best of my knowledge, information and belief, with reliance on appropriate corporate

officers.

 Dated: July 26, 2023



                                                     /s/ Peter Kravitz
                                                     Peter Kravitz
                                                     Chief Restructuring Officer of NextPoint
                                                     Financial Inc.




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                                             Schedule 1

          Entities Against Whom Provisional Relief is Sought Pursuant to 11 U.S.C. § 1519

Secured Lenders / UCC Parties

                                                 Director of Employment Security of State of
AVTECH CAPITAL, LLC.                             Illinois
BASEPOINT ADMINISTRATIVE, LLC                    DRAKE ENTERPRISES LTD.
BP COMMERCIAL FUNDING TRUST II,
SERIES SPL-I                                     FRONTIER CAPITAL GROUP, LTD.
BP COMMERCIAL FUNDING TRUST, SERIES
SPL-X                                            KAYNE SOLUTIONS FUND, L.P.
BP SLL TRUST, SERIES SPL-III, A
STATUTORY SERIES OF BP SLL TRUST A
DELAWARE STATUTORY TRUST                         LM 2014 BP III SPE, LLC
C T CORPORATION SYSTEM                           LM 2014 BP SPE, LLC
CANON FINANCIAL SERVICES, INC.                   LM 2014 HC SPE, LLC
CAPITAL COMMUNITY BANK - SANDY
BEACH                                            LM 2019 IHA I SPE, LLC
CHILMARK ADMINISTRATIVE LLC                      LOANME GRANTOR TRUST SBL 2019-1
CIBC BANK USA                                    OAK HARBOR CAPITAL, LLC
CRA FUNDING 1, LLC                               TMI TRUST COMPANY


Litigation Parties

798 Tremont                                      Leopoldo Duran Abreu

Alexia Agnant and Demetress Corporation          Lorenzo Dillard, Shannon Dillard, and Signature
                                                 Taxx, Inc
Brandon Ali                                      Michel Jacobs
Brent Turner                                     Mufeed Haddad, Michael Budka, Mary Johnson,
                                                 Mark Johnson, and M&M Business Group, LP
Caleb LH Marker, Hart L. Robinovitch, Arielle    Randy Cabrera
Canepa, Flinn Milligan and Hrag Alexanian
Carolyn Karrh                                    Renee Labrado
Channell White                                   Road King Development, Inc. and ZeeDee, LLC
CMB Tax Service, LLC, Jeffrey Serbus, and        Sheila Smith and Dennis Smith
Cindy Serbus
Denise Crumwell                                  Shirleghta Givan
First Bank                                       Sismas Group and Polymorphic, Inc
Gorilla Tax Services, Inc.; Sarkauskas Empire,   Stephen A. Gilbert and G-QTS Inc.
Inc.; Sarkauskas Enterprises, LLC
Gulf Coast Marketing Group Inc.                  Tuan Vo




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Former Employees

Former Employee 1
Former Employee 2
Former Employee 3


Shareholders

ACADIA WOODS PARTNERS, LLC                JOHN ALBARRAN
ACKER FAMILY 2012 GIFT TRUST              JOHNNY VO
ADAM BLANK                                JONATHAN WILLIAMS
ADAM DAYAN LIVING TRUST                   JORDAN SNOW
ALAN ELEY                                 JOSH ROBISON
AMERICAN ENDOWMENT FOUNDATION             JULIET DIIORIO
FBO ROBERT AND THEA MITZMAN
CHARITABLE FUND
ANDRE VALENZUELA                          KRISTOF TSANG
ANDREW B. NEUBERGER EXEMPT FAMILY         LARRY CORRIDON
TRUST U/A/D 1/17/2020
ANDREW STRICKLER                          LEON G. COOPERMAN
ARELY ANTUNEZ                             MARIA SOTO
B. RILEY SECURITIES, INC.                 MARKOS BANOS
BEN MEDINA                                MATT CHAVEZ
BILL MURPHY                               MICHAEL S. COOPERMAN WRA TRUST
BIRCHWOOD GROUP, LLC                      MICHAEL S. PIPER
BRADLEY JACOB DAYAN LIVING TRUST          MIKE CHIANG
BRIAN A. BENJAMIN                         MIKE HOEFKE
BRIAN ASHCRAFT                            MOTUS ADVISORS, INC
BRIAN BAUM                                MR TECH STUFF INC
BRIAN KAHN                                NEXTPOINT INVESTORS LLC
BRIAN MCDONALD                            NICHOLAS CARRERA
CDS & CO                                  OCO OPPORTUNITIES MASTER FUND, L.P.
CEDE & CO                                 OMEGA CAPITAL PARTNERS, LP
CORY MICHAEL HUGHES                       PASHA MISSAGHI
DANIEL URBAN                              PATRICK CLAIR
DAVE JOHNSON                              PAUL GLUCK
DEREK KNORR                               PAUL ROSARIO
DEUTSCH FAMILY INVESTMENT                 PETER WORONIECKI
PARTNERSHIP
DRAKE ENTERPRISES, LTD.                   PHILIP C. DRAKE
ERIC ADONA                                SARAH NIESCHALK
ERNIE DECOSTA                             SCOTT TERRELL
FCG FINANCE GROUP                         STEPHANY CRUZ
FRANCHISE GROUP INTERMEDIATE L, LLC       SUSAN SPAR
FRANK AMATO                               TBMC LLC
GEORGE COLEMAN                            TED DEMARINO
GEORGE W. COLEMAN                         THE BASEPOINT FOUNDATION
GFIVE INDUSTRIES LLC                      THERESA SPEIGHTS


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IHA, LLC                                  TIM MAGERLE
JAAR LLC                                  TOBY F. COOPERMAN
JAAR LLC                                  TRACEY NEUBERGER 2020 FAMILY TRUST
                                          U/A/D 1/17/2020
JAMES M PACI TTEE PACI FAMILY             TRACEY NEUBERGER 2020 FAMILY TRUST
IRREVOCABLE TRUST DATED 7/13/2018         U/A/D 11/17/20
JASON PORT                                TURNER MOMENTUM INVESTMENTS, LLC
JEFF STEWART                              USMAN HUSSEIN
JEFFREY D. STEPHENSON                     VELOCITY EQUITY LP
JESSIE SEAMAN                             WENDY LANE
JOHN A. LEDERER                           ZHONG-XI YUAN




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Franchisees and Area Developers
1040 LLC                        HAMPTON VENTURES      NKB ENTRERPRISES LLC
                                INC.
2 GIRLS AND A GUY TAX &         HANESHINDER CHAUHAN   NOE MARTINEZ JR AND
BOOKKEEPING LLC                                       ISELA CAMACHO
                                                      MARTINEZ
3G TAX CORP                HANK REARDEN LLC           NORCAL LTS INC
4 REAL PARTNERS            HARDCASTLE ADVISORS        NOR-CAL TAX PREP INC
                           LLC
5 STAGES BUSINESS          HARPER WHITE               NORTH DALLAS WIRELESS
SERVICES LLC               INVESTMENTS LLC            LLC
81012XX18 LLC              HARRISBURG AREA            NORTH OC FINANCIAL
                           DEVELOPER LLC              SERVICES INC
919 INVESTMENTS LLC        HARTMAN TAX SERVICE        NORTH SHORE TAX INC.
                           INC.
A & E TAX SERVICE LLC      HEATH FINANCIAL            NORTHWEST TAX SERVICES
                           ENTERPRISES INC.           LLC
A & V TAXES                HEATHER D. SHIRLEY         NOSHINA KHALID
WESTCHESTER INC.
A FELDMANN TAX SERVICE     HEMIZAME LLC               NYM BOOKKEEPING & TAX
LLC                                                   PREP LLC
A NEW ENDEAVOR LLC         HESHAM MOHD                O2 VENTURES LLC
A PLUS TAX SERVICE LLC     HUGO STRIEDINGER           OAKSHAW LLC
A TEAM TAX AND             HUMPHREYS TAX              OBED MUTANYA
FINANCIAL SVCS INC.        SERVICE INC
A&F TAXES INC.             HYGUENS BARJON             OPS SUPPORT
A5 INC.                    I BUSINESS CENTER LLC      ORANGE ROSE LLC
AALA ENTERPRISE LLC        IAM TAX SERVICE LLC        ORION INC.
AAR 5 STARS TAX PREP       IBRIDGE BUSINESS           OSCAR VENTURA & MIRIAM
SERVICES LLC               SERVICES LLC               SANCHEZ
AARON KIOUS                ILLINOIS TAX GROUP INC.    P&C FINANCIAL SERVICES
                                                      LLC
AARON SAVAGE               IMRAN ADAM                 P419 LLC
ABDELRAZAK KASSIM          INEXODUS LLC               PACIFIC TAX SERVICES INC
ABDOU SAMB                 INHANDS TAX AND            PALMER BOOKS AND TAX
                           CONSULTING DBA LTS         LLC
                           7721
ABM TAX GROUP LLC          ISABEL GOMEZ               PAMELA D. RUSSELL
ABRAHAM MARTINEZ           ISABEL VILLAGOMEZ          PATHIBHARA FINANCIAL
                                                      SERVICE INC.
ABWALLER LLC               ISMA LLC                   PATRICIA MARTINEZ &
                                                      PETER GALDA
ACAI SERVIES INC           ISMAT ALMOUHTASEB          PATRICIA MEADOWS
ACCOUNT.IT LLC             ISRAEL LOPEZ               PATRICK BAIRD
ACE ADVANCED SERVICES      ITAX SOLUTIONS INC.        PATRICK C. PEREZ
LLC
ACE TAX SERVICE LLC        ITAXES INC.                PATRICK DAUGHERTY
ADAMANDA INC.              J&D B'HATZLACHA LLC        PATRIOT FINANCIAL
                                                      SERVICES LLC
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ADE L LEWIS               J&N TAX LLC             PAUL C. COX AND
                                                  ASSOCIATES LLC
ADELA QUIROZ-PEREZ        J&S TAX ACCOUNTING      PAULINUS I. AKOSA
                          AND INSURANCE
                          SERVICES LLC
ADRIANA MOSQUEDA          J&S TAX SOLUTIONS LLC   PEKAJO SERVICES INC.
ADT TAX AND               J. HARRINGTON           PEOPLE'S TAX AND
ACCOUNTING INC            SERVICES LLC            ACCOUNTING INC
AFFORDABLE TAXES INC      J. RAYMOND FLETCHER     PEP TAX PREPARATION INC
                          AND MICHAEL J. PESTA
AGUILAR AGUILAR           JAB LLC                 PERFECT CIRCLE
AGUILAR-ATENCIO &                                 INCORPORATED
ATENCIO
AGUSTIN LOPEZ             JACK LOCKSPEISER        PETERSON TAX SERVICE
                                                  LLC
AHL ACCOUNTED IV LLC      JACK MCDONNELL          PFIZENMAYER AND
                                                  ASSOCIATES LLC
AKBS LLC                  JACOB EHRENPREIS        PHILIP A LYNCH & ROCK W.
                                                  ARCHACKI
ALAMO TAX SERVICES LLC    JAIN INC.               PHILIP JEANFREAU
ALAN J. LORANDEAU JR      JAM TAX FRANCHISE INC   PHILIP KEMPISTY
ALAN S. TO                JAMAAL COLEMAN          PHILLIP TEXIDOR
ALBERTO TAPIA             JAMES COLEY             PINEYWOODS INVESTORS
                                                  LLC
ALDEMARO MEYNARD &        JAMES HEDGES            PIONEER VALLEY
ERI MEYNARD                                       ENTERPRISES INC.
ALEJANDRINA JIMENEZ       JAMES OKEIGWE           PLATINUM TAX LTD.
ALEJANDRO AND JOSE        JAMES R. GRANT          PLUTO RISING INC.
LUCIO
ALEXANDRA AND             JANA GOOD               POVO CORPORATION
LEONARD GRANT
ALISON HOLLAND            JANE SNEED              POWERHOUSE TAX
                                                  SOLUTIONS LLC
ALIYA AKHTAR              JARRETT GOLD            PRECISE TAXES INC
ALL THAT IS CERTAIN LLC   JASON ANDERSON          PRICKETT ENTERPRISES
                                                  INC.
ALLEN TEPLITZ             JASON KASSAB            PRINCESS CLARK-WENDEL
ALOHA TAX CORP.           JAVED RASHEED           PRIORITY BOOKKEEPING
                                                  SERVICES LLC
ALTON COROTAN             JAVIER CARRENO          PRISTINETAX INC.
ALYSIA L. KRAMER          JAVIER SOLIS            PRP INC
AMANDA & TAVARUS          JAVIER TORRES           PSP SERVICES LLC
YOUNG
AMBAR DOMINGUEZ           JAX FINANCIAL AND       PTS OF THE RGV LLC
                          ACCOUNTING SERVICES
                          LLC
AMBER N TEJADA            JDBW ENTERPRISES INC    PUJA BHATTA
AMEERAH S. ADEJOLA        JDBW LLC                QBJ TAX PREPARATION
                                                  SERVICES LLC
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AMERICA ENTERPRISE INC    JEANNE JOHNSTON         QUALITY TAX SERVICE ONE
                                                  LLC
AMERICAN TAX LLC          JEFFREY A. MUSALL       QUEST TAX SERVICES LLC
AMERICAN TAX SERVICES     JENNIFER BERGER         QUIVER & ARROW LLC
INC.
AMJAD GHAFOOR             JENNIFER CHENG          R P S TAX SERVICE LLC
ANA CHACON                JEREMY FAJARDO          R&K EVANS LLC
ANABEL CAMPUSANO          JEROME HERT             R&R PARTNERSHIP LLP
ANANDPUR BUSINESS         JERRY CHIN              R4 SOLUTIONS LLC
SOLUTIONS INC.
ANDREA M. RUSSELL         JESSE & ANGELINA        RABINDRA KARKI
                          SMITH
ANDREA YOUNG BOOTHE       JESSICA RESTREPO        RAJU BANDUKWALA
                          MOSQUERA
ANDREW R. SMITH           JFJJ INCOME TAX         RAMI AKL
                          SERVICE LLC
ANDREW SMOLEN             JICARA COLLINS          RAMI MARJI
ANDREY ZAHARIEV           JIGAR & KRISHNA         RANDALL VAYON
                          BANKER
ANGELA BYRD               JIGISH LLC              RANDALL WHITE
ANGELA COLEMAN            JINESH TALSANIA         RAQUEL R. SCHRICK
ANGELA PENN               JJJR&R1 INC.            RAVELLE WOMBLE
ANGIE AMADOR              JJMG MANAGEMENT LLC     RAYMOND DESENA
ANGIE FINLEY              JL ENTERPRISES          RAYMOND GONZALES
                          INCORPORATED
ANJ INVESTMENTS INC       JM LEGACY               RD BOOKKEEPING
                          INVESTMENTS LLC         SOLUTIONS LLC
ANNE WURST                JML TAX LLC             RE TAX LLC
ANNETTE FLORES            JODHPUR INC.            REA MARTINEZ-MALO
ANTHONY PERRI             JODY BILLS AND ABBY     REA T MARTINEZ & MARIO
                          BILLS                   URGILES C INC
APRIL SCANLAN             JOE FERRILL & ANNIE     RED LOCK LLC
                          FOSS
ARACELI SANCHEZ           JOELLE DAMAS            RED WOLF FINANCIAL LLC
ARIA TAX LLC              JOHANNA TORRES          REDDING & JONES LLC
                          ANGULO
ARIANA MURRELL            JOHN B BAREIS AND       REDMOND AND
                          CARRIE S. BAREIS        ASSOCIATES LLC
ARIDYL FINANCIAL          JOHN BURTON             REENIS HOLDINGS LLC
SERVICES LLC
ARIZONA TAX ASSOCIATES    JOHN CECIL              REGAL VENTURES LLC
LLC
ARTHUR L. HALL            JOHN GUSTAFSON          RELIABLE TAX SERVICE
                                                  LLC
ASHISH POKHAREL           JOHN MCHALE             RENEE ENTERPRISES LLC
ASHLEIGH D. WINDLE        JOHN NGUYEN             RENEE MANCUSO
AUDREY L. MCINTYRE        JOHN NOISETTE           RENSHAW ENTERPRISE LLC
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AV TAXES AND              JOHN PEREA              REY AND JACKIE
ACCOUNTING SERVICES                               FULGENCIO
INC
AYRON SOLUTIONS LLC       JOHN PINO               RGV TAXPERTS LLC
AZUSA CANYON              JOHN SABIN              RHINES BROTHERS LLC.
ENTERPRISES LLC
B ANNIE RAM ENTERPRISES   JOHN W. GIBSON          RHINES FINANCIAL LLC
INC
B&B BUSINESS GROUP LLC    JOHN W. REGAN           RHINES FINANCIAL LLC
B&B TAX                   JOHNNY BILAVARN         RHINO EAGLE VENTURE
                                                  INC
BAILEY BEAR LLC           JOHNNY XIONG            RHINO TAX LLC
BALWINDER KAUR            JOLANDA HAMILTON        RICHARD AGUILAR AND
                                                  JAVIER LERMA
BARBARA O. JONES          JORDAN DAVIS            RICHARD CHEONG
BARTO VENTURES II LLC     JOSE ROSILLO            RICHARD HANVIRIYAPUNT
BASIL PAPOUTSIS           JOSE’ ARREOLA           RICHARD J. DAVIDSON
                          GUERRERO
BASTE FINANCIAL           JOSEPH GAGLIANO         RICHARD KALBFLEISCH
SERVICES INC
BBR SERVICES LLC          JOSEPH HINES AND        RICHARD KLENE
                          ROBIN HINES
BEL EXPRESS INC           JOSEPH NWEGBU           RICHARD MCCALL
BERTINA WINCHEK           JOSEPH PERTZ            RICHARD SHANBOUR
BERYL ROES                JOSHUA BIVEN            RICHEY HEALTH
                                                  SOLUTIONS LLC
BEST TAX FILING LLC       JOVITA BRADEEN          RICKEY HENKES
BEVERLY LEWIS-HAYNES      JOYCE JORDAN            RIMA USANOVA
BEVERLY W. MEREDITH       JOYCE MCCABE            ROBDAR INC.
BGS ENTERPRISES INC       JSTREET ENTERPRISES     ROBERT & HEATHER
                          LLC                     RADFORD
BHOJ DONG                 JUAN SIERRA & SUSAN     ROBERT & JAMES METZGER
                          SALGADO
BIG SKY SERVICES INC.     JUANA TORRES            ROBERT ANDERSON
BJG TAX SERVICE INC.      JUDITH ANICA            ROBERT BOYER
                          GONZALEZ
BKP ENTERPRISES LLC.      JUDY VAN UNNIK          ROBERT BYRNE & DAVID
                                                  RUYLE JR.
BLEVINS AND ASSOCIATES    JULIO VERAS             ROBERT DOWNUM
BMH ENTERPRISES LLC       JULIUS QUAYE            ROBERT GAY
BMWILSON LLC              JUSTIN TAIT             ROBERT KELLY &
                                                  ASSOCIATES, LLC
BOBBY JAY SPENCER         JUSTIN Y. YONO          ROBERT MATTICE'S
                                                  ACCOUNTING & TAX
                                                  PREPARATION INC.
BOBCAT TAX LLC            JUSTIN Y. YONO          ROBERT MCCOY
BOJONGO CPAS &            K&V ENTERPRISES         ROBERT MEDLEY
ADVISORY PLLC
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BOLD REALTY               KAILEE HART             ROBERT STEPHEN
INVESTMENTS LLC                                   GOODMAN
BQS SERVICES LLC          KAMEDA TAX SERVICE      ROBERT YOAKUM JR
                          LLC
BRAD NESS                 KAMRAN RIAZ             ROBERTO NESPEREIRA
BRANDON SERBUS            KAREN COOK              ROBIN WININGER
BRAYAUD INDUSTRIES INC.   KAREN E. MIRANDA        ROSEMARY TRUJILLO
BRCS INC.                 KAREN P. GOSS           ROSY CURIEL
BRENDA L LITTLEFIELD      KAREN REDDING LLC       ROWAN SOLUTIONS INC.
BRENT SCHULZ              KAREN THOMPSON          ROY AND MARY COUCH
BRIAN & MONA JOHNSON      KATHERINE E. PHILLIPS   ROY BRISPORT
BRIAN & VALERIE           KATIE CANAS             RRR TAX LLC
MITCHELL
BRIAN A. CHARLES          KAUR ENTERPRISES LLC    RTA REAL ESTATE
                                                  INVESTMENTS LLC
BRIAN MULLER              KAY WELDON              RTA TAX SERVICE LLC
BRIAN NEAL                KAYLA S. FERRE AND      RUNNELS FINANCIAL
                          LAURA Y. GILLET         SERVICES LLC
BRIAN SCOTT               KAZEM TABATABAI         RUTH DEJONGE
BRITOMO SOLUTIONS 290     KBS TAX SERVICE INC     S & A TAX SERVICE INC
LLC
BRITOMO SOLUTIONS LLC     KC FINANCIAL LLC        S AND P ACCOUNTING
                                                  SERVICES LLC
BRONX FAMILY TAX          KC TAX SERVICES LLC     S&R SERVICES LLC
SERVICE INC.
BRUCE DIAZ & MOULOUD      KCI STORES INC          SAAD SULTAN
BOURBET
BRUCE STANSBERRY          KDD TAX INC.            SAIFUR CHOUDHURY
BULLDOG FINANCIAL LLC     KELEQU VENTURES LLC     SAJA MAHDI
BUSINESS WISE SOLUTIONS   KELLY HUGHES            SALAI T. HNIN
LLC
C&M TAX SERVICE, LLC      KENNETH SHELTON         SALEM FINANCIAL
                                                  CONSULTANT, INC.
CALVIN JOHNSON            KEVIN COOPER            SALES SUPPORT
CALVIN R. HENDERSON       KEY BUSINESS SERVICES   SAM ROBERSON
                          INC.
CANARSIE LT INC.          KEYUR PATEL             SAMUEL M. TROTMAN JR.
                                                  AND CYNTHIA WARD
CARDINAL CONSTRUCTS       KHALID ISLAM            SAMUEL RANDOLPH
INC.
CARDOW & ASSOCIATES       KHRISSANDRA SWINNEY     SANA MEGHANI
INC
CARL L. TAYLOR            KIM WAGENMAN            SANA MEGHANI & SALMAN
                                                  VIRANI
CARLA BUGGS GWINN         KIMBERCET               SANDRA COMPHER
CARLOS E. FARIAS          KIMBERLY ALLEN          SANDRA HERNANDEZ
CARLOS WALKER             KIMBERLY POZZI          SANDY SHANNON
CARMEN Y. ALMONTE         KJ MILLER L.L.C.        SANJAY PAREKH
CAROL & DON EVANS         KKKI INC                SANJEET KUMAR
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CAROL ELLIOTT              KLEINFELD BUSINESS      SANS PAREIL INC
                           SERVICES INC.
CAROL ELLIOTT              KMC TAXES LLC           SANS PAREIL INC.
CAROLINE ALDECOA           KOKOPELLI-I INC.        SANTOSH SHARMA
CARRIE BAREIS AND JOHN     KOKOU M. LOGOSSOU       SAPPHIRE TAX SERVICES
B. BAREIS                                          LLC
CARSON WOODS &             KOMAL HOODA             SAQIB TASNEEM
ANTHONY MARUCCO
CASH MONEY                 KP & SONS LLC           SARAH DALTON RATHBONE
CORPORATION
CATHERINE COOPER AND       KPL TAX GROUP INC.      SARAH MCKEE AND CARL
WILLIAM COOPER                                     CURRY
CBM FINANCIAL INC.         KRYSTAL SIAS            SARWAR LLC
CDM BUSINESS SERVICES      KULBIR HEER INC.        SCB LLC
LLC
CEBALLOS TAX SERVICES      KUSHAL NEUPANE          SCOTT BURKE
INC
CENTRAL PENN AD LLC        KYLE GARTH              SCOTT ROTH
CHANDRA P. SINGH           LA K DUB PARTNERS LLC   SD TAX INC.
CHANTELL R TEJEDA AND      LADONNA K. PRESLEY      SD VENTURES LLC
GERNARDA BAILEY
CHARLES GARCIA             LAKE RISS INC.          SEAN GALVIN
CHARLES MCCRACKEN          LAKEYSHA SWAN           SEJ FINANCIALS LLC
CHARLES NJOYA              LAREN G. RICHARDSON     SENTRY INVESTMENTS INC
CHARLES SPENCER            LARRY GARCIA CPA LLC    SEZ TAX INC.
CHESTNUT TAX GROUP LLC     LAURA BANDA & KEVIN     SGM CAPITAL LLC
                           HOLLEY
CHEYDELLE MCKINZIE         LAURA IHRMAN            SHAHBAZ HUSSAIN
CHOICE CITY TAX SERVICE    LAURA ZAVALA            SHAKEEL AHMAD
LLC
CHRISTOPHER FOULKES        LAURIE L. KUSS          SHAMA TAX SERVICES INC.
CHRISTOPHER J. CRISTIANO   LAWRENCE BRUCE          SHANDREEKA BLOUNT
CHRISTOPHER YORK           LAWRENCE POPE, JR       SHARON MEDINA
CINDEN LLC                 LAWRENCE WALSH          SHAWN INCOME TAX LLC
CJ ACCOUNTING INC          LAWREY FRANCIS          SHAWN VADNAIS
CLATWORK LLC               LAWSON FINANCIAL        SHEENA RETNAM SIMON
                           SERVICES LLC
CLEMENT OGUNYEMI           LCMA FINANCIAL          SHELDON TAX &
                           SERVICES LLC            ACCOUNTING INC.
CLIFFORD CONKELTON         LDMC ENTERPRISES INC    SHELLY BARRETT
CLIFFORD CUTTER            LEEANN GERST            SHERRI A. MORGAN
CLIPPER SHIP VENTURES      LEGACY TAX PROS INC.    SHERRY L. DUNCAN
LLC
CNJ SERVICES LLC           LEGALEYE CONSULTING     SHERRY M. KELLY
                           LLC
CO TAX SERVICE INC.        LEO WAGATHA             SHNICKQUA AIKEN
COASTAL TAX LLC            LEVERAGE POINT LLC      SHOSHANA ELETU
COATESVILLE COMMUNITY      LI LI                   SIEMPRE COSTORES
RISING LLC
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COHILL'S & ASSOCIATES     LIBERTY CREDIT REPAIR    SIENNA FINANCIAL
LLC                                                SERVICES LLC
COLEMAN CROOK INC.        LIBERTY TAX DEBT         SIMRANJOT BACHAL AND
                          RESOLUTION               JESSICA DHILLON
CONCELIUM LLC             LIGHTSHIP GROUP CORP     SIRIUS BUSINESS L.L.C.
CORDELL ROORDA            LILY'S TAX SERVICE LLC   SIVONNEY MOLINA
COVINGTON TAXES LLC       LINCOLN TAX LLC          SIXPAC INC.
CRISTINA STANCIU          LINDA D. GOEPPER         SJS FINANCIAL LLC
CRYSTAL CARLSON           LINDA J. NEWMAN          SKH HOLDINGS LLC
CTS TAX SERVICES LLC      LINDA K. BRAYDEN         SLACUM & DOYLE TAX
                                                   SERVICES LLC
CURTIS LUCKY              LINDA MOORE              SLT SERVICES LLC
CYNETTA TAVE              LINDA TATUM              SMART TAXES LLC
D V DORTCH LLC            LINH T. HOANG            SOFIA AGUILAR
D&K OF MS INC.            LION TAX LLC             SOJ TAX LLC
DA WRIGHT ENTERPRISES     LISA COMEAU              SOUTH JERSEY BUSINESS
LLC                                                VENTURES LLC
DALE ROMAN                LISA D. HEMBREE          SOUTHBRIDGE TAX LLC
DALE SMITH                LISA MOIX                SOUTHWEST TEXAS TAX
                                                   SERVICE
DAM TAXES INC             LISA PADILLA             SPARTAN MARKETING INC
DAMICO CPA INC            LJ'S TAX SERVICE LLC     SPICES INCORPORATED
DAND LEGACY INC.          LKY SERVICES LLC         SPOKANE EXPANSION LLC
DANEISHA LLC              LLOYD MANNING JR         SSBR ENTERPRISES LLC
DANFAM ENTERPRISES LLC    LLOYD NEWELL             STACY GOFORTH
DANIEL COSGROVE           LMH TAX SERVICE INC      STELLA CARPENTER
DANIEL RAVAL              LOUIS NEGRON JR. &       STEPHANIE LANE
                          LEONARDO NEGRON
DANIELLE KURKULES         LOWELL FAUX              STEPHANIE SOARES & LISA
                                                   AIROSO-SHIER
DANIELLE QUIGGINS         LTS EATON AND            STEPHANIE STEWARD
                          ASSOCIATES LLC
DARRAN JOHNSON            LTS ENTREPRENEURS        STEPHANIE TRUAX
                          LLC
DARRYL PRYOR              LTS EQUITY INC.          STEVEN KOZIOL & BARRY
                                                   STRAUSS
DAVID A. BONNE            LUCINDY ANDERSON         SUCKUT FINANCIAL
                                                   SERVICES CORP
DAVID AND BARBARA         LUIS AGUILAR             SUMMIT QUEST INC.
MYERS
DAVID CEPIN               LUIS ENCARNACION         SUN WEST INC
                          MATEO
DAVID GANG                LUIS FLORES              SUNRISE PROFESSIONAL
                                                   SERVICES LLC
DAVID GUNTER              LUIS MARTINEZ            SUPARIWALA FINANCIALS
                                                   LLC
DAVID J. MARTZ            LUIS MEDINA              SURESH ACHARYA
DAVID J. SANDERS          LYNDON HARRISON          SURYA INVESTMENT
                                                   GROUP LLC
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DAVID R. JAMES             M & A MANAGEMENT       SUSAN B. WALLACE
                           LLC
DAVID SILLAMAN             M & N SERVICES INC     SUSAN WARD
DAWN MINOR                 M & N SOLUTIONS INC.   SUSANNA M. MULLER
DAZO INCORPORATED          M & S PROFESSIONAL     SUZANNE PRICE
                           SERVICES INC.
DEBBY D. HALLMAN           M 4 CONSULTING LLC     SYED F. EKRAM
DEBORAH J. KLEIN           M&M BUSINESS GROUP     T&C TAX SERVICES LLC
                           L.P.
DEBORAH MOORE LLC          M. UMAR BEIG           TAD MILLER
DEBORAH WAKEMAN            MADLIN ENTERPRISES     TALLEY ENTERPRISES INC
                           LLC
DEBRA AGUAYO               MAG IV INC.            TAMI VARRICCHIO
DEBS TAX SERVICE LLC       MAHMOOD M. DHANANI     TAMI VIGEN INC.
DEETZ GLOBAL INC.          MAIN STREET TAX LLC    TAMMY GURRERA
DELTA RF LLC               MAIN STREET TAX        TAMMY SILCOX
                           SERVICES LLC
DEMITRIUS WILLIAMS         MALK JR TAX LLC        TARKINGTON FINANCIAL
                                                  INC.
DENILIVA INC.              MANEESH GUPTA          TAX ENTERPRISES LLC
DENISE DAVIS LLC           MANUEL DAMIAN-         TAX HEROES LLC
                           CABALLERO
DENNIS PRYOR               MANUEL HIZON           TAX LADY HILLS LLC
DEPOT TAX SERVICES LLC     MARC A. VASSOR         TAX PREP & CONSULTING
                                                  LLC
DERRICK GREEN              MARC J. TIMOTHEE       TAX SERVICE VENTURES
                                                  LLC
DERRICK SMITH              MARCHIZZA TAX LLC      TAX TEAM LLC
DIAMAYA INDUSTRIES         MARCO SHOALS AND       TAX TEAM TWO LLC
GROUP                      LESLI SHOALS
DIANA L. CONDON & JAMES    MARGARET TABB          TAX TIME TAXES LLC
E. CONDON
DIANE FERREIRA             MARGARET TAYLOR        TAX WORLD LLC
DIANE MARIA DOS REIS       MARGARITA GARZA        TAXBIZ PARTNERS LLC
DIGIPRO ENGINEERING INC.   MARIA ELIZABETH        TAXCELLENT SERVICE
                           LOZANO-ARVIZO          CORPORATION
DILIGENT PARTNERS LLC      MARIA RIVERO           TAXMATTERS INC.
DISTRICT TAXES CORP        MARJORIE CALLAGHAN     TAXOLOGY GROUP LLC
                           AND MICHAEL
                           CALLAGHAN
DL TAX INCORPORATED        MARK & CHRISTAL        TAXPREP LLC
                           HAWKINS
DL&K TAXES LLC             MARK & DYLAN           TEDDY ARTHUR-KWALLAH
                           GRIESELDING
DMDBD LLC                  MARK AND KIMBERLI      TEK KOROTANIA
                           CAMARATA
DOLORES M. ANTESBERGER     MARK CASSLER &         TEMEYKA SCOTT
                           BENJAMIN SCHOTT
DON CHIPPEAUX              MARK COUCH             TENDRIL HOLDINGS LLC
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DON KIM                   MARK CUNNINGHAM          TERRELL GRAY
DONALD JAMES & MARK       MARK GRAHAM              THAKUR NEUPANE
RUSSO
DONNA A. THOMAS           MARK ROBISON             THE ASSOCIATES NOTARY
                                                   PUBLIC CORPORATION
DONNA JEMISON             MARK SINGH               THE FAR ROCK INC.
DONNA MITCHELL-MAYO       MARKIOS ACCOUNTING       THE GLORIOUS FREEDOM
                          & TAX SERVICE LLC
DONNIE HARRIS             MARLA CARMONA LLC        THE GUARDIAN GROUP LLC
DORIS MELTON              MARLON HUNTER            THE TAX LADIES SERVICES
                                                   INC.
DOUGLAS LORENZ            MARTHA DRAKE             THOMAS ACKERMAN
DROPP ENTERPRISES LLC     MARTHA NAVARRO           THOMAS HENGGELER
                                                   ENTERPRISES LLC
DULCE N. CUEVAS           MARTIN HOLDINGS LLC      THOMAS JAROSICK
DULDUL INC.               MARY L. SPARKS           THOMAS ROYER
DUSTIN GRIFFIN            MARY METHNER             THOMPSON FINANCIAL
                                                   SERVICES INC
DWIGHT DYE                MARY TAYLOR              THOMPSON TAX BUSINESS
                                                   LLC
DYLAN GERARD              MAS TAX SERVICES LLC     TIANDRA PURYEAR
E & R GAGEN LLC           MATHIS FINANCIAL         TIFFANY T. BRADY
                          GROUP INC.
E&R TAX GROUP LLC         MATTHEW JESPERSEN        TILCAM SERVICES GROUP
                                                   OF TENNESSEE LLC
EAGLE OPS,INC             MAUREEN ZARS             TIME TO FILE LLC
EASYMAX INC.              MAXES LLC                TIMOTHY A STRICKLAND
ED WILSON                 MAYRA RODRIGUEZ          TIMOTHY A. RICHARDSON
EDUARDO REBOLLEDO         MAYRA SALAS AND          TINA A. FARMER
                          CAROLINA SALAS
EDWARD & DEMETRISE        MAZIN, INC.              TINA DAVIS AND ANGELA
ROBERTS                                            MAGEE
EDWARD ALLEN              MCFARMER INC.            TINA M. HILL
EDWARD STOCK              MCMANUS AND              TK FINANCIAL LLC
                          MCMANUS ENTERPRISES
                          INC.
EDWIN SOGBE               MDK TAX LLC              TL2 ACCOUNTING LLC
ELITE TAX SERVICES LLC    MEHAR ENTERPRISE INC     TLC ARC LLC
ELIZABETH ADAMS           MELI SERVICES INC        TLC TAX SERVICES INC.
ELIZABETH HURST           MELISSA D GRAHAM         TLT PARTNERS LLC
ELIZABETH J. CONNALLY     MELISSA FARMER           TM ENTERPRISES OF
                                                   LINDEN INC.
ELIZABETH KARNAVAR        MELISSA HOLSTEIN         TM TAX SERVICES LLC
EMILY TUVERA              METRO MULTI SERVICES     TMARKJ INC
                          INC
EMMANUEL ADEWALE          MG2T TAX SERVICES INC.   TMB VENTURES INC.
EMMANUEL FOKO AND         MI030 LLC                TODD A. CROMACK
GWLADYS FOKO
ENA ASKIA                 MICAELA A. SAENZ         TODD DUNLOP
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ERIC GE                      MICHAEL AND             TODD MARION
                             KATHARINE SAWYER
ERIC J. BOWMAN               MICHAEL J. PESTA        TODD STAHL
ERIC L. LEMOND               MICHAEL KECK            TOMAHAWK PROPERTIES
                                                     LLC
ERIC NTI-FREMPONG            MICHAEL MAGEE           TOMMY C. CRISLER
ERIC PORTER                  MICHAEL MARTINEZ        TOMMY SMITH
ERIKAH HENLEY                MICHAEL MERIT           TONY ALLEN
ERNIE AND CHRISTINA          MICHAEL MOORE           TONYA K. BURRESS
ROSS
ESSAUL FINANCIALS INC.       MICHAEL NIVERA          TRACY A. HAYES AND
                                                     JENNIFER HAYES
EUGENE E. AND                MICHAEL SHINNEMAN       TRACY AND WILLIAM HYDE
MARYELLEN MCKINLEY
EUGENIA LAUX                 MICHAEL TROMBETTA       TRANSCEND FINANCIAL
                                                     SERVICE LLC
EULALIO DIAZ JR              MICHAEL TURNER          TRIDENT FINANCIAL
                                                     SERVICES LLC
EV HOME SOLUTIONS LLC        MICHAEL VAN HOUTAN      TRK SERVICES LLC
EXECUTIVE ST SALES           MICHAEL W. STANLEY      TROY OWEN
FAHAD M. ISLAM               MICHAEL W. STANLEY      TRUDI S. BARR
FAIS II INCORPORATED         MICHAEL WILLIAMS        TS FINANCIALS LLC
FAIZAN S AHMED               MICHAEL WILLIAMS &      TYE BROOKS
                             KEVIN CUNNINGHAM
FAMILY CIRCLE SERVICE        MICHELLE M. KOTEWA      TYNE SUNDERLAND LLC
INC
FANG ENTERPRISE LLC          MICHELLE NEILL TANGE    UK ENTERPRISE LTD
FARUK ALI MOHAMMED           MIDAS TOUCH INC.        UNITED INTEGRITY TAX
SALAM AND AHMED                                      GROUP LLC
HUSSAIN
FELIX R. STRATER III         MIGUEL LORA             UNITED TAX SERVICES LLC
FIESTA FINANCIAL             MIHALKA ENTERPRISES     UNIVERSAL INTERPRETERS
SERVICES LLC                 INC                     INC.
FINANCIAL CHANGE             MIKE BUDKA AND          UNIVERSAL SERVICES #13
SOLUTIONS LLC                MUFEED HADDAD           LLC
FINANCIAL FAMILY             MINH T. NGUYEN          URMISH PATEL
ADVISORS LLC
FIRST PITCH LLC              MINNESOTA WEST TAX      UUB CORP
                             SERVICE INC
FLORIAN'S TAX SERVICES       MISHELL VEGA            V&A TAX SERVICE LLC
CORP
FM1960 TAX OFFICE LLC        MISTY ROMERO            VALERIE ADLER
FOUR STAR TAX SERVICES       MITCHELL ROSEN TAX      VALSAINT GROUP INC.
INC                          SERVICE LLC
FOUZIA SHAKOOR               MJM INVESTMENTS INC     VARGAS HOLDINGS CORP.
FOY FINANCIAL INC            MM TAX & ACCOUNTING     VERLA K. SMITH
                             INC.
FRANK TERESCHAK              MMMP ENTERPRISES INC.   VERONICA CAZARES
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FRED HUFFMAN & JEFFREY    MNS SERVICE CORP         VERONICA MANZO
WOODLEE
FREEDOM FINANCIAL INC.    MOBJOB INVESTMENTS       VFM LLC
                          LTD
FREEDOM ONE LLC           MOE INVESTMENTS L.L.C.   VGS TAX & ACCOUNTING
                                                   SERVICES LLC
FREEDOM TAX SERVICES      MOHAMED CHAREQ           VICTORIA HOTOBAH-
INC                                                DURING
FURQAN KHALIQ             MOHAMMAD AKHTAR          VIKKIELEA CHOROSKI
G AND G ASSOCIATES LLC    MOHAMMAD ALAM            VIKRAMDEEP RANDHAWA
GA TAX AND BOOK           MOHAMMAD MIAH AND        VINCENT FERRARA
KEEPING INC.              MD OBAIDULLAH KHAN
GAIL GARCIA CERDA         MOHAMMED MIAH            VOLUSIA TAX FILERS LLC
GALAXY TAX SERVICES       MOHAWK INVESTMENTS       WA GROUP INC
LLC                       INC.
GANG FINANCIAL LLC        MONEY ENTERPRISES        WAHEGURU JI TAX LLC
                          INC.
GARRETT ATZ               MONICA GONZALEZ          WAHEGURU TAX NEW
                                                   BRITAIN LLC
GARY BLOOME P A           MONIQUE JACKSON          WALKER INTOWN
                                                   RENEWAL LLC
GARY GARLAND              MONIQUE PARISH           WALNUT CREEK
                                                   ENTERPRISES LLC
GARY LAVICKA              MORAN AGENCY LLC         WB FINANCIAL
                                                   MANAGEMENT LLC
GARY O. STOBART           MR TECH STUFF INC        WD TAXES LLC
GARY O'BRIEN              MR. BIG DREAMS INC       WEFILE INC.
GARY STAUBER              MSM ENTERPRISES INC      WEIS GROUP LLC
GARYPETER SITE NUMBER     MUFEED HADDAD            WENDY A. PROWS
ONE INC
GENESIS TAXES OF          MUFEED HADDAD            WENDY BALL
PENSACOLA INC
GENESIS VENTURES TAXES    MUHAMMAD SIKANDAR        WENDY RHODES
INC
GEORGE HANDY              MULTI ASSET TAX          WESTERN STARS AND
                          SERVICE LLC              STRIPES INC.
GERALD L. ROSHON EA LLC   MUSTAFA ELHASANI         WESTON SIMPLE TAX LLC
GHASSAN JABER             MUSTAFA USMAN            WHIPPLE SERVICES INC.
GHAZI DAKIK               MUSTAPHA MARSEILLE       WHITNEY A. JUSTICE
GHL ENTERPRISES INC       MY BUSINESS GROUP LLC    WHITTIER ADVISORY
                                                   GROUP INC
GILBERT & IRMARIE         MY SERVICES FLORIDA      WILBERT J. BASS
MERCADO                   LLC
GINA M. BERNSTEIN         MY TAX PEOPLE LLC        WILLIAM ALLEN
GINGER F. AUSBAN          MYSMART POCKET INC.      WILLIAM BAKKEBY
GL FINANCIAL LLC          NANCY CLARK              WILLIAM DANIELS
GOLDEN DUNES TAX          NANCY HAGEN              WILLIAM E. LEE
SERVICE INC
GOLIATH ACCOUNTING INC.   NANCY TRAN               WILLIAM HOLLIDAY
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GRACE WHITE & RODNEY      NATASHIA KLOS           WILLIAM SHAHIN
WHITE
GRACIA GRACIA             NAVEEN KUMAR            WILLIAMS CAPITAL
CREVECOEUR GRACIA                                 MANAGEMENT INC
GREG JABLONOWSKI          NC TAX SERVICES LLC     WINSTON ESTES FINANCIAL
                                                  LLC
GREG MASSEY               NELSON MALDONADO        WJ BUSINESS SERVICES INC
GREG MOSER                NEVILLE MAHONEY         WM. MURRAY MICHAEL
                                                  AND HUNTER HOLCOMB
GRITS MARKETING INC.      NEWSHAM BUSINESS        WOLFPACK TAX
                          SERVICES INC            INCORPORATED
GSN FINANCIAL LLC         NHUNG TUYET             WOODARD & TRAYLOR &
                          ELIZABETH PHAN          ROMERO
GUADALUPE MAURICIO        NICHOLAS BATCH          WYATT & KENDALL LLC
GUADALUPE MAURICIO        NICHOLAS J ELLIOTT      XIAOWEN GUAN
GUADALUPE RUBIO           NICOLA NUNU             YESICA LOPEZ
GURMEET S. CHAWLA         NICOLE HAMILTON         YOUR TAX & ACCOUNTING
                                                  SOLUTIONS OF NPR LLC
GWENDA LACROIX            NIHARIKA JIWANI         YOUSAF KASHMIRI
HAASE FINANCIAL           NIKKI SHELSTAD          YPSILANTI TAX SERVICE
SERVICES LLC                                      INC.
HACK FINANCIAL LLC        NISHAN TAX INC.         YUN DAVIN LOH
HAI N. KNEPPER            NISM LLC                YVONNE SOSA
HALEY S. KLEIN            NITIN MEHTA &           ZAFAR TAHIR
                          VALLIDEVI
                          YARLAGADDA
HAMID MAHMOOD             NJ FINANCIAL SERVICES   ZAIN TAX SERVICES INC
HAMMOND FINANCIAL INC     NJLB INC
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Vendors/Contract Parties
#1RWM FLP                FORTUNE MAGAZINE           OPTIMA HEALTH -
                                                    2812*COBRA
(ADS) ADVERTISING    FORTUNE MEDIA GROUP, INC.      OPTIMA HEALTH - 60594
DELIVERY SER
*DO NOT USE*         FORTY-FOUR HOLDINGS            OPTIMA HEALTH -
EVENTS MADE EASY     LOUISIANA LLC                  60594*00A
LLC
*DO NOT USE*         FORVIS, LLP                    OPTIMA HEALTH -
NORTHWESTEL                                         60594*00A COBRA
CABLE
*DO NOT              FORWARD ENTERPRISES INC        OPTIMA HEALTH - 60594-
USE*DENNIS R                                        COBRA
WELCH
045 WASTE            FORWARD ENTERPRISES, LLC       OPTIMUM
INDUSTRIES
0828 REAL ESTATE     FORWARD LEAP MARKETING, LLC    OPTIMUM
LIMITED
PARTNERSHIP
1 HOUR SIGNS         FOSTER REPRINTS                OPTIMUM BUSINESS-
                                                    70340
10520 GR, LLC        FOSTER, LOLITA                 OPTIONS MEDIA GROUP
1060582 ONTARIO      FOUNDERS INN                   OPTIONS NEWSLETTER,
LTD.                                                INC.
112-45 LLC           FOUNDRY UMC - INACTIVE         OPUBCO
                                                    COMMUNICATIONS
                                                    GROUP
1137751 ALBERTA      FOUNTAIN WATER & WATER         O'QUINN INVESTMENTS
INC.                 PRODUCTS INC.                  LLC
115214 CANADA LTEE   FOUNTAINHEAD ADVISORY          ORACLE AMERICA INC
& LUCIO D'ORIO &     SERVICE, INC.
ASSOC.
117 GUY R BREWER     FOUR ALARM FIRE LLC-2288       ORACLE AMERICA, INC.
REALTY LLC
118-01 LLC           FOUR ALARM FIRE, LLC.          ORANGE AID MARKETING
11908 BLUE RIDGE     FOUR POINT SOLUTIONS LTD.      ORANGE COUNTY
PARTNERS LLC                                        UTILITIES
1191 BOSTON ROAD     FOUR POINT SOLUTIONS, LTD.     ORANGE PEEL
CROP                                                TRANSPORTATION
120 SUTPHIN, LLC-    FOUR POINTS HOLDINGS LLC       ORANGEVILLE TRANSIT
DO NOT USE
122 ONONDAGA LLC     FOURWORD                       OREGON DEPARTMENT
                                                    OF EDUCATION
123 COMPUTER         FOWLER, JAMES                  OREGON DEPARTMENT
GROUP                                               OF REVENUE
123HIRE.COM          FOWLER, JIMMY                  OREGON DEPARTMENT
                                                    OF STATE LANDS (UCP)
123HIRE.COM          FOX CHAPEL LLC                 OREGON DEPT. OF
                                                    REVENUE
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1255560 ONTARIO INC   FOX PLAZA,LLC                   OREGON RV AND
                                                      STORAGE, LLC
1289935 ONTARIO       FOXMORE PROCESS SERVERS         ORGANIZATIONAL
LTD.                                                  FITNESS, LLC
13 ASSOCIATES, LLC    FOXSHIRE LIMITED PARTNERSHIP    ORIENTAL TRADING
1305 VETERANS         FPAL DOMAIN HOLDINGS, LLC       ORILLIA LOCKSMITH
PARKWAY LLC
1310984 ONTARIO       FPL                             ORILLIA POWER
INC.                                                  DISTRIBUTION
                                                      CORPORATION
1370680 ONTARIO       FRAMED EXPRESSIONS INC.         ORION WORKS, LLC
LTD.
1433228 ONTARIO       FRAN ABBOTT                     ORKIN EXTERMINATION
INC.                                                  COMPANY, INC.
1460 LYELL LLC        FRAN NET                        ORKIN PEST CONTROL
                                                      INC
1489494 ONTARIO       FRANCA CASONATO                 ORPHAN HELPERS
INC.
1499570 ONTARIO       FRANCES BORROW                  ORR, JOHN
INC.
1500 WABASH           FRANCES LABADIE JACKSON         ORRICK, HERRINGTON &
ASSOCIATES, LLC                                       SUTCLIFFE LLP
1511 LEXINGTON        FRANCES LEE BATES               ORRTAX SOFTWARE INC.
AVENUE HDFC
1652185 ONTARIO       FRANCES MCNUTT                  ORSAN AIR SERVICES
INC.
1662632 ONTARIO INC   FRANCES MISUGA/ANTOCHOW         ORSOLA GALLO
1678 NOSTRAND         FRANCHINO, MARIA                ORVILLE ARCHER
AVENUE BROOKLYN
N.Y 11226
1679772 ONTARIO       FRANCHISE AMERICA, INC.         OSAMA USAMA AND JOE
INC.                                                  BROWN
1681940 ONTARIO INC   FRANCHISE ANNUAL                OSCAR A HERNANDEZ
1693377 ONTARIO       FRANCHISE BUSINESS REVIEW       OSCAR HERNANDEZ
INC.
17 N. STATE, LLC      FRANCHISE CAREER                OSCAR SALVENDY
                      CONSULTANTS
1702 LP               FRANCHISE CLIQUE                OSCAR'S JEWELERS INC.
1733 UNICO, LLC       FRANCHISE CREATURE              OSHAWA GENERALS
                                                      HOCKEY CLUB
1749 ASSOCIATES       FRANCHISE DIRECT - DO NOT USE   OSHAWA OFFICE
                                                      EQUIPMENT INC.
1789173 ONTARIO       FRANCHISE DIRECT USA INC        OSHAWA PUC NETWORKS
LTD                                                   INC.
1890305 ONTARIO       FRANCHISE DYNAMICS, LLC         OSHAWA -REVENUE AND
LTD.                                                  TAX SERVICES
1924923 ONTARIO       FRANCHISE EMPORIUM              OSHAWA/WITHBY/CLARI
INC.                                                  NGTON/PORT PERRY THIS
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1COVERALL NORTH       FRANCHISE GATOR, LLC            OSIKANLU, TEWOGBUYI
AMERICA INC
1ST COMMERCIAL        FRANCHISE GENIUS LLC            OSLER, HOSKIN &
BANK OF FLORIDA                                       HARCOURT LLP
1ST IN                FRANCHISE INFO MALL, INC.       OSNOE, NORMA
ENTERTAINMENT
1ST MONEY CENTER      FRANCHISE LIFE                  OSOYOOS TIMES LTD.
1ST MONEY CENTER      FRANCHISE MARKET MAGAZINE       OSPREY CORP
ESCROW
1STPAGE.COM           FRANCHISE OPPORTUNITIES         OTERO COUNTY
                      NETWORK                         TREASURER
2 GUYS GLASS INC.     FRANCHISE RECRUITERS            OTIS SPUNKMEYER
200 EAST FRONT, LLC   FRANCHISE RELATIONSHIPS PTY.,   OTTAWA 67'S HOCKEY
ET AL                 LTD                             CLUB (1998)
201 EAST 116TH ST     FRANCHISE RESOURCE COMPANY      OTTAWA WATER &
REALTY CORP                                           SEWER BILL
201 EAST 116TH ST     FRANCHISE RESOURCE GROUP        OTTER, LINDA
REALTY CORP
201 MARKETING AND     FRANCHISE SEARCH, INC.          OTTO BEATTY JR.
MEDIA                                                 ASSOCIATES
2012 USP HOLDING,     FRANCHISE SEARCH, INC.          OTTO, GLENN C.
INC.
2013 FTA E-FILE       FRANCHISE SHOWCASE, INC.        OTTUMWA COURIER
SYMPOSIUM
2014 CHARLOTTE ST.    FRANCHISE SOLUTIONS, CORP.      OUR LADY OF THE
PATRICKS PARADE                                       VALLEY CATHOLIC
                                                      CHURCH
2020 ACHIEVEMENTS,    FRANCHISE SYSTEMS NETWORK       OUTFRONT MEDIA INC
INC (APOLLO
EMEKA)
2020585 ONTARIO       FRANCHISE TAX BOARD             OUTFRONT MEDIA
LTD.                                                  SPORTS, INC.
2030621 ONTARIO       FRANCHISE TAX BOARD             OUTLAW COUNTRY LTD.
LIMITED
2056938 ONTARIO       FRANCHISE TAX BOARD- CA         OVER AD MEDIA
LTD
210 RIVINGTON         FRANCHISE TIMES                 OVERHEAD DOOR CO. OF
REALTY HOLDINS                                        NORFOLK
LLC
2116782 ONTARIO       FRANCHISE UPDATE, INC           OVERTON MARKETS, INC.
INC.
2122999 ONTARIO INC   FRANCHISE USA, INC.             OVERTURE SERVICES
2123579 ONTARIO INC   FRANCHISE.COM                   OWEN RENTALS-808
                                                      CAUSEWAY LLC
21252549 ONTARIO      FRANCHISEBLAST                  OWEN SOUND ATTACK
LTD.                                                  HOCKEY CLUB
215 BANDERA           FRANCHISEBLAST (LAVABLAST       OWEN SOUND REGIONAL
ASSOCIATES LLC        SOFTWARE INC)                   HOSPITAL FOUNDATION
21ST CENTURY TAX      FRANCHISEFORSALE.COM            OWENS JR.,M. EDWARD
CONSULTANTS INC
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2201 CHARLES LLC      FRANCHISEHELP HOLDINGS LLC     OXFORD INTRUST FOR
                                                     CLARICA CENTRE
2207848 ONATARIO      FRANCHISEONLINE.COM            OXFORD PROPERTIES
INC                                                  GROUP
2212235 ONTARIO       FRANCHISEWORKS.COM LLC         OXFORD PROPERTIES
INC.                                                 GROUP INC.
222 CAMP WISDOM       FRANCHOICE INC.                OXFORD REALTY
LP
2263264 ONTARIO,      FRANCINE SEQUIN                OXFORD SHOPPING NEWS
INC
2300-2310 ACP         FRANCIS ANDERSON               OXNARD CENTER
OWNER LLC                                            COMPANY
2355849 ONTARIO       FRANCIS CARRINGTON             OXNARD CENTER
LIMITED                                              COMPANY
2366667 ONTARIO INC   FRANCIS OFFICE SUPPLY, INC     OYINDAMOLA SOKABI
2390635 ONTARIO       FRANCIS P MCALEAVY, III        OYSTER POINT PLAZA II,
LIMITED                                              LLC
24 OUTDOOR.COM        FRANCIS WEST                   OZARK COMMERCIAL
                                                     HOLDINGS
2404 SHR LLC-DO       FRANCISCO VALLE                OZORAK, PAUL
NOT USE
247 LINKS             FRANCISCO'S TAX SERVICE        P & C KOLB CHILDRENS
CORPORATION                                          TRUST
2644 RIVER ROAD       FRANCISO BERILO F. JUNIOR      P & C KOLB CHILDREN'S
PROPERTIES LLC                                       TRUST
26685594 ONTARIO      FRANCONNECT, INC.              P & C PROPERTIES
LIMITED
2945 DUNDAS STREET    FRANCOTYP-POSTALIA CANADA      P AND A
INC.                                                 ADMINISTRATIVE
                                                     SERVICES, INC
2M & 3D LTD DBA       FRANDATA CORPORATION           P&M PROPERTY, LLC
TWIN FOUNTAIN
PLAZA
3 LITTLE BIRDS 4      FRANFACTS, INC.                P&W ENTERPRISES, INC
LIFE
300251 ALBERTA LTD.   FRANK & SHAPIRO REAL ESTATE,   P. A. PRAESEL, TAX
                      INC.                           ASSESSOR COLLECTOR
301 W BALTIMORE       FRANK BESSON                   P.A.U-STORE-IT (1994) LTD
PIKE, LLC
3188825 CANADA INC.   FRANK COLOMBINO                P.I.B INVESTIGATIONS
320 EAST 204 LLC      FRANK DELEONARDIS              PA DEPARTMENT OF
                                                     REVENUE
3201 GENTILLY, LLC    FRANK G. CANTY REALTY          PA DEPARTMENT OF
                                                     REVENUE
3202 CHURCH LLC       FRANK GESZTESI                 PA MARK IT SIGNS LTD.
3440 LLC              FRANK MCRAE                    PA SCDU
351 AUDOBON LLC       FRANK PUCCI                    PABLO JAVIER
                                                     HERNANDEZ CALDERON
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358909 ONTARIO        FRANK SARDINO                  PACIFIC COPY &
LIMITED                                              PRINTING
369 PENINSULA BLVD    FRANK SCHAEFER                 PACIFIC ELECTRONIC
CORP                  CONSTRUCTION INC PENSION       SECURITY INC.
                      PLAN
3829 BROADWAY LLC     FRANK STRONGOLI                PACIFIC INTERNATINAL
                                                     BANK
39495 YUKON INC       FRANK WHITESTONE               PACIFIC NORTHERN GAS
3G TAX CORP           FRANK, JOSEPH                  PACIFIC NORTHERN GAS
                                                     LTD
3Q DIGITAL, INC.      FRANKLIN COUNTY                PACIFIC NW HOTELS
                                                     MANAGEMENT, LLC
4 STATES              FRANKLIN COUNTY CHILD          PACIFIC POWER-26000
ADVERTISING           SUPPORT
401 MAIN LLC          FRANKLIN COUNTY SANITARY       PACIFIC PROPERTY
                      ENGIN                          MANAGEMENT INC
401BZ INC.            FRANKLIN COVEY                 PACIFIC SQUARE LLC
407ETR                FRANKLIN RENTAL ASSOCIATES     PACIFIC WORLD
                                                     INVESTMENT INC
4119 SYRACUSE         FRANKLIN SECURITY BANK         PAC-VAN, INC.
HOLDINGS LLC
416 ST. PAUL STREET   FRANKLIN SECURITY BANK, FSB    PADGETT-THOMPSON
INC.
4187415 CANADA INC    FRANKLIN SECURITY SYSTEMS,     PADO, JOHN
                      INC
4187415 CANADA INC.   FRANNET                        PAETEC
                                                     COMMUNICATIONS
4310-4328 MAIN        FRANTJESKOS CUSTOM PAINTING    PAGADORA
STREET, LLC
4343 N RANCHO DR,     FRANZ LEEK                     PAGAN, CARLOS
LLC
4344 MAIN STREET      FRATERNAL FIVE                 PAGAS MAILING
BRIDGEPORT CORP       ORGANIZATIONS                  SERVICES
4344 MAIN STREET      FRD MANSELL SQUARE LLC         PAGE MASTER
BRIDGEPORT                                           CORPORATION
CORPORATION
4353 LLC              FRED C DAWSON                  PAGE PLAZA
                                                     ACQUISITION L.P.
44 MANAGEMENT,        FRED CADA                      PAGE, SCRANTOM,
INC.                                                 SPROUSE, TUCKER &
                                                     FORD, P.C.
446342 ONTARIO        FRED GASTON, JR.               PAGE, SEBASTIEN
LIMITED
4761 BROADWAY         FRED JOHNSON                   PAGECO INC
ASSOCIATES LLC
4ALLPROMOS            FRED KANOS                     PAIGE COLONY LTD.
4IMPRINT, INC.        FRED LEE COMPANY, INC.         PAIGE COLONY, LTD.
5 TALENTS, INC.DBA    FRED LLOYD                     PAINT-4-LESS
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5-0 AIRPORT           FRED PRYOR SEMINARS            PAINTED LADY TEA
EXPRESS AND                                          ROOM
LIMOUSINE SERVICE
501-B BOURBON, LLC    FRED PRYOR SEMINARS-DO NOT     PAISANO, THE
                      USE
502 E. JED REALTY     FRED TIM COOK                  PAK N POST
CORP.
530360 ONTARIO        FREDDY GEORGE                  PAK-N-STOR, INC
LIMITED
531968 ONTARIO LTD.   FREDERICK EWING                PAL, TANYA
(OSHAWA)
56 EXPRESSWAY LLC     FREDERICK H LEEDS INTERVIVOS   PALACE
                      TRUST                          ENTERTAINMENT
565 WEST SIDE LLC     FREDERICK M MCCALLUM           PALANA, JOHN
58 MISSISSAUGA        FREDERICKSBURG GENERAL         PALM BEACH COUNTY
STREET INC            DISTRICT COURT                 WATER UTILITIES
                                                     DEPARTMENT
585562 BC LTD.        FREDERICO L. VICK              PALM BEACH COUNTY-
                                                     BUSINESS TAX
5909 15TH NW ASSOC.   FREDRICK BUTLER                PALM GLEN INVESTORS,
LLP                                                  LLC
5TH AVENUE LEADS      FREDRICK CADA                  PALMDALE SHOPPING
                                                     CENTER INC
615 MUSIC             FREE FILE ALLIANCE, LLC.       PAM COTTON
615636                FREE FILE, INC.                PAM MASSE
SASKATCHEWAN
LTD.
651047 BC LTD         FREE LANCE INVESTIGATIONS      PAMAL BROADCASTING
651047-BC LTD         FREE SPIRIT TOURS              PAMELA BLACKMORE
(WESTWOOD PLAZA)
651407 BC LTD         FREECAUSE, INC.                PAMELA E MOONEYHAN
6603310 MANITOBA      FREEDOM COMPANY, INC           PAMELA HEIN
LTD
665741 N.B. INC.      FREEDOM FINANCIAL, INC         PAMELA I. PERRY, PA
674658 ONTARIO        FREEDOM STAFFING               PAMELA J WILLIAMS-
LIMITED                                              COUNTY COLLECTOR
676 GRAND STREET      FREELAND SHULL                 PAMELA JOHNSTON
LLC
687830 BC LTD         FREELAND SHULL TRUST           PAMELA MCKINNEY
69TH STREET, LTD      FREELYN CLARKE                 PAMELA MICHIE
705 ELECTRIC          FREEMAN DIXON FAMILY LP        PAMELA MUNJAL
720 CHURCH STREET,    FREEMAN ENTERPRISES, LP        PAMELA ROETTGER
LLC
7506473 CANADA INC.   FREEMAN, ELIZABETH T.          PAMELA WOOD
7775 BAYMEADOWS       FREMONT WEST L. L. C.          PANAYIOTIS
WAY                                                  ELEFTHERIOU
786458 ALBERTA INC.   FRENCHMAN'S CREEK SHOPPING     PANELING FACTORY OF
                      CENTER                         VA, INC.
796 GRAND ST LLC      FRESHDESK, INC.                PANERA BREAD
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798 TREMONT           FRIAUF, ROBERT W.              PANOLTIA, INC.
HOLDING LLC
804 SIGNS LLC         FRIEDMAN LAW FIRM, P.C.        PANORAMIC
                                                     HOSPITALITY
823981 ONTARIO LTD.   FRIENDS OF VIRGINIA BEACH      PANTIRER, PHYLLIS
                      ANIMAL CONTROL
8312 BURNET ROAD,     FRISCO MANAGEMENT, LLCPRO      PAOLA PROANO
LLC                   SILVER STAR, LTD.
8400 BEECHMONT        FRONTIER                       PAPA CARD
AVE LLC, KFM
PROPERTIES, LLC &
MIDWAY CENTER,
LLC
9238-6606 QUEBEC,     FRONTIER CAPITAL GROUP, LTD.   PAPA JOHN'S PIZZA
INC.
9269-5147 QUEBEC      FRONTIER CAPITAL GROUP, LTD.   PAPA JOHN'S PIZZA
INC.
93 OCTANE             FRONTIER COMMUNICATIONS        PAPAZEKOS, WILLIAM
                      SERV.
94.7 STAR FM/Q        FRONTIER FC III                PARADISE MECHANICAL
COUNTRY 91.5FM
984355 ONTARIO        FRONTRUNNER FOOTWEAR           PARAG GANDHI
LIMITED
A & B PROPERTIES      FROST NATIONAL BANK            PARAMOUNT SIGNS
INC
A & R ENTERPRISES,    FS FOOD EQUIPMENT &            PARAMOUNT
LLC                   OPERATING INC                  TECHNOLOGIES, INC.
A BOOK'S MIND, LLC    FS MANAGEMENT, LLC             PARAMOUNT
                                                     TECHNOLOGIES, INC.
A CHANCE TO LEARN     FT LAW FIRM                    PARCELS, INC.
A CLEAN BAY           FTA                            PARDEEP KAUR
PLUMBING & DRAIN
CLEANING, INC
A COUNTING + INC.     FUENTES PROPERTIES             PARDOT, LLC
A DRIECT              FUHRMAN, DON T.                PARHAM SHOPPING
CONNECTION                                           CENTER LLC
A KID AGAIN, INC.     FULL MEI INC.                  PARICHKOV, JOANNA
A MAGIC MOVER         FULLER CONSTRUCTION            PARIVEDA SOLUTIONS
                      CORPORATION                    INC
A MILLION THANKS      FULLER, ANNIE                  PARK AVENUE
                                                     LIMOUSINES
A PLUS PERSONNEL      FULLER, ANNIE (GM ACCT)        PARK CENTRE PLAZA LLC
A PROFESSIONAL        FULLER'S PHOTOGRAPHY           PARK PLAZA HOTEL
PROCESS SERVICE       STUDIOS, LLC
A ROY L. TRIBUTE      FULLVIEW CONSULTING            PARK RIDGE BUSINESS
PRODUCTIONS                                          CENTER, INC.
A SMITH PLUMBING      FULTZ, MADONNA                 PARK SIGN
COMPANY
A TAX, INC            FUN HOUSE                      PARKER ALLEN
                                                     INVESTMENTS LLC
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A THRU Z SUMMONS,    FUN TOURS INC.                  PARKER EXCHANGE LLC
INC.
A&A CONTRACT         FUND/CGR LYNNHAVEN,SPE          PARKER STEVENSON
CUSTOMS BROKERS                                      BROKERAGE CORP
LTD.
A&B MARKET, LLC      FUND-CGR LYNNHAVEN LLC          PARKER, CARY
A&E SIGNS AND        FUTERAL & BROOKSHIRE            PARKER. KIM
LIGHTING LLC
A&J SPECIALTY        FUTRELL, BOBBY                  PARKINSON COACH
SERVICES, LLC                                        LINES 2000 INC.
A&M GREEN FAMILY     FUTURE SIGNS AND GRAPHICS       PARKINSON, LYNDA
PTNR
A&M TAX SERVICES     FWCJUA, INC.                    PARKS AND RECREATION
CORP
A&N ELECTRIC         G & H DEVELOPERS INC            PARKS, BEN
COOPERATIVE
A. L. HOFAKER INC.   G A C TAXPRO INC.               PARKVIEW 2001 BOYS
INSURANCE                                            SOCCER
A.& M TAX SERVICES   G CALVIN GLOVER & SONS          PARROTT, PAT
CORP
A.B.                 G STRAUSS & COMPANY INC         PARS INTERNATIONAL
INVESTIGATIONS,                                      CORP.
INC.
A.D. SLATER          G&M COURT REPORTERS, LTD.       PARTNER FOR CARE
A.D. SOLUTIONS       G&S FIRE EXTINGUISHER           PARTNERS IN
                     SERVICE, INC.                   LEADERSHIP,LLC
A.D.S.               G. E. MATTHEWS, INC REALTORS    PARTNERS IN MEDIA,
INTERNATIONAL,                                       LTD-DO NOT USE
INC.
A.G.E. GRAPHICS      G. NEIL COMPANY                 PARTNERS IN MISSSION
                                                     FOOD BANK
A.J.J.M.D REALTY     G.T. CONCEPTS                   PARTY CITY
CORPORATION
A.T.C.S.             GABE BAKOS                      PARTY TIME
                                                     ENTERTAINMENT
A.W.E. HOLDINGS      GABLE, COLEMAN                  PAS PROPERTIES LLC
LTD.
A.Y. STRAUSS LLC     GABRIEL BENOIT                  PASADENA WATER AND
                                                     POWER
A+ FINANCIAL         GABRIEL BRANESCU                PASCO COUNTY TAX
SERVICES                                             COLECTOR
A+ PAINTING          GABRIEL HENRY BARNES            PASIFICO CORPUZ
A+ PRO               GABRIEL MALINIS                 PASQUALE MIRABELLI
A+ STUDENT           GABRIELLA SNEAD                 PASQUALE, MIKE
STAFFING INC.
A-1 BACKFLOW LLC     GAETANO RUGGIERO                PASSALACQUA REAL
                                                     ESTATE
A-1 BROADCAST, LLC   GAGEN, ED                       PAT GILBERT
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A-1 NATIONAL LOCK   GAIL HOUGH                      PAT KELLY
& ALARM
A-1 PLUMBING OF     GAIL PROCOPIS                   PAT MCBRIDE
BALTIMORE, INC
A1 SHREDDING AND    GAIL TROKE                      PATH IQ
RECYCLING
A-1 SIGNS           GAINES BUS SEVICES, INC.        PATHFINDER
                                                    COMMUNICATIONS, INC
A4D, LLC            GALEN MITCHELL                  PATHWARD, NATIONAL
                                                    ASSOCIATION
AA OPTIMAL TAX      GALILEO CONYERS PHASE II        PATIENT FIRST
                    OWNER LLC
AAA                 GALLAGHER BASSETT SERVICES      PATRECE S SCOTT
                    INC
AAA INTEGRITY       GALLARDO, RUDY Q.               PATRICA LEADBEATER
PROPERTY
MANAGEMENT, LLC
AARON ADAM          GALLEGOS SAITATION              PATRICIA BAILO
HOLDINGS INC        INCORPORATED
AARON C. GARRETT    GALLIVAN , WHITE & BOYD, P.A.   PATRICIA BLAU
AARON DIXON         GALVIN PROCESS SERVING          PATRICIA EDWARD
AARON               GAMMON, JEANIE                  PATRICIA FIORE
INVESTIGATIONS &
RESEARCH
AARON JACKSON       GANDHI KHAMIS                   PATRICIA HARMON
AARON JOHNSON       GANG FINANCIAL, LLC             PATRICIA K HEISS
AARON KIOUS         GANYO SOH                       PATRICIA MATUS
AARON LAPENNA       GAP BROADCASTING, LLC           PATRICIA MCBRIDE
AARON LETAWSKI      GAPPA HOLDINGS                  PATRICIA RAHNEMA
                                                    LIVING TRUST
AARON MOSS          GAPPA, BOB-MANAGEMENT 2000      PATRICIA SCOTT
AARON Y. STRAUSS    GARAGE GIRLS, LLC               PATRICIA WHYNACHT
AARON'S LOCK &      GARBARINI, KATHLEEN             PATRICK A COZZA
KEY, INC.
AARONS RENTS- VA    GARCIA & LOVE                   PATRICK BURGESS
AARROW              GARDEN CITY CUSTOMS             PATRICK FUKUSHIMA
ADVERTISING
AARSHAW ELECTIRC    GARDEN STATE CHECK CASHING      PATRICK HANDYMAN
                                                    LLC
AASEN PUBLISHING    GARDNER & MENDOZA, PC           PATRICK HULLER
(DBA QUICK
QUARTER)
AB CONTRACTING      GARDNER, RUSSELL                PATRICK KILDUFF
ABA JAX             GARLAND NOSEWORTHY              PATRICK MCMAHON
ABACUS I.T.         GARLYNN GROUP LLC               PATRICK MOUSSEAU
ABACUS OF           GARNER & GINSBURG, PA           PATRICK RENAUD
HAMPTON ROADS
MANAGE
ABBAS, HUZEFA       GARRETT REPORTING SERVICES      PATRICK SWEENEY
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ABC FIRE & SAFETY    GARRETT, NATHAN T.             PATRICK TASCONA
EQUIPMENT LTD.
ABC FIRE & SAFETY,   GARRY MCDOUGALL ELECTRIC       PATRICK W.Y. TAM
INC                  INC.                           TRUST
ABC FIRE SAFETY      GARRY STEVENSON                PATRICK WALSH
ABC GLOBAL           GARRY USHER                    PATRICK WHITE
SERVICES, LLC
ABC LEGAL            GARTNER, INC.                  PATRICK'S DJ SOUND &
SERVICES                                            LIGHTING
ABC PLUMBING INC     GARTNER, WENDY                 PATRIOT TAX SERVICE
                                                    LLC
ABCO                 GARY B GRISER                  PATRIOTIC FESTIVAL II
ABDIGHANI ISMAIL     GARY BIRON                     PATRON PROPERTIES,
                                                    LLC
ABDON HORTA     GARY BROWN                          PATSY IRENE GILLIAM
ABDU ABDURAHMAN GARY CHARLES                        PATTI D. HARTLE
ABDUL GHANI     GARY COPELAND                       PATTISON OUTDOOR
                                                    ADVERTISING
ABDULAZEEZ AL        GARY COSTELLO                  PATTISON OUTDOOR
AMAIR                                               GROUP
ABDULQAWI ABBADI     GARY DAVIS                     PATTISON SIGN GROUP
ABE                  GARY DOUCET                    PATTY WHITE
INVESTIGATIONS
ABE MACKAY           GARY EVANS                     PAUL A. MARTIN
ABEL VARGAS          GARY GIBBS                     PAUL ALLEN
ABELL PEST           GARY L FEWER                   PAUL AND RUTH
CONTROL                                             MORRISON
ABHIMANYA            GARY L HOLMES                  PAUL ARVANITIDIS
DAHIYA
ABINGDON             GARY L RICHARDS                PAUL BAAL
VIRGINIAN
ABINGDON,            GARY MARKS                     PAUL BELAIR
LARAMIE
ABISTAR GROUP, LLC   GARY RICHARDS                  PAUL BENJAMIN
                                                    TICHENOR
ABLER                GARY UNDERWOOD II              PAUL CHESTERTON
COMMUNICATIONS
ABOINGO SERVICESS    GARY W CASE AND CO INC         PAUL CROSBY TRUST
ABRAHAM MISSION      GARY WENTZ                     PAUL D & CONNIE F
STREET, LLC                                         SIMMONS
ABRAHAM, ROBERT      GARY WESSEL                    PAUL DAVID STEEVES
ABRAMS & BAYLISS     GAS CITY FUELS LLC             PAUL DESCHAM PS
LLP
ABS SCHOOL OF        GASLAMP INVESTMENTS LLC        PAUL ECKERT
REAL ESTATE LLC
ABSOLUTE             GASLIGHT FESTIVAL              PAUL EDWARD SIMS JR
SOLUTIONS
ABSOPURE WATER       GASTECH SOLUTIONS INC          PAUL FARRELL
COMPANY
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AC3 REAL ESTATE,     GASTON BEAUCHAMP               PAUL FIDLER
INC
ACAC INC             GASTON COUNTY TAX              PAUL FINANCIAL GROUP
                     DEPARTMENT                     INC.
ACADEMAP, LLC        GASTON P SCHULER               PAUL GARRY MCKIRDY,
                                                    JR
ACADEMY MOVING       GATEHOUSE MEDIA NEW YORK       PAUL GLUCK
SERVICES             HOLDING INC
ACADIA MCB           GATEHOUSE MEDIA NEW YORK       PAUL HASTINGS LLP
HOLDING COMPANY      HOLDINGS INC
II LLC
ACB ELECTRICAL &     GATESTONE & CO. INC            PAUL HOFFMAN
WELDING
ACC BUSINESS         GATEWAY OUTDOOR                PAUL JOSE MOOLAN
                     ADVERTISING
ACCE                 GATEWAY REALTY                 PAUL KEMSKE
ACCELERATION         GATEWAY SIGNS & SERVICE        PAUL KERNOHAN
SHREDDING
ACCENT GRAPHICS      GAVASKAR SINGH                 PAUL KRIZAN
ACCESS               GAVIN LEE                      PAUL LANGDON
DEVELOPMENT
ACCESSIBLE360, LLC   GAY, WILLIAM L. & BETTY L.     PAUL MCLARTY
ACCOUNTABILIT LLC    GAYON RUTHERFORD               PAUL MOLINA
ACCOUNTANTS          GAZETTE COMMUNICATIONS         PAUL OZORAK
MEDIA GROUP
ACCOUNTANTS ON       GBS MOBILITY                   PAUL PENNY
CALL
ACCOUNTEMPS          GC SERVICES                    PAUL PEWS
ACCOUNTEMPS          GC TRUSTED AGENTS INC          PAUL R ST LOUIS
(CAROL STREAM)
ACCOUNTING STORE,    GCG FINANCIAL, LLC             PAUL RIGGLE & SONS
THE                                                 INC.
ACCOUNTING TODAY     GCG RISK MANAGEMENT            PAUL ROSARIO
                     CONSULTANTS LLC
ACCOUNTWARE          GCI                            PAUL SAVOIE
ACCRA LOCK & SAFE    GCI TRANSCRIPTION SERVICE      PAUL SHONELL
CO. LTD.                                            MOHAMMED
ACCRESCENT           GCI TRANSCRIPTION SERVICES     PAUL SOULARD
FINANCIAL LTD.
ACCS MAKETING LLC    GDT BAR1 VENTURES LTD          PAUL W. HERRELL
ACCURATE CONTROL     GE CANADA EQUIPMENT            PAULA HART
EQUIPMENT, INC.      FINANCING
ACCURATE             GE CAPITAL CREDIT              PAULA HART
DOCUMENT
DESTRUCTION
ACCURATE             GE VFS CANADA LIMITED          PAULA JEAN GRIFFIN 2015
INSTALLATIONS &      PARTNERSHIP                    TRUST
MOVING SERVICES
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ACCURATE             GECHT, LEO                     PAULA LAMONTAGNE
INVESTIGATIONS
SERVICES
ACCUSTAFF            GEICO                          PAULA PERRY
ACE CASH EXPRESS     GEIER WASTE SERVICE LTD        PAULA SMITH
ACE CASH EXPRESS     GEIGER, JEREMY & ALLISON       PAULETTE DEMELO
ACE CASH EXPRESS     GEISTOWN BOROUGH               PAULETTE LAROCQUE
ACE CHAIR RENTAL     GELDERMAN, HARRY               PAULETTE RYDER
& SALES LTD.
ACE FIRE SYSTEMS,    GEN3 MARKETING, LLC            PAULITO ERSANDO
INC.
ACE OFFICE           GENE LUCIW                     PAULK & PAULK DBA
SOLUTIONS INC                                       SNELLING STAFFING
                                                    SERVICES
ACE SIGN & SERVICE   GENERAL DISTRIBUTING CO        PAWS ANIMAL WILDLIFE
LTD                                                 SANCTUARY, INC
ACERRA,              GENERAL ELECTRIC CAPITAL       PAXSON
FERDINANDO           CORP.                          COMMUNICATIONS
ACF PROPERTITY       GENERAL TREASURER OF RI        PAYDAY BROKERS
MANAGMENT INC.
ACHIEVE YOUR         GENERAL TREASURER, STATE OF    PAYDAY LOAN, LLC
DREAMS FRANCHISE     RHODE ISLAND (UCP)
CONSULTING
ACHILLES GUARD,      GENE'S LTD.                    PAYDAY PERX
INC.
ACKERLEY MEDIA       GENESEE BROOKS LLC             PAYIE TYLER
GROUP, INC.
ACM MANAGEMENT       GENESIS CORP                   PAYNE, GATES,
SERVICES LTD.                                       FARTHING & RADD,
ACME SIGN            GENESIS PUBLICATION INC.       PAYNTER, REED
COMPANY
ACORN                GENESIS SQUARE PROPERTY LLC    PBCC - 856460 - DO NOT
                                                    USE
ACORN NOTARY         GENESYS CLOUD SERVICES, INC.   PBCC - DO NOT USE
SUPPLY
ACQUIRE CROWD        GENEVA PROPERTIES PTNSHP       PCCHL
ACQUIRED             GENNUSO, JOSEPH                PCIP CREDIT IV, LLC
INFORMATION
ACT COMPUTER         GENUENT GLOBAL, LLC            PCS
CONSULTING CO.
ACT DEVELOPMENT      GEOFFREY HOESCH                PCS USA
ACT! CERTIFIED       GEOFFREY PRIDEAUX              PCS, INC
CONSULTANTS OF
VIRGINIA, INC.
ACT-1 TEMPORARIES,   GEORGANA CEPEDA                PDQ ISRAEL FAMILY
INC.                                                FORREST OAKS LLC
ACTION               GEORGE A TOMA                  PEACE, RUBY
INVESTIGATORS
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ACTION LOCK         GEORGE BOLAND                   PEACH FUZZ
                                                    ENTERTAINMENT, LLC.
ACTION PAVING AND   GEORGE CARO                     PEACOCK, W. H.
CONSTRUCTION INC
ACTION PLUS SIGN    GEORGE EGAN                     PEAK DESIGN
CO.
ACTION PROCESS      GEORGE FRANKLIN                 PEARCE, KEITH
SERVICE LLC
ACTION              GEORGE GARRON                   PEARCE, R. KEITH
REMODELING
ACTIVECAMPAIGN,     GEORGE GIBSON                   PEARL MEYER &
LLC                                                 PARTNERS, LLC
ACT-ON SOFTWARE,    GEORGE GIBSON                   PEARL MEYER &
INC.                                                PARTNERS, LLC
ACUMEN DATA         GEORGE KALB                     PEARLHARBOR HARVEST
SYSTEMS, INC.                                       LAKESHORE, L.L.C.
AD ELECTRIC         GEORGE KANNON                   PEARS, DANIEL
AD NATIONAL         GEORGE L. COOPER                PECK, LINDA
AD SAVE, INC.       GEORGE LIEBMAN, TRUSTEE FOR     PECO ENERGY-8699
                    MEDICUS
ADA COUNTY          GEORGE MARCOS & SONS L.P.       PECO-37629
TREASURER (BOISE,
ID)
ADAIR, BILL         GEORGE MASON UNIVERSITY         PECO-ARC
                                                    INSTITUTIONAL REIT LLC
ADALBERTO ALBA      GEORGE MIREAU                   PEEKSKILL PROPERTIES
ADAM BOLTON         GEORGE MITCHELL                 PEEL PRODUCTIONS
ADAM BROADHURST     GEORGE NOVAK                    PEGASUS CONSULTING
ADAM BURCHILL       GEORGE PALACIOS DBA BRANDED     PEGGY NOBES
                    T'S
ADAM I FORD         GEORGE RALF                     PEGGY OLIVE
ADAM MACDONALD      GEORGE W. MINNER, JR.           PELLER ESTATES
ADAM MARTIN         GEORGE WILLIAM MINNER JR.       PELMOREX CANADA
ADAM MYERS          GEORGE, EMIL                    PEMBROKE PINES MEDIA
PLUMBING, INC.
ADAM N. ROBINSON    GEORGEIT M. YOUNAN              PEMBROKE SQUARE
                                                    ASSOCIATES
ADAM ST. JEAN       GEORGETOWN, DAVID               PEMBROKE SQUARE
                                                    ASSOCIATES
ADAM WILLIAMS       GEORGETOWN, MORGAN              PENA, MICHAEL
ADAMOS, EDWARD      GEORGIA ALEXANDER               PENA, VICTORIA
ADAMS OUTDOOR       GEORGIA CROWN DISTRIBUTING      PENCOR INSTALLATIONS
ADVERTISING         CO
ADAMS OUTDOOR       GEORGIA DEPARTMENT OF           PENDER & COWARD
ADVERTISING, LP     REVENUE
ADAMS SERVICES      GEORGIA DEPARTMENT OF           PENGUIN PROPERTIES
                    REVENUE                         LLC
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ADAMS SIGN          GEORGIA DEPARTMENT OF           PENGUIN PUTNAM INC
SERVICE AND         REVENUE
REPAIR, LLC
ADAMS STORAGE       GEORGIA DEPARTMENT OF           PENNER INTERNATIONAL
VILLAGE             REVENUE, UNCLAIMED PROPERTY     INC.
                    PROGRAM
ADAMS, HARRIS       GEORGIA DEPT OF REVENUE         PENNER SIGNS
REPORTING INC.      PROCESSING CENTER
ADAMS, KRISTINE     GEORGIA INCOME TAX DIVISION     PENNSYLVANIA SCDU-
                                                    0661000240
ADAMS, RANDON       GEORGIA NATURAL GAS             PENNSYLVANIA SCDU-
                                                    2235100157
ADAMS. KATHY        GEORGIA POWER                   PENNSYLVANIA
                                                    TURNPIKE COMMISSION
ADCO ADVERTISING    GEORGIA POWER                   PENNY FORBES
LTD
ADCO SIGNS INC.     GEORGIA SECRETARY OF STATE      PENNY GOLLEN
ADD                 GEORGIAN MOBILE SIGNS, INC.     PENNY OLSEN
COMMUNICATIONS
INC.
ADDLEASE (MCAP)     GEORGIAN SPORTS AND             PENNY TRENHOLM
                    ENTERTAINMENT
ADECCO              GEORGIE SUSOEFF                 PENNYSAVER
EMPLOYEMENT
SERVICE LIMITED
ADEJIMI             GEORGINA SWITZER                PENNYSAVER
ADEMUYIWA
ADELE               GERAKARIS, THOMAS               PENNYSAVER GROUP INC.
PITAWANAKWAT
ADELPHIA BUSINESS   GERALD B CRAWFORD II            PENSACOLA HANDYMAN,
SOLUTIONS                                           LLC
ADELPHIA MEDIA      GERALD BACH                     PENSKE TRUCK LEASING
SERVICES                                            CO.,L.P.
ADENYO USA INC.     GERALD D.R. AND SHARON M        PENTAD PROPERTIES,
                    HETTICH                         INC.
ADESEGUN MUSIWA     GERALD E FUERST CLERK OF        PENTON MEDIA
                    COURTS
ADGEO, INC          GERALD GINTER                   PENTON TECHNOLOGY
                                                    MEDIA, INC.
ADGOOROO, LLC       GERALD H PRYOR                  PENTRY, JAMES
ADIL BARRA          GERALD M. MOORE & SON, INC.     PEOPLE SOFT, INC.
ADISA SELIMOVIC     GERALD N. COWEY                 PEOPLEREADY INC
ADIVISE CAPITAL     GERALD NEWMAN                   PEOPLES
LLC
ADMIIN INC          GERALD PILON                    PEOPLE'S GAS
ADOBE SYSTEMS,      GERALD PRYOR ACCOUNTS           PEOPLES INCOME TAX
INC.
ADP                 GERALDINE SAUNDERS              PEOPLE'S REALTY, INC.
ADP HOLDINGS INC    GERALDO INENEO                  PEOPLES, LARRY
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ADP PAYROLL          GERARD BLACK                     PEPCO POWER
ADP SCREENING &      GERARD CHAMBO                    PEPE LEPEW
SELECTION
SERVICES
ADP SCREENING AND    GERARD JEAN                      PEPPERWEED
SELECTION                                             CONSULTING, LLC
SERVICES,INC
ADP, INC. - 842875   GERMAINE RONDEAU                 PER MAR SECURITY
                                                      SERVICES
ADRAGNA, PETER       GERON, DAVID                     PERCONTE, SALVATORE
ADRIAN ILEA          GERRALD MIGWANS                  PERCY GADD
ADRIAN MIZZI         GERRITY RETAIL FUND 2, INC       PEREZ, OLGA COLLAZO
ADRIAN SIMMS         GERRITY RETAIL FUND 2, INC.      PEREZ-LEPKOWSKI,
                                                      MARIA
ADRINE MORSE         GERRITY RETAIL FUND 2, INC.-DO   PEREZ-LOPEZ, RENE
                     NOT USE
ADROLL, INC          GERRY CAMPBELL                   PEREZ-LOPEZ, RENE
ADT SECURITY         GERRY SLIPCHUK                   PERFECT COPY & PRINT
SERVICES CANADA,
INC.
ADT SECURITY         GES EXPOSITOIN SERVICES          PERFECT EVENT
SERVICES CANADA,                                      RENTALS
INC-8481
ADT SECURITY         GESCHICKTER-SMITH                PERFECT PEN &
SERVICES, INC.-      ENTERPRISES, LLC                 STATIONERY
371956
ADT SECURITY         GET MOTIVATED SEMINARS, INC.     PERFECT PROCESS
SERVICES-371878
ADT SECURITY         GETBUSY USA CORPORATION          PERFECT PROMOS
SYSTEMS              (SMARTVAULT)
ADVANCE BUSINESS     GETTY IMAGES                     PERFECT VISION MEDIA
SYSTEMS (WINDSOR)
INC.
ADVANCE DESIGNS      GEUS/CITY OF GREENVILLE          PERFECTION LAWNS INC
ADVANCE              GFC ATLANTIC ASSOCIATES, LLC     PERIMETER ASSOCAITES,
DISTRIBUTION/HERE'                                    LLC
S THE SCOOP
ADVANCE ELECTRIC     GGP LIMITED PARTNERSHIP-         PERISCOPEIQ, INC
                     APACHE
ADVANCE SOLAR        GGP LIMITED PARTNERSHIP-         PERKAL, ALBERT &
SOLUTIONS            COLUMBIA BUSINESS                FRANK FITZPATRICK
ADVANCE              GGP LIMITED PARTNERSHIP-         PERKINS COIE
SURVEILLANCE         GOVERNORS SQ
GROUP, INC.
ADVANCED             GGP LIMITED PARTNERSHIP-THE      PERKS CARD
DELIVERY SERVICE,    WOODLANDS
INC.
ADVANCED             GGP NATICK TRUST                 PERKS UNLIMITED INC
DISPOSAL
STATELINE-PD
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ADVANCED            GGPL PRIME, LLC-COASTLAND       PERO SEO INC
DOCUMENT            CENTER
DESTRUCTION, LLC
ADVANCED            GGPLP LLC-LYNNHAVEN MALL        PERRY BROADCASTING
INVESTIGATIVE                                       COMPANY
SOLUTIONS INC.
ADVANCED LOCK &     GGPLP REAL ESTATE, INC.         PERRY DEWEY
SECURITY LTD.
ADVANCED MOVING     GGPLP REIT SERVICES, LLC        PERRY REID
AND TRANSPORT
LTD.
ADVANCED TELCOM     GGPLP, LLC-MAINE MALL           PERRY, JOHNSON,
GROUP, INC.                                         ANDERSON, MILLER &
                                                    MOSKOWITZ LLP TRUST
ADVANTAGE           GHADIALY, MAJEED                PERSONAL CONCEPTS
BUSINESS SYSTEMS
ADVANTAGE           GHILAINE MATHIEU                PERSONAL
CONFERENCE &                                        MANAGEMENT SERVICES,
EXPO                                                LLC
ADVANTAGE           GHP HOLDINGS LLC                PERSONIFIED LLC
CONFERENCE &
EXPO, LLC
ADVANTAGE           GIACOMO GRECO                   PERSONNEL DATA
RELOCATION                                          SYSTEMS, INC
SYSTEMS
ADVANTAGE SIGNS     GIBBY & BRINSON LAND            PERTH AMBOY CHECK
LTD.                DEVELOPMENT INC.                CASHING SERVICE
ADVANTAX, INC       GIBRALTAR MANAGEMENT CO.,       PETER BARANOV
                    INC
ADVANTAX-DO NOT     GIBSON BUILDING SUPPLIES        PETER BLACKMERE
USE
ADVENTNET           GIBSON, RHONDA DESSELLES        PETER CHIN PROPERTY
                                                    MANAGER, LLC
ADVENTURE 54.5      GIBSON, RUSSELL & MEIERJOHAN,   PETER DEN HOLLANDER
                    BERNIE
ADVERTISING         GIDEON OFISI                    PETER E DAVIS
BALLOON COMPANY
LLC
ADVERTISING ETC.    GIESBRECHT, BECKY               PETER JULES
ADVERTISING         GIG KYRIACOU                    PETER KANG
VISUALS, INC.
ADVERTISING, INC    GIGMASTERS.COM, INC.            PETER KASANDRINOS &
                                                    GEORGE KASANDRINOS
ADVO, INC.          GILBERT CHAO                    PETER LUPTON
ADVOCATE            GILBERT E COPELAND, SR          PETER MCMAHON
SERVICES
ADVOCATES LLP       GILBERTO JOSE ESPINOZA          PETER OSTROWSKY
AEEMRO BELAYNEH     GILLEN, STICKLE & ASSOCIATES    PETER PITOSCIA
AEGIS LOCKSMITHS    GILLES AND MARILYN PICARD       PETER ROMAIN
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AEROTEK             GILMAN & CIOCIA, INC.           PETER SCOTT
PROFESSIONAL
SERVICES-DO NOT
USE
AEROTEK             GILSTRAP GREG                   PETER ST. DENIS
PROFESSIONAL
SERVICES-DO NOT
USE
AEROTEK             GIMA, MARIAN                    PETER SUCHOWER
PROFESSIONAL
SERVICES-IL-DONT
USE
AEROTEK, INC.       GINA BERNSTEIN                  PETER VASILIADIS
AFCO CREDIT CORP    GINA P WILLIAMS                 PETER VON KANEL
AFCO CREDIT         GINETTE ANDRE                   PETER WINTER
CORPORATION
AFFORDABLE          GINGERICH, SUSAN                PETERBOROUGH
ADVERTISING                                         CURLING CLUB
AFFORDABLE BRICK    GINNY DOORNEKAMP                PETERBOROUGH
REPAIR, LLC                                         HUMANE SOCIETY
AFFORDABLE          GINO DILEONARDO                 PETERBOROUGH PETES
FLOORS SALES &                                      HOCKEY CLUB LTD.
SERVICE, INC.
AFFORDABLE          GIOVANNI'S SIGNS                PETEREIT INVESTMENTS,
FLOORS, INC.                                        INC
AFFORDABLE OFFICE   GISELE BRASSARD                 PETERS, DONNA
& HOME SERVICES
AFFORDABLE SEPTIC   GIUSEPPE SPADAFORA              PETERS, EDGAR
SOLUTIONS, INC.
AFL DISPLAY GROUP   GIVITI HALL                     PETERS, ESQ., ALEXIA E.
AFMK HOLDINGS,      GIVORG SIMON                    PETERS, STEVE
INC.
AFNI, INC.          GLADES COURT PROPERTIES, LP     PETERSBURG GENERAL
                                                    DISTRICT COURT
AFOAKWA, RICHARD    GLAPO CORP                      PETERSBURG GENERAL
                                                    DISTRICT COURT
AFTON ASSOCIATES    GLASSDOOR, INC                  PETTIGREW, CHARLES R.
LLC
AFTON ASSOCIATES,   GLASSICAL CREATIONS             PETTINARO ENTERPRISES
LLC                                                 HOLDINGS LLC
AGARI DATA, INC.    GLEIM PUBLICATIONS              PETZ ENTERPRISES, INC.
AGENT MEDIA         GLEN ALEXANDER                  PETZA, DONALD
CORPORATION
AGENT PINPOINT      GLEN DALTON                     PEVIN, RANDALL
AGM-NEVADA LLC      GLEN HUBERT                     PFAM-TRAN, TONI
AGNES               GLEN R.NELSON/STEVEN A.         PFI - PROCESS
SILVERTHORN         NELSON PTR.                     FORWARDING
                                                    INTERNATIONAL
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AGORA LEASING       GLEN SMITH                      PFM MARKETING, LLC
AND MANAGEMENT,
LLC
AHLUWALIA           GLEN VAN DE KERCKHOVE           PG FLOOR FASHIONS LTD.
BROTHERS HOLDING
INC
AHMED ELSIUFI       GLENDA JAMES REAL ESTATE        PG LASER GRAPHICS LTD
                    BROKERAGE INC
AHR                 GLENDA KENNEDY                  PG&E
COMMUNICATIONS,
INC.
AHR PROPERTIES LP   GLENN CASSIDY                   PHAROS HOLDINGS, LLC
AHS SECURITY        GLENN HEALY                     PHILADELPHIA GAS
SYSTEMS INC                                         WORKS
AI MEDIA GROUP      GLENN, SALLIE                   PHILBIN & ASSOCIATES,
                                                    INC.
AIA SERVICES, LLC   GLENWOOD NORTH DUKE CO LLC      PHILIP A SHEELY
AIA SERVICES, LLC   GLENWOOD PLAZA LLC              PHILIP A. LYNCH
AIDAN HAWLEY        GLOBAL ADJUSTMENT SERVICE       PHILIP BALL
AIDER KADDER        GLOBAL COMMUNICATIONS-EFAX      PHILIP BALL
                    CORPORATE
AIELLO GENERAL      GLOBAL COMPUTER SUPPLIES        PHILIP GARFORTH
CONTRACTING
AIG SPECIALITY      GLOBAL CROSSING TELECOMM        PHILIP JOHNSON
INSURANCE
COMPANY
AILEEN DUFFY        GLOBAL FINANCIAL SERVICES       PHILIP P GARFORTH
AIM MEDIA TEXAS     GLOBAL INVESTIGATIVE &          PHILIP SPAGNOLO, JR
OPERATING, LLC      MANAGEMENT SOLUTIONS
AIMEE FRANKHOUSE    GLOBAL PROFESSIONAL SERVICES    PHILIPPINE NURSES
TRUST                                               ASSOCIATION
AINEEAMO INC.       GLOBAL SECURITY SERVICES        PHILLIP CHALLIFOUX
AINOR SIGNS, INC.   GLOBAL TALK RADIO               PHILLIP MACDONALD
AINSWORTH           GLOBAL WIDE MEDIA, INC.         PHILLIPS LYTLE LLP
MURRAY
AIR AD PROMOTIONS   GLOBALINX DATA CENTERS LLC      PHILLIPS MCFALL
                                                    MCCAFFREY MCVAY &
                                                    MURRAH P.C.
AIR ADVANTAGE       GLOBE CORP. STAY                PHILLIPS TOURS
                    INTERNATIONAL
AIRBORNE EXPRESS    GLOBRITE ELECTRIC CO LTD.       PHILLIPS, EDWIN
AIRDRIE ECHO        GLOBUS EDITION S.L.             PHILLIPS, JOSEPH
AIRGAS RETAIL       GLORIA BARNHART                 PHILLIPS, LYTLE,
SOLUTIONS                                           HITCHCOCK, BLAINE &
                                                    HUBER LLP
AIRGAS USA, LLC     GLORIA BOWERS                   PHILLIPS, TODD
AIRLINE SHOPPING    GLORIA CHOUDHRI                 PHILLY.COM
CENTER
PARTNERSHIP
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AIRPORT EXPRESS      GLORIA MACKENZIE                PHOENIX HEATING AND
                                                     AIR
AIRQUIP, INC.        GLORIA PLASCENCIA               PHOENIX PAPER
                                                     SHREDDING
AIRTIME MEDIA        GLOUCESTER COUNTY               PHOENIX PROMOTIONAL
                                                     PRODUCTS
AJ CONNECTION        GLOUCESTER-MATTHEWS             PHOENIX SPEEDWAY LLC
                     GAZETTE-JOURNAL
AJD DATA SERVICES    GLOUSESTER ARTS ON MAIN INC     PHOENIX THEATRE
INC.
AJMD MACON LLC       GLOW THE EVENT STORE            PHONE BOOK COMPANY
AJMD MACON LLC       GM REALTY OF BANGOR LLC         PHYLLIS LATIMER
AKERMAN              GMA CONCRETE DESIGN             PICUS/ATLANTIC
SENTERFITT                                           TELECOM
AKITA OFFICE         GO CONTRACTING LLC              PIEDMONT NATURAL GAS
FURNITURE
AKL LIMITED          GOAL COMMERCIAL INC             PIEDMONT SERVICE
PARTNERSHIP                                          GROUP
AKOLISA UFODIKE      GODADDY.COM                     PIER COMMUNICATION,
                                                     INC.
AKSYS                GODDARD, DARRELL                PIERCE & THORNTON
AL AZHAR SHRINE      GODFREY GROUP (THE)             PIERCE COUNTY BUDGET
CIRCUS                                               & FINANCE
ALABAMA              GODIN JOSE                      PIER-LUCE DOBBS
DEPARTMENT OF
REVENUE
ALABAMA              GOD'S PANTRY FOOD BANK, INC     PIER-LUCE GALLIEN-
DEPARTMENT OF                                        DOBBS
REVENUE
ALABAMA              GODSEY LAND AND                 PIERRE ERIC BALL
DEPARTMENT OF        DEVELOPMENT
REVENUE
ALABAMA POWER        GODWIN LISA                     PIERRE FREIS
ALAINA SPEC          GOIN' POSTAL                    PIERRE-LUC BLANCHARD
ALAN BOIS            GOLD COAST LIMOUSINES           PIGEON, LLC
ALAN HALLIDAY        GOLD, BRIAN                     PIGNATARO, LAWRENCE
                                                     F.
ALAN TELFORD         GOLDBERG, RANDI                 PIGNATARO, LAWRENCE
                                                     F., JR.
ALAN TROSKO          GOLDEN EAGLE MGMT SVCS          PIKE PEAK PL
ALAN WATSON          GOLDEN PHOENIX SOLUTIONS        PILLAR DEVELOPMENT
ALANA BUSH           GOLDEN WEST INVESTMENT          PILLAR TO POST
                     PROPERTIES, LLC
ALANA FEBBRINI       GOLDING, GARY                   PILOT MEDIA-826526
ALANA MCLENNON       GOLDMAN, DANIEL                 PILOT ONLINE
ALANNA OLISOFF       GOLDSTEIN & PECK                PIMCO
ALANNAH WELCH        GOLDSTEIN FAIRCHILD, LLC        PIN MINISTRY C/O P4P
ALARM MASTERS        GOLDSTEIN, IVAN                 PINAR CENTER LLC
MONITORING GROUP
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ALARMFORCE          GOLDSTON, WILLIAM               PINE GROVE LLC
ALASKA ACES, LLC    GOLF SHORE ASSOCIATES, LLC      PINE TREE INN
ALASKA              GOLOMB & HONIK, P.C.            PING NU TECHNOLOGIES,
COMMUNICATIONS                                      INC.
ALASKA              GOMEZ                           PINKERTON CONSULTING
DEPARTMENT OF                                       & INVESTIGATIONS
LABOR AND
WORKFORCE
DEVELOPMENT
ALASKA              GOMEZ, GABRIEL                  PINPOINT IT SERVICES
DEPARTMENT OF
REVENUE-UCP
ALASKA DEPT. OF     GONG.IO INC                     PINTO, OLIVIA
REVENUE, TAX
DIVISION
ALASKA              GONZALES, ALBERTO               PIOLIN PRODUCTIONS,
INVESTIGATION                                       INC.
AGENCY
ALASKA WASTE-       GONZO COMMUNICATIONS            PIONEER VILLAGE
ANCHORAGE                                           SHOPPING CENTER
ALAYNE LEIGHTON     GOOD GROUND FAMILY CHURCH       PIPELINE ELECTRIC INC
ALBA PARMENTOLA     GOOD GROUND FAMILY CHURCH       PIPER MARBURY
                                                    RUDNICK & WOLFE
ALBA SPECTRUM       GOOD MORNING SUNSHINE           PIPER PEST CONTROL
CORPORATION
ALBANO CLEANERS     GOOD TIMES BUS SERVICE, LLC.    PIPER RUDNICK LLP
ALBANY              GOOD, LORRAINE                  PIPKINS INVESTIGATION,
BROADCASTING CO.                                    INC
ALBANY TIMES        GOODERHAM TAX SERVICE           PIQUA AREA CHAMBER
UNION                                               OF COMMERCE
ALBANY UTILITIES    GOODMAN & COMPANY, LLP          PITCAIRN ADVISORY, INC.
ALBERT AND          GOODWILL OF THE COASTAL         PITCHENGINE
DEBORAH ROWE        EMPIRE INC
ALBERT FISHER, SR   GOODWIN PROCTER LLP             PITNEY BOWES -
                                                    223648/RESERVE ACCT.
ALBERT HILLIER      GOOGLE ADWORDS                  PITNEY BOWES - 371874 -
                                                    PURCHASE POWER
ALBERT R. CORDERY   GOOGLE INC                      PITNEY BOWES - 371896
ALBERTA COUNCIL     GOOGLE, INC.                    PITNEY BOWES - 856460
OF WOMEN'S
SHELTERS
ALBERTA RADIO       GOOSE REAL ESTATE               PITNEY BOWES- 190
GROUP                                               (LEASE)
ALBERTA TREASURY    GORD TANNER                     PITNEY BOWES BANK-
BOARD AND                                           PURCHASE POWER
FINANCE
ALBERTA WEEKLY      GORDEN ESFORD                   PITNEY BOWES DANKA
NEWSPAPERS                                          B9226
ASSOCIATION
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ALBERTH, CHRIS        GORDON & REES                   PITNEY BOWES, INC.
                                                      856390
ALBIN                 GORDON & REES CLIENT TRUST      PITNEY BOWES-278
KIZHAKKOODAN          ACCT.-NJ
RAPPAI
ALBINA GEREMONTE      GORDON & REES, LLP              PITNEY BOWES-371887
ALBRANSCO LLC         GORDON & REES, LLP              PITNEY WORKS
ALCIDES SERRANO       GORDON ALLENSEN                 PITNEYWORKS
ALD HOPE LLC          GORDON DOERKSEN                 PITT NEWS, THE
ALDEN SERVICES,       GORDON DOUGLAS                  PITTA & DREIER, LLP
LLC
ALDO CONSTANTINO      GORDON FORD                     PITTSBURGH POST
                                                      GAZETTE
ALDRIDGE, ELVIRA      GORDON FORRESTER                PJR PROPERTIES, LLC
M.
ALECTRA UTILITIES     GORDON OLIVER                   PKF MUELLER, LLP
CORPORATION
ALEJANDRA             GORDON REES SCULLY              PLAIN & SIMPLE SPORTS
ROMERO                MANSUKHANI, LLP                 AND PROMOWEAR
ALEKANDAR             GORDON SCHILDE                  PLANET CENTRAL
TEMELKOVSKI
ALEKS MOVING CO.      GORDON WILLIAMS                 PLANET DEPOS, LLC
ALERT LOGIC, INC      GORDON, JACK                    PLANIT TECHNOLOGY
                                                      GROUP
ALESCO                GORDON, JOHN & JEAN             PLANK CROSSING
                                                      SHOPPING CENTER
ALESIA PRYOR          GORDON, STEPHEN                 PLANO MOLDING
                                                      COMPANY
ALEX CRAVEN           GORWAY GROUP INCORPORATED       PLATER, SHANTYA
ALEX MICHOS           GOUTAM YOGI                     PLATFORM
                                                      ADVERTISING, INC.
ALEXANDER             GOVERNMENT OF ALBERTA           PLATINUM ASSOCIATES,
JOHNSTON                                              LLC
ALEXANDER             GOVERNMENT OF                   PLATINUM FINANCIAL
JOZEFACKI             SASKATCHEWAN                    SERVICES
ALEXANDER, KAY        GOWLING WLG(CANADA) LLP(IN      PLATINUM LITIGATION
                      TRUST)                          SOLUTIONS, LLC
ALEXANDER, POOLE      GP STRATEGIES CORPORATION       PLATINUM SIGNS
& COMPANY, INC.
ALEXANDER'S ON        GPATZ, LLC                      PLAVE KOCH PLC
THE BAY
ALEXANDRA &           GP-BURLINGTON, LLC              PLAYBACK NOW
SAMANTHA ILIFFE
ALEXANDRA WOODS       GR FINANCIAL AND TAX            PLAZA 5, INC.
                      SERVICES LTD.
ALEXIS GADDISHAW      GRACE BURTON                    PLAZA MANAGEMENT
                                                      TRUST
ALEXIS HOUSTON        GRACE CABRAL                    PLAZA NORTH STATION
                                                      LLC
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ALEXIS               GRACE FRAPPIER                 PLAZA PROPERTIES
LAGIMODIERE-GRISE
ALEXIS WHITE         GRACE LARSON                   PLAZAQ, LLC
ALEYA EL RASSI-      GRACE MILNE                    PLIMUS
WIGHT
ALFRED & FABRIS      GRACE STEWART                  PLIXER, LLC
STUDIOS INC
ALFRED BERNARD III   GRADCO LIMITED PARTNERSHIP     PLOMBERIE CHAUFFAGE
                                                    D. BROCHU, INC.
ALFRED HANNAH        GRADCO LTD                     PLUM CREEK CENTRE,
                                                    LLC
ALI AHMED            GRADE A+ AIR COOLING &         PLUMBING NOW INC.
                     HEATING
ALI BAHAR            GRAFTON BUFFA GROUP, LLC       PLURALSIGHT, LLC
ALIANZA POR          GRAHAM BROOKS                  PLUSHLAND, INC.
AMISTAD DE SAN
ANTONIO
ALIBABA              GRAHAM DATA SUPPLIES, LLC      PM GROUP GULF COAST,
INVESTMENTS LLC                                     INC
ALICE BAAL           GRAHAM GP                      PNC BANK-856177
ALICE CULLEN         GRAHAM LIMITED PARTNERSHIP     PNE INVESTMENTS LLC
ALICE DYCK           GRAHAM PLAZA LLC               PNM
ALICE JOSEPH         GRANBY THEATHER                POBIAK, KEVIN
ALICE KUBEK          GRAND & TOY (CALGARY)          POCKET SOFT, INC.
ALICE MAGIERSKI,     GRAND & TOY (DON MILLS)        PODOBNIKAR, MICHAEL
RECEIVER OF TAXES
ALICE MEDIGEE        GRAND AFFAIRS                  POE, CANDY MORRIS
ALICE P              GRAND AVENUE CENTER INC        POINTBREAK
QUARTERMAN                                          MANAGEMENT LLC
ALICIA BRUCE         GRAND FALLS REALTY CO. LTD.    POINTER & ASSOCIATES
                                                    INC.
ALICIA EVANS         GRAND FURNITURE DISCOUNT       POINTER & ASSOCIATES
                     STORES                         INC.
ALICIA MORGA         GRAND OAKS INVESTMENTS LLC     POINTER, LARRY &
                                                    JANICE
ALICIA SUTHERLAND    GRAND PRICE SUPERMARKET        POINTS EAGLE RADIO,
                                                    INC.
ALICIA               GRAND RIVER & WYOMING, LLC     POLAK CONSULTING INC.
TYMOSZEWKZ
ALICKSMITH           GRAND RIVER MUSTANGS           POLARIS LEASING
GENERAL
CONTRACTING
ALIEN VAULT, INC     GRANDVIEW VILLAGE SHOPS 888,   POLICE SAFETY
                     LLC                            MAGAZINE
ALISA THIBEAU        GRANGER, PAMELA L.             POLK
ALISON LOVEMAN       GRANITE STATE MECHANICAL       POLK COUNTY
                     SERVICES, LLC                  PUBLISHING CO., INC.
ALISON PETRIE &      GRANNIS, JOHN                  POLLARD & BAGBY, INC.
ZANA GALINA
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ALITHYA FINANCIAL    GRANT & EISENHOFER PA          POLLARD'S CHICKEN
SOLUTIONS, INC
ALIXPARTNERS, LLP    GRANT D. HACKETT               POLO PARK SHOPPING
                                                    CENTRE
ALL AMERICAN         GRANT DENNIS                   POLY MAIL MEDIA
CALENDARS LLC                                       GROUP
ALL BRITE SIGNS      GRANT THORNTON LLP             POMEGRANATE RE LLC
(2003) LTD.
ALL BUSINESS.COM     GRANT THORNTON LLP             POMPLUN, DONNA
ALL GLASS &          GRANT THORNTON, LLP            PONTE, ANDRES
MIRROR SERVICES
LTD
ALL LANGUAGES        GRANT-MURRAY PROPERTY          PONTE, KATHY
LTD.                 MANAGEMENT LLC
ALL OUT SPORTS       GRANVILLE HOLDINGS INC.        POONAM KOTAK
ACADEMY II
ALL PRO PLUMBING     GRASSROOTS NEWS                POP @ YOUR NEEDS
& HEATING
ALL SOUTH            GRAVES & PALMERTREE, PLLC      POPE, DARREN
ELECTRICAL
CONSTRUCTORS, INC.
ALL STAR FIRE        GRAVES, FRED                   POPE, DEBRA
SAFETY LLC
ALL STAR SIGNS       GRAY, CATHY                    POQUOSON SEAFOOD
                                                    FESTIVAL
ALL THAT IS          GRAY, D.B., CPA, PC            PORT CHARLOTTE MALL,
CERTAIN LLC                                         LLC
ALLAN ARMSTRONG      GRAY, ENOLA                    PORTABLECOMPUTER.CO
                                                    M
ALLAN ARMSTRONG      GRAY, PLANT, MOOTY, MOOTY &    PORTAGE PLACE
                     BENNETT, P.A.                  SHOPPING CENTRE
ALLAN BORESS         GRAY, VALERIE                  PORTER REALTY
                                                    COMPANY, INC.
ALLAN BOYNTON        GRAYCON GROUP LTD.             PORTER, BENJAMIN
MARKETING GROUP
ALLAN EDMONDSON      GREALAND CORPORATION           PORTER, ERIC
ALLAN GREEN          GREAT AMERICA FINANCIAL        PORTFOLIO RECOVERY
                     SERVICES CORPORATION           ASSOCIATES LLC
ALLAN HATTIE         GREAT AMERICAN FRANCHISE       PORTFOLIO WEEKLY
                     EXPO, INC
ALLAN KURIK          GREAT LAKES COMPUTER           PORTLAND GENERAL
                                                    ELECTRIC
ALLAN L. MCKAY       GREAT LAKES DEVELOPMENT INC    PORTS EVENTS
ALLAN MCLENNON       GREAT LAKES TAX SERVICE INC.   PORTSMOUTH CITY
                                                    TREASURER
ALLAN POWERS         GREAT SCOTT BROADCASTING       POSTAGE BY PHONE
ALLAN SMITH          GREAT SOUTHERN OWNER, LLC      POSTCARD PORTABLES
                                                    GRANDE PRAIRIE
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ALL-AROUND SIGN     GREAT SOUTHERN SC-              POSTCARD PORTABLES
CO.                 HOLLYWOOD VIDEO                 LTD.
ALL-COMFORT         GREAT SOUTHERN SHOPPERS         POSTCARD PORTABLES
HEATING & COOLING   CITY, INC.                      REGINA
ALLEGHENY POWER     GREATER INDIANAPOLIS            POSTMASTER
                    CHAMBER OF COMMERCE, INC
ALLEGIS GROUP       GREATER MEDIA                   POSTMASTER
HOLDING, INC
ALLEGIS GROUP       GREATER PHILADELPHIA            POSTMEDIA CANADA
HOLDINGS, INC.      MINORITY BUSINESS STRATEGIC
ALLEIN BEALS        GREATER ROCHESTER CHAMBER       POST-TRIBUNE
                    OF COMMERCE                     PUBLISHING, INC.
ALLEN AME           GREATER SUDBURY POLICE          POTATOHEAD SIGNS
HOUSING             ALARM PROGRAM
CORPORATION
ALLEN HYMAN         GREATER SUDBURY UTILITIES       POTATOHEAD SIGNS
ALLEN               GREATER TALENT NETWORK, INC.    POTOMAC ELECTRIC
INVESTIGATIVE                                       POWER CO.
SERVICES
ALLEN STACEY        GREATER TAMPA BAY CHAMBER       POTOMAC
                    OF COMM.                        INVESTIGATIONS, INC.
ALLEN, APRIL        GREATER WASHINGTON C. OF C.     POTTER, DARREN
ALLEN, RYAN         GREATER YORK CHAMBER            POTTS, JASON & ALLISON
ALLIANCE BENEFIT    GREATLAND CORPORATION           POTVIN, WILLIAM
GROUP
ALLIANCE            GREEN CANE PROPERTY, LLC        POURBAIX, JEREMY
COMMUNICATIONS,
INC.
ALLIANCE FOR        GREEN, CLYDE                    POWER DIRECT
LUPUS RESEARCH
ALLIANCE            GREEN, JEFFREY                  POWER MANAGEMENT
WORLDWIDE
INVESTIGATIVE
GROUP, INC.
ALLIED NATIONAL,    GREENBERGTRAURIG                POWER MARKETING, INC
INC.
ALLINSON            GREENBRIER AUDIO & VIDEO        POWER PLAY
CONSULTING                                          MARKETING
ALLLIANCE           GREENGATE PROPERTY              POWER SATELLITE
AVIATION GROUP      MANAGEMENT, INC.                SERVICES
LLC
ALLMOVE MOBILE      GREENSHADES SOFTWARE            POWER STREAM
SHREDDING
ALLOWAY             GREENSPOON MARDER, LLP          POWNALL SPORTS
INNOVATIONS                                         STADIUM
ALLPOINTS FIRE      GREENSPOON MARDER, LLP          POWWOW CONSULTING,
PROTECTION LTD                                      INC.
ALLPOINTS, INC      GREENVILLE NEWS                 PPL ELECTRIC UTILITIES
ALLPRO              GREENWOOD ARCHER                PR NEWSWIRE
ASSOCIATES, LLC.    INCORPORATED                    ASSOCIATION, LLC
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ALL-SEASON          GREER, HUGH R. & BRENDA         PRACTICAL LAW
WINDOW CLEANING                                     COMPANY
ALL-STAR GLASS &    GREG BARON                      PRADNYA MAHADIK
MIRROR, INC .
ALLSTATE BENEFITS   GREG BARON                      PRAGMATIC WORKS, INC.
ALLSTATE            GREG DANIEL                     PRAIRIE SIGNS
FINANCIAL
COMPANY
ALLSTREAM CORP.     GREG GOUTHREAU                  PRASCUS, LARRY
ALLTEL              GREG KIRYLUIK                   PRATE PROPERTIES, LLC
ALLTEL - 9001908    GREG LESNICK                    PRATER, BRUCE
ALLTEL              GREG MCHALE                     PRATT, GEORGE T.
COMMUNICATIONS
RACE
ALLTEX STAFFING &   GREG MILLER                     PRATTS CATERING
CONSULTING LLC
DBA ABBA STAFFING
& CONSULTING
ALLURING            GREG MONTEGOMERY                PRECISION
ADVERTISING                                         INVESTIGATIONS &
                                                    CONSULTING
ALLYSA ROBERTS      GREG MONTEYNE                   PRECISION PLACEMENTS,
                                                    INC.
ALLYSON HICKS       GREG SECORD                     PREDATOR OR VICTIM
                                                    INVESTIGATIONS, INC.
ALLYSON             GREGG, THEODORE A.              PREFERRED APARTMENT
WOODRUFF                                            COMMUNITIES
                                                    OPERATING
                                                    PARTNERSHIP, L.P.
ALM MEDIA, LLC      GREGORY A. BIANCO               PREFERRED DIRECT
                                                    MARKETING SERVICES,
                                                    INC.
ALM MEDIA, LLC      GREGORY M SKANNAL DBA JUNK      PREFERRED GROUP
                    OUT HAULING
ALMA DERRICK        GREGORY PHILLIPS                PREFERRED TITLE
                                                    INSURANCE AGENCY
ALMADEN NW LLC      GREGORY S ABBOTT                PREIT ASSOCIATES LP-
                                                    PALMER MALL
ALMOHAJER           GREGORY SPRINGER                PREIT ASSOCIATES LP-
ALJADEED                                            VALLEY MALL
NEWSPAPER
ALPAUGH PLUMBING    GREGORY W. WHEELER AS           PREIT ASSOCIATES, LP-
& SUPPLY INC.       ATTORNEY FOR MATTHEW BALL       CHERRY HILL CENTER
ALPHA & OMEGA       GRESHAM, KNIGHT & HOOPER        PREIT ASSOCIATES, LP-
BUILDING                                            JACKSONVILLE MALL
MAINTENANCE INC.
ALPHA BUSINESS      GREWAL, DALBIR                  PREIT-RUBIN, INC.
SERVICES LLC
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ALPHA BUSINESS      GREYHOUND COURIER EXPRESS       PREMATIC SERVICE
SERVICES LLC-                                       CORPORATION
AMERICAN COUR
ALPHA GRAPHICS &    GREYSTONE LEGAL ASSOCIATES,     PREMIER COMFORT
SIGNS               P.C.                            SERVICES
ALPHA PRODUCTION    GRIFFIN NORMAN                  PREMIER COMMERCIAL
INC
ALPHA SYSTEMS       GRIFFIN VALLEY RANCH            PREMIER PACIFIC COACH
INTERNATIONAL                                       LINES
ALPHAKOR            GRIFFITH REAL ESTATE SERVICES   PREMIER PAINTING &
COMPUTERS INC.                                      SERVICES LLC
ALPINE PROPERTIES   GRISHAM KNIGHT HOOPER &         PREMIERE
                    JAMES                           CONFERENCING
AL'S BIN RENTALS    GROEN WASTE SERVICES            PREMIERE SPEAKERS
LTD.                                                BUREAU
ALSOP, LAMAR        GRONSBELL, CHARLIE              PREMIUM FINANCING
                                                    SPECIALISTS
ALSUP, TIM          GROOT, RECYCLING & WASTE        PREMIUM PUBLISHING
                    SERVICES, INC.                  CORP.
ALTAR LLC           GROSS MENDELSOHN &              PREMNATH KUNCHAM
                    ASSOCIATES, PA                  LOKANA
ALTERNA TEK         GROUCHO PRODUCTIONS             PRENSA LATINA
COMPUTER
SERVICES INC.
ALTERNATIVE         GROUP PICCIONI                  PREPETIT, SIDNEY
DELIVERY
SOLUTIONS, INC.
ALTEXELECTRONICS,   GROUPE SOLUTIONS COLLECT        PRESBYTERIAN
LTD                                                 COMMUNITY CENTER INC
ALTHERR, DOUGLAS    GROWTHCIRCLE, LLC               PRESCOTT INTEREST LTD
H.
ALTITUDE MEDIA,     GRUBB PRINTING & STAMP CO.      PRESCOTT, TINA
INC.
ALTOBELLI, KEITH    GS MORTGAGE SECURITIES CORP-    PRESIDIO
                    PACIFIC QKC
ALTOVA, INC.        GSD VERMILYEA                   PRESIDIO HOLDINGS INC
ALUM CLIFF          GSH RELOCATION SERVICES         PRESIDIO HOLDINGS INC
INDUSTRIES
ALUM CLIFF          GSM MECHANICAL                  PRESLEY PUBLIC
INDUSTRIES LLC                                      RELATIONS &
                                                    MARKETING, LLC DBA
                                                    PRESLEY MEDIA
ALVA BAUTISTA       GSU EMPOWEING COMMUNITIES       PRESTIGE FLOORS, INC.
ALVAREZ & MARSAL    GT SIGN COMPANY, LLC            PRESTIGE HEATING & AIR
VALUATION                                           CONDITIONING INC
SERVICES, LLC
ALVAREZ, LINO       GTE FLORIDA                     PRESTIGE
                                                    INVESTIGATIONS
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ALVESAMI             GTT AMERICAS LLC                PRESTO DIRECT INC.
HOLDINGS, INC. AND
1288844 ONTARIO,
INC.
ALVEY'S SIGN CO      GUADALUPE RUBIO                 PRICE DEVELOPMENT
INC.                                                 COMPANY INC
ALVIN DAVIS          GUANACO'S RADIO GROUP           PRICE'S ALARM SYSTEMS
                                                     LTD.
ALVIN RAMSEY         GUARANTEED SUBPOENA             PRICEWATERHOUSECOOP
                     SERVICE, INC.                   ERS LLP
ALVIN TRUE           GUARANTY STUDENT TUITION        PRIDE OF WINDSOR
                     FUND                            CRUISES
ALVIN TRUE           GUARD INSURANCE GROUP           PRIMAL WEAR, INC
ALWAN PRINTING       GUARDIAN / WYANDOTTE CTR        PRIME CONCEPTS GROUP,
                                                     INC.
ALYSHIA WEST         GUARDIAN ALARM                  PRIME POINT MEDIA
ALYSIA               GUBRUD, THERESA                 PRIME TIME
BROADHURST                                           INVESTMENTS LLC
ALYSSA BREWER        GUERRERO, LLC                   PRIME TIME PUBLISHING
                                                     CO
ALYSSA MANNELLA      GUI0 MELO                       PRIME WEST
AMADOR, MAURO        GUIDEBOOK, INC.                 PRIMEPAY, LLC
AMANDA BANNON        GUILDFORD TOWN CENTRE           PRIMEX PROPERTIES INC
                     LIMITED PARTNERSHIP
AMANDA BEER          GUILLERMO CABALLERO             PRIMSTOR UTAH-SPARKS
                                                     LLC
AMANDA CRAIG         GUITA GABOR                     PRINCE DONKOR
AMANDA DEAKIN        GUL NAZ BHATTI                  PRINCE GEORGE
                                                     COUNTY, MD
AMANDA DECKER        GULF COAST EXPO                 PRINCIPAL FINANCIAL
                                                     GROUP
AMANDA DISOTELL      GULF INVESTIGATIONS LTD., CO.   PRINCIPAL LIFE-AUTO
                                                     PAY
AMANDA ERICHSEN      GULF POWER                      PRINCIPAL RETIREMENT
                                                     & INCOME SOLUTIONS
AMANDA KERR          GULF SHORE ASSOCIATES           PRINTED PROMOTIONS,
                                                     INC.
AMANDA LABERGE       GUN MI KIM                      PRINTERS' ASSOCIATES
AMANDA LOGAN         GUNTER RUDIGER                  PRINTING & FINISHING
AMANDA MALONEY       GUNTER-CRABB                    PRINT-MATE GRAPHICS
                                                     LTD.
AMANDA MEDAHBIE      GUNTER-CRABB                    PRIORITIES
AMANDA MORRISON      GUNTHER RUDIGER                 PRIORITY HEALTH CARE
                                                     INC
AMANDA N JOHNSON     GUPTE, PRAMOD                   PRIORITY LEASING,
                                                     RECOVERING DIVISION
AMANDA PLACIDO       GURSKARNJIT HANSRA              PRIORITY STAFFING
                                                     SERVICES INC
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AMANDA              GURWINDER SINGH                 PRIORITY STAFFING USA,
REDDEKOPP                                           INC.
AMANDA REID         GUS & ZOE SARAVANOS LIVING      PRIVATE
                    TRUST                           INVESTIGATIONS OF
                                                    VIRGINIA
AMANDA SPURGEON     GUS' MARINER RESTAURANT         PRIVATE INVESTIGATIVE
                                                    SERVICES
AMANDA STIBER       GUTTER WORKS, LLC               PRIYANKA PATEL
AMANDA TREVORS      GWEN GUZINSKI                   PRO CLEAN
AMANDEEP            H & B ASSOCIATES, INC.          PRO TAX, LLC
BOPERRAI
AMAR INTERIORS,     H & G LLC                       PRO WINDOW INC.
INC.
AMAZON CAPITAL      H & H HOLDINGS                  PROCALC,INC
SERVICES, INC
AMAZON.COM          H & J KAZEMAINI, LLC            PROCESS FORWARDING
HEADQUARTERS                                        INTERNATIONAL
AMBASSADOR          H & K PROPERTIES LLC            PROCOM INSURANCE
COFFEE SERVICE                                      BROKERS
AMBER ANDERSON      H&H PROPERTIES LLC              PROFESSIONAL
                                                    CONSULTING GROUP
AMBER BRADLEY       H&N CORPORATION                 PROFESSIONAL GLASS
                                                    SERVICE, LLC
AMBER HENDERSON     H&R BLOCK EASTERN               PROFESSIONAL GROUNDS
                    ENTERPRISES, INC.               MANAGEMENT-DONT USE
AMBER M. O'RORK     H&T PROPERTIES LLC              PROFESSIONAL
                                                    INSTALLATION
                                                    NETWORK, INC
AMBERLIGHT PLAZA    H. B. PRICE, III CHAPTER 7      PROFESSIONAL
LLC                 TRUSTEE                         INVESTIGATIONS, INC.
AMBERMAN,           H. M. A. ENTERPRISES-SEATAC     PROFESSIONAL
BEATRIZ                                             PLUMBING SOLUTIONS
                                                    OF FISHERS
AMBERMAN,           H. NACHBAR                      PROFESSIONAL PRINTING
GEORGE H.                                           CENTER
AMBROGI, TIM        H. RAY BAKER                    PROFESSIONAL
                                                    SOFTWARE & SERVICES
AMBROSE PLUMBING    H. SHEPHERD & ASSOCIATES, INC   PROGRESS ENERGY
& HEATING LTD                                       CAROLINAS, INC.
AMC DELANCEY        H.R. COMMUNICATIONS             PROGRESS PUBLISHING
HAMILTON
PARTNERS, LP
AMEDIUS LLC         H17D ENTERPRISES LLC            PROGRESS-INDEX
AMEGY BANK OF       HA BRUNO LLC                    PROGRESSIVE
TEXAS
AMEREN ILLINOIS     HAB-BPT                         PROGRESSIVE BUSINESS -
                                                    COMPLIANCE
AMEREN MISSOURI     HAB-DLT                         PROGRESSIVE BUSINESS
                                                    PUBLICATIONS
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AMERICA WEST        HABITAT FOR HUMANITY OF        PROGRESSIVE GRAPHICS
AIRLINES, INC.      GREATER GARLAND, INC
AMERICAN            HACHETTE BOOK GROUP            PROGRESSIVE
ARBITRATION                                        INSURANCE
ASSOCIATION
AMERICAN            HADDAD, MUFEED                 PROJECT SHARE
ARBITRATION
ASSOCIATION
AMERICAN BANK       HADI ST DENIS                  PROMAX PUBLICATIONS
NOTE COMPANY
AMERICAN BAR        HAGEDORN, MARK                 PROMEDIA
ASSOCIATION
AMERICAN BUSINESS   HAHN HURONIA HOLDINGS          PROMEDIA INC
WOMEN'S
ASSOCIATION
AMERICAN CANCER     HAILEY RAMKARAN                PROMENADE NORTH
SOCIETY
AMERICAN            HAILEY WHITCOMB                PROMISES, INC. &
CLASSIFIEDS-TYLER                                  SLARITSKAS, S
AMERICAN            HAIR 2000                      PROMO COSTUMES, INC
COALITION FOR
TAXPAYER RIGHTS
AMERICAN            HAIRSTON INVESTORS, LLC        PROMO DIRECT
DETECTIVE BUREAU,
INC
AMERICAN            HAIRSTON, RENEE                PROMO DIRECT
DIABETES
ASSOCIATION
AMERICAN EAGLE/     HAJJAR, MIKE                   PROMOCALL, LLC
ATU LOCAL #1702
AMERICAN ELECTRIC   HAKEEM INGRAM                  PROMOTE A BOOK, INC
POWER
AMERICAN ELECTRIC   HAL BELCHER                    PROMOTION
POWER-371496
AMERICAN EXPRESS    HALBERSTADT, GREGG             PROMOTION MARKETING
                                                   & DESIGN INC.
AMERICAN EXPRESS    HALEY, GENE - ACH              PROPERT MANAGEMENT
                                                   GROUP, LLC
AMERICAN EXPRESS    HALFZ LLC                      PROPERTIES UNLIMITED
- BRIGITTE                                         REALTY LTD
AMERICAN EXPRESS    HALIFAX MARRIOT                PROPERTY
- MARTHA            HARBOURFRONT                   MANAGEMENT
                                                   UNLIMITED, LLC
AMERICAN EXPRESS    HALL & ASSOCIATES              PROSHRED SECURITY
- RORY
AMERICAN EXPRESS    HALL AUTOMOTIVE                PROTECH SAFE AND
- STEVEN                                           SECURITY
AMERICAN EXPRESS-   HALL COUNTY TAX                PROTECTION ONE ALARM
MASTER              COMMISSIONER                   SERVICE
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AMERICAN EXPRESS-   HALL EQUITIES GROUP            PROTECTIVE LIFE
JOHNS                                              INSURANCE COMPANY
AMERICAN FAMILY     HALL FAMILY PARTNERSHIP        PROTELEC
INSURANCE
AMERICAN FREIGHT    HALL GRAPHIC DESIGN            PROTEMPS
OUTLET STORES LLC
AMERICAN            HALL NANCY                     PROTHONOTARY
FREIGHTWAYS                                        SUPERIOR COURT OF PA
AMERICAN FUNDS      HALL OF FAME REPORTING, LLC    PROTSENKO, GALINA
AMERICAN GENERAL    HALL REALTY SERVICE, INC       PROVENTURE
FIN SERVICES                                       COMMERCIAL
AMERICAN HEART      HALL, BEN                      PROVGAS
ASSOCIATION
AMERICAN            HALL, MIRIAM                   PROVIDE PLAZA, INC
HERITAGE LIFE
INSURANCE
COMPANY
AMERICAN            HALLIGAN, TERRY                PROVINCE LLC DBA
INDUSTRIES INC                                     PROVINCE FIDUCIARY
                                                   SERVICES
AMERICAN            HALLMARK BUSINESS              PROVINCE, LLC
INSTITUTE OF        EXPRESSIONS
CERTIFIED PUBLIC
ACCOUNTANTS
AMERICAN LAND       HALS, JOHN                     PROVINCIAL LOCKSMITH
COMPANY, LTD                                       INC.
AMERICAN LIGHTING   HAM MIDVALE, LLC               PROVINCIAL MAT
& SIGN SERVICE                                     SERVICE LTD
AMERICAN            HAMADAY MS, KEN                PROVVIDENZA & WRIGHT
MANAGEMENT                                         CPA'S LLC
ASSOCIATION
AMERICAN OFFICE     HAMID ASSADI                   PROXIMITY PARTNERS,
                                                   L.P.
AMERICAN PAYROLL    HAMILTON BULLDOGS HOCKEY       PRSA NATIONAL
ASSOCIATION         CLUB LP
AMERICAN RED        HAMILTON COUNTY TRUSTEE        PRSA TREASURER
CROSS
AMERICAN            HAMILTON DWYER & CO, P.C.      PRUCO LIFE INSURANCE
REGISTRY FOR                                       CO.
INTERNET NUMBERS
AMERICAN            HAMILTON PLACE MALL            PRUDENTIAL
REGISTRY, LLC
AMERICAN RETAIL     HAMILTON UTILITIES             PRUDENTIAL TOWNE
MANAGMENT, LLC      CORPORATION                    REALTY
AMERICAN SHEET      HAMILTON, ANGELA               PRUDENTIAL VARIABLE
METAL CORP.                                        CONTRACT REAL
                                                   PROPERTU PARTNERSHIP
AMERICAN SIGN       HAMILTON, KARISSA R.           PRUDENTIAL VARIABLE
                                                   CONTRACT REAL
                                                   PROPERTY PARTNERSHIP
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AMERICAN STAFFING   HAMILTON-ARCHER, NICHOLAS       PRYSTUPA, JOHN
GROUP
AMERICAN STORAGE    HAMMETT, HEATH                  PS BUSINESS PARKS
AMERICAN TAX        HAMNER DEVELOPMENT              PS BUSINESS PARKS LP
SERVICES, INC       COMPANY
AMERICAN            HAMNER REALTY CORP              PSE&G CO
TELESALES
AMERICAN WATER &    HAMOUNT INVESTMENTS LTD.        PSEGLI
ENERGY SAVERS
AMERICA'S BEST      HAMPTON BAY DAYS                PSI FULFILLMENT
FRANCHISES
AMERICA'S CASH      HAMPTON CITY TREASURER          PSNC ENERGY
EXPRESS
AMERICA'S           HAMPTON CUP REGATTA             PTI MARKETING
COMPUTER                                            TECHNOLOGIES
TRAINING SOURCE,
INC.
AMERICAS            HAMPTON EVENT MAKERS            PUBLIC AFFAIRS
GENERATOR, INC                                      INTERNATIONAL,
AMERI-DREAM         HAMPTON INN                     PUBLIC COMPANY
REALTY LLC                                          ACCOUNTING
                                                    OVERSIGHT BOARD
AMERITAS LIFE       HAMPTON INN - CORYDON           PUBLIC RELATIONS
INSURANCE CORP                                      SOCIETY OF
                                                    AMERICA/HAMPTON RDS
                                                    CHAPTER
AMERITAS LIFE       HAMPTON INN EXECUTIVE           PUBLIC STORAGE
INSURANCE CORP      CENTER-BOSTON NATICK
AMERITECH-CAROL     HAMPTON PARKS & RECREATION      PUBLIC STORAGE
STREAM
AMERITECH-          HAMPTON ROADS CHAMBER OF        PUBLIC STORAGE
CHICAGO             COMME
AMERITECH-          HAMPTON ROADS CHAPTER           PUBLIC STORAGE
SAGINAW             AMERICAN PAYROLL
                    ASSOCIATION
AMETHYST WRIGHT     HAMPTON ROADS CHAPTER IMA &     PUBLIC STORAGE, INC
                    GOODMAN LLP
AMEX CC             HAMPTON ROADS HISPANIC          PUBLIC WORKS &
                    CHAMBER OF COMMERCE             UTILLITIES
AMFM RADIO          HAMPTON ROADS HVAC SERVICE,     PUGET SOUND ENERGY
LICENSES, L.L.C.    INC.
(CLEAR CHANNEL)
AMIE GORLUIK        HAMPTON ROADS SOCCER            PUGET SOUND RETAIL
                    COUNCIL                         LLC
AMIGO PROMOTIONS    HAMPTON ROADS TRANSIT           PUNGO STRAWBERRY
                                                    FESTIVAL
AMIGOS EN CRISTO,   HAMPTON ROADS UTILITY           PURCHASE POWER -
INC.                BILLING SYSTEM                  856042
AMIN CHARANIA       HANCOCK & PALMER, LLC           PURCHASE POWER-371874
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AMIN MOHAMMED       HANCOCK, DANIEL & JOHNSON,      PURDY PROFESSIONAL
                    PC                              SERVICES, LLC
AMIR RAZA           HANCOCK, DEMPSEY & EVERETT,     PURE MARKETING GROUP
                    LLP
AMITA               HANDY ELECTRIC OF FLORIDA       PURE VU WINDOW
MANAGEMENT          INC.                            CLEANING
AMITY LOCK &        HANDYMAN CONNECTION             PUROCLEAN
SAVE, INC.                                          RESTORATION CLEANING
AMJ CAMPBELL        HANOVER GENERAL DISTRICT        PUROLATOR COURIER
                    COURT                           LTD.
AMJ SHREDDING       HANOVER INSURANCE CO.           PUROLATOR-PO BOX
                                                    7006-DO NOT USE
AMMAR DISOGI        HANRAHAN INVESTIGATIONS,        PVA REALTY TRUST
                    INC.
AMR DEVELOPMENT,    HANSON SIGN COMPANY, INC        PYLES, MARK
LLC
AMRITPAL KAUR       HANSON, NORMAN                  PYRAMID COMPANY OF
                                                    BUFFALO
AMSAN               HAO XU                          Q4 INC.
AMY E PIPE          HAPPY CORNER CHURCH OF THE      QBKS CONSULTING, LLC
                    BRETHREN
AMY HOLMES          HAQHI, LINDA LANE               QKC MAUI MZB LLC
AMY M ANDREWS       HARBOR SIGNS, INC.              Q-PONZ INC.
AMY ROMANOVIPCH     HARBOUR LAND INVESTMENTS,       QS&L, INC.
                    LLC
AMY WELLS           HARDEES                         QSIGNS LLC
AN ELEGANT TOUCH    HARDWARE BROS, LLC              QUAD CORP
ANA ABEJON          HARESH PATHAK                   QUAD DIRECT
ANA LETICIA         HARKNESS, GEORGENE              QUAD LOGISTICS
HERRERA                                             HOLDING, LLC
ANA PAULA P.        HARMIN SERVICES NO. 1, INC.     QUADEXPRESS
CONSUL
ANA SZAWRONSKI      HARMON HOLDINGS                 QUADIENT FINANCE USA,
                                                    INC
ANAND               HARMON, KENNETH & DEBRA         QUADIENT LEASING USA,
JUDISTIR/SAVITA                                     INC
JUDISTIR
ANASTACIA LEBEL     HARMONY UNLIMITED               QUAGGA
ANAXA, LLC          HARNIK MANAGEMENT LLC           QUALITY
                                                    ENTERTAINMENT
ANCHOR / CANTEEN    HAROLD BELCHER                  QUALITY FOODS OF
REFRESHEMENT                                        ANDERSON REALTY, LLC
SERVICES
ANCHOR DAYTON       HAROLD CARR                     QUALITY PROCESS
LLC                                                 SERVICES, INC.
ANCHOR EQUITIES     HAROUTIOUN HAYRABEDIAN          QUALITY PROCESS
                                                    SERVICES, INC.
ANCHOR              HARPER LAW, PLC TRUST           QUALYS, INC.
MANAGEMENT          ACCOUNT
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ANCHOR MEDIA        HARPOOTLIAN, P.A. RICHARD A.   QUATRUS GROUP
ANCHORAGE MEDIA     HARRAH'S LAS VEGAS             QUATRUS GROUP - THE
GROUP                                              FRANCHISE MALL
ANDERS COMPANY      HARRELSON, HAYES AND           QUATTLEBAUM,
                    GUYTON LLC                     GROOMS, TULL &
                                                   BURROWS, PLLC
ANDERSON WINDOW     HARRIET ANN DOAK               QUE PASA
& GUTTER CLEANING
ANDERSON, RHONDA    HARRINGTON GRAPHICS            QUEBEC AUTOPAY
ANDRE CAMPBELL      HARRINGTON, HOPPE & MITCHELL   QUEBRACHO PROPERTIES
                                                   LLC
ANDRE DE SOUSA      HARRIS BEACH PLLC              QUEDITION INC.
ANDRE GORRY         HARRIS III, JOSEPH H.          QUEENEY ENTERPRISES
                                                   INC
ANDREA BURGERS      HARRIS INTERACTIVE             QUEENS CENTER REIT
                                                   LLC
ANDREA CHETRAM      HARRIS ORIGINALS OF NORFOLK    QUENTIN LARSON
ANDREA HOFFMAN      HARRIS PUBLICATIONS, INC.      QUEST ASSOCIATES OF
                                                   OHIO, INC.
ANDREA MACK         HARRIS TEETER                  QUEST SOFTWARE INC
ANDREA MATTHEWS     HARRIS, ANNIE                  QUEST SOFTWARE, INC.
ANDREA MCCANN-      HARRIS, JIM AND JULIE          QUESTIONMARK
SUCHOWER                                           CORPORATION
ANDREA ZANK         HARRISON & BATES               QUICKFINDER
                    INCORPORATED
ANDRES AYMAT        HARRISON, EUGENIA              QUICKFINDER INC
ANDRESEN PLAZA      HARRY C MATTHEWS               QUICKSIE - WQXE FM 98.3
SPE. LLC
ANDREW F. BANKER    HARRY DAGLAS                   QUIK LOANS
ANDREW FRANCIS      HARRY GUTHRIE                  QUILL
ANDREW GOURLAY      HARRY WANG                     QUILL CORPORATION-
                                                   37600
ANDREW HAINER       HARSCH INVESTMENT              QUIMBY ENTERPRISES
                    PROPERTIES, LLC
ANDREW HAISER       HARSH INVESTMENT PROPERTIES    QUIMBY SIGNS, INC
ANDREW HALL         HART ENTERTAINMENT             QUINCY HOOGLAND
ANDREW HANLIN       HART, EMILY                    QUINN EMANUEL
                                                   URQUHART OLIVER &
                                                   HEDGES, LLP
ANDREW LAURENCE     HARTE-HANKS SHOPPERS, INC.     QUINN, SHAWN
ANDREW              HARTLEY, VANESSA               QUINSTREET
NEUBERGER
ANDREW SMITH        HARTMAN MANAGEMENT             QUY TRAN & HENGYU
                                                   QIN
ANDREW SNOW         HARTMAN TAX SERVICE INC.       QW EXPRESS-PA
ANDREW SUOZZI       HARVEY G ERSHIG                QWEST
                                                   COMMUNICATIONS-
                                                   856169
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ANDREW SUOZZI       HARVEY LINDSAY COMMERCIAL       QWEST DEX-DENVER-
                    REAL ESTATE                     MARKETING
ANDREW W JACKSON    HARVEY MARTENS                  QWEST- PHOENIX, AZ-
                                                    52187
ANDRIJANA DRMIC     HARVEY TEMPLE                   QWEST-DENVER CO
ANDY DOLLMAIER      HARVEY, DONALD R. INC.          QWEST-SEATTLE
ANGELA CURTIS       HARVIN, DAVID                   QWEXPRESS
ANGELA DAVIS        HASHIM VARDAR                   QWIK DELIVERIES
COLLINS
ANGELA DEHAAS       HASIBE BOZIC                    R & A CONTRACTING
ANGELA HOLLAND      HASSAN ADEYEMI SALAKO           R & B FURNITURE +
                                                    APPLIANCES
ANGELA HORSMAN      HATHAWAY, DEBBIE                R & C GLASS SERVICE
ANGELA JACKSON      HATHORIAN INC                   R & D 110 LLC
ANGELA LOVELADY     HAUSER HOLDINGS INC             R & D STATE STREET LLC
ANGELA MACLEOD      HAVEL FLOOR COVERING, INC.      R & J PUBLIC RELATIONS,
                                                    INC.
ANGELA MORRISON     HAVKINS, ROSENFELD, RITZERT &   R & L CARRIERS
                    VARRIALE, LLP
ANGELA THERRIEN     HAWAII COMMISSIONER OF          R & R SHREDDDING
                    SECURITIES
ANGELS MOVING       HAWAII DEPARTMENT OF            R & Z ENTERPRISES, INC
AUTOS               TAXATION-DO NOT USE
ANGIE ECONOMU       HAWAII DEPT. OF COMMERCE &      R AND R ASSET
                    CON
ANGIE WISSEL        HAWAII STATE DEPT OF            R R ROBERTSON, LLC
                    TAXATION
ANGOTTI, JOE        HAWAIIAN GARDENS LAKEWOOD       R&L CARRIERS
                    RETAIL VIII,LLC
ANGSTREICH, STEVE   HAWAIIAN PRO AC LLC             R&R SMITH ENTERPRISES,
                                                    INC
ANH HUE NGUYEN      HAYDEN CORPORATION              R. A. HEALES &
                                                    ASSOCIATES
ANH TUYET THI VO    HAYGOOD CENTER LLC              R. BRANCH, LLC
ANH VIET NGUYEN     HAYGOOD STORAGE CO LLC          R. CLINTON
                                                    STACKHOUSE, JR.
ANICOM              HAYLEY WYRICK & LUCAS WARD      R. E. L. ROOF SYSTEMS
ANIMAL WELFARE      HAYNES & BOONE, LLP             R. FISHER
LEAGUE OF
TRUMBULL COUNTY,
INC
ANISE               HAYNES, CHRIS                   R. MILLER & ASSOCIATES,
PINSONNEAULT                                        LLC
ANITA KISS          HAYZLETT GROUP, INC             R. MILLER & ASSOCIATES,
                                                    LLC
ANN ALLWOOD         HBF SHERWOOD, LLC               R. R. DONNELLY
                                                    RECEIVABLES
ANN HARRIS          HBPA                            R.A GRAHAM
BENNETT TAX                                         CONTRACTORS LTD
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ASSESSOR-
COLLECTOR
ANN LAURIN          HCCM                           R.A.M. PRIVATE PROCESS
                                                   SERVERS, LLC
ANN LAURIN          HCD DALLAS CORPORATION -       R.E.B. ENTERPRISES IV,
                    OMNI LAS COLINAS HOTEL         LLC
ANN MARGARET        HCH LAZERMAN INC.              R.H. JONES & SON
LAURIN                                             MECHANICAL LTD
ANN MARIE KILMER    HCH LAZERMAN, INC.             R.J.S. MARINE INC
ANN MARIE WRIGHT    HDF INVESTMENTS, INC.          R.K. BUICK, INC.
ANN OF NC, INC.     HDI                            RABIA MALIK
ANN QUESNELLE       HE MEI REAL ESTATE             RABIN D GUHA
ANN W FOERSTER      HEADS UP SPRINKER SYSTEMS,     RACHAEL GOODMAN
                    INC.
ANNA BUBAR          HEADSETS.COM, INC.             RACHEL BECHARD
ANNA CARRICATO      HEADWAY CORPORATE STAFFING     RACHEL CHRAPKO
                    SERVICES
ANNA PETE STATHOS   HEALTH ADVOCATE SOLUTIONS,     RACHEL EBEL
                    INC
ANNA VATALARO       HEALTH NET                     RACHEL YAKUBOV DBA
                                                   CREDIT LIFT LLC
ANNA ZUCCALA        HEALTHKEEPERS - HMO            RACHELLE RABBE
ANNE ARUNDEL        HEALTHKEEPERS INC. - COBRA     RACING TOWARD
COMMUNITY           HMO                            DIVERSITY
COLLEGE
ANNE CAMPBELL       HEATHER CUMMINGS               RACING TOWARDS
                                                   DIVERSITY MAGAZINE
ANNE MARIE          HEATHER DICK                   RADIAN6 TECHNOLOGIES
AYROSO
ANNE RESTELL        HEATHER FRASER                 RADIO MEDFORD
ANNE-TISDALE &      HEATHER I MCINTYRE             RADIO ONE
ASSOC., INC.
ANNETTE SHRADER     HEATHER M STONE                RADIO ONE -
                                                   INDIANAPOLIS
ANNIE GRENIER       HEATHER MARINACCIO             RADIO ONE INC.
ANNUNZIATA          HEATHER MCCORMACK              RADIO ONE INC., WQOK-
CHININEA                                           FM
ANSLEIGH GARLIN     HEATHER MELBOURN               RADIO ONE OF TEXAS, LP
ANSON RECORD, THE   HEATHER N. PRUDER              RADIO ONE- RICHMOND
ANTAR KERI          HEATHER PARKER                 RADIO ONE, INC WFXC/K
ANTAR KORI          HEB GROCERY COMPANY, LP        RADIO SERVICES
ANTHEM - COBRA      HEB HOUSTON CHILDREN'S         RADISLAV ZELJIC
HRA                 FESTIVAL
ANTHEM - COBRA      H-E-B, LP                      RADISSON HOTEL AND
PPO                                                SUITES FALLSVIEW
ANTHEM BLUE         HEBERT ASSOCIATES              RADISSON HOTEL
CROSS AND BLUE                                     NORFOLK
SHIELD
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ANTHEM BLUE         HEBERT, SCOTTY                  RADLYN MENDOZA,
CROSS BLUE SHIELD                                   ESQUIRE
ANTHEM DENTAL -     HECKERT, DEBORAH                RAECHEL OBRIEN
A000
ANTHEM DENTAL -     HECTOR BERMUDEZ CAINS           RAFAEL BUSTILLO
T000
ANTHEM DENTAL -     HECTOR BLACK                    RAFAEL SILVA
T001
ANTHEM EAP          HECTOR BROWN                    RAGAN
                                                    COMMUNICATIONS, INC.
ANTHEM           HECTOR JOHNSON                     RAGEAS, PETER
HEALTHKEEPERS-
HMO
ANTHEM SOUTHEAST HECTOR MONTALVO                    RAHIMI, A. FARID
DENTAL - A001
ANTHEM-HRA       HEDEEN, LISA                       RAHUL
                                                    KUNNUMPURATHU
                                                    CHANDRA
ANTHEM-PPO          HEDEEN, MARK                    RAIMOND HOLMES
ANTHONY BLOCKER     HEDEEN, PATRICIA                RAINBOW
                                                    CINEMA/MAGIC LANTERN
                                                    THEATRES
ANTHONY CASSAR      HEDRICK, TONY                   RAINBOW NEAR &
                                                    PLASTIC SIGNS LTD.
ANTHONY D POWELL    HEENAN BLAIKIE                  RAINBOW SIGN
                                                    MANUFACTURING INC.
ANTHONY DINATALE    HEER, KULBIR                    RAJESH DAKUA
ANTHONY MARCO       HEIBERG GARBAGE & RECYCLING     RAJESH SAPKOTA
ANTHONY P GENTRY    HEIDI DOUCETTE                  RAJNEESH SHARMA
ANTHONY             HEIDI JEFFREYS, RDR, CRR        RAJPUT, NOREEN
PATTERSON DBA
PATTERSON
ELECTRIC
ANTHONY SABOURIN    HEIMERL LAW FIRM ATTORNEY       RAJVINDER SANDHU
                    TRUST ACCOUNT
ANTHONY WHITE       HELEN AITKENS                   RALLKA LLC
ANTOINETTE          HELEN GORDON                    RALLS, SUSAN
BONADIO
ANTONIO             HELEN LALOGIANNIS               RALPH & SON'S PEST
DOMINGUEZ                                           CONTROL-DO NOT USE!!!!
ANTONIO             HELEN PAQUETTE                  RALPH & SON'S PEST
FERNANDES                                           CONTROL-DO NOT USE!!!!
ANTONIO VANN        HELEN THOMPSON MEDIA            RALPH D GENUA, JR
ANYWHERE IN         HELENE BURROWS                  RALPH ROSENBERG
AMERICA                                             COURT REPORTERS, INC.
AOL TIME WARNER     HELICOPTER TRANSPORT            RALPH TURNER
BOOK GROUP          SERVICES, INC.
AON RISK SERVICES   HELP DESK CHAPTER SOUTHERN      RALSTON PLAZA
NORTHEAST, INC      VIRGINIA INC.                   SHOPPING CENTER LLC
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APEX DEVELOPMENT     HELP/SYSTEMS, LLC              RAM ATTORNEY
INC.                                                INVESTIGATIONS
APEX GLASS &         HELPING HANDS                  RAM CLEANING
MIRROR                                              SERVICES
APEX INSURANCE       HELP'S HERE! PREMIUM           RAMADA INN AT NAGS
                     PUBLISHING CORP.               HEAD BEACH
APEX SYSTEMS, INC.   HEMMERT PLUMBING, INC.         RAMADHAR DOOKHIE
APEX                 HENDERSON COUNTY REGISTER      RAMAN GROVER
TECHNOLOGIES         OF DEEDS
APEX, LLC            HENDERSON SHOPPING CENTER      RAMAZAN TAS
                     LLLP
API VIRGINIA BEACH   HENDERSON SHOPPING VILLAGE,    RAMBONE DISPOSAL SVC.
                     LLLP                           INC.
A-PLUS SERVICES      HENDERSON TAX                  RAMESES SHRINE CIRCUS
                     ADMINISTRATOR
APPALACHIAN FAIR     HENDON PROPERTIES LLC          RAMESES SHRINERS
ASSOCIATION INC.
APPALACHIAN          HENGER, CARL                   RAMESH KRISHNAN
POWER
APPALACHIAN          HENNESSY, THOMAS               RAMIREZ, VERONICA
POWER
APPDYNAMICS, INC.    HENRY BROWN                    RAMUNDO, MICHAEL
APPLE VALLEY         HENRY DERUELLE                 RANCHO REALTY (1975)
TRANSFER &                                          LTD.
STORAGE INC
APPLE VALLEY         HENRY MARSDEN                  RAND E WADDINGHAM
TRANSFER &                                          TRUSTEE
STORAGE, INC.
APPLIED MIND, INC.   HENRY SCHEIDER                 RANDAL WHYNOT
APR POPERTIES, LP    HENRY STAUDER                  RANDALL (MATHEW)
                                                    MILLER
APR PROPERTIES LP    HENRY WASTE DISPOSAL, INC      RANDALL FABER
APRIL J. ALLEN       HENRY WIENS                    RANDALL HAMILTON
APRIL MCCULLOUGH     HENRY, SANDRA                  RANDALL PARK
                                                    RENTALS, LLC
APURAV KURRA         HENSON ROBINSON COMPANY        RANDOLPH
                                                    BHAGWANDIN
AQEEL AHMED          HERALD & TRIBUNE               RANDOLPH SCOTT
AQUA COOL-           HERALD SUN - DURHAM            RANDOM HOUSE, INC.
VIRGINIA BEACH
AQUATAINA ELLA       HERE'S THE SCOOP               RANDSTAD
LLC
AQUENT LLC           HERITAGE GROWTH FUND LA        RANDSTAD NORTH
                     COUNTY, LLC                    AMERICA, INC
AR ANDERSON          HERITAGE SIGN COMPANY, INC     RANDSTAD
SOUTHWAY                                            TECHNOLOGIES
CORPORATION
ARABELLA             HERITAGE SPE LLC               RANDY CUNNINGHAM
ENTERPRISES
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ARACELI BRENEZ      HERMAN, BILLIE                  RANDY FELIX
ARAM SKC            HERMITAGE RECEIVER OF TAXES     RANDY FOLDESI
CORPORATION
ARAMARK CAMPUS      HERNAN REIMEL                   RANDY JOWERS DBA
SERVICES                                            JOWERS SING CO
ARAMARK             HERNDON, FELICIA                RANDY LAFAVE
CORPORATION @
THE VA. AQUARIUM
ARAMARK             HERO WASHING                    RANDY MYERS
REFRESHMENT
SERVICES
ARAMARK             HERON RIDGE GOLF CLUB           RANDY PETERSON
REFRESHMENT
SERVICES
ARANOV REALTY       HEROUX, RAYMOND                 RANDY ROWLAND
MANAGEMENT INC.
ARAPAHOE COUNTY     HERRING, LESLIE                 RANDY ULCH
TREASURER
ARCADIA REAL        HESTER PROCESS SERVICE          RANFURLY
ESTATE LLC                                          DEVELOPMENTS INC
AR-CAPE HORN        HETEM HASSAN                    RANTS BALLROOM
SQUARE, LLC
ARCE, LUIS          HEWITT JOHN                     RAPAICH, GEORGE
ARCENEAUX, DAVID    HEWITT, JAMES & RACHAEL         RAPID CITY JOURNAL &
                                                    BLACK HILLS WEEKLY
                                                    GROUP
ARCET EQUIPMENT     HEWITT, SR. DANIEL J.           RAPID CITY
COMPANY                                             PROFESSIONAL HOCKEY,
                                                    LLC
ARCHANA NAIK        HEWLETT - PACKARD COMPANY       RAPIDES PARISH SALES &
                                                    USE TAX DEPARTMENT
ARCHBELL SIGNS,     HEWLETT-PACKARD-                RAPIDES PARISH
INC.                COMMERICAL REPAIRS              SHERIFFS OFFICE
ARCHER, HEATHER     HEYU ZHANG                      RAPIDSCALE, INC.
ARCHINAL, ERIC      HEYWARD WHETSELL                RAQUEL T. PEREZ-LOPEZ
                    ASSOCIATES
ARCHOS, TELLY       HFX BROADCASTING INC.           RASSIER PROPERTIES-
                                                    GREENLAWN CROSSING
                                                    I,LLC
ARCITERRA           HGI VIRGINIA BEACH TOWN         RASTCO LLC
MICHIGAN RD         CENTER
INDIANAPOLIS, LLC
ARCOM-CULPEPPER     HH TAX SERVICES INC             RATNER & PRESTIA, P. C.
CITIZEN
ARCSPRING           HHFS, LLC                       RATTANDEEP SINGH
MANAGEMENT
PARTNERS, LLC
ARCTIC SIGNS        HI TECH CONSTRUCTION & HOME     RAVENELL, KAREN
                    IMPROVEMENTS
ARCTURUS REALTY     HI TECH CONSTRUCTION (CA)       RAVINDER SIDHU
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ARCTURUS REALTY     HI TECH ELECTRIC                RAVING FANS, INC
CORPORATION
ARDENT INC.         HI THERE MEDIA, INC.            RAWLCO RADIO LTD.
AREA WIDE 147TH &   HIAM YASSINE                    RAWLCO TRANSIT
CICERO, INC
AREIA INC           HIBU INC                        RAWLS, DIANE
ARGO WOODBURN       HIBU, INC.-DO NOT USE           RAY ABEL RENTALS
LLC
ARGUS LEADER        HICKMAN, PAULA                  RAY HARTLIEB
ARIANE HOHMANN      HICKORY PROPERTY, INC.          RAY KILLORAN
ARIANNA             HIDDEN VALLEY PROMOTIONS        RAY LAUZON
PITAWANAKWAT        LLC
ARILEX TROPICANA    HIGH CLASS CLEANING SERVICES    RAY MAAGERO
ASSOCIATES, LLC
ARIZONA             HIGH DESERT AIR DUCTOR, INC     RAY MORIER-
CORPORATION                                         RAYNOVATIONS
COMMISSION
ARIZONA CREATIVE    HIGH JUMP FUN ZONE              RAY NOLMAN
EVENTS
ARIZONA             HIGH LIFE LIMOUSINE             RAY RODGERS
DEPARTMENT OF
REVENUE
ARIZONA             HIGH PLACES SERVICES            RAY STONE INC.
DEPARTMENT OF
REVENUE,
UNCLAIMED
PROPERTY UNIT
ARIZONA DEPT. OF    HIGHER EDUCATION                RAYFORD, SELENA A.
REVENUE             COORDINATING COMMISSION
ARIZONA LOTUS       HIGHLAND CAPITAL                RAYL INVESTMENTS, LLC
COMMUNICATIONS      MANAGEMENT SERVICES
ARJIT BRAR          HIGHRIZE ENT INC.               RAYMOND A DUNN II
ARKANSAS            HIGHRIZE ENT INC.               RAYMOND BEASLEY
DEMOCRAT-
GAZETTE, INC
ARKANSAS            HIGINIO FLORES IV               RAYMOND C WIESE
DEPARTMENT OF
REVENUE
ARKANSAS DEPT. OF   HILDA MILNER                    RAYMOND D. NATIONS
FINANCE &
ADMINISTRATION
ARKANSAS            HILL, CHRISTAN                  RAYMOND JAMES &
SECRETARY OF                                        ASSOCIATES,INC
STATE
ARKANSAS STATE      HILL, FRANK TRENT               RAYMOND JAMES AND
AUDITOR OFFICE                                      ASSOCIATES INC
ARLA WARREN         HILL, JASON M.                  RAYMOND KEHLER
ARLENE DESCHAMPS    HILLCREST CORP.                 RAYMOND KENNEDY
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ARLENE              HILLCREST PLAZA LIMITED PART    RAYMOND PARK
PITAWANKWAT
ARLINGTON SQUARE    HILLIX, LARRY                   RAYMOND RINGER
LP
ARMANDO ARRIETA     HILLSBOROUGH COUNTY TAX         RAYMOND VELLA
                    COLLECTOR
ARMBRUSTER &        HILLSBOROUGH COUNTY WATER       RAYMOND VITELLARO
ASSOCIATES          DEPARTMENT
ARMOND WHITE        HILLSIDE PLAZA                  RAYNE PLASTIC SIGNS,
                                                    INC.
ARMSTRONG           HILLSIDE PLAZA INVESTMENT       RAYNER ELECTRIC INC
BUSINESS
SOLUTIONS
ARMSTRONG           HILTON GARDEN INN               RAYNOVATIONS
TEASDALE, LLP
ARMSTRONG, CHAD     HILTON GARDEN INN / KITTY       RAYSACK HOLDING, LLC
                    HAWK
ARMSTRONG, SCOTT    HILTON NYAMAYARO                RAZ ENT, LLC
ARMY TIMES          HILTON QUEBEC                   RB LEASING
PUBLISHING
COMPANY
ARNOLD M. JONES     HILTON VIRGINIA BEACH           RBC BANK
DETECTIVE AGENCY    OCEANFRONT
ARNOT REALTY        HIMANSHI SHARMA                 RBC CENTURA
CORPORATION
ARONSON LLC         HIMANSHU KHAMAR                 RBC ROYAL BANK
ARROW               HIMELFARB PROSZANSKI LLP        RBS CITIZENS, N.A
ENTERPRISES INC
ARROW               HINCKLEY SPRING WATER           RBS INC.
EXTERMINATORS,      COMPANY
INC.
ARROW SIGNS &       HINDLIN BROADCASTING, LLC       RC FLOORING AND
OUTDOOR                                             GRANITE
ADVERTISING, INC.
ARROWASTE, INC      HINT CREATIVE                   RCAP LEASING
ARSENE ETOKABEKA    HIPS DON'T LIE DANCE COMPANY    RCC SHOPPES AT WEST
                                                    MARKET, LLC
ART CRAGGS          HIREN SHIMPI                    RCE PROPERTIES
ART NEWMAN          HIREOLOGY                       RCG VENTURES III, LP-DO
                                                    NOT USE
ART WALKER'S AUTO   HISPANIC CHAMBER METRO          RCL FINANCE, INC.
SERVICE             ORLANDO
ARTEMENKO,          HISPANIC COLLEGE FUND, INC.     RCN
GENNADI
ARTEN BOGACHUK      HISPANIC COMMUNICATIONS, LLC    RCP GROUP, LLC
ARTHUR HALL         HISPANIC LEADERSHIP FORUM       RDP REEL PROPERTIES
ARTISAN SIGN        HISPANIC PUBLISHING             RE RE COME INC
STUDIO              ASSOCIATES
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ARTLITE SIGN         HISPANIC TRENDS                 RE TAX LLC
COMPANY, INC.
ARTS COLLECTIVE      HISPANIC WEALTH                 RE/MAX CHATHAM-KENT
THEATRE                                              REALTY INC
ARTS ELECTRIC        HISPANOFEST, INC                RE/MAX ORILLIA (1996)
                                                     LTD BROKERAGE
ARTUR REALTY INC     HI-TECH INVESTMENTS             REA, JON
ARTURUS ITF          HLA SOLUTIONS GROUP, LLC        REACH FOUNDATION INC.
RETROCOM REIT-
ONTARIO
ARULSEELAN           HMSA                            REACT MOBILE SIGN
ANTONMARIYANAY                                       RENTALS INC.
AGAM
ARUN KUMAR           HNL BOCTOR HOLDINGS, INC.       READYREFRESH BY
                                                     NESTLE
ARVADA SQUARE        HO CHUNGMAN                     REAL CARE PROPERTIES
ASSOCIATES LP
ARYA INVESTMENTS     HO RETAIL PROPERTIES I, LP      REAL ESTATE
CORP.                                                ASSOCIATES
ARYNA BUSTILLO       HO, LONG                        REAL ESTATE
                                                     INVESTMENTS, INC.
ARZU SUREYYA         HO, LONG                        REAL ESTATE R US, INC.
TUZLACI
AS PROPERTIES INC.   HOBBS, DONNIE & ANNETTE         REAL GREENWOOD
ASCANDAR             HOBIE'S SPORTS LTD.             REAL IT CARE, LLC
BROTHERS LLC
ASCENDANT MEDIA,     HOFFMANN BROTHERS HEATING       REALNET AMERICAN
INC.                 & AIR CONDITIONING,IN           WAY ACQUISTIONS LLC
ASH & PHARR          HOK SHI CHAN                    REALSTAR REALTORS
INVESTIGATIONS,                                      LLC
LLC
ASH                  HOKE COUNTY REGISTER OF         REBECA TORRES
INVESTIGATIONS       DEEDS
ASH, SUSANNE V.      HOKE COUNTY TAX COLLECTOR       REBECCA AQUASH
ASHCREST, LLC        HOLDEN, DENISE                  REBECCA DOE
ASHLAND PLACE        HOLDSWORTH, FREDERIC G.         REBECCA M LEE
PLAZA LLC
ASHLEY COMEAU        HOLECHECK, BRIAN                REBECCA O'SULLIVAN
ASHLEY CORDES        HOLIDAY INN                     REBECCA WIGLE
ASHLEY CUDNEY        HOLIDAY INN (WINNIPEG)          RECEIVABLE
                                                     MANAGEMENT SERVICES
ASHLEY DEVONE        HOLIDAY INN AT THE PLAZA        RECEIVER GENERAL
                     KANSAS CITY
ASHLEY GOODINE       HOLIDAY INN EXECUTIVE CENTER    RECEIVER GENERAL
ASHLEY HIGGINS       HOLIDAY INN SEATAC AIRPORT      RECEIVER GENERAL
ASHLEY KELLY         HOLIDAY INN SELECT              RECEIVER GENERAL -
                     MISSISSAUGA                     OTTAWA
ASHLEY MURILLO       HOLIDAY INN TORONTO-            RECOLOGY VALLEJO
                     MARKHAM
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ASHLEY SCHOOT         HOLIDAY TRAV-L-PARK            RECORD (THE)
ASHLEY SQUARE         HOLLAND & HART LLP             RECORD MANAGEMENT
PROPERTIES, LLC
ASHLEY SQUARE         HOLLAND & KNIGHT               RECORDER OF
PROPERTIES, LLC -DO                                  MORTGAGES
NOT USE
ASHLEY VOLKERINK      HOLLAND BOARD OF PUBLIC        RECRUIT MILITARY
                      WORKS
ASHLYNNE JONES        HOLLAND, DESHONNA              RECYCLE SERVICES
                                                     NORTHWEST DBA BIG
                                                     HAUL JUNK BUSTERS
ASIF FERDOUS          HOLLAND, TROY                  RED LOCK LLC-DAVID
                                                     WINIARCZYK
ASIM FEHMI            HOLLIDAY RENTALS               RED RIVER BROADCAST
                                                     GROUP
ASK.COM               HOLLINGER, MIKE                RED ROCK SHOPPING
                                                     CENTER, LLC
ASOCIACION DE         HOLLOMAN, SETH                 RED ROOF #610
EMPRESARIOS                                          TROUTVILLE
MEXICANOS
ASPEN PUBLISHERS      HOLLY CENTER LLC               RED ROOF INN - DALLAS -
INC                                                  849800
ASSOCIATED            HOLLY JANVIER                  RED ROOF INN #220
INVESTIGATIONS,
LTD
ASSOCIATION FOR       HOLLY M. LACA                  RED ROOF INN #506
FINANCIAL
PROFESSIONALS
ASSOCIATION OF        HOLLY MYERS                    RED ROOF INN 511-
CHINESE CANADIAN                                     BRUNSWICK GA
ENT.
ASSURANCE             HOLLY NEWFELD                  RED ROOF INN 547-
RETIREMENT GROUP,                                    LINCOLN NE
LLC
ASTD                  HOLLY RICHARD                  RED ROOF INN 570
                                                     WILLIAMSPORT MD
ASTRAL RADIO          HOLLY WADEMAN                  RED ROOF INN 584
                                                     FAYETTEVILLE AR
ASTRAL RADIO          HOLMAN, ANNETTE                RED ROOF INN 593
ASTRID J AMAZAN       HOLMAN, DALE                   RED ROOF INN 628 DOVER
                                                     DE
ASTRO                 HOLMAN, NANCY                  RED ROOF INN 629
ENTERTAINMENT                                        MISHAWKA IN
INC
ASTRO MARKETING       HOLMAN'S PHOTOGRAPHY           RED ROOF INN 636
                      STUDIO                         PHOENIX AZ
ASTROCON              HOLMES, BRETT LYNN             RED ROOF INN AND
CONSTRUCTION                                         SUITES NO. 569
LIMITED
       Case
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ASUNCION VILORIA     HOLMES, JESSICA LORENE          RED ROOF INN AT
                                                     UNIVERSAL STUD
ASURE SOFTWARE,      HOLMES, SHANNON                 RED ROOF INN- BEDFORD
INC.                                                 HEIGHTS
AT&T                 HOLT RUN CENTER LLC             RED ROOF INN- BUENA
                                                     PARK CA
AT&T - 105262        HOLYFIELD, CURTIS               RED ROOF INN-
                                                     BURLINGTON NC
AT&T - 5014          HOLYOKE MALL COMPANY, LP        RED ROOF INN- CEDAR
                                                     RAPIDS IA
AT&T - 630047        HOME PAINTERS TORONTO           RED ROOF INN- CORPUS
DALLAS                                               CHRISTI TX
AT&T - 8100          HOME POWER SYSTEMS LLC          RED ROOF INN-
                                                     FLORENCE KY
AT&T AURORA IL       HOME TOWN PROFIT, INC.          RED ROOF INN- GA 30341
AT&T CORP            HOMESITE INSURANCE COMPANY      RED ROOF INN
                                                     SAVANNAH GATEWAY
AT&T MEDIA           HOMETOWN REFERRALS LLC          RED ROOF INN- SOUTH
SERVICES                                             UNIVERSITY
AT&T MOBILITY        HONEYWELL LIMITED               RED ROOF INN
                                                     STOCKBRIDGE GA
AT&T                 HONGWEN SHE                     RED ROOF INN TROY IL
TELECONFERENCE
SERVICES
AT&T-105068-         HONIGMAN LLP                    RED ROOF INN- WEST
ATLANTA                                              MEMPHIS AR
AT&T-5001            HONOR AND REMEMBER INC          RED ROOF INN-
                                                     ALBUQUERQUE
AT&T-5025            HOPCO LTD                       RED ROOF INN-BUENA
                                                     PARK
AT&T-5080            HOPE HOUSE MINISTRIES           RED ROOF INN-
                                                     CLARKSVILLE
AT&T-LOUISVILE       HOPPE, MICHAEL                  RED ROOF INN-DENVER
9001310                                              CO
AT&T-LOUISVILLE      HORIZON BACKGROUND              RED ROOF INN-
9001309              SCREENING                       FAYETTEVILLE, NC
AT&T-NEWARK 10226    HORIZON HAMPTON ROADS, INC.     RED ROOF INN-FRESNO
AT&T-PHOENIX 78152   HORIZON INVESTMENT GROUP        RED ROOF INN-
                     LLC                             HUNTERSVILLE NC
AT&T-PHOENIX 78225   HORIZON UTILITIES               RED ROOF INN-
                     CORPORATION                     INDIANAPOLIS IN
AT&T-PHOENIX 78522   HORNER, NATASHA                 RED ROOF INN-NLITTLE
                                                     ROCK AR
ATANASOV, IVAN       HORNTHAL, RILEY, ELLIS &        RED ROOF INN-RALEIGH
                     MALAND, L.L.P.                  NC
ATARZA/CD            HOSPICE OF ALAMANCE             RED ROOF INN-
DIMENSIONS                                           RICHMOND VA
ATASCOCITA           HOT SAUCE HEATING & AIR, LTD.   RED ROOF INNS - 219
CENTER LP                                            HOUSTON
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ATCO ENERGY          HOT SPRINGS VILLAGE VOICE       RED ROOF INNS - 46530-
                                                     GRANGER
ATCO GAS             HOTCHKISS, MICHELLE             RED ROOF INNS - 93967
ATD AUTO TRIM        HOTCHSTEIN, BRANDON             RED ROOF INNS - AUSTIN
DESIGN OF
CHILLIWACK LTD
ATHT, INC.           HOULE ELECTRIC LIMITED          RED ROOF INNS -
                                                     CARROLLTON, TX
ATIEH, MURAD         HOULE ELECTRIC LIMITED          RED ROOF INNS - FRESNO
                                                     CA 93722
ATKINS JAMES         HOULE, BILL                     RED ROOF INNS -
                                                     HOUSTON, TX
ATKINSON - BAKER,    HOULIHAN LOKEY FINANCIAL        RED ROOF INNS - MOBILE
INC.                 ADVISORS, INC.
ATKINSON, JOHN T.    HOUPT, RAEANN                   RED ROOF INNS - PLANO,
                                                     TX
ATLANTA GAS LIGHT    HOUSEHOLD CREDIT SERVICES       RED ROOF INNS 520-
COMPANY                                              SACRAMENTO
ATLANTA GROUP        HOUSING COMMISION OF ANNE       RED ROOF INNS 576 DES
SYSTEMS INC          ARUNDEL COUNTY                  MOINES IA
ATLANTA LEGAL        HOUSTON CHILDREN'S FESTIVAL     RED ROOF INNS 579
SERVICES, INC.                                       MUSIC VALLEY
ATLANTIC AUDIO       HOUSTON HISPANIC CHAMBER OF     RED ROOF INNS
VISUAL               COMMERCE                        SOUTHERN CA
ATLANTIC             HOUSTON HISPANIC FORUM          RED ROOF INNS-
BLUERIDGE                                            ATLANTA AIRPORT
ELEVATOR                                             NORTH
COMPANY
ATLANTIC GLASS &     HOWARD & SHIRLEY FRENCH V220    RED ROOF INNS-
MIRROR CO.                                           CHATTANOOGA TN
ATLANTIC GLASS       HOWARD ALEXANDER DAVIS          RED ROOF INN-SEATTLE
AND MIRROR CO.                                       WA
INC.
ATLANTIC HEATING     HOWARD COUNTY DIRECTOR OF       RED ROOF INNS-GARDEN
& COOLING SERVICE,   FINANCE                         GROVE
INC.
ATLANTIC             HOWARD GRAY                     RED ROOF INNS-LINCOLN,
LIMOUSINE SERVICE,                                   NE
INC.
ATLANTIC MOVING      HOWARD HORNE                    RED ROOF INNS-
& STORAGE INC.                                       OKLAHOMA
ATLANTIC NEON CO.,   HOWARD REYNOLDS                 RED ROOF INNS-
INC.                                                 SOUTHAVEN MS
ATLANTIC             HOWARD, KEISHA & HUTSON, JEFF   RED ROOF INNS-
RELOCATION                                           STOCKTON
SYSTEMS
ATLANTIS REALTY      HOWAT, COLIN                    RED ROOF INNS-
SERVICES INC. /                                      WOODLAND HILLS
BROKERAGE
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ATLAS PRO SERVICE   HOWREY, SIMON, ARNOLD &        RED SKYE WIRELESS, LLC
& ASSOCIATES        WHITE
ATLAS ROOFING       HOWROYD-WRIGHT                 RED WING OFFICE
                    EMPLOYMENT AGENCY,INC          ENVIRONMENTS &
                                                   SERVICES
ATLAS SAVINGS LP    HOY                            RED ZEBRA
                                                   BROADCASTING
ATLAS VAN LINES,    HOY CONSTRUCTION, INC.         RED ZEBRA
INC.                                               BROADCASTING, LLC
ATMOS ENERGY        HOY EN DELAWARE, LLC           REDBACK DECALS
ATMOS ENERGY-       HR DOWNLOADS                   REDCLIF REALTY
740353                                             MANAGEMENT INC.
ATOMIC FI, INC      HR DOWNLOADS, INC.             REDCLIFF REALTY
                                                   MANAGEMENT INC. ITF
                                                   E.P. CATALOUGE
                                                   HOLDINGS INC.
ATOMIC PLUMBING,    HRA PROPERTY MANAGEMENT        REDGATE SOFTWARE
HEATING &           INC
ELECTRICAL CORP
ATRIUS              HRC INVESTORS                  REDSTONE ADVERTISING
ATRIUS              HRE 500 GRAPEVINE HWY LLC      REDWOOD FIRE AND
                                                   CASUALTY INSURANCE
                                                   COMPANY
ATS NORTHGATE,      HRE FUND III LP                REDWOOD PLAZA
LLC                                                INVESTMENTS, LP
ATT PROPERTY        HRI / EASTON COMMONS, LP       REED PREVATTE
MAINTENANCE
ATTENDED EVENTS,    HRSD                           REED SMITH LLP
LLC
ATTORNEY GENERAL    HRSD - 37097                   REED, JEROME
OF THE STATE OF
CALIFORNIA
ATTORNEY SERVICES   HRSD WASTEWATER TREATMENT      REELIO, INC.
INT'L, INC.
ATX                 HRUBS                          REES, SCOTT
ATX II LLC          HS BRANDS INTERNATIONAL        REFE, MICHAEL
AUDIO FIDELITY      HSBC BUSINESS SOLUTIONS        REFINITIV US LLC
COMMUNICATIONS
CORP.
AUDIO FIDELITY      HSBC BUSINESS SOLUTIONS        REFUSE SPECIALISTS,
COMMUNICATIONS      (OFFICEMAX)                    LLC.
CORPORATION
AUDIO VISUAL        HSP EPI ACQUISITION LLC        REGAL ELECTRIC (2003)
VENTURES INC.                                      LTD.
AUDIT DETECTIVE,    HTH INC.                       REGAL FLOORS, INC.
LLC
AUDREE WILKERSON    HU, RONG                       REGAL TOURS, INC.
AUGONE, MIKE        HUANGS INVESTMENT LLC          REGAN STRAND
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AUGUST               HUB CITY RADIO                 REGENCY CENTERS, L.P.
COMMUNICATIONS
AUM SAI SHIV LLC     HUBBARD ROOFING, INC.          REGENCY CENTERS, LP
RACINE
AURELITA GARNACE     HUBERT POLLARD                 REGENCY CENTERS, LP
AURNOU, MICHAEL      HUBERT R DUCHARME              REGENT BROADCASTING
                                                    OF ST. CLOUD
AURORE GLAUDE        HUDGINS REAL ESTATE            REGENT
                                                    COMMUNICATIONS
AURORIS MEDIA INC.   HUDSON COOK, LLP               REGENT
                                                    COMMUNICATIONS
AURORIS SOFT INC.    HUDSON COOK, LLP               REGENT
                                                    COMMUNICATIONS
AUSTIN AMERICAN-     HUDSON COOK, LLP-USE HUDS10    REGENT LAW OFFICE OF
STATESMAN                                           CAREER & ALUMNI
                                                    SERVICES
AUSTIN BURNETTE      HUDSON, ROCKY                  REGENT THEATER
AUSTIN VENTURES,     HUDSON'S BAY COMPANY           REGENT UNIVERSITY
LLC
AUSTRING,            HUETHER, ROBERT                REGINA FOOD BANK
FENDRICK, FAIRMAN
& PARKKARI
AUTHIER PLUMBING     HUGGLER IV, PETER              REGINA MEANEY
INC.
AUTO BODY            HUGH C MCLACHLAN               REGINALD LANDRIAULT
SPECIALTY
AUTODEMO             HUGH WEST                      REGINALD MACPHEE
AUTOMATED FILING     HUGHES & SON INC.              REGINALD WALKER
SERVICES INC.
AUTOMATED FILING     HUGHES ESQ, MICHAEL C.         REGIONAL CABLE
SERVICES, INC                                       NETWORK
AUTOMATED TAX        HUGHES IV, WALTER L.           REGIONAL
OFFICE MANAGER,                                     DEVELOPMENT
LLC                                                 PARTNER-MCKNIGHT
                                                    SEIBERT L.P.
AUTOMATED TAX        HUGHES, STEVE                  REGIONAL
OFFICE MANAGER,                                     DEVELOPMENT
LLC                                                 PARTNERS-MCKNIGHT
                                                    ROAD LP
AUTOMATED            HUGHES, TRAVIS                 REGIONAL FOOD BANK
TECHNOLOGY                                          OF OKLAHOMA, INC
COMPUTER
SERVICES, LLC
AUTOMATIC DATA       HUGO A DERAS                   REGIONAL INCOME TAX
PROCESSING INC                                      AGENCY
AUTOMATIC DATA       HUGO GASCA                     REGIONAL MAPLE LEAF
PROCESSING, INC.-                                   COMMUNICATIONS INC.
INACTIVE
AUTOMATIC FIRE       HUGO MARTINEZ                  REGISTER TAPE
CONTROL, INC                                        NETWORK
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AUTUMN JACKSON      HUHT PROPERTIES LIMITED         REGISTERED AGENT
                                                    SOLUTIONS, INC.
AV TAXES &          HUHT PROPERTIES LTD             REGISTERED AGENT
ACCOUNTING                                          SOLUTIONS, INC.
SERVICE INC.
AVA DEE KENNGOTT    HUMAN DESIGN                    REICH LAW FIRM
AVALON HOTEL &      HUMBLE I.S.D                    REICHARDT, ALEX
CONFERENCE CENT
AVANZA              HUMBLE INVESTIGATIONS, LLC      REID PROPERTY
COMMUNITY                                           MANAGEMENT, LLC
CENTER, LLC
AVATAR GA LLC       HUME SMITH GEDDES GREEN &       REILLY, KEVIN
                    SIMMONS, LLP
AVELINO             HUME, MARTIN S.                 REIN, INC.
GUIDORIAGAO
AVI MANOHAR         HUMPHREY, RICH                  REJEAN DESJARDINS
AVIATECH            HUNT, LESLIE RAE                REK TRAVEL CHICAGO
                                                    CHARTER EXPRESS
AVID WASTE          HUNT, PRISCILLA                 RELAY FOR LIFE
SYSTEMS, INC.
AVIGDOR LANDMAN     HUNTER II ENTERPRISE            RELIABLE BUSINESS
                                                    COMMUNICATIONS INC
AVISON YOUNG        HUNTING CREEK RETAIL, LLC.      RELIABLE DISTRIBUTION
COMMERCIAL REAL                                     NETWORK
ESTATE
AVISTA              HUNTON & WILLIAMS               RELIANCE HOME
                                                    COMFORT
AVIVA RENTAL        HUNTON ANDREWS KURTH LLP        RELIANCE PROTECTRON,
SYSTEMS, LLC                                        INC.
AW BILLING          HUNTSTA SHOPS LLC               RELIANCE STAFFING &
SERVICES LLC                                        RECRUITING
AWD LLP - DO NOT    HUNTSVILLE HOCKEY ASSIST        RELIANT
USE                 CLUB
AYDA CARMONA        HUNTSVILLE HOCKEY ASSIST        RELONG LLC
                    CLUB
AYUL ALOCK          HURLEY AND ASSOCIATES           REM AND SON LICENSED
                                                    ELECTRICAL
                                                    CONTRACTORS CORP
A-Z SUMMONS         HURT, MIKE                      REM DIRECT, INC.
BILLING
AZAZ AHMED          HUSCH & EPPENBERGER, LLC        REMAX PREFERRED
KHAKU                                               REALTY
B & D PROPERTIES    HUSCH BLACKWELL SANDERS,        REMOTESITE TRAINING,
                    LLP                             INC.
B & J SPY           HUSEN, MIQDAS                   RENE BERGERON
ASSOCIATES
B&B CASH GROCERY    HUTCHINS, ERWIN L.              RENE PLANTE
STORES, INC
B&B CONSULTING      HUTSON TALENT AGENCY            RENEE BAILEY
SERVICES INC
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B&H PHOTO VIDEO        HVAC, INC                       RENEE M. SCHWERDT
B&L INVESTMENTS,       HYATT KEY WEST RESORT &         RENEE WILKERSON
INC.                   MARINA
B&S ACCOUNTING         HYBRID MEDIA SERVICES, LLC      RENI PUBLISHING
SERVICES INC
B. F. CHESAPEAKE, L.   HYDE, DEBBIE                    RENO GAZETTE-JOURNAL
P.
B. RILEY PRINCIPAL     HYDRO ONE BRAMPTON              RENO MEDIA GROUP
INVESTMENTS, LLC
B. RILEY SECURITIES,   HYDRO ONE NETWORKS, INC         RENO NEWSPAPER, INC.
INC.
B2B ACQUISITIONS,      HYDRO OTTAWA                    RENO-SPARKS INDIAN
INC                                                    COLONY
B2B ACQUISITIONS,      HYDRO QUEBEC                    RENT-A-CENTER
INC.
B92.1 FM WBTR          HYLAND CARPET ONE               RENTOKIL
BABICK, STEVE          HYPERSPACE COMMUNICATIONS       REPRINT MANAGEMENT
                       INC                             SERVICES
BABYSITTERS OF         I MARK EVENTS, INC.             REPUBLIC BANK & TRUST
TIDEWATER                                              CO.
BACCHUS, MICHAEL       IAIN BUCHANAN                   REPUBLIC BANK & TRUST
                                                       COMPANY
BACK BAY CENTER        IAN DAVEY                       REPUBLIC BANK & TRUST
LLC                                                    COMPANY
BACKER, NATASHA        IAN HAJPEL                      REPUBLIC LEASING
                                                       COMPANY
BACKTOWN               IAN MARTIN WHITE                REPUBLIC SERVICES #352
DEVELOPMENT                                            - 9001154
BACKYARD               IAN WILSON LARMORE              REPUBLIC SERVICES-
BROADCASTING           FOUNDATION                      9001099
BACM 2005-3 RITCHIE    IAN'S SIGNS AND SERVICES        REPUBLIC WASTE
HWY, LLC                                               SERVICES
BADGER PLAZA LLC       IBBOTSON, STEVE                 REPUBLIC WASTE
                                                       SERVICES-KY
BAI RIVERGATE LLC      IBERIA PARISH TAX COLLECTOR     RESHIFT MEDIA
BAILEY & FULLER        IBEY, KAREN                     RESHIFT MEDIA, INC.
PROPERTIES, LLC
BAILEY & WYANT,        IBM COPORATION                  RESOLUTION CANADA
PLLC                                                   INC.
BAILEY, BETH A.        IBRAGIMOV IRINA                 RESOLUTION INC.
BAILEY, DEBBIE         IBRAHIM ABUZIND                 RESOURCE ASSOCIATES
                                                       GRANT WRITING &
BAILEY, REGINA L       IBTISAM ATTISHA                 RESTORATION SERVICES
                                                       INC
BAILLIO SAND           ICBC BROADCAST HOLDINGS, INC.   RESULT RADIO
COMPANY, INC
BAKER BROTHERS         ICBC BROADCAST HOLDINGS, INC.   RETAIL ALLIANCE
RENTAL PROP, LLC       - WJMI-FM
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BAKER, DONELSON,       ICC ENTERPRISES                 RETAIL OPPORTUNITY
BEARMAN & CAL                                          INVESTMENTS
                                                       PARTNERSHIP, LP
BAKER, H. RAY          ICE ART INC.                    RETAIL PLANNING
                                                       CORPORATION
BAKERSFIELD LEGAL      ICE CREAM TRUCKS.COM            RETAIL SERVICES WIS
PROCESS SERVICE                                        CORPORATION
BAKKOM, DENIS L.       ICE MILLER & JOHN W. JOHNSON,   RETIRECO SOLUTIONS,
                       SR.                             LLC
BALIHOO INC.           ICE SYSTEMS, INC.               RETS TECH CENTER, INC.
BALKAN SIGNS           ICLE                            RETURN ON MEDIA, INC
BALL & PAIGEN, LLC     ICR, LLC                        RETURN PATH, INC
BALL FOUR              ICS COURIER                     REVENU QUEBEC
HOLDINGS, INC.-DO
NOT USE
BALL FOUR              ICU INVESTIGATIONS              REVENUE QUEBEC
HOLDINGS, INC-DO
NOT USE
BALL, KIM              IDAHO DEPARTMENT OF REVENUE     REVIEW
BALLANTYNE             IDAHO DEPT. OF LABOR            REVISTA COMPRA MIAMI
STEPHEN
BALLARD SPAHR          IDAHO POWER                     REVOLUTION FINANCIAL,
ANDREWS &                                              LP
INGERSOLL, LLP
BALLARD SPAHR LLP      IDAHO POWER                     REX DE JAAGER
BALLARD,               IDAHO SECRETARY OF STATE        REX FILBRUN FARMS, INC
THEODORE
BALLOON                IDAHO STATE TAX COMMISSION      REX LEYTE
FANTASIES
BALTIMORE COUNTY       IDAHO STATE TAX COMMISSION      REXER, NICOLE
GOVERNMENT
BALTIMORE              IDAHO STATE TREASURER'S         REXPERT SOUNDS
COUNTY, MD.            OFFICE                          ENTERTAINMENT
BALZOUT                IDAX.COM                        REZA A AMSARI
BANDURA, MARVIN        IDEA MARKETING CORP.            REZA ANSARI
BANGMI YU SUL          IDEAL FLOORING, INC.            RGFT INVESTMENT LP
BANK OF AMERICA        IDEAL JANITORIAL SERVICES       RHINES, WILLIAM
BANK OF AMERICA        IDEAL NETWORK SOLUTIONS, INC    RHODE ISLAND DEPT. OF
MERRILL LYNCH                                          BUSINESS REGULATION
BANK OF AMERICA        IDEAL PURE WATER                RHODE ISLAND DIVISION
NA (USA) # 105442347                                   OF TAXATION
BANK OF HAMPTON        IDEAWORKS ADVERTISING           RHODE ISLAND DIVISION
ROADS                                                  OF TAXATION
BANK OF NOVA           IDENT MARKETING, LLC            RHODE ISLAND STATE
SCOTIA                                                 TREASURER
BARANOV,               IDENTITY SOLUTIONS, LLC         RHONDA HOFFERT
KATHERINE
BARB PATRICK-          IDERA                           RHONDA TIPTON
BROADBENT
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BARBARA ANNE       IDOLOGY, INC                    RHONI CYR
BOIS
BARBARA FERNE      IFLOODED SERVICES, INC          RI SECRETARY OF STATE
AIDE
BARBARA FICZERE    IGNACIO SANDOVAL JIMENEZ        RIA GROUP
BARBARA GULASH     IGS ENERGY                      RIBBLE, STEPHAN
BARBARA HOYLE      IIA-TIDEWATER CHAPTER           RIBBON EXCHANGE
BARBARA KEHZIERS   IIS INVESTIGATIONS              RICARDO A GARCIA
BARBARA L.         IKON - DO NOT USE               RICARDO FEARON
KENDALL
BARBARA            IKON CAPITAL                    RICHARD A MARTIN AND
MINNINGHAM                                         JUNE E MARTIN
BARBARA PAULSON    IKON DOCUMENT SERVICES - DO     RICHARD ALEXANDER
                   NOT USE
BARBARA            IKON OFFICE SOLUTIONS           RICHARD AUTHIER
TOANELLIER
BARBARA WEBB,      IKON OFFICE SOLUTIONS           RICHARD BEAUDRY
CLERK & MASTER
BARBER SIGN        IKON OFFICE SOLUTIONS           RICHARD BIGRAS
BARBER, NANCY B.   ILC & SWELL REALTY LLC          RICHARD BLAIKIE
BARBI MILES        ILIRIJANA MEHMETI               RICHARD COLE
BARBOUR REALTY,    ILLINOIS AMERICAN WATER         RICHARD COONEY
INC.
BARBRA WATSON      ILLINOIS DEPARTMENT OF          RICHARD DIONNE
                   REVENUE
BARCLAY STATION    ILLINOIS DEPARTMENT OF          RICHARD E. JACOBS
LLC                REVENUE                         GROUP, INC.
BARE ASSOCIATES    ILLINOIS DEPARTMENT OF          RICHARD EITZEN
INTERNATIONAL      REVENUE - CHECK
BAREMETAL.COM      ILLINOIS SECRETARY OF STATE     RICHARD ERNST
INC.
BARGAIN FOOD       ILLINOIS SHOPPING CENTER        RICHARD G. YOUNGER,
STORE                                              JR.
BARGAIN HUNTER     ILLINOIS STATE                  RICHARD GODDEN
PUBLISHING LTD.    TREASURER(UNCLAIMED
                   PROPERTY)
BARGETTO WINERY    IMA CALUSA, LLC                 RICHARD INVESTMENT
                                                   CO.
BARK.COM GLOBAL    IMAGE & COLOR - AM DE           RICHARD J. DONZELL, JR.
LIMITED            AMARILLO                        DBA ABIGAIL'S ATTIC
BARNES, STACEY     IMAGES BY RICHARD               RICHARD J. ROBERTS
BARON INVESTMENT   IMAGITAS, INC.                  RICHARD L STRICKLIN
PROPERTIES, LLC
BARON SERVICES,    IMAN PROMOTIONS &               RICHARD L WEAVER
INC.               SPECIALISTS
BARON, GREG        IME-INSTITUTO DE LOS            RICHARD MAJKA
                   MEXICANOS
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BARR & LACAVA AS    IMMEUBLES ROA REALITIES INC.-     RICHARD MILLS
TRUSTEE FOR PLUM    2010
TREE CAPITAL, LLC
BARR FRANCHISE      IMMIGRATION & NATRALIZATION       RICHARD MITCHELL
ENTERPRISES, LP     SE
BARR, TRUDI         IMMPRENEUR                        RICHARD R ALDERMAN
BARR, WILLIAM       IMPACT DATASOURCE,LLC             RICHARD RAIMONDO
BARRIE FOOD BANK    IMPACT MAGAZINE                   RICHARD SHAPIRO
                                                      HOLDINGS LIMITED
BARRIE HYDRO        IMPACT MOBILE SIGNS               RICHARD SMYTHE
BARRIE POLICE       IMPACT PLANNING GROUP LLC         RICHARD TRAHAN
SERVICE
BARRIE WOMEN'S      IMPACT SIGN WORKS                 RICHARD TUCKER
HOCKEY
ASSOCIATION
BARRS, CHAD         IMPACT VIRGINIA,LLC               RICHARD W EICHHORN
BARRY CAPLAN        IMPERIAL COFFEE AND SERVICES      RICHARD W. COLTON
                    INC.
BARRY CORMIER       IMPERIAL DATA SUPPLY CORP         RICHARD, MATTHEW
BARRY LOCKOM        IMPRESSIONS IN PRINT              RICHARDS, CORETTA
BARRY PEARSON       IMPRESSIONS IN PRINT INC.         RICHARDS, LAYTON &
                                                      FINGER, P.A.
BARRY RUST          IMPRESSIONS IN PRINT, INC. - GM   RICHARDSON,
                    ACCOUNT                           GERALDINE
BARRY RUST &        IMUS RADIOTHON 2009               RICHELLE HART
SANDERS WAYNE
BARRY RUST &        IN FOCUS INVESTIGATIONS           RICHES, MCKENZIE &
WAYNE SANDERS       AGENCY                            HERBERT LLP
BARRY, FELICIA      INA SERVICES COMPANY              RICHLAND COUNTY
                                                      CIRCUIT COURT
BARRY'S OFFICE      INA SURDU                         RICHLAND COUNTY
FURNITURE INC.                                        REGISTER OF DEEDS
BARTA, JAROSLAV     INARI LILADRIE                    RICHMOND GLOBE
BARTKO, ZANKEL,     INC MAGAZINE                      RICHMOND POST
TARRANT, MILLER
BARTLETT, BARB      INCENTIVE MARKETING, LLC          RICHMOND TIMES
                                                      DISPATCH
BARTLETT, JAMES     INCENTIVE MARKETING, LLC          RICHMOND'S
                                                      EXCAVATING
BARTON              INCHECK, INC.                     RICK HAMILTON
LYNNHAVEN, LLC
BARTS, TIM          INCORP SERVICES, INC.             RICK J. TREMBLAY
BAS BROADCASTING    INCORPORATED VILLAGE OF           RICK ORTON
INC.                FREEPORT
BASE POINT          INCYCLE SOFTWARE INC.             RICK PEARCE
CAPITAL, LLC
BASEPOINT CAPITAL   INDEPENDENT LIGHTING CORP.        RICK PERRY
BASHIST, BARRY      INDEPENDENT NEWSPAPER INC.        RICKIE DEEMS
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BASIN RADIO         INDIANA DEPARTMENT OF           RICKIE WEST
NETWORK             REVENUE
BASNET, ANJANA      INDIANA DEPARTMENT OF           RICKY DAVIS
                    REVENUE
BASS HOME           INDIANA DEPT OF REVENUE-        RICOH USA, INC.
INSPECTIONS, INC.   WITHHOLDING
BASS, DAVID         INDIANA HERALD                  RIDDLE EQUIPMENT
                                                    COMPANY INC
BASS, EMILY, ESQ.   INDIANA NEWSPAPERS INC.         RIDDLE, RIC
BASTE FINANCIAL     INDIANA SECRETARY OF STATE      RIDENOUR, STEVEN
SERVICES INC.
BATTLEFIELD         INDIANA SECURITIES DIVISION     RIDGEWAY'S JANITORIAL
FREEDOM WASH, LLC                                   SERVICE
BATTLEFIELD         INDIANAPOLIS EMPLOYMENT         RIDGEWAY'S- VIRGINIA
MARKETPLACE         GUIDE                           BEACH
ASSOC.
BAUDER, LISSA       INDIANAPOLIS POWER & LIGHT      RIDGWAY'S IMAGING &
                    CO.                             SCANNING
BAUSCH, DONNA       INDIANAPOLIS WATER COMPANY      RIESBECK CONTRACTING
BAWN MEDIA, LLC     INDIO CHAMBER                   RIESCO FLOORING
BAY DIESEL &        INDUSTRIAL CHEMICAL CARRIERS    RIEXINGER AUTOMOTIVE
GENERATOR           LTD                             LTD
BAY DISPOSAL, LLC   INFINET COMPANY                 RIEZMAN BERGER, P.C.
BAYBROOK MALL       INFINET COMPANY-COBRA           RIGGINS, VICKEY
LLC                 PAYMENTS
BAYLESS, JEFFREY    INFINISOURCE                    RIGHTNOW
                                                    TECHNOLOGIES, INC
BAYNES & SHIREY     INFINITY PRINTING               RIGHTWAY FLOORING
INC.
BAY'S ELECTRONICS   INFINITY RADIO HOLDINGS, INC.   RIKER DANZIG
BAYS PROPERTIES     INFINITY RADIO, INC.            RILLON, SARAH
BAYSHORE            INFINITY RADIO, INC.            RIMA HANNA
BEVERAGES, INC
BAYSHORE BROAD      INFO FRANCHISE NEWS INC.        RIMM-KAUFMAN GROUP,
CASTING                                             LLC
BAYSHORE            INFO TE MULTIMEDIA              RINCON ASSOCIATES,
BROADCASTING                                        LLC
BAYSIDE             INFO USA MARKETING, INC.        RINGWOOD, KATHLEEN
INVESTMENTS
LIMITED
BAYVIEW             INFOEDGE                        RINI REALTY COMPANY
COMMUNITY
SCHOOL
BAYVIEW STEAM &     INFORMATION SERVICES            RIOS, HILANO
POWER WASH          CORPORATION
BB&T                INFOSOFT GROUP,INC              RISE BROADBAND
BB&T                INFOSYSTEMS, INC.               RISE MANAGEMENT
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BB&T EQUIPMENT       INFOTEC, LLC.                    RITA BEAUDIN
FINANCE
CORPORATION
BB&T INSURANCE       INGHAM COUNTY FRIEND OF THE      RITA DUNCAN
SERVICES DBA         COURT
BRIDGE TRUST TITLE
GROUP
BB&T SIGN SERVICES   INGLES SIMPLY CLEAN LLC          RITCHIE HENSON
BB&T-401K            INGRAM AUTO PARTS                RIVER CITY BANK
BBB                  INK & TONER REFILL FACTORY       RIVER CITY MOVING &
                                                      DELIVERY
BBB OF MID-          INKCORPORATE INC                 RIVER CROSSING OWNER
WESTERN AND                                           LLC
CENTRAL ONTARIO
BBB-AUTO PAY         INLAND AMERICAN RETAIL           RIVER OAKS PROPERTIES,
                     MANAGEMENT LLC                   LTD.
BBM CANADA           INMAGINE CORPORATION LLC         RIVERBAY PLAZA BH LLC
BBS TECHNOLOGIES,    INNERWORKINGS, INC.              RIVERDALE EQUITIES,
INC.                                                  LTD
BC HYDRO             INNISFIL AIR CONDITIONING LTD.   RIVERFORK
                                                      DEVELOPMENT LLC
BC SPCA-KELOWNA      INNISFIL WINTERHAWKS MAJOR       RIVERO, ROBERT E.
                     BANTAM
BCE EMERGIS INC.     INNISFIL WINTERHAWKS MIDGET      RIVERSIDE COUNTY
                     A HOCKEY TEAM                    CLERK
BCE NEXXIA           INNOPURE                         RIVERTOWNE PROPERTY
CORPORATION                                           CO., L.C.
BCFTF CASE# 24061    INNOVATIVE DATABASE              RJ FAFARD
                     SOLUTIONS
BCIMC REALTY         INNOVATIVE STRATEGIES            RJP HOME SERVICES, LLC
CORP.                INCORPORATED
BCTZ, LTD            INNOVATIVE SYSTEMS &             RK CHEVROLET
                     SOLUTIONS, INC
BDC AMERICAN         INNPOWER CORPORATION             RM TAXES LLC
CANYON LP
BDO SEIDMAN, LLP     INQUISITOR, INC.                 RME LLC
BDO USA LLP          INSIDE BUSINESS                  RMG MANAGEMENT,
                                                      INC./GELB ENTERPRISES
BEACH                INSIGHT MEDIA ADVERTISING        RNC HOLDINGS, LLC
AMBASSADORS
BEACH BULLY          INSIGHT SECURITY &               RNJ MANAGEMENT
CATERING             INVESTIGATIONS
BEACH ENGRAVING      INSPIRED CREATIVE                RNS HANDYMAN, LLC
BEACH EVENTS         INSTANT FURNITURE RENTAL,        ROA REALTIES INC.
                     INC.
BEACH                INSTITUTE FOR PARALEGAL          ROADWAY EXPRESS
IMPROVEMENTS, LLC    EDUCATION
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BEACH VIDEO          INSTITUTE OF INTERNAL            ROANOKE COUNTY
PRODUCTIONS, INC.    AUDITORS                         CLERK OF THE CIRCUIT
                                                      COURT
BEACON               INSTORAGE                        ROANOKE GAS COMPANY
ELECTRICAL
TECHNOLOGIES, INC.
BEAGLE FINANCIAL     INSURANCE OFFICE OF AMERICA,     ROARK SPECIAL
SERVICES, INC        INC.                             PROJECTS
BEARCREEK            INSURANCENEWSNET.COM, INC        ROB JOHNSON
VENTURES
BEARD, SAM           INTACT INSURANCE                 ROBBINS, KAREN
BEASLEY FM           INTECH SERVICES                  ROBBY JOE GOSS JR.
ACQUISITION
BEASLEY, TIM         INTEGRA BUSINESS SYSTEMS, INC    ROBERGE & ROBERGE
BEATA STACHOWICZ     INTEGRA INVESTIGATIONS           ROBERT & VERLIE
                                                      MCGILLIS
BEAUDIN, ROBERT      INTEGRATED LOGISTICS 2000, LLC   ROBERT A SCHNEIDER
BEAUFORT ORELL       INTEGRATED MANAGEMENT            ROBERT A. WEIDNER
MARTIN               GROUP, LLC
BECKER CPA REVIEW    INTEGRITY INVESTIGATIONS LLC     ROBERT AND NATALIE
                                                      WHITE LLP
BECKER               INTELEPEER                       ROBERT ANDERSON
INVESTMENT CO.
BECKER, LANCE        INTELLESALE.COM                  ROBERT ARGENT
BECKLER, TIM &       INTELLIGENT DIRECT, INC.         ROBERT ARNOLD
CARRIE
BECKY ELDER          INTERACTIVE MEDIA (A             ROBERT BEUDIN
                     SUBSIDARY OF THE VIRGINIAN
                     PILOT)
BECKY GIESBRECHT     INTERACTYX AMERICAS, INC         ROBERT BLYTHE
BECKY HENNEKER       INTERACTYX AMERICAS, INC.        ROBERT BOOTH
BEDARD, MARK D.      INTERLAKE PUBLISHING             ROBERT BOULET
BEDERSON LLP         INTERLINK INVESTMENTS            ROBERT BRADLEY
BEDINGFIELD, BRIAN   INTERNAL REVENUE SERVICE         ROBERT BRANT
BEE KEEPERS GUILD    INTERNAL REVENUE SERVICE         ROBERT C. MATHWIG
BEE SEEN             INTERNAL REVENUE SERVICE -       ROBERT CHALLAND
                     POBOX 7604
BEEHLER BROTHERS     INTERNAL REVENUE SERVICE-        ROBERT COLLINGWOOD
LTD.                 EFTPS
BEELER               INTERNAL REVENUE SERVICE-NY      ROBERT COULTON
IMPRESSIONS
PRODUCTS
BEGGS, JUDITH        INTERNATIONAL CARIBBEAN          ROBERT CROMIER
                     FESTIVAL
BELCARO GROUP,       INTERNATIONAL COUNCIL OF         ROBERT D CRAMER
INC.                 SHOPPING CENTERS
BELINDA CLARK        INTERNATIONAL                    ROBERT D MORGAN III
                     ENVIRONMENTAL MANAGEMENT
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BELL ATLANTIC        INTERNATIONAL FRANCHISE         ROBERT D. BUTLER
                     ASSOCIATION
BELL ATLANTIC        INTERNATIONAL FRANCHISE         ROBERT DAVIS
                     PROFESSIONALS GROUP INC.
BELL ATLANTIC        INTERNATIONAL REAL ESTATE       ROBERT DAWSON
                     DEVELOPMENT, LLC
BELL ATLANTIC        INTERNET ESCROW SERVICE, INC    ROBERT DEMPSTER
BELL CANADA (P.O.    INTERNET MARKETING GROUP        ROBERT E. BAUMANN
BOX 8712)
BELL CANADA          INTERNET.COM CORPORATION        ROBERT EDWARDS
(P.O.BOX 1550)
BELL CANADA          INTER-STATE INVESTIGATIVE       ROBERT FISHER
(P.O.BOX 3650)       SERVICES
BELL CANADA          INTRADO DIGITAL MEDIA, LLC      ROBERT FRANCOEUR
(P.O.BOX 9000)
BELL CANADA (PO      INTRADO ENTERPRISE              ROBERT G. SMITH
BOX 3650)            COLLABORATION, INC.
BELL CANADA CP       INTRIG MANAGEMENT CO            ROBERT GAVER
11490)
BELL FUND II, LLC    INTUIT CANADA                   ROBERT HALF FINANCE &
                                                     ACCOUNTING
BELL FUND II, LLC    INTUIT CANADA PARTNERSHIP       ROBERT HALF
                                                     INTERNATIONAL, INC
BELL MDIA            INTUIT CANADA ULC               ROBERT HALF
BATHURST                                             INTERNATIONAL, INC.-
                                                     TECHNOLOGY
BELL MEDIA INC       INTUIT INC                      ROBERT HICKS
BELL MEDIA RADIO     INVERNESS ASSOCIATES, LTD.      ROBERT HOWARD
ATLANTIC INC
BELL MEDIA RADIO     INVESHARE, INC                  ROBERT J OLSON
GP
BELL MEDIA RADIO     INVESTIGATIVE SERVICES INC.     ROBERT J. LOUGEN, JR.
GP-102.9K-LITEFM
BELL MEDIA -VIRGIN   INVESTIGATORS GROUP INC., THE   ROBERT JAKOVICH
RADIO
BELL MEDIA-CTV2      INVESTOR'S BUSINESS DAILY       ROBERT KAY
BELL MOBILITY-5102   INVESTORS GROUP TRUST CO LTD    ROBERT KEIR
BELL MOUNTAIN        INVOCA, INC.                    ROBERT KOEHLER
ENTERPRISES
BELL MTS INC.        IOLANDA DORSOGNA                ROBERT L CUMMINS
                                                     REVOCABLE TRUST
BELL PRINTING        IOWA AMERICAN WATER             ROBERT LAFRANCE
COMPANY
BELL, CHRIS          IOWA CITY PRESS-CITIZEN         ROBERT LAU
BELL-3250            IOWA DEPARTMENT OF REVENUE      ROBERT LOCK
BELLEVILLE SPORTS    IOWA WORKFORCE                  ROBERT LOGAN
AND                  DEVELOPMENT
ENTERTAINMENT
CORP
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BELLEVUE RADIO,       IPMG INC                       ROBERT MADAHBEE
INC KLSY- FM
BELLIVISO, INC.       IPS INVESTIGATIONS             ROBERT MARTEL
BELLSOUTH -1262       IRA-KEOGH SERVICES CO          ROBERT MCLAUGHLIN
BELLSOUTH             IREK OPALA                     ROBERT MUIR
ADVERTISING &
PUBLIS
BELLSOUTH             IRENE GRAFE                    ROBERT N. KOLTERMAN
INTELLIVENTURES
BELLSOUTH-105262      IRENEUSZ OPALA                 ROBERT NIXON
ATLANTA
BELLSOUTH-33009-      IRINA SCOTT                    ROBERT OLIVER
CHARLOTTE, NC
BELLSOUTH-70529       IRINA TYRINA                   ROBERT P. ARNDT
BELLSOUTH-70529       IRIS DATA SERVICES, INC.       ROBERT PARKER
CHARLOTTE
BELLSOUTH-70807       IRISTEL                        ROBERT R. HUETHER
BELLSOUTH-70807       IRITA LAUERMAN                 ROBERT RHOADES
BELLSOUTH-740144      IRON MOUNTAIN CANADA           ROBERT ROBELLO
                      OPERATIONS ULC
BELLSOUTH-ANNEX       IRON MOUNTAIN INTELLECTUAL     ROBERT ROSENBURG
                      PROPERTY MGT
BELMONT AND           IRON MOUNTAIN, INC             ROBERT RYCZAK
CRYSTAL SPRINGS
BELZ INVESTCO         IRONWORKS CONSULTING, LLC      ROBERT SANCHEZ
CORP
BEN EATON             IRS                            ROBERT SAWYER
BEN LINDSAY           IRS FOIA REQUEST               ROBERT SCHATZMAN
BENANCIO              IRS NATIONAL TAX FORUMS        ROBERT SCOTT
LINANARES             CONFERENCE OFFICE
BENCH MARK            IRS NATIONWIDE TAX FORUMS      ROBERT SOPHA
ADVERTISING
BENCHMARK TRUST       IRS.COM                        ROBERT STERN
CORP.
BENCLIFF              IRYNA BUSTILLO                 ROBERT T JOHNSON
PROPERTIES, LP
BENCO ELECTRIC        ISABEL RODRIGUEZ               ROBERT T SEYMOUR
LTD.
BEND BULLETIN         ISABELLE BOUCHER               ROBERT TODD MCINNIS
(THE)
BENDER REALTY LLC     ISABELLE GERVAIS               ROBERT W LINKONIS
BENEDICT, ALESIA G.   ISELA CAMACHO-MARTINEZ         ROBERTO AYALA
BENEFICIAL BANK       ISLA MCINTOSH                  ROBERTS AND ROBERTS
                                                     SYNERGY CONSULTANT
BENEFIT               ISLAND COUNTY TREASURER        ROBERTS RESTRETCH
ADVANTAGE
BENESCH,              ISLAND PROPERTY LLC, A         ROBERTS SHARYL
FRIEDLANDER,          CALIFORNIA LIMITED LIABILITY
                      COMPANY
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COPLAN & ARONOFF,
LLP
BENIS ASLANI         ISLAND RADIO-THE WAVE 102.3FM   ROBERTS, TAMMY
ALIABADI
BENJAMIN D YOUSIF    ISMA LLC                        ROBERTSON & FUTERAL
BENJAMIN GEORGE      ISMAEL ALVAREZ                  ROBERTSON DENNIS
BENJAMIN J           ISMAL SUTANKAYO                 ROBIN BOOMHOWER
HAMRICK
BENJAMIN MEDINA      ISOBEL MCEWAN                   ROBIN COMMANDA
BENJAMIN P           ISOMER GROUP, INC               ROBIN GOUDREAU
LANCASTER
BENJAMIN VINCENT     ISPOTOWER                       ROBIN GOUDREAU T450
BENNEGARD TAXES,     ISRAEL FAMILY REALTY CO.,LLC    ROBIN KEETCH
LLC
BENNETT E. & ANNA    ISREYALE HARMON                 ROBIN MANESS
C. BAKER
BENNETT JONES LLP    ISTOCKPHOTO LP                  ROBINSON ACCOUNTING
                                                     AND TAX
BENSON BUFFETT,      ISTVAN MAJZAK                   ROBINSON CURLEY &
PLC                                                  CLAYTON, P. C.
BENSON HEATING &     ISYNERGY WEBDESIGN              ROBINSON JR., WILLIAM
AIR CONDITIONING                                     B.
BENSON MYLES, PLC    IT MANAGEMENT SOLUTIONS         ROBINSON, KAREN
BENSON, SHARON       ITEXT SOFTWARE CORP.            ROBINSON, WILLIAM B.
BENTALL KENNEDAY     ITS INC                         ROBMOR INVESTMENTS
(CANADA) LP                                          DBA NORTH POINTE
                                                     SHOPPING CENTER`
BENTALLGREENOAK      ITSM ACADEMY, INC.              ROBSON, GEORGE T.
(CANADA) LP
BENTIN, JOSE         IUKA MINI-STORAGE               ROBY GOODWIN
BERA LEASING CO.     IV4, INC                        ROBYN PROMOTIONS &
                                                     PRINTING
BERG, ROBERT         IVAN MOLINA                     ROCCO AMICO
BERGAN, ALICE R. &   IVANESSE LOPEZ RAMOS            ROCCO PALAZZOLO
PAUL A.
BERGGREN             IVANHOE BROWN                   ROCCO PALAZZOLO
PROPERTIES LLC
BERKELEY PAYMENT     IVANHOE CAMBRIDGE II INC.       ROCHELLE CHEONG
SOLUTIONS
BERKSHIRE            IVANHOE CAMBRIDGE II INC.       ROCHESTER WABASH
HATHAWAY                                             LLC
HOMESTATE
COMPANIES
BERLIND, LEONARD     IVANHOE CAMBRIDGE II INC.       ROCK COUNTY
                                                     TREASURER
BERMUDEZ SOCIETY     IVANHOE CAMBRIDGE INC.          ROCK GROVE
INC                                                  ASSOCIATES LP
BERNADETTE LEE       IVERSON, JAY                    ROCK HILL PARTNERS
                                                     LLC
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BERNADETTE          IWONA FEDOROWSKI                 ROCK SOLID LP
MARCOS
BERNARD             IZHAK SUYONOV                    ROCK, SARAH
COUCHMAN
BERNARD DE VIENNE   J E LEANOS & COMPANY             ROCK/NEWTON CITIZEN
INC.
BERNARD             J F WHITLOW, JR. & SONS, INC     ROCKET MEDIA INC.
EMBERLEY
BERNARD SARFO       J HUGHES PAINTING LLC            ROCKET SIGNS
BERNICA, EDWARD     J R CONTRACTORS, INC             ROCKHURST UNIV.
                                                     CONTINUING EDUCATION
                                                     CENTER
BERNICE ST          J THOMAS MCCALLUM                ROCKY VIEW
MICHEAL FERNIE                                       PUBLISHING, LTD.
BERTHA ALICIA       J& M TAX SERVICE, LLC            ROD GARRICK
FLORES SANCHEZ
BERTRAM             J&L YANKEE INC.                  ROD SCOTT
PROPERTIES
BERTUCCI,           J&M COMMERCIAL CLEANING          RODATUS, JAMES
CHRISTOPHER         SERVICES, INC.
BERY HERNANDEZ      J. A. OSTER & COMPANY, INC.      RODERICK WELBURN
BERYAN P BELARDO    J. AUSTIN HEATING & COOLING      RODERICK, BENJAMIN
MARTINEZ            INC.
BERYL CHRISTMAS     J. CHRISTIAN DE LA VERGNE        RODES PHOTOGRAPHY
BEST BUY            J. ELLIOT DORE                   RODGERS, ROSALIND
BEST COMPANY, LLC   J. ERIC KING                     RODNEY KEITH RICHEY
BEST FRANCHISE      J. HAROLD, JR. & SONS MOVERS     RODNEY LIZOTTE
OPPORTUNITIES
BEST STRATEGIES     J. SIMKO PLAZA                   RODNEY ROBERTSON
BEST WAY FLYERS     J.A.M. ASSOCIATES LLC            RODOLFO LIZARDO
BEST WESTERN        J.A.M. ASSOCIATES LLC            RODRIGUEZ, ZSANDOR
(CALGARY)                                            ALEX
BEST WESTERN        J.F.T TYPEWRITERS & OFFICE       ROETZEL & ANDRESS
(RICHMOND)          EQUIPMENT
BEST WESTERN        J.H.J. INC                       ROGER L. VON
BARONS HOTEL                                         AMELUNXEN
(OTTAWA)                                             FOUNDATION, INC.
BEST WESTERN        J.M. RICHARDS INVESTIGATIONS     ROGER N. DUPONT
BRAMPTON
BESTCOMPANY.COM,    J.P. STROM, JR.,P.A. DBA STROM   ROGER VERNON
LLC                 LAWN FIRM, LLC
BETCO REALTY        J.P. YANCEY REALTY CO, INC.      ROGERS CABLE
CORPORATION                                          COMMUNICATIONS INC.-
                                                     4100
BETH ELDER          J.R. FAIRFIELD                   ROGERS MEDIA
BETHEBOSS CANADA    J.S. JACOBS, INC.                ROGERS MEDIA INC.
BETHEBOSS EXPO      JAB PROMOTIONS INC               ROGERS MEDIA, INC.
BETHEBOSS.CA        JACEY ANN BEDORE                 ROGERS TELECOM -
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BETHEBOSS.CA          JACK & MILDRED FELLERS         ROGERS, EDWARD
BETHEL-RUBEN          JACK CHUNG                     ROGERS-9100
LIMITED
PARTNERSHIP
BETTER BUSINESS       JACK DEMPSEY                   ROLAND BELANGER
BUREAU
BETTER BUSINESS       JACK HARTMAN                   ROLAND'S NEON SIGNS
BUREAU OF
GREATER HAMPTON
ROADS
BETTER                JACK IBBOTSON                  ROLEG INC.
LOCKSMITHS
BETTY CALVERLEY       JACK IVEY SIGNS INC.           ROLLINS INC
BETTY H KISSOCK       JACK NGUYEN                    ROMAIOS TSIANIS
BETTY PANCHYSHYN      JACK RABBIT STORAGE            ROMAN CICCIARELLI
BETTY SMITH           JACK STUMPF & ASSOCIATES INC   ROMAN MASYK
BEVERLEY              JACKIE EASLEY                  ROMERO, CARLOS
ALEXANDER
BEVERLY ANDERSON      JACKIE IRELAND                 ROMERO, ENRIQUE
                                                     MORENO
BEVERLY HILLS         JACKIE PARKER                  ROMISCO SIGN SYSTEMS
SUITES LLC
BEVERLY MIX           JACKIE READ                    ROMSTAR TRANSPORT
BEVERLY WALKER        JACK'S CASH LTD.               RON HOLLA
BFI                   JACKSON BROADCASTING           RON HORST
                      COMPANY
BGE                   JACKSON COUNTY PUBLIC WATER    RON LANCASTER
                      SUPPLY DISTRICT #1
BGE ELECTRIC          JACKSON EMC                    RON MCLEAN
BGM RED ROCK, INC.    JACKSON ENTERPRISES, LTD.      RON ROMANKO
BHAKTA, JIGAR         JACKSON HOLDINGS GROUP, LLC    RON SCHROEDER
BHATIA, GUL           JACKSON KELLY PLLC             RON WESTON
BHAUDEEP              JACKSON LEWIS LLP              RON WRIGHT
CHOTALIYA
BHAVDEEP              JACKSON LEWIS P.C              RON WRIGHT, TAX
CHOTALIYA                                            ASSESSOR-COLLECTOR
BHOSTED.NET           JACKSON MCCLELLAND             RONALD A NATION
BIA FINANCIAL         JACKSON, CHRISTINA             RONALD BURK
NETWORK, INC.
BIANCA OPALA          JACKY ALVAREZ                  RONALD CAMPBELL
BICKLE PROPERTY       JACLYN CHRISTIE                RONALD COPE
MAINTENANCE &
LANDSCAPING
BIEHL & BIEHL, INC.   JACLYN MCGILVRAY               RONALD ENDRES
BIG CITY              JACLYN OVERMEYER               RONALD G PARSONS
PRODUCTIONS
BIG COUNTRY 93.1      JACOB BRETT                    RONALD
FM                                                   HUEBSCHWERIEN
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BIG KAHUNA SPORTS     JACOB CORION                   RONALD LACHAPELLE
COMPANY
BIGGS & FLEET, LTD.   JACOB DEWEY                    RONALD LEVESQUE
BILL AND SHIRLEY      JACOB GIESBRECHT               RONALD LEVINE,
MAIER                                                ATTORNEY AT LAW
BILL BOLTON           JACOB PAYNE                    RONALD LUBIN II
BILL BURSE            JACOB STEWART                  RONALD MCDONALD
                                                     HOUSE CHARITIES'
                                                     ALBERTA
BILL CHANG            JACQUELINE BRANDES             RONALD MCLESTER
BILL FROVICH          JACQUELINE CARLISTO            RONALD MILLIGAN
ELECTRIC
BILL RHINES           JACQUELINE CHAMBO              RONALD PUTMAN
BILL SIMONS           JACQUELINE DORION              RONALD SCHWEITZER
PLUMBING &
HEATING
BILLIE SARKES         JACQUELINE M. PARKER           RONALD THIEBEN
BILL'S HOME           JACQUELINE MENDZABAL           RONDA VAN HEMMEN
IMPROVEMENTS
BILLY MURPHY          JACQUES PICARD                 RONEY COMPANY
                                                     HOLDINGS, LLC DBA
                                                     SOLVERE ONE,
                                                     LLCSOON01
BILOXI SUN HERALD     JADE KINGDOM                   RONNING LAND
                                                     CORPORATION
BILU ASSOCIATION      JADE PEARCE                    ROOD, DONNY
LLC
BINNS, DENESE         JADE WEST CEDARVIEW LLC        ROOK, SUZI
BINSWANGER GLASS      JAFFE WEBSTER PROPERTIES INC   ROOSEVELT SK
# 026                                                PROPERTY CORP
BINU KIDANGEN         JAG GENERAL CONTRACTOR, INC.   ROOTER-MAN PLUMBING
                                                     AND DRAIN SERVICE
BIRCH TELECOM         JAHCO OKLAHOMA PROPERTIES I,   ROSALEE A. MOWATT
                      LLC
BIRCHSTONE            JAIGOBIN, LEONARD              ROSALLIN DAIGS
DEVELOPMENTS INC.
BIRD, RICHARD         JAIME-LYNN WALKER              ROSARIO ACQUAVIVA
BIRDSIDE CENTRE       JAIRUS PRYOR                   ROSE ALI
CORP
BIRMINGHAM NEWS       JAKE MARSHALL SERVICE, INC.    ROSE ANNE ANTOINE
& PST HERALD
BIRSCH                JAKE NICHOLSON                 ROSE CARTIER
BISCHOFF              JAMAICA REALTY NYC, LLC        ROSE CITY RADIO - KXJM
MARTINGAYLE PC
BISCHOFF              JAMAICA REALTY NYC, LLC        ROSE ISLAND
MARTINGAYLE PC                                       LIGHTHOUSE
                                                     FOUNDATION
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BISHOP SULLIVAN     JAMAICA TWINS REALTY INC.      ROSE MARIE CHARLIE
CATHOLIC HIGH
SCHOOL
BISON ADVERTISING   JAMAICA TWINS REALTY INC.      ROSE SCIPIONE
INC
BITKOO, LLC         JAMAL ESFAHANI                 ROSE, SCOTT
BITLY, INC.         JAMAN SALES COMPANY            ROSE-ANN KENNEDY
BIZ X MAGAZINE      JAMES & LINDA WRIGHT FAMILY    ROSEMARY CONDO
                    LP
BIZPORT, LTD.       JAMES A DICKOVER               ROSEMARY RUGGIER
BIZQUEST.COM        JAMES AND TAYLA ASHMORE        ROSEMONT
                                                   ELEMENTARY SCHOOL
BIZSALE.COM         JAMES BOARMAN                  ROSENTHAL INSURANCE
                                                   CONSULTING
BJC REAL ESTATE     JAMES CALDWELL                 ROSETTE MCCANN
PARTNERSHIP
BJ'S WHOLESALE      JAMES CHISHOLM                 ROSEWORKS, LLC
CLUB
BK CORE & MORE      JAMES CITY COUNTY TREASURER    ROSLYN GREGORY
BKJ PROPERTY        JAMES CLARK                    ROSLYN SAUL
MANAGEMENT, LLC.
BLACK ANGUS         JAMES CLARK                    ROSS DECKER
CATERNG
BLACK BEAR DOOR     JAMES COLLINS                  ROSS HOWARD-JONES
TO DOOR
ADVERTISING
BLACK BOX RESALE    JAMES CULTON                   ROSS WALKER
SERVICES
BLACK ENTERPRISE    JAMES DAME                     ROSS, JANELL
BLACK HILLS         JAMES E DOSCHADIS              ROSS, RICHARD &
ENERGY                                             REBECCA
BLACK HILLS         JAMES F. WHITMER PRIVATE       ROTARY INTERNATIONAL
PIONEER /WEEKLY     INVESTIGATIONS                 - NORTHMONT ROTARY
PROSPECTOR
BLACK PRESS GROUP   JAMES GIBSON                   ROTARY INTERNATIONA-
LTD.                                               ROTARY CLUB OF THE
                                                   HIGH DESERT-HESPERIA
BLACK PROPERTY      JAMES GLENN SMITH              ROUGHTON, SCOTT
MANGEMENT LLC-
DO NOT USE
BLACK, SR., JOEL    JAMES GORDON                   ROUND ROCK
                                                   INDEPENDENT SCHOOL
                                                   DISTRICT
BLACKBURN RADIO     JAMES HAGERTY                  ROUND ROCK LEADER
INC.                                               (THE)
BLACKBURN RADIO,    JAMES HEATING AND COOLING      ROUNDREE LLC
INC.                CORP
BLACKSBERG,         JAMES IOANNOU                  ROUNDTREE, LLC
MICHELLE
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BLACKSTONE SELF     JAMES K ERICKSON                ROUSE PROPERTIES INC
STORAGE
BLACKSTONE          JAMES L DICKERSON               ROUSE PROPERTIES INC
VALLEY BOYS &
GIRLS CLUB
BLACKWELL,          JAMES LAFRANCE                  ROUSE PROPERTIES INC
JACQUELINE
BLACKWELL,          JAMES LANNING                   ROUSE PROPERTIES INC
SANDERS, PEPER,
MARTIN
BLAIR COMMERICAL    JAMES LAWSON                    ROUSE PROPERTIES, INC.
MANAGEMENT
BLAIR MACRAE        JAMES LEPARD                    ROUSE-SIRINE
                                                    ASSOCIATES, LTD
BLAIR MILLAR        JAMES M. SWEENEY &              ROVER MARINE
                    ASSOCIATES, INC.
BLAIS               JAMES MADISON UNIVERSITY        ROVERS PROCESS
INVESTIGATING                                       SERVICE
AGENCY
BLAKE BATES         JAMES MARION                    ROWAN COUNTY
                                                    REGISTER OF DEEDS
BLAKE JARRETT &     JAMES MARR                      ROWE, JOHN
COMPANY
BLAKE WEAVER        JAMES MCINTYRE                  ROXANNE CAMERON
BLAKE, CASSELS &    JAMES MORRIS                    ROXANNE DECKER
GRAYDON LLP
BLANCA MOLINA       JAMES MORROW                    ROXANNE HADDRELL
BLANDING OAKS       JAMES P LOMBARD                 ROXANNE HADDRELL
INC.
BLAZING SADDLE      JAMES PATTEN                    ROXANNE LEFEVER
WESTERN DISPLAY
LTD.
BLEDSOE, YVONNE     JAMES PEACH                     ROXANNE WOODS
BLEU WATER OF       JAMES PERRY                     ROY BAILEY
VIRGINIA BEACH
BLEVINS ELECTRIC,   JAMES POULIN                    ROY COUCH
INC.
BLISSCO             JAMES R HUESING                 ROY SANDERS SALES
BLM ROSAMOND A      JAMES REINTALER                 ROYAL BANK OF
CALIFORNIA                                          CANADA
LIMITED
PARTNERSHIP
BLOHM, TROY J.      JAMES RIVER SIGNS, INC.         ROYAL HOST HOTELS
                                                    AND RESORTS
BLONG, MANTANA      JAMES ROE                       ROYAL IMPORTS GROUP,
                                                    INC.
BLT-TULSA I LLC     JAMES ROGERS                    ROYAL LEPAGE BINDER
                                                    REAL ESTATE 640
BLUE ALERT          JAMES RYAN SHELKEY              ROYAL MANITOBA
INVESTIGATIONS                                      THEATRE CENTRE
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BLUE CHIP           JAMES SAM                      ROYAL MOTAL, INC.
BROADCASTING
BLUE CHIP LEASING   JAMES SAUNDERS                 ROYAL PLUMBING &
CORPORATION                                        HEATING, INC.
BLUE CRAB REAL      JAMES SHORT                    ROYAL SONESTA HOTEL
ESTATE LLC
BLUE CROSS AND      JAMES TAX SERVICE, INC         ROYAL'S OK LUNCH INC.
BLUE SHIELD
BLUE EAGLE          JAMES WILSON                   ROYER COOPER COHEN
INVESTIGATIONS,                                    BRAUNFELD LLC
INC.
BLUE LINE           JAMES WILSON                   ROYNAT INC
SECURITY, INC
BLUE MARBLE &       JAMES, DAVID & CYNTHIA         RPF CONSULTING, LLC
SUN, LLC
BLUE MOON           JAMES, MATT                    RPI SKILLMAN ABRAMS
INVESTIGATIONS                                     S.C.. LTD
BLUE MOUNTAIN       JAMESTOWN MUSEUM GIFT SHOP     RPM MANAGEMENT
LOCK, KEY & SAFE                                   COMPANY, INC
LTD.
BLUE PICKUPS        JAMESTOWN SETTLEMENT CAFE      RPM PRODUCTIONS, INC.
MUSIC
PRODUCTIONS LLC
BLUE SKY            JAMESTOWN-YORKTOWN             RPP PM LLC DBA REMAX
INSURANCE           FOUNDATION                     PRESTIGE PROPERTIES
BROKERS
BLUE TITAN HOMES    JAMI RING                      RRI MANAGEMENT, LLC
BLUEBEAM            JAMIE AND ROXANNE JEFFREY      RRSP
SOFTWARE, INC.
BLUEFIELD DAILY     JAMIE BOND                     RRTC TECHNOLOGY
TELEGRAPH
BLUEHORNET          JAMIE DREW                     RS RIZZARDI
NETWORKS, INC.                                     INVESTIGATION
                                                   SERVICES
BLUEHUB             JAMIE GODDEN                   RS SIGNS
SOLUTIONS LTD.
BLUEMONT            JAMIE HAWES                    RS WATER HOLDINGS,
PARTNERS, LLC                                      LLC
BLUESHIELD          JAMIE SHEAR                    RSM US, LLP
SECURITY &
INVESTIGATIONS,
LLC
BLUESNAP, INC.      JAMIE SHEAR                    RSRP AKRON LLC
BLUESTONE &         JAMISON, RONALD                RT FIFTEENTH PENSION
HOCKLEY REALTY,                                    PROPERTIES
INC
BLUETIE, INC.       JAM'N 94.5 - WJMN              RT GOLDEN HILLS, LP
BLUPRINT            JAMS, INC.                     RT GOLDIN HILLS, LP
ADVANCED LTD
BMO MASTERCARD      JAMSHID JAWED                  RTB TOURS
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BMP RADIO             JAMWOOD DEVELOPMENTS, INC.      RUBEN DREWERY
BOARD OF              JAN BROWN & ASSOCIATES          RUBEN RAMIREZ DBA
EQUALIZATION                                          CABLES AND MORE
BOARDVIEW             JAN J MAURICE                   RUBENSTEIN, WILLIAM
ADVERTISING, INC.
BOB CASTLE-ALL        JAN J MAURICE                   RUCAREAL LTD.
TRADES
BOB EVANS FARMS,      JANA ANDRADE                    RUCIO NIEVES
INC.
BOB MARSHALL          JANA GOOD                       RUDDENS BOSSE
BOBBITT SIGNS, INC.   JANA KIM MEDLIN                 RUDEE OPERATIONS LLC
BODO, P.I.            JANAF SHOPPING CENTER LLC       RUDOLPH, DAVID
BODYFELT MOUNT        JANE LI                         RUDOLPHI, ELAINE
LLP
BOEFLY, LLC           JANE LYONS AND SYLVIA PEEL      RUG WORKS
BOERGER PRIVATE       JANEESE HOLBIN                  RUGGIERO, SAMANTHA
INVESTIGATIONS
BOISE CASCADE         JANELLE QUIGLEY                 RUGG'S OFFICE
OFFICE PRODUCTS                                       FURNITURE WHOLESALE,
                                                      INC
BOLANZ & MILLER       JANELLE SNYDER                  RUMPKE OF OHIO INC
REALTORS, INC.
BOLD GOLD MEDIA       JANET A WINN                    RUSH LEGAL TABS, INC.
BOLD SIGN RENTALS     JANET EBEL                      RUSHMORE RADIO
LTD.
BOLD SOFTWARE,        JANET GATES                     RUSSELL BYRUM SIGNS,
LLC                                                   INC.
BOLTER & CARR         JANET GINGRAS                   RUSSELL DE VERT
INVESTIGATIONS,
INC.
BOMBET &              JANET MACDONALD                 RUSSELL GENNO
ASSOCIATES
BOMBET, CASHIO &      JANET PROVINCIAL-KILLEEN        RUSSELL L. RINER
ASSOCIATES
BOMBET, CASHIO &      JANET SWIRES                    RUSSELL MACEJAK
VARA
BON-ACCORD            JANET WALL                      RUSSELL RUDOLPH
HOLDINGS LTD.
BOND PARADE           JANG, YEOJIN                    RUSSELL, JERRY
FLOATS
BONFIRELA             JANICE D. RUSSELL, TRUSTEE OF   RUTH COLLETTE
PRODUCTIONS           FARM HILL TRUST
BONNEVILLE            JANICE S. BAKER & ASSOCIATES,   RUTH CROSS
INTERMOUNTAIN         INC.
RADIO GROUP
BONNEVILLE            JANIE CADIEUX                   RUTH GUERRA
INTERNATIONAL,
INC.-KFTZ
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BONNIE AND ROY       JANIE KENNEDY                 RUTH LEISCHNER
ROBERTS
BONNIE BASSO         JANI-KING                     RUTH TOWTON
BONNIE BOYD &        JANINE LAUZON                 RUTHERFORD COUNTY
COMPANY
BONNIE BURKE         JANN CALLAGHAN CULLEN         RVS REALTY LLC
BONNIE J. BUCKLEY,   JAPANESE AUTO MASTERS         RYALS, TERESA
RPR, CRR
BONNIE JANSEN        JAQUELINE NICHOLLS            RYAN BEAR
BONSAI MEDIA         JARDCO, INC                   RYAN DODSON
BONSOO WINTER        JARED & AMANDA HAFEMANN       RYAN GREENWOOD
CARNIVAL
BOONE COUNTY         JARED LOEWEN                  RYAN M. DAUM
FISCAL COURT
BOONE, SAM           JARED M WAGONER               RYAN MCQUARRIE
BOOTH, STEPHANIE     JARED PENTON                  RYAN NICOL
BOOZER, SHANE        JARLAND LLC                   RYAN PERSAUD
BORDEN, SHARON       JARRETT F GOLD                RYAN RACCIO
BOREALIS CRUISES     JASEN CATCHPOLE               RYAN THOMPSON
BOROUGH OF           JASON ALLARD                  RYAN ZAWADZKI
BELLEVUE
BOROUGH OF           JASON BARNES                  RYC PROPERTIES LLC
NAUGATUCK (PPT)
BOROUGH OF           JASON BROWN                   RYON GORDON
OXFORD
BOROWIDE PROCESS     JASON D.MATTES                RYZE BEYOND LTD
SERVICE
BORTHAYRE, ALAIN     JASON HAINES                  RZ & SAJ ENTERPRISE
BORTHAYRE, BLAIRE    JASON HILL                    S & T BANK
BOSHK AGUONIA        JASON J. TAN                  S CARLISLE CO.
SMITH
BOTANICUS, INC.      JASON KOENIG                  S J MEYER &
                                                   ASSOCIATES, INC
BOUNCE HOUSE         JASON MORGAN                  S M INVESTIGATIONS &
LONDON                                             SECURITY, LLC.
BOURBON VIEUX        JASON NEMETH                  S SQUARED BUSINESS
                                                   SOLUTIONS, INC
BOURQUIN PRINTERS    JASON OGLE                    S&F INVESTMENTS INC.
& SIGNS LTD
BOWDITCH FORD        JASON REEVES                  S&H RISNER, INC
BOWENARO             JASON SQUIRES                 S&P RENTAL
HANDYMAN
SERVICES, LLC
BOWERS, ERIKA        JASON STALLKNECHT             S. BUCKNER
                                                   INVESTMENTS, INC.
BOWLES,RICE,MCDA     JASON STALLKNECHT             S. L. K. INVESTIGATIONS
VID,GRAFF & LOVE,
LLP
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BOWMAN CURVE I &     JASON TRAFFORD                   S.D. VICTORIEN
II, LLC                                               RONDEAU
BOX AMERICA INC.     JASON W. JU                      S.E.C.R. TELECOM, INC.
BOXX                 JASON YOUNG                      S.L. NUSBAUM REALTY
TECHNOLOGIES, INC.                                    COMPANY
BOYD, CHERON         JAVARIA IQTEDAR                  S.O.S TONERS INC.
BOYD, TRACY          JAVIER MORGAN                    S.W. CONCEPTS.LLC
BOYER, CATHERINE     JAY CHARLES HAMMOND-             SAAD SHEBEYER
LEE                  HAMMOND BUSINESS FORMS
BOYKIN               JAY MBAINJEWEL                   SABASTIAN
ENTERPRISES                                           CAMPANELLA
BP COMMERCIAL        JAYNE BRADLEY                    SABER PROPERTY
FUNDING TRUST-                                        MANAGEMENT
SERIES SPL-X
BPU                  JBSP TAX SERVICES OF OHIO INC.   SABERLINK IMAGING
BRACKEN, JAMES P.    JC+1                             SABRE REALTY
                                                      MANAGEMENT
BRAD DUBNER          JCP SERVICES                     SABRINA CARTER
BRAD FEELEY          JC'S STORAGE COMPANY             SABRINA GREER
BRAD FITZSIMMONS     JCY MANAGEMENT                   SABRINA SIMMONS
BRAD MAURER          JDRF INTERNATIONAL               SABRINA WHITFIELD
BRAD VAN NESTE       JD'S RIDC                        SACCO SCHOOLS LIMITED
BRAD WEATHERUP       JEA                              SACRAMENTO
                                                      MUNICIPAL UTILITY
                                                      DISTRICT
BRAD WHITE           JEAN CARON                       SADDLEBACK VALLEY
                                                      UNIFIED SCHOOL
                                                      DISTRICT
BRADLEY              JEAN GUY BRAZEAU                 SADICK KESHAVJEE
COMMUNICATIONS
CORP
BRADLEY MORRIS,      JEAN JACKSON                     SAEPIO TECHNOLOGIES
LLC DBA
CIVILIANJOBS.COM
BRADLEY NEWS         JEAN M. BIRCH                    SAFARI MAIL HOUS
WEEKLY, THE
BRADLEY SCRIVER      JEAN MARIE JOHNSON               SAFE AND GREEN INC
BRADLEY SINCLAIR     JEAN MINDLE                      SAFEMASTERS CO., INC
BRAEDEN THOMS        JEAN PAUL DECHAMPS               SAFE-TECH ALARM
                                                      SYSTEMS
BRAFTON INC.         JEAN PIERRE ITURRALDLE           SAGAR AUTKAR
BRAGG SHOPS PLAZA    JEAN POWER                       SAGE SOFTWARE INC.
LLC
BRAIN BARRINGER      JEANETTE BRITZ                   SAGE THREE, LLC
BRAINSTORM           JEANETTE SMYTH                   SAGEO-WILLIAMS
CONSULTING, INC.                                      COMMUNICATION
BRAMPTON &           JEAN-MARIE ATITSO                SAGEWORKS, INC.
MISSISSAUGA LOCK
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BRAMPTON           JEANNETTE BOONE                 SAIA MOTOR FREIGHT
BATTALION                                          INC.
BRANCHE            JEETY DHALIWAL                  SAIYED INVESTMENT
INDUSTRIES INC                                     PROPERTIES, LLC
BRAND MY STUFF     JEFF BAGGS                      SAJE COMM. INC.
BRANDAU, MARK      JEFF BEDDOME                    SALAZAR CONNECT, INC
BRANDEX            JEFF BORSCHOWA PROFESSIONAL     SALEM CHRISTIAN
ENTERPRISES LTD    CORP.                           ACADEMY
                                                   DEVELOPMENT
                                                   COMPANY
BRANDMUSCLE, INC   JEFF CROCKETT                   SALEM HIGH SCHOOL
BRANDON BRELAND    JEFF DOSSETT/CIA, LLC           SALES & USE TAX
BRANDON            JEFF GRANTER                    SALES TAX RESOURCE
BRETHOUR                                           GROUP
BRANDON BRITT      JEFF HAMPEL                     SALESFORCE.COM
BRANDON BUSINESS   JEFF HILLIER                    SALIH SULEYMANOF
INTERIORS
BRANDON SHOPPING   JEFF NUSSLER                    SALINA MEDIA GROUP
CENTER PARTNERS,
LTD
BRANDON SUN        JEFF PARSONS                    SALMA EL MAHDI
BRANDWEEK          JEFF PRITCHER                   SAL'S AUTO SERVICE,
                                                   LTD.
BRANDXADS INC      JEFF REED INVESTIGATIONS        SALT LAKE PRIVATE
                                                   DETECTIVES
BRANDYN HURT       JEFF ROSINA                     SALTED SERVICES, INC.
BRANFORD JR. B     JEFF WELLCOME                   SALVATORE BRUZZESE
HOCKEY CLUB
BRANT NEWS         JEFF WILSON                     SAM & JOSEI SAIA
BRAYSIDE           JEFFERSON COUNTY TREASURER      SAM HILL
INVESTMENTS                                        ENTERTAINMENT, INC.
BREANNA KITTSON    JEFFERSON COUNTY TREASURER      SAM MANHAS
BREEN, JOE         JEFFERY A. BRYNING              SAMANTHA BESNER
BREEN, LORI L.     JEFFERY, SCOTT                  SAMANTHA LAFERRIERE
BREEZE             JEFFREY A. STEHLIN              SAMANTHA PETERS
CORPORATION DBA
BREEZE NEWSPAPER
BREIT OPERATING    JEFFREY BAIRD                   SAMANTHA PINTO
PARTHERSHIP L.P.
BRENDA BERRY       JEFFREY C. NIELSEN              SAMANTHA TAYLOR
BRENDA BIRCH       JEFFREY CORBETT                 SAMANTHA WALLACE
BRENDA BRERETON    JEFFREY D SCHUBERT              SAMBROOK MEDIA CORP
BRENDA DULYK       JEFFREY EUGENE WILKERSON        SAMEER FINO FLP NO.
                                                   ONE
BRENDA FENDLEY     JEFFREY G. WILSON               SAMENEH NAEIMI
BRENDA HOPKINS     JEFFREY HIRSHBERG CPA           SAMER KAMEL
BRENDA JUDD        JEFFREY L JAMIESON              SAMER KAMEL
BRENDA LESAGE &    JEFFREY L RIDDLE                SAMI ABDUL RAH IBARI
LEONARD KLASSEN
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BRENDA OTTER       JEFFREY LAKE                    SAMI KANIFA
BRENDA PAYNE       JEFFREY LEON DENNY              SAMMY ORTIZ
BRENDA RALF        JEFFREY STADELBAUER             SAM'S CLUB #8222
BRENDA REGISTE     JEFFREY T STIMPSON              SAM'S CLUB CANADA
BRENDA SPENCER     JEFFRIES, JACQUELINE            SAMUEL MARKUM
BRENDA THURSTON    JELLYFISH ONLINE MARKETING      SAMUEL RETAIL LTD
                   US LTD
BRENDAN EVANS-     JEMD REALTY LLC                 SAMUEL, BENNY &
PROPERTY                                           LALITHA
MANAGER
BRENDAN            JEMEZ MOUNTAINS ELECTRIC        SAN ANTONIO EXPRESS-
HOCHSTEIN          COOP INC                        NEWS
BRENNAN BOYD       JENIFER HUDSON                  SAN ANTONIO SOCCER
                                                   ACADEMY
BRENNEMAN,         JENKENS & GILCHRIST             SAN ANTONIO SPURS
STEPHANIE
BRENONS SOCIAL     JENKINS BUSINESS EQUIPMENT      SAN BENE PROPERTIES,
MEDIA/VICTORIA                                     LLC
BUZZ
BRENT DAVIS        JENN CAYEN                      SAN DIEGO GAS &
                                                   ELECTRIC- 25111
BRENT W CLAIR      JENNA OIKLE                     SAN FRANCISCO
BRENTWOOD          JENNIFER ANDERSON               SAN JOAQUIN COUNTY
SCREENPRINT INC.                                   CLERK
BRETMOR            JENNIFER ANDERSON               SAN JUAN ASSOCIATES
HEADWEAR
BRETT COLLEY       JENNIFER BELLEGARDE             SAN JUAN SIGNS, INC.
BREVARD COUNTY     JENNIFER CASE                   SAN MARCOS PLAZA, LLC
BREWER             JENNIFER CLARK                  SAN PABLO PARTNERS II
BROADCASTING                                       LLC
BREWER DETECTIVE   JENNIFER D DENNY                SAN PABLO RETAIL
SERVICE, INC.                                      PARTNERS, LLC
BRIAN ARSENAULT    JENNIFER ESPINEL                SAND SHARK LIMOS
BRIAN BELTZ        JENNIFER FICUCIELLO             SANDER, NORBERT
BRIAN BOWBRICK     JENNIFER GAUDETTE               SANDERS
                                                   INVESTIGATION SERVICE
BRIAN BUSKE        JENNIFER HUDSON                 SANDERS SERVICE
                                                   COMPANY
BRIAN FLATLEY      JENNIFER HUTTON                 SANDERS, GALE &
                                                   RUSSELL, INC.
BRIAN H            JENNIFER JOHNSON                SANDERS, LEE
WINTERSTEIN-DO
NOT USE
BRIAN HOLMES       JENNIFER LARCH                  SANDHILL MEDIA- KADQ
BRIAN J.           JENNIFER LAVIGNE                SANDHU, DAMAN
MCLAUGHLIN
BRIAN KAHN         JENNIFER M. BROWN               SANDIA VISTA CENTER,
                                                   LLC
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BRIAN LUDWIG         JENNIFER M. FATH              SANDIEGO PROCESS
                                                   SERVING
BRIAN MULLER         JENNIFER MCCONNELL            SANDRA AHMED
BRIAN OUELLETTE      JENNIFER NORONHA              SANDRA COMPHER
BRIAN SCARLETT       JENNIFER PRIESTMON            SANDRA COOK
BRIAN SMITH          JENNIFER SARGEANT             SANDRA ESQUIVEL
BRIANNA JAUCH        JENNIFER SPOONER              SANDRA GIGNAC
BRIANNE TREMBLAY     JENNIFER TOMPKINS             SANDRA HENRY
BRICE RICHARDS       JENNIFER TRUDELL              SANDRA HOLLOWAY
BRICK GENTRY, P.C.   JENNIFER VEINOTTE             SANDRA KERR
BRIDGEBORN, LLC      JENNIFER WEIL                 SANDRA L ESQUEDA INC
BRIDGEBUILDER        JENNIFER WOLAK                SANDRA LEGGETT
COMPANY
BRIDGES, KENNETH     JENNIFER WRIGHT               SANDRA LEONCE
AND ELIZABETH
BRIDGET BRICKLES-    JENNIFER ZAMMIT               SANDRA LOEHNDORF
COUSINEAU
BRIDGET MISENER      JENNY & SONS HOME IDEAS &     SANDRA MAY
AND WENDY SHORT      IMPROVEMENT INC
BRIDGET TINDALL      JENNY CLOW                    SANDRA NICKERSON
BRIDGETT             JENNY GREEN                   SANDRA RODRIGUEZ
SUTHERLAND
BRIELMAIER,          JENNY LEITCH                  SANDRA SHATFORD (#
CARMEN                                             9081)
BRIGHT HOUSE         JENNY WAUGH                   SANDRA STOLICH
BRIGHT HOUSE         JENNYLYN GABANA               SANDRA V. ANDRADE
NETWORKS                                           MOLINA
BRIGHT HOUSE         JERALD K LEESCH TRUST         SANDRA WESLEY
NETWORKS
BRIGHTCOVE, INC.     JEREL TOMASELLO               SANDRA WILLIAMS
BRIGHT-MEYERS        JEREMY DUGAS                  SANDSTONE PROPERTIES,
CLEVELAND ASSOC.                                   INC
L.P.
BRIGHT-MEYERS        JEREMY EIGNER                 SANDY COVERDALE
CLEVELAND
ASSOCIATES, LP
BRIGITTE             JEREMY J. GEORGE              SANDY HARVEY
GUILLEMETTE
BRIMHALL AND         JEREMY TOWNSEND & STEPHENIE   SANFORD HERALD
RHOTON               TOWNSEND
INVESTMENTS LLC
BRING ME A BOOK      JEREMY VARIAS                 SANGAMON COUNTY
                                                   RECORDER
BRING ME A BOOK      JEROMY DAVIS                  SANGAMON DIRKSEN LLC
FOUNDATION
BRING ME A BOOK      JERRICA MITCHELL              SANKET PATEL
FOUNDATION
BRISARD, SONJA       JERRY LEE WOODLIEF, JR. DBA   SANSONE GROUP
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BRISTOL              JERRY ROZENEK'S PAINTING       SANTA BARBARA TAX
BROADCASTING         SERVICE                        PRODUCTS GROUP
BRISTOL              JERRY STARKWEATHER             SANTA RITA GARDENS, A
BROADCASTING                                        CALIFORNIA GENERAL
COMPANY, INC.                                       PARTNERSHIP
BRISTOL              JESSE THIBAULT                 SANTAL CORPORATION
BROADCASTING
COMPANY, INC.
BRISTOL HERALD       JESSICA BALDI-LUCIER           SANTANA, JESSICA
COURIER
BRISTOL LOCK &       JESSICA BENGEN                 SANTARO SIGNS
SAFE
BRISTOL SIGN CO.     JESSICA BYRON                  SANTA'S LITTLE
INC.                                                HELPERS, LLC
BRISTOL SIGN         JESSICA DHILLON                SANTA'S PARADE OF
COMPANY WALDEN,                                     LIGHTS OSHAWA
LLC
BRISTOL VIRGINIA     JESSICA DIXON                  SAP AMERICA, INC.
UTILITIES
BRITE SIGNS INC.     JESSICA EDGELL                 SAPPHIRE
                                                    TECHNOLOGIES
BRITTANY DELISLE     JESSICA ELSON                  SARA BACCHUS
BRITTANY             JESSICA FIELDS                 SARA BRONN
THURSTON
BRITTANY VIVIAN      JESSICA RHEAUME                SARA J RAMIREZ
BRITTEN BANNERS,     JESSICA SANGELAIS              SARA LOMAS
INC.
BRIXMOR              JESSICA STANELL                SARA MUSCHWECK
OPERATING
PARTNERSHIP LP
BRIXMOR              JESSICA WEIMER                 SARA PATANIA
OPERATING
PARTNERSHIP LP
BRIXMOR              JESSIE CASIANO                 SARA PRESTON
OPERATING
PARTNERSHIP LP-DO
NOT USE
BRIXMOR              JESSIE GILES                   SARA WILLSON
OPERATING
PARTNERSHIP LP-
NC13848
BRIXMOR              JESSIE HAYDEN                  SARAC LTD
STOCKBRIDGE
VILLAGE LLC
BRIXMORE             JESSIE LAFRANCE                SARAH CRAFTS
OPERATING
PARTNERSHIP LP
BROAD CREEK PH. I,   JESSIE MCMAHON                 SARAH DALZIEL
LLC
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BROAD STREET        JESSIE YU                      SARAH DEIERLEIN
COMMUNITY                                          NIESCHALK
NEWSPAPERS
BROADCAST NEWS      JESSTALK SPEAKNG SERVICES      SARAH HEDLEY
CORP., INC.         LLC
BROADCAST           JEWEL F. YAUGHN INC.           SARAH MCLEAN
RECOVERY, INC.
BROADPOINT          JFK HOLDINGS INC               SARAH MORRIS
TECHNOLOGIES -
BETHESDA
BROADPOINT          JFRCO, LLC                     SARAH SORENSEN
TECHNOLOGIES-
CHESAPEAKE
BROADRIDGE ICS      JG NORTH RALEIGH LLC           SARAH WILIE
BROADRIDGE ICS      JIE WEI                        SARATEK TECHNOLOGY
                                                   LTD.
BROADRIDGE          JIE YAN                        SARCOM
INVESTOR
COMMUNICATION
SOLUTIONS, INC
BROADWAY CENTER     JIGSAW. COM/SALESFORCE.COM     SARKAUSKAS
PARTNERSHIP                                        PROPERTIES, LLC
BROADWAY            JILL FRIEDMAN                  SARKAUSKAS, BRAD
FLOORING INC
BROADWAY            JILL RYAN ANGLIN               SARRI IBRAHAM
MESSENGER &
COURIER LTD.
BROADWAY PHOTO      JILLIANS                       SAS INSTITUTE INC.
STUDIO INC
BROADWAY PLACE,     JILOR LLC                      SASHA FOSTER
LLC
BROADWAY            JIM & DONALDA SHORT            SASK POWER
WIRELESS STORE
BROCK, CLAY,        JIM & JOHN REALTY III, LLC     SASKATCHEWAN
CALHOUN & ROGERS,                                  WORKER'S
LLC                                                COMPENSATION BOARD
BROCKMONT           JIM MITCHELL                   SASKATOON MEDIA
LIMITED                                            GROUP
PARTNERSHIP
BRODIE LUNDQUIST    JIM MORIN                      SASKENERGY
BRODNAX PRINTING    JIM PATTISON BROADCAST         SASKTEL SERVICES
COMPANY I,LLC       GROUP-CJXX-FM
BRODSKY, KARYN      JIM ROBERTSON                  SATHIYASEELAN
                                                   KATHIRKAMU
BRODY-MCFATE        JIM SIDDALL                    SATURDAY PROPETIES,
REAL ESTATE                                        INC.
BROGIN              JIM STUBBS-MIAMI COUNTRY       SAUL KOOTOOK
INVESTMENTS LLC     TREASURER
BROOKE E            JIM SULLIVAN                   SAUNDERS BARLOW
JANOUSEK                                           RIDDICK BABINEAU
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                                                   P.C.
BROOKHOLLOW         JIM ZHANG                      SAUNDERS, DANNALIE
ASSOCIATES, LLC
BROOKS BULLETIN     JIMI MITCHELL                  SAUNDERS, LINDA
BROOKS CROSSING     JIMMY H SMITH                  SAUNDERS, TODD
SC, LTD
BROOKS CROSSING     JIN GUN SUH                    SAUNDERS,LINDA
SHOPPING CENTER,
LTD
BROOKS ELECTRIC     JINESH TALSANIA                SAVANT LIVING
COMPANY, INC.
BROOKS              JITENDRA SINGH                 SAVANT, LTD.
MOORESVILLE, LLC-
DO NOT USE
BROOKS TRANSFER     JIVE COMMUNICATIONS INC.       SAWYER, ANTHONY
& STORAGE
BROOKS, DEKARLO     JJ & J CONSTRUCTION            SBB LLC
BROOKS, RON         JJ BARNICKE MANAGEMENT         SBC - 630047 - DALLAS
BROOKSVILLE         JJM PARTNERS                   SBC - 930170 - DALLAS
SQUARE PLAZA, LLC
BROOKVIEW           JJM PARTNERS LLC               SBC- BILL PAYMENT
SHOPPING CENTER                                    CENTER
LLC
BROSTROM,           JJT CMPUTING                   SBC- SAGINAW
RICHARD
BROTHER             JK HARRIS & COMPANY, LLC       SBC SMARTPAGES.COM
INTERNATIONAL
CORPORATION
BROTHERS LOCK &     JKS HOLDING COMPANY            SBC TAX COLLECTOR
SAFE
BROWARD COUNTY      JLB SYSTEMS                    SBC-DALLAS
TREASURY
BROWN GREG          JLT ASSOCIATES                 SBC-SACRAMENTO
BROWN RUDNICK       JM RECONSTRUCTION SERVICES     SBP ENTERPRISES LLC
                    INC
BROWN RUDNICK       J-MACK AGENCY, LLC             SBSA INVESTMENTS LLC
LLP
BROWN, BLANE        JMJ PRINTING PARTNERS, LLC     SC DEPARTMENT OF
                                                   REVENUE
BROWN, DUSTIN       JMS TAX, INC.                  SC DEPT OF REVENUE
BROWN, HAY &        JNB TEK, LLC                   SC INC.
STEPHENS, LLP
BROWN, MICHAEL      JOAN E. DUDEK                  SC PASSANISI
                                                   INVESTIGATIONS
BROWN, MITCH        JOAN E. LORING ESQ.            SC STATE TREASURER'S
                                                   OFFICE-UPP
BROWNING, DAVID     JOAN FLOWERS                   SCAN SOUND, INC
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BROWN'S PAINT       JOAN MCKNIGHT                   SCANA ENERGY
STORE
BROWSERSTACK INC    JOANN HOSAING                   SCANDAGLIA & RYAN
BRUCE               JO-ANN VANHUISSTEDE             SCARBOROUGH MIRROR
GREENHALGH
BRUCE HOUSE         JOANNA P CHOI                   SCAROLA, TONY
BRUCE LYNCH         JOANNA ROSARIO ROCHA            SCAVONE JOHN
BRUCE               JOANNE CHELLIAH                 SCC1
MANAGEMENT
SERVICES, INC.
BRUCE R. VANCE,     JOANNE E VETTER                 SCE&G
CPA., CHARTERED
BRUCE STANSBERRY    JOANNE JONES                    SCG PINOLE VALLEY
                                                    SHOPPING CENTER, LLC
BRUCE THOMPSON      JOANNE MARIE                    SCHEIDERICH, MICHAEL
BRUCE WOODS         JOANNE MORTENSON                SCHERBA INDUSTRIES
                                                    INC.
BRUNO, MATT         JOANNE SHOEMAKER                SCHINDLER ELEVATOR
                                                    CORPORATION
BRUSCHINSKY'S       JOANNE VETTER                   SCHMID SUZANNE
JASON
BRYAN CAVE LLP      JOAO A FERREIRA                 SCHOENBERG FINKEL
                                                    NEWMAN & ROSENBERG,
                                                    LLC
BRYAN COLE          JOAQUIM MESQUITA                SCHOENEBECK, MIKE
BRYAN DAVIES        JOBE A. FLOWERS                 SCHOSTAK BROTHERS &
                                                    CO INC
BRYAN TOWNSON       JOBETE MUSIC CO., INC.          SCHOTTENSTEIN
                                                    PROPERTIES LLC
BRYAN WIZNIAK       JOBPOSTINGS                     SCHULTZ, HEIDI
BRYANT &            JOBS & CAREERS                  SCHWABE WILLIAMSON
STRATTON COLLEGE                                    AND WYATT PC
BRYANT R. RILEY     JOBY GEORGE                     SCHWARTZ, HARVEY
BRYANT, RAYMOND     JOCELYN DUNN                    SCOOP REPRINTSOURCE
BRYANT, TIMOTHY     JODIE AKERLEY                   SCOOTER SOFTWARE
BRYANT'S CHILD      JODIE'S MOBILE AUTO DETAILING   SCORE FOUNDATION-DO
CARE DEVELOPMEN                                     NOT USE DUP
BSD LLC             JODI-LEIGH STEWART              SCOTLAND COUNTY
                                                    REGISTER OF DEEDS
B-SOURCE, INC.      JODY FRANCOEUR                  SCOTSMAN PRESS
BSP 2300-2310 ACP   JODY L. ELLIOTT, CPA            SCOTT & ASSOCIATES
LLC                                                 INVESTIGATIONS, INC.
BSREP UA RIVER      JODY LUCAS                      SCOTT BERNETT
CROSSING, LLC
BTB INNOVATIONS     JODY RIVETTE                    SCOTT C. GRAY
BTES                JODY STEWART, CRR, RMR          SCOTT CRAIG
BTM MEDICAL         JOE & DEVI CORSI                SCOTT CURTIS
PROPERTIES, LLC
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BTTG VA BEACH-      JOE ASTURI                      SCOTT F. BRADY
COMMERICAL
BUCHANAN            JOE CAVANAGH                    SCOTT HARRIS
INGERSOLL &
ROONEY PC
BUCHANAN            JOE H. WOODS SR.                SCOTT MACFARLANE
INGERSOLL P.C.
BUCK, MICK          JOE JASMA                       SCOTT MURDOCH
BUCKLEY SQUARE      JOE JOHN MARTINEZ               SCOTT MYERS
BUCKLEYSANDLER      JOE SCHMITT & SONS PLBG & HGT   SCOTT O'REILLY
LLP                 LLC
BUCK'S INC.         JOEL BELLEGARDE                 SCOTT PETRIE LLP
BUD EDGAR           JOEL ELIE                       SCOTT WHITE
BUDGET BLINDS       JOEL GAUTHIER                   SCOTT ZMUDZINSKI
BUDGET SELF         JOEL GODDEN                     SCOTT, JANETTE
STORAGE
BUFFALO WATER       JOEL GREENBERG, TAX             SCOTT, PETRIE,
                    COLLECTOR - LICENSE             BRANDER, WALTERS &
                                                    WRIGHT LLP
BUIE, MELISA        JOEL P. KERSTETTER              SCOTTCORP, INC
BUILDERS, INC       JOELLE MOREHOUSE                SCOUT VENTURES, LLC
BUILDING BRIDGES    JOEY STONEYPOINT                SCUGOG MECHANICAL
FOR BUSINESS
BUIST ENTERPRISES   JOEY YOUNG PROPERTIES, LLC      SD HOUSING 1, LLC
BULL PEN SPORTS     JOHN & KALLY SKAGOS             SDA MIDWEST
COLLECTABLES                                        MANAGEMENT LLC
BULLSEYE SERVICES   JOHN A WEBB                     SDCTTC-PPT
BUREAU OF FIRE      JOHN AITKEN                     SEA GREEN CUSTOMS
SAFETY
BUREAU OF           JOHN ALBARRAN                   SEABOARD PROPERTIES
REVENUE &                                           LLC
FINANCIAL
SERVICES-OREGON
BUREAU OF           JOHN ALDRIDGE WEBB              SEAL ENTERPRISES, LLC
REVENUE AND
TAXATION
BUREAU OF           JOHN ALDRIDGE WEBB TRUST        SEAL, CHARLES
WORKERS'
COMPENSATION
BURGESS             JOHN BALKHI                     SEAMAN RAYMOND
INVESTIGATIONS
BURGESS& NIPLE      JOHN BARCLAY                    SEAN ALAN OLARTE
BURGESS, KRISTY     JOHN BIRNIE                     SEAN MILLS
BURKE COSTANZA      JOHN BOITO                      SEAN-RYAN KIRKWOOD
AND CARBERRY, LLP
BURKS, JOHN         JOHN BOSSIO                     SEARCHLIGHT EXPRESS
                                                    OF VA
BURLINGTON LLC      JOHN BOUDREAULT                 SEARS CANADA
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BURMASTER, BRIAN      JOHN BUCKLEY                     SEARS CARPET &
                                                       UPHOLSTERY CLEANING
BURNHAM REAL          JOHN CORRADO                     SEARS NATIONAL BANK
ESTATE
BURNS FAMILY          JOHN CRAWFORD                    SEASCAPE CONSULTING
TRUST                                                  GROUP, INC
BURRELLE'S            JOHN DAVIDSON                    SEASIDE AUDIO
INFORMATION
SERVICE
BURSON-               JOHN DIMARCO                     SEATTLE CITY LIGHT
MARSTELLER
BURT HOUGH JR         JOHN DOBBS                       SEBATIEN PEREIRA
BURTON REALTY CO.     JOHN DUCEY                       SECOND CITY WORKS,
                                                       INC.
BURTRONICS            JOHN DUVAL                       SECOND HALF
BUSINESS SYSTEMS                                       SOLUTIONS, INC.
BUSCA                 JOHN E REGISTER                  SECRETARY OF
TUFRANQUICIA.COM                                       COMMONWEALTH -
                                                       MASSACHUSETTS
BUSINESS              JOHN E. CONNOR & ASSOCIATES,     SECRETARY OF STATE
CONSULTANTS, LLC      INC.
BUSINESS              JOHN E. SIRINE AND ASSOCIATES,   SECRETARY OF STATE
DEVELOPMENT           LTD
CENTERS
BUSINESS              JOHN EVERETT P.I SERVICES, INC   SECRETARY OF STATE -
EXCHANGE CORP                                          MAINE
BUSINESS FOR SALE.    JOHN GAREL                       SECRETARY OF STATE -
NET                                                    OH
BUSINESS INTERIORS    JOHN GRAEFSER DBA GRAEFSER       SECRETARY OF STATE-
& MOVING SERVICES,    ELECTRIC                         GA
LLC
BUSINESS OBJECTS      JOHN H FOUST                     SECRETARY OF STATE IN
AMERICAS
BUSINESS              JOHN HARBURN                     SECRETARY OF STATE-
OPPORTUNITIES                                          LA
HANDBK
BUSINESS              JOHN HARDY JONES                 SECRETARY OF STATE-
REGISTRATION                                           MN
DIVISION
BUSINESS RESOURCE     JOHN KATIS                       SECRETARY OF STATE-
SERVICES, INC.                                         MT
BUSINESS REVIEW       JOHN KEHRLOTIS                   SECRETARY OF STATE OF
                                                       TEXAS
BUSINESS WIRE, INC.   JOHN KI                          SECRETARY OF STATE OF
                                                       THE STATE OF NH
BUSINESSBROKER.NE JOHN KIM                             SECRETARY OF STATE-
T                                                      OR
BUSINESSPLANS, INC. JOHN KLASSEN                       SECRETARY OF STATE- RI
BUSINESSWEEK        JOHN KOSZTYA                       SECRETARY OF STATE -
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BUSINESSWEEK        JOHN L CRANDELL                 SECRETARY OF STATE-
                                                    VT
BUSY BEE SIGNS &    JOHN LEDERER                    SECRETARY OF STATE WI
GRAPHICS
BUTCH JOHNSON'S     JOHN LEE BROWN                  SECRETARY OF STATE-
CHATTANOOGA EYE                                     WY
IN THE SKY TR
BUTLER LAWN         JOHN M. BOWEN & ASSOCIATES      SECRETARY OF STATE,
SERVICE                                             AR
BUTLER PAPER        JOHN MATT SMITH                 SECRETARY OF STATE,
RECYCLING, INC.                                     DELAWARE
BUTLER, DENNISON    JOHN MOORE                      SECRETARY OF STATE,
                                                    IOWA
BUTLER, INC,        JOHN NUGENT                     SECRETARY OF STATE,
                                                    MO
BUTTERBALL          JOHN PACKO                      SECRETARY OF STATE,
TURKEY GIFT                                         NEBRASKA
PROGRAM
BUTTERBAUGH,        JOHN PARKER                     SECRETARY OF STATE, SD
JERRY
BUTTERCMS, LLC      JOHN PEREA                      SECRETARY OF STATE,IL
BUXTON COMPANY      JOHN PUGH                       SECRETARY OF STATE-
                                                    ALABAMA
BVA FIRST TUESDAY   JOHN R NERAD AND THERESE        SECRETARY OF STATE-CA
LLC                 NERAD AS CO-TUSTEES
BVU OPTINET         JOHN R. CHAITE                  SECRETARY OF STATE-
                                                    CONNECTICUT
BWC STATE           JOHN RECOLLET                   SECRETARY OF STATE-CT
INSURANCE FUND
BWM GROUP, INC.     JOHN REILLY                  SECRETARY OF STATE-IA
BWRI HOLDING INC.   JOHN ROBERSON INVESTIGATIONS SECRETARY OF STATE-ID
BY GEORGE, INC.     JOHN SEAL                    SECRETARY OF STATE-IL
BYELAS & NEIGHER    JOHN SPENCER                 SECRETARY OF STATE-
                                                 IOWA
BYERS & HARVEY,     JOHN SWAIN                   SECRETARY OF STATE-KS
INC
BYERS, RICHARD      JOHN T BURKE, JR                SECRETARY OF STATE-KY
BYLER PLUMBING &    JOHN T HARKINS                  SECRETARY OF STATE-
HEATING CO., INC                                    MO
BYRD, ROD           JOHN TESTAWICH                  SECRETARY OF STATE-MS
BYRNE, CATHERINE    JOHN TROYER                     SECRETARY OF STATE-MS
BYRNES & KELLER     JOHN VAN AMERONGEN              SECRETARY OF STATE-NC
LLP
BYRON ALLEN         JOHN VAN AMERONGEN/R HICKS      SECRETARY OF STATE-ND
C & C SERVICES OF   JOHN VAN DYCK                   SECRETARY OF STATE-NE
TAMPA, INC.
C & G LIMITED, LP   JOHN VLECK                      SECRETARY OF STATE-
                                                    NM
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C & V ENTERPRISES,   JOHN W MORIARTY LIVING TRUST    SECRETARY OF STATE-NV
LLC
C JAKUBO             JOHN WILEY & SONS, INC          SECRETARY OF STATE-OK
INVESTMENTS
C&C                  JOHN YOO                        SECRETARY OF STATE-SC
INVESTIGATIONS &
SECURITY, INC.
C&C WEST 130TH       JOHN YOUNG                      SECRETARY OF STATE-TN
STREET LLC
C&E LOCKSMITHS       JOHNATHAN COPEGOG               SECRETARY OF STATE-W.
                                                     VIRGINIA
C&L ENTERPRISES,     JOHNNY A RUEDA PEREZ            SECRETARY OF STATE-
INC                                                  WASHINGTON
C*TECH               JOHNNY E RUEDA                  SECRETARY OF THE
INVESTAGATIONS                                       COMMONWEALTH
C*TECH               JOHNNY THANGBAL                 SECURCARE VALUE
INVESTIGATIONS                                       PROPERTIES
C. EDWIN WALKER      JOHNS BROTHERS SECURITY, INC.   SECURE MOBILE
TRUST ACCOUNT                                        SHREDDING
C. KENNETH STILL,    JOHNSON, ERIC                   SECURITIES AND
TRUSTEE                                              EXCHANGE COMMISSION
C. WILLIARD          JOHNSON, POPE, BOKOR, RUPPEL    SECURITY ANALYSIS
NORWOOD              & BURNS, LLP                    ASSOC., INC.
C.G.C INC.           JOHNSON, SMITH, HIBBARD $       SECURITY AND
                     WILDMAN LAW FIRM, LLP           INVESTIGATIVE SUPPORT
                                                     SERVICES, INC
C.M. FUSCO LAW       JOHNSON, TORY                   SECURTEK MONITORING
GROUP, P.C.                                          SOLUTIONS
C.S.M. CABINETS      JOLARON IV INVESTMENTS, LLC     SEDRAK PARTNERS
C/O LARCHE           JOLENE GRENIER                  SEETO, PAULINE
COMMUNICATION
C2 IMAGING DBA       JON BROOKS                      SEFFNER GROUP LLC
ELK GROVE
GRAPHICS
C2CSMARTCOMPLIA      JON C. SCHIEFER                 SEGRA
NCE LLC
C3 DATA LLC          JONAH CABRAL                    SELECTA 1050AM WVXX
CA DEPARTMENT OF     JONATHAN BOYA CLIENT            SELECTCOM INC.
JUSTICE              SUPPORT GROUP SOCIETY
CABLE MART           JONATHAN BREEDLOVE              SELENA BENSON
CABLE95 LLC          JONATHAN MUSSER                 SELF STORAGE
                                                     SOLUTIONS, LLC
CABLEREP             JONATHAN RAGUINDIN CAROLINO     SELFIE MIRROR INC.
ADVERTISING
NORTH
CABLEREP OF          JONATHAN STEFFENS               SELLINGER, KEN
HAMPTON ROADS
CACHE BANK &         JONATHAN STRONGOLI              SELVAGGI, WILLIAM
TRUST
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CACHE COUNTY        JONATHAN TAYLOR                 SEMCASTING, INC.
ASSESSOR
CACTUS              JONATHIN COUSE                  SEMCO ENERGY
INVESTIGATION
CADDELL, THOMAS     JONATHON LAFFERTY               SEMIH CIRIT
WAYNE
CADWALADER,         JONES 95, LLC                   SEMINOLE HERALD
WICKERSHAM &
TAFT LLP
CAERELS MARYANN     JONES DAY                       SEMPER DETECTIVE
                                                    AGENCY
CAFER, JIM          JONES LANG LASALLE AMERICAS     SENATOR, NICKEY
CAICEDO, ERICA A.   JONES, CHARLIE                  SENDERO BUSINESS
                                                    SERVICES LP
CAIN VILLAGE        JONES, COCHENOUR & CO.          SENDERO BUSINESS
ASSOCIATES                                          SERVICES, L.P.
CAK INC             JONES, JR., GEORGE I.           SENDGRID
CAL INFO            JONES, JR., JOHNNIE F.          SENECA CENTER, LLC
CALDWELL AND        JONES, TERESA M.                SENIOR CONNECTOR
ASSOCIATES, LLC
CALEB J WATSON      JONES, TONY                     SENIOR EXPO
CALENDARS           JONES-ONSLOW EMC                SENIOR LIFESTYLES INC.
CALGARY HERALD      JORDAN HARVEY                   SENIOR SOURCE
CALGARY PC.NET      JORDAN JENKINS                  SENIORITY MAGAZINE
CALHOUN PLACE,      JORDAN RODGERSON                SENTARA EXECUTIVE
LLC                                                 EVALUATION CENTER
CALIFORNIA BOARD    JORDAN, FONDA                   SENTARA HEALTHCARE
OF EQUILIZATION
CALIFORNIA          JORDEX MANAGEMENT, INC          SENTARA MEDICAL
COMMISSIONER OF                                     GROUP
CORPORATION
CALIFORNIA          JORDON WIILLIAMS                SENTINEL RECORD
DEPARTMENT OF
REVENUE
CALIFORNIA          JORGE CRUZ                      SEOMOZ
DEPARTMENT OF
REVENUE
CALIFORNIA          JOSCELYNE FARAH                 SERAFIN CONSTRUCTION
DEPARTMENT OF
TAX & FEE ADMIN
CALIFORNIA DEPT.    JOSE AYALA                      SERGEI VASILUK
OF CORP.
CALIFORNIA          JOSE B AYALA                    SERGIO CHUC BELIZE
FRANCHISE TAX                                       CENTER
BOARD
CALIFORNIA          JOSE BAPTISTA                   SERGIO JEAN-LOUIS
SECRETARY OF
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CALIFORNIA         JOSE CHONG                      SERGIO ROD DESIGNS
SECRETARY OF
STATE
CALIFORNIA         JOSE L GRANADOS                 SERPE RYAN LLP
SOCIETY OF CPA'S
CALIFORNIA STATE   JOSE LEON                       SERVE ONE, INC
CONTROLLERS
OFFICE-UNCLAIMED
CALIFORNIA TAX     JOSE R. MARTINEZ DBA MISSION    SERVICE EXPERTS
EDUCATIONAL        CITY YOUTH SOCCER
COUNCIL            ORGANIZATION
CALL TRADER LLC    JOSE SANTIAGO                   SERVICE EXPERTS
                                                   HEATING AND AIR
                                                   CONDITIONING LLC
CALMA CONSULTING   JOSEE MCMILLAN                  SERVICE GLASS
INC.
CALN VILLAGE       JOSEPH A ISADORE                SERVICE UP, LLC
ASSOCIATES
CALUMO, INC        JOSEPH A. BARKELY III           SERVICEMASTER CLEAN
                                                   OF BARRIE/ORILLIA
CALVARY REVIVAL    JOSEPH A. WELLS                 SERVING BY IRVING, INC.
CHUCH
CALVERT            JOSEPH AND SARA MCCULLOUGH      SERVITOR TRAINING
COMMERCIAL REAL                                    SERVICES
ESTATE, INC.
CALVIN BURSEY      JOSEPH BROWN                    SERVOR, INC.
CALVIN TOMPKINS    JOSEPH BROWN                    SERVPRO OF SOUTH
                                                   CHATTANOOGA
CALVIN WILLIS      JOSEPH CRILLEY                  SERYUS PROPERTY
                                                   GROUP LLC
CAMA               JOSEPH GENERAL                  SEVAA
CAMARILLO          JOSEPH J KORONA                 SEVEN ELEVEN (HAWAII)
BUSINESS ENT INC                                   INC
CAMBRIDGE AND      JOSEPH LEMIEUX                  SEVERAL BRANDS, LLC
NORTH DUMFRIES
HYDRO INC
CAMBRIDGE COUPON   JOSEPH LTD BAKER, LLC           SEVERSON & WERSON
CLIPPER
CAMDEN COUNTY      JOSEPH LUMLEY                   SEVERSON & WERSON, A
TAX COMMISSIONER                                   PROFESSIONAL
                                                   CORPORATION
CAMDEN PRINTING    JOSEPH M. ARACICH               SEVEY, GARY
COMPANY
CAMELBACK          JOSEPH PILHUN                   SEYFARTH SHAW LLP
DISPLAYS, INC.
CAMERON JOHNSON    JOSEPH PIMENTAL                 SEYMOUR DALEY
CAMERON SIEMENS    JOSEPH SPEIRAN                  SEYMOUR, WILDA
DBA CAMERON'S
TECH WORK
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CAMILLE             JOSEPH T. FITZPATRICK           SFP/BVT PORTFOLIO LP
TOUCHSTONE
CAMINO VILLAGE      JOSEPH VOORHEES                 SGS BOULEVARD, LLC
PLAZA
CAMMIE ENGLISH      JOSEPH, ROBERT & COLLEEN        SGS CONSUMER FINANCE,
                                                    INC.
CAMP INVESTMENTS    JOSEPHINE SIMMONS               SGS CREDIT SERVICES,
LTD.                                                INC.
CAMP WASHINGTON     JOSH MCRAE                      SGS FUNDING, INC.
REALTY LLC
CAMPAIGN MEDIA      JOSHUA BATES                    SGS WA, INC.
CAMPAIGN            JOSHUA BURSE                    SHADI SHALABI
PROCESSING CENTRE
CAMPAIGN TO ELECT   JOSHUA DALE PHELPS              SHADINA CARROLL
ALEJANDRA BRAVO
CAMPBELL, DONNA     JOSHUA FERGUSON                 SHAFER & ASSOCIATES,
                                                    P.C.
CAMPBELL.           JOSHUA M. YUDIN DBA SEEKPEEK,   SHAH, PAUL
MARSHALL D.         LLC
CAMPER, CLAUDINE    JOSHUA PRIEBE                   SHAHANI, RAVI
S.
CAMPOSTELLA         JOSHUA SMITH                    SHAHRAM
SOUTHSIDE REUNION                                   SABBAGHZADEH
CAMPUS WEST         JOSHUA WINKLER                  SHAILENDRA PATEL
SERVICES
CAMROSE &           JOSHUA WOODCOCK                 SHAKE IT UP
DISTRICT CHAMBER                                    BARTENDING
OF COMMERCE
CAN DO WINDOW       JOSIAS GONZALEZ                 SHAKED LAW GROUP, P.C.
CLEANING
CAN WEST MALL       JOSIE HUNT                      SHAKER MZL LLC
CANADA CARTRIDGE    JOSPEH HARROZ                   SHAMIEH, ELIAS
INC.
CANADA' CHOICE      JOURNAL BROADCAST GROUP         SHAMROCK
CANADA DAMAGE       JOURNAL MULTIMEDIA              SHAMROCK SPORTSFEST
RECOVERY            CORPORATION
CANADA LAW BOOK     JOY WARNER                      SHAMUS MULLIN
CANADA LAW BOOK     JOYCE ELLIS                     SHANA CAMERON
CANADA LIGHTING     JOYCE JORDAN                    SHANE & MARY BETH
AND SIGN SERVICES                                   BASCOE
CANADA              JOYCE JR., JOHN J.              SHANE BEATTIE
MORTGAGE(BRAD &
MICHELLE
CROMPTON
CANADA POST         JOYNER'S MECHANICAL, INC        SHANE DINESEN
CORPORATION
CANADA REVENUE      JOYWALLET LLC                   SHANE HAVERVOLD
AGENCY
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CANADA REVENUE     JP ELECTRICAL INC.              SHANE MANESS
AGENCY
CANADIAN           JP HOME MANAGEMENT              SHANNON AVERY
COMMERCIAL
DEVELOPMENT
CANADIAN           JPDL QUEBEC                     SHANNON CARRIGAN
CONTROLLED MEDIA
COMMUNICATIONS
CANADIAN           JPMORGAN CHASE (CITIGATE)       SHANNON KAY
CONTROLLED MEDIA
COMMUNICATIONS
CANADIAN           JR PROPERTY MAINTENANCE         SHANNON MCGIBBON
FEDERATION OF
INDEPENDENT
BUSINESS
CANADIAN           JRC, LLC                        SHANNON MORRISON
FEDERATION OF
INDEPENDENT
BUSINESS
CANADIAN           JSI WOODRUFF, LLC               SHANNON ROSSITER
FRANCHISE
ASSOCIATION
CANADIAN           JTH FINANCIAL                   SHANNON SQUARE LLC
FRANCHISE
ASSOCIATION
CANADIAN           JTH FINANCIAL-SUNTRUST          SHANTORIA CLARK
FRANCHISE
DIRECTORY
CANADIAN           JTH TAX ESCROW CA 20149         SHARED INSIGHTS
INDUSTRIAL
SERVICES
CANADIAN LINENS    JTH TAX INC                     SHARED TECHNOLOGIES,
AND UNIFORM                                        INC.
SERVICE
CANADIAN           JTH TAX INC ESCROW ACCOUNT      SHAREIT! INC.
NETWORK
BROADCASTING
CANADIAN NIAGARA   JTH TAX INC. (BANK OF AMERICA   SHARMELIE STANTON
HOTELS             MASTER ACCT)
CANADIAN PHONE     JTH TAX INC. 401K PLAN          SHARON DAVIES
DIRECTORIES INC.
CANADIAN POLICE    JTH TAX, LLC                    SHARON GARNER
ASSOCIATION
CANADIAN SPRINGS   JTI, INC.                       SHARON PEARSON
WATER COMPANY
CANADIANA          JUAN ARREOLA GALLEGOS           SHARON SANDERS
FLOWERS KRD
CANADIANFRANCHIS   JUAN CARDONA-VELEZ              SHARON THURSTON
ES.COM
CANARY, LLC        JUAN PEREZ                      SHARP ENTERPRISES, INC.
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CANDICE GUAY          JUAN SANTANA                  SHARP ENTERPRISES, INC.
CANDICE MORGAN        JUANITA & ROMEO PERALTA       SHARP ENTERPRISES, INC.
CANDIDA SANCHEZ       JUANITA FIRS ASSOCIAES, LP    SHARP PROCESS &
                                                    INVESTIGATIVE
                                                    SERVICES
CANDY GREENBIRD       JUANITA JANE WESTBROOK        SHARP'S AUDIO-VISUAL
                                                    LTD.
CANON FINANCIAL       JUANITA REDMOND               SHARRON MARIER
SERVICES - INACTIVE
CANON FINANCIAL       JUBILATIONS                   SHARRON MORIER
SERVICES INC
CANON SOLUTIONS       JUDI KRUMM                    SHARRON NOLMAN
AMERICA INC
CANPAGES              JUDITH BAISIE                 SHATKOWSKI, EMMA
CANSTAR               JUDITH LYNN REDINGTON         SHATTUCK, CHARLES
COMMUNITY NEWS
LIMITED
CANTU, MARLYCIA       JUDY GAFFNEY                  SHAUN HOWELL
CANYON MEDIA          JUDY L VISCA                  SHAUN WALLACE
GROUP
CANYON PLAZA LLC      JULES M. HAMILTON             SHAUN WRIGHT
CANYON PLAZA LLC-     JULIANO DINARDO               SHAUNTELLE JOHNSON
DO NOT USE
CAPE FEAR PRO         JULIE A. FINK                 SHAW CABLE
HOCKEY, LLC
CAPE FEAR PUBLIC      JULIE CHU                     SHAW CABLESYSTEMS,
UTILITY AUTHORITY                                   G.P.
CAPE GAZETTE          JULIE DELARONDE               SHAW, RYAN D.
CAPERSONS             JULIE HAVILAND                SHAWN BROWN
INTERNATIONAL
BUSINESS
CONSULTING LLC
CAPITAL CITY          JULIE MCINTOSH                SHAWN CULL
GYMNASTICS CLUB
CAPITAL               JULIE NOWE                    SHAWN HAY
DISTRICT/SENIORSPO
TLIGHT
CAPITAL GROUP RPS     JULIE R. TOMBERG              SHAWN M. TOWNSEND
CAPITAL GROUP-        JULIE SAUDER                  SHAWN PERRY
AUTO PAY
CAPITAL INTELLECT     JULIE SMITH                   SHAWN RACZ
INC
CAPITAL PRINTING      JULIE TOUSHAN                 SHAWN SCOTT
AND FORMS
CAPITAL PROCESS       JULIEANN DERBY KRANS          SHAWN TYE
SERVICE - TOM
CASSISA
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CAPITOL            JULIETA FRANCO                  SHAWN VADNAIS
CORPORATE
SERVICES, INC.
CAPITOL PROCESS    JULIWU INVESTMENTS, LLC         SHAYNA'S CORNER LLC
SERVICES, INC.
CAPITOL SQUARE     JUMP FOR JOY                    SHDR
LTD
CAPLIN &           JUNE FANNON                     SHEA BROS. DRAINAGE
DRYSDALE,
CHARTERED
CAPLIN &           JUNE MACKAY                     SHEARD, JR., AL
DRYSDALE,
CHARTERED
CAPRI STEAK &      JUNE STAGG                      SHECKELS LAWN
PIZZA HOUSE                                        SERVICES &
                                                   LANDSCAPING LLC
CAPSTAR TX         JUNEID POONJA AND GREG          SHEDRAK KORIL DBA
LIMITED            BARON                           ALL SYSTEMS HVAC
PARTNERSHIP
(CLEAR CHANNEL
GROUP)
CAPTAIN'S GALLEY   JUNETEENTH FESTIVAL CO.         SHEENA NATASHA
CAPTARE TRAINING   JUNIOR ACHIEVEMENT              SHEETS, GENE
CAPTURED           JUNIPER CENTRE INC.             SHEIKA KEEN
TECHNOLOGIES
CARA SAWCHUK       JUNK OUTPOST HAULING AND        SHEILA BENNETT
                   JUNK REMOVAL
CARANNANTE LLC     JUST JUNK GRAND RIVER           SHEILA HAUGAN
CARDER, JAMES C.   JUST SOLUTIONS, INC             SHEILA L KENESKY
CARDINAL COACH     JUSTICE, BRYAN                  SHEILA PARDY
LINES LIMITED
CARDINAL           JUSTIN A THORNTON, ATTORNEY     SHEINA ALLEN
COMMUNICATION      AT LAW
LTD.
CARDINAL           JUSTIN CARLO                    SHEIRICA LOXLEY
PROPERTY
MANAGEMENT LLC
CARDINAL SIGN      JUSTIN DOYLE                    SHELBURNE MINOR
CORPORATION                                        HOCKEY ASSOCIATION
CARDINAL SIGNS     JUSTIN GOULDING                 SHELBY COUNTY
LTD
CARDLYTICS, INC    JUSTIN NATHANIEL HIRSCH         SHELBY JONES
CARDWELL SIGN      JUSTIN ROBINSON                 SHELBY NELSON
COMPANY
CAREER CONCEPTS,   JUSTIN STRICKLAND               SHELBY PARKINSON
USA
CAREER             JUSTINA DOELL                   SHELDON & MARK
MANAGEMENT
CENTER
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CAREER SERVICES,   JVC HOLDINGS LLC                SHELDON, MATTHEW
NORFOLK STATE
UNIVERSITY
CAREERBUILDER      JVO ENTERPRISES, INC            SHELDON, MATTHEW
CAREERBUILDER,     JW ASSOCIATES, INC.             SHELDON, SADA
LLC
CAREINGTONMD,LLC   JWJ INVESTMENTS                 SHELEY MAHONEY
CAREY/VIP &        JY 332 LLC                      SHELINA PYARALI
CELEBRITY
LIMOSINE
CARL CURRY         K & K LOCKSMITHS                SHELL ENERGY SERVICES
                                                   CO. L.L.C.
CARL E. LEVI,      K & M PEBBLE CREEK, LLC         SHELLEY BRIDEN
TRUSTEE
CARL SWANSON       K PROMOTIONS LTD                SHELLEY KENDALL
CARL VOLLBRECHT    K&M ELECTRIC INC                SHELLEY KEWLEY
CARLIE CARTER      K&P ENTERPRISES OF              SHELLEY PEEBLES
                   HENDERSONVILLE, LLC
CARLO JURADO       K&R DISTRIBUTORS                SHELLEY TYMOSHCHUK
                                                   LAROSE
CARLOS A           K.O. FAMILY SQUARE              SHELLY F NIESEN
GALLEGOS
CARLOS FELIPE      K-9 KAR WASH                    SHELLY ROSE
GRANADOS
CARLOS GALVEZ      KA ELIE, LLC                    SHELTON, SHIRLEY
CARLOS UGARTE      KAISER PERMANENTE               SHENANDOAH AREA
                                                   AGENCY ON AGING
CARLOS WILKEY      KALEY LAWRENCE                  SHENANDOAH LEGAL
                                                   GROUP PC
CARLSTON           KALISTA O'GRADY                 SHENEYSE CHERNELCI
MARKETING GROUP
CARLTON E. SEAY    KALMON PRODUCTIONS, LLC         SHEPARD HYKEN
RENT ACCOUNT
CARLTON SELL LLC   KALOCI, MARY JANE               SHEPPARD MULLINS
                                                   RICHTER & HAMPTON
                                                   LLP
CARMA D. MATHIS    KAM KOTNIK                      SHEPPARD, BRETT,
                                                   STEWART, HERSCH &
                                                   KINSEY
CARMACK, JEFF      KAM OGATA                       SHEPPARD, JONATHAN
CARMELITA          KAMEHAMEHA SCHOOLS BISHOP       SHERATON LABELS INC.
OBRADOVIC          ESTATE
CARMINE CARRETTO   KAMLA LAMBERT                   SHERATON NORFOLK
                                                   WATERSIDE
CAROL ANN OKEKE    KAMLOOPS DAILY NEWS             SHERATON OCEANFRONT
CAROL CROSBY       KAMLOOPS OFFICE SYSTEMS         SHERATON SAN DIEGO
                                                   HOTEL & MARINA
CAROL D. SETSER    KAMPO HOLDINGS                  SHERFIELD, WAYNE
CAROL DROUILLARD   KANDELA, EDDIE                  SHERI BERND
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CAROL FLEMING       KANDELA, RICHARD               SHERI ORGAN
CAROL GRUBER        KANDIAH VAAGEESAN              SHERI PARI
CAROL HOUSE         KANE, JAMES                    SHERI SAIEVA
CAROL L.            KANSAS CITY POWER AND LIGHT    SHERIDAN ROSS, PC
NAUGHTON
CAROL NORGROVE      KANSAS CITY STAR               SHERIN BADAWI
CAROL SCOTT         KANSAS CORPORATE TAX           SHERINIAN & HASSO LAW
                                                   FIRM-KRISTIN PETERSON
CAROLE A            KANSAS CORPORATE TAX,          SHERLOCK
SCHNEIDERAT         KANSAS DEPARTMENT OF           INVESTIGATIONS
                    REVENUE
CAROLE MOUSSEAU     KANSAS DEPARTMENT OF           SHERRA ZAGRODNEY
                    REVENUE
CAROLE TELMAN       KANSAS DEPARTMENT OF           SHERRI MCGEAN
                    REVENUE
CAROLENE TESSIER    KANSAS GAS SERVICE             SHERRIE-ANN MARIE
                                                   GUNN
CAROLINA DUNES      KANSAS SECRETARY OF STATE      SHERRI-LYNN PROSPERO
REAL ESTATE
CAROLINA MONEY      KANSAS UNCLAIMED PROPERTY      SHERRON HILLS
SAVER
CAROLINA            KANSASA CITY ST. PAT PARADE    SHERRY BROWN
PROPERTY RENTAL
LLC
CAROLINA            KANWALJEET DHANJU              SHERRY HARRIS
TRAILWAYS
CAROLINE ALDECOA    KAPTAN SINGH                   SHERWIN BROWN
CAROLINE            KARABELAS &                    SHERWOOD DIGITAL
SCHWARTZ            PAPAGIANOPOULOS, LLP           COPY CENTRE
CAROLINO, GIL       KAREN CAMERON                  SHE'S THE BOSS
                                                   PAINTING COMPANY
CAROLYN             KAREN CAPPELLO                 SHEZANA BJEDOV
L.CAMARDO,
TRUSTEE
CAROLYN             KAREN DOBBIN                   SHIEKH ELLAHI
LAWRENCE
CAROLYN             KAREN FLARO                    SHIFT UP LLC
MADAHBEE
CAROLYN MCTAVISH    KAREN GILHULY                  SHINE FM CKRD
CAROLYN SOULIERE    KAREN HELEN PECK               SHINY WINDOWS, INC.
CAROLYN STUART-     KAREN KISHI                    SHIP IT
IRELAND
CARON D. GETFIELD   KAREN KRANJAC                  SHIRLEY BRAYBROOK
CARON, INC          KAREN MCCARTNEY                SHIRLEY GYURKO
CAROSULL, INC       KAREN OCHAL                    SHIRLEY J MITCHELL
CARPE DIEM          KAREN QUANZ                    SHIRLEY LANDRIAULT
CARPENTER, STELLA   KAREN REDDING LLC              SHIRLEY PLAZA REALTY
                                                   CORP
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CARPET                KAREN RENNOLDS-SILVA          SHIRLEY YEE
CONTRACTORS
CARPET CONTRACTS      KAREN ROBBINS                 SHIRMEL WILLIAMS
INC.
CARPET CREATIONS      KAREN SILVERGOLD              SHON SCOTT
FLOOR & WALL
DESIGN
CARR MALONEY PC       KAREN STRONGOLI               SHOP TUTORS
CARR, JACK & HELEN    KAREN THOMPSON                SHOPAYGO, LLC
CARRIAGES             KAREN WILLIAMS                SHOPPER
ETC./PARADE
CARRIE CROOKS         KAREY CAMPBELL SMITH          SHOPPER COUPONS
CARRIE GLASSEY        KARI E. SUMMERS               SHOPPERS REALTY INC.
CARRIE JEANNE         KARINA CABALLERO              SHOPPES AT TELEGRAPH
TULLY                                               SQUARE, LLC
CARRIE L CUTTER       KARINA WILLIAMS               SHOPS AT HAMPTON
                                                    TOWNE CENTRE, LLC
CARRIE NICHOLLS       KARKI, RABINDRA               SHOPS AT TANFORAN
                                                    REIT, INC
CARRIE S BAREIS       KARLA ALEJANDRA ALFARO        SHORE DRIVE PLAZA, LLC
                      FIGUEROA
CARRIE WALTERS        KARNAGE ASADA                 SHORE INVESTIGATIONS,
                                                    INC
CARROLL COUNTY        KARNES, TAMI                  SHOREWORX
TAX COMMISSIONER                                    COMMUNICATIONS INC
CARROLL EMC           KAROLINA GAVILAN              SHOUTLET, INC.
CARROLL HEYD          KARTHIGA RAMACHANTHRAN        SHOWTIME EXPRESS
CHOWN
CARROLL'S MOVING      KASHOO CLOUD ACCOUNTING,      SHRADER, SCOTT
& STORAGE CO., INC.   INC.
CARROLLWOD            KASI BREWER                   SHRED IT
PARTNERS
CARSCALLEN, LLP       KASKADE, SATYA GRACE          SHRED-IT - ALUMINUM
CARSON -              KASOWITZ BENSON TORRES LLP    SHRED-IT C/O
NORMANDIE PLAZA                                     STERICYCLE ULC
LLC
CARSON ATTORNEY       KAST REALTY ENTERPRISES       SHRED-IT
SERVICES                                            CANADA/WINNIPEG
CARSON CITY           KATELIN MICHALUK              SHRED-IT
NEVADA                                              INTERNATIONAL INC.
CARSON J WOODS        KATELYN TURNER                SHRED-IT NEW ORLEANS
CARSON PROPERTIES     KATELYNN TATCHELL             SHRED-IT OMAHA
CARSON, PHILLIP       KATHERINE BARANOV             SHRED-IT PRIVIDENCE
CARSON, ROBERT &      KATHERINE CROUTER             SHRED-IT US HOLDCO,
SUSAN                                               INC.
CARSON-               KATHERINE CUNNINGHAM          SHRED-IT USA-28883
NORMANDIE PLAZA,                                    NETWORK PLACE
LLC
CARSWELL              KATHERINE SERAZIN-QUEVILLON   SHRED-IT USJV LLC
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CARTER BROADCAST   KATHERINE VANDER BYL            SHREWSBURY SELF
GROUP, INC.                                        STORAGE
CARTER             KATHERINE VILLEMAIRE            SHRM
BROADCASTING
GROUP, INC
CARTER             KATHERINE VONESSA CARDENAS      SHRUTI KIDBILE
DISTRIBUTION
CARTER LEDYARD &   KATHLEEN CAMERON                SHUGERT, MELANIE
MILBURN LLP
CARTER, CONBOY,    KATHLEEN DONOVAN                SHURGARD OF QUEEN
CASE, BLACKMORE,                                   ANNE
MALONEY & LAIRD,
P.C.
CARTRIDGE          KATHLEEN KAPUSTA                SHUTTER COMPANY
SPECIALTIES
CARTRIDGE WORLD    KATHLEEN SNIDER                 SHWAB FINANCIAL
                                                   SERVICES, INC
CARUSO, BILL       KATHRYN MCCANN                  SHYLENDRAN
                                                   JEYENDRAN
CARY CROWTHER      KATHY BASS                      SHYWORDS TRAFFIC
                                                   NETWORK
CASCADE NATURAL    KATHY KENNEDY                   SIANA MILLS
GAS
CASCADE OLYMPIC    KATHY LITTLE                    SIDDALL, JAMES
CORP.
CASCADE TRANSIT    KATHY M JACKSON                 SIDDIQI, BILAL A.
ADVERTISING
CASEY KUJAWSKI     KATIE LOVELACE                  SIDE MACK & SONS
CASEY R CONNER     KATIE PALMER                    SIDEM LLC
CASH               KATIE POTTER                    SIDLEY AUSTIN LLP
CASH               KATIE SPENCER                   SIDNEY NORTON
CASH MONEY         KATRINA REYNOLDS                SIEGFRIED KROLLZIK
CHEQUE CASHING
INC-WHITBY
CASH MONEY         KATTEN MUCHIN ROSENMAN, LLP     SIEMENS BUILDING
CHEQUE CASHING,                                    TECHNOLOGIES LTD.
INC-EDMONTON
CASHEW AND CLIVE   KATTY NGUYEN                    SIERRA RADIO NETWORK
CATERING
CORPORATION
CASINO             KATZ RADIO - NEW YORK           SIERRA, JOSHUA J.
CONNECTION
INTERNATIONAL
CASON, AARON       KAUFMAN & CANOLES               SIFEN DEVELOPMENT INC
CASPER WESTERN     KAUFMAN P.A.                    SIGN & AWNING
REAL ESTATE LLC-                                   SYSTEMS, INC
DO NOT USE
CASSANDRA          KAY, ELENA                      SIGN A RAMA
HODDER
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CASSANDRA            KAYLA BAKER                     SIGN A RAMA-CO
HOPKINS
CASSANO, DESTINEY    KAYLA FERRE                     SIGN A RAMA-NC
M.
CASTANET MEDIA,      KAYLA MARIER                    SIGN CITY
LTD.
CASTILLO &           KAYLA RENEE BRANSCUM            SIGN DEPOT
SCHULER
CASTLE HILL NY LLC   KAYLA TRAVIS                    SIGN DISTRIBUTION
                                                     WAREHOUSE
CASTLEBERRY          KAZR- FM                        SIGN EXPERTS LTD
COMMUNICATIONS
CASTLEROCK II, LP    KCAL-FM                         SIGN FX INC.
CASTRA               KCAP COBOURG INC                SIGN MASTER
CONSULTING, LLC
CASTRO, MARINA       KCOM CORPORATION                SIGN NOW
CATALYST GLOBAL      KCP&L                           SIGN SERVICE & MFG. CO
LLC
CATALYST             K-D MOVING & STORAGE INC        SIGN-A- RAMA PR
INTELLIGENCE, INC
CATARAQUI TOWN       KDI PANAMA MALL LLC             SIGNAGE
CENTRE
CATAWBA COUNTY       KDLO                            SIGNARAMA BURNABY
REGISTER OF DEEDS
CATERING             KDVA-TV60                       SIGNARAMA MARKHAM
CONCEPTS
CATHARINE            KEANE, INC.                     SIGNARAMA TAMPA BAY
ZAMPALON
CATHERINE            KEANE, INC.-COBRA BILLING       SIGNATURE BANK OF
CHARBONNEAU                                          ARKANSAS
CATHERINE HAIG       KECHELLE HADLEY                 SIGNATURE
                                                     MANAGEMENT COMPANY
CATHERINE LOGIE      KEEL & COMPANY, LLC             SIGNATURE PRINTING &
                                                     GRAPHICS
CATHERINE M.         KEEPSAFE PROTECTION SERVICES    SIGNATURE SIGNS
SCHWARZ, TRUST
CATHERINE MARRIN     KEITER, STEPHENS, HURST, GARY   SIGNET SIGNS
                     & SHREAVES PC
CATHERINE MICHOS     KEITH BERGER                    SIGNHYPE
CATHERINE            KEITH BOUSQUET                  SIGNIFICO!
MINNETTE CLEPPER
CATHERINE TAYLOR     KEITH DE BRAGANCA               SIGNMASTERS
CATHRYN VAN DE       KEITH GORDON                    SIGNS CAD CORP DBA
KERCKHOVE                                            CAD SIGNS
CATHY ANDERSON       KEITH LEROY                     SIGNS FOR THE TIMES
CATHY AUTRIACO       KEITH N YUNG, ATTORNEY AT       SIGNS GALORE INC
                     LAW
CATHY CHARLTON       KEITH ROUSSEAU                  SIGNS MAGIC
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CATHY CORDEIRO       KEKST & COMPANY, INC. DBA      SIGNS OF LIFE, LLC
                     KEKST CNC
CATHY CORRADETTI     KELEIGH KEOLANI MILLIORN       SIGNS ON TIME
CATHY RONG PENG      KELLAM MECHANICAL              SIGNS, PLAQUES & MORE
CATHY WARD           KELLAM, PHILIP J.              SIGNSCAPES, INC
CAUTION FIRE         KELLER & HECKMAN LLP           SIGNSHARKS SIGN
PREVENTION, LLC                                     SERVICE
CAVALIER MANOR       KELLER ELECTRIC LIMITED        SIGNWORK BY CHUCK
SHOPS, LLC                                          KISH
CAVALIER PATIO &     KELLY & PICERNE, INC           SIGRID RAUDALES
LANDSCAPE
CAVALIER             KELLY ANNE HOGUE               SILEMIN, MIKE
TELEPHONE
CAWTHON-HOLLUMS      KELLY JOHNSTONE                SILK FM BROADCASTING
PROPERTIES INC                                      LTD
CB RICHARD ELLIS     KELLY PAISLEY                  SILVA SAKRAN
OF VA INC.
CBDA                 KELLY PHANGURA                 SILVER HORN II LLC
CBI                  KELLY SERVICES, INC.           SILVER SAGE SHOPPING
                                                    CENTER
CBL & ASSOCIATES     KELLY STACEY                   SILVERCREST
                                                    ADVERTISING, INC
CBL & ASSOCIATES     KELLY THIESSEU                 SILVERHAWK
LIMITED                                             INVESTIGATIONS
PARTNERSHIP-OLD
HICKORY
CBL & ASSOCIATES     KELLY UMPHREY                  SILVERLAND
LIMITED                                             INVESTMENT LLC
PATNERSHIP
CBL & ASSOCIATES     KELLY YOUNG                    SILVERMAN AND
MANAGEMENT                                          COMPANY, INC
CBL & ASSOCIATES     KELOWNA BCSPCA                 SILVERPOP SYSTEMS INC
PROP., INC.
CBRE LIMITED - IN    KELSEY ROBINSON                SILVERSCAPES INC
TRUST
CBS OUTDOOR          KELSON DEVELOPMENT             SILVERTIP PROMOTIONS
CANADA                                              & SIGNS
CBS RADIO - KSFM -   KELSWOOD PROPERTIES INC.       SILVIA BURGER
SACRAMENTO
CBS RADIO - WMBX     KELVIN FELLNER                 SILVIA ERJAVAC
CBS RADIO - WPEG-    KELVINGTON, ESQ., M. JOANNA    SIMAS PROPERTIES 1, LLC
FM
CBS RADIO - WPGC     KEMET, ANU                     SIMMONS MEDIA GROUP -
                                                    KXRK
CBS RADIO - WZMX     KEMPSITY, PHIL                 SIMMONS, DAVID
CBS RADIO DBA        KEMPSVILLE HIGH SCHOOL BAND    SIMMONS, SHANE
WJHM-FM              PARENTS ASSOCIATION, INC.
CBV COLLECTION       KEMPSVILLE LION'S CLUB         SIMON CAPITAL GP
SERVICES
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CCA - DIVISION OF     KEMPSVILLE ROOFING INC.        SIMON PARISIEN
TAXATION
CCH CANADIAN          KEN HANCHER                    SIMON PHILIPPE
LIMITED
CCH INCORPORATED      KEN JOURNAGAN                  SIMON PROPERTY GROUP
CCH INCORPORATED      KEN MACVICAR                   SIMON PROPERTY GROUP
                                                     LP
CCH PROSYSTEMS        KEN MACVICAR                   SIMON SPOONER
FX- WOLTERS
KLUWER
CCH SMALL FIRM        KEN MATTINSON                  SIMON W. HENDERSHOT,
SERVICES                                             III
CD DIMENSIONS, INC.   KEN NAGATA                     SIMONS, WILLIAM
CD VENTURES II, LLC   KEN REID INC.                  SIMPLIFY COMPLIANCE
                                                     LLC
CDC MEDIA             KEN SIRKIS                     SIMPLY COMP
CDDVKING LLC          KENAI PENINSULA BOROUGH        SIMPOVA WEB
                                                     COMMERCE
CDE LIGHTBAND         KENAI PLAZA GENERATIONS LLC    SIMPSON WIGLE
CDS CLEARING AND      KENDALL CENTER MANAGEMENT,     SIMPSON, CHASITY
DEPOSITORY            LLC
SERVICES INC.
CDS INNOVATIONS       KENDALL ROBINSON               SIMRAN INC
INC.
CDW CANADA INC.       KENDALL SIGN INC               SIMS, CARVER
CDW COMPUTER          KENDALLVILLE PUBLISHING CO -   SIMTRAX COURIER
CENTERS, INC.         EVENING STAR
CDW DIRECT            KENDRICK PROPERTIES, INC.      SINCLAIR TELEVISION
                                                     GROUP
CDYNE                 KENILWORTH MEDIA INC.          SINGH, JAIDEEP
CORPORATION
CECIL, JOHN           KENILWORTH MEDIA INC.          SINTAY, RYAN
CEDAR ELMHURST,       KENNEDY, BOBBY                 SIOUX FALLS SHOPPING
LLC                                                  NEWS
CEDAR LONG REACH,     KENNEDY, RON                   SIOUX FALLS STAMPEDE
LLC
CEDAR REALTY          KENNER PC III LLC              SIR-RAMIK,INC
TRUST PARTNERSHIP
LP
CEDAR SPRINGS         KENNETH ALLEN                  SISKIND, CROMARTY,
                                                     IVEY & DOWLER LLP
CEDRIC                KENNETH HEALY                  SISKINDS THE LAW FIRM
RICHARDSON
CEF ENTERPRISES       KENNETH HORNER                 SISKINDS THE LAW FIRM
CELEBRITY SIGN        KENNETH L MAUN, TAX            SISSON WARREN
RENTALS               ACCESSOR/COLLECTOR             SINCLAIR
CELINA GALLEGOS       KENNETH MARK YOUNG             SISSON WARREN
                                                     SINCLAIR
CELL GROUP, INC.      KENNETH MCGILL                 SITNYKOVA, LILIIA
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CELL PHONES FOR      KENNETH OLSEN                 SIX C/D ASSOCIATES
SOLIDERS
CENLAR               KENNETH PIERRE-LOUIS          SKADDEN, ARPS, SLATE -
                                                   INACTIVE
CENTER FOR           KENNETH R BRYAN               SKADDEN, ARPS, SLATE,
COMMUNITY                                          MEAGHER & FLOM LLP
DEVELOPMENT, INC.
CENTERPLATE, INC     KENNETH R. KRING              SKADDEN, ARPS, SLATE,
                                                   MEAGHER & FLOM LLP
CENTERPOINT          KENNETH WOODS                 SKAGGS FAUCETTE LLP
ENERGY
CENTIMARK            KENNETH YOUNG                 SKAGGS, BONNIE
CORPORATION
CENTRAL CANADA       KENRO INC                     SKAGIT COUNTY
PROPERTY                                           TREASURER
MANAGEMENT
CENTRAL CAROLINA     KENSLOW, LOUISE               SKIAVO, LANA
COMMUNITY
FOUNDATION
CENTRAL CAROLINA     KENT MC CONACHIE              SKILLPATH SEMINARS
WINDOW CLEANING
CENTRAL CO. FIRE &   KENT POWELL                   SKINNER BROS
RESCUE                                             TRANSPORT LTD
CENTRAL COAST        KENTON COUNTY                 SKIP TO LINE 71 LLC
BROKERAGE &
MANAGEMENT, INC
CENTRAL COUNTY       KENTUCKY DEPARTMENT OF        SKLARIN
FIRE & RESCUE        REVENUE                       COMMUNICATIONS LLC
CENTRAL INDIANA      KENTUCKY DEPARTMENT OF        SKOOTER HOME
PARALEGAL SERV       REVENUE                       IMPROVEMENT
CENTRAL LOCK &       KENTUCKY INTELLIGENCE         SKYLAR, ZORIK
KEY, INC.            SERVICE
CENTRAL OHIO         KENTUCKY REVENUE CABINET      SKYWAY JACKS
TRANSIT AUTHORITY
CENTRAL SIGNS LLC    KENTUCKY STATE TREASURER      SL BEACH LLC
CENTRE 800 LLC       KENTUCKY STATE TREASURER      SL NUSBAUM
CENTRE FOR           KENTUCKY STATE TREASURER      SL NUSBAUM INSURANCE
APPLIED              (UNCLAIMED PROPERTY)          AGENCY, INC.
CRYPTOGRAPHIC
RESEARCH
CENTRE PLACE         KENTUCKY UTILITIES            SL NUSBAUM REALTY CO.
WALNUT CREEK LLC
CENTRE               KENTWOOD SPRINGS              SLAIT CONSULTING
WELLINGTON
COMMUNITY RADIO,
INC.
CENTRE               KEQ PROPERTIES LLC            SLAPNIK, MARTIN
WELLINGTON MINOR
HOCKEY
ASSOCIATION
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CENTRE               KERI LOXTON                   SLH ENTERPRISE, LLC
WELLINGTON MINOR
SOFTBALL
ASSOCIATION, INC.
CENTRE               KERRI LOCKREY                 SMA COMMUNICATIONS,
WELLINGTON PARKS                                   LLC
& RECREATION
CENTRIC              KERRI WILSON                  SMALLBUSINESSOPPORT
COMMUNICATIONS,                                    UNITY.COM
LLC
CENTRO               KERRVILLE DAILY TIMES         SMART CITY NETWORKS,
BINANCIONAL PARA                                   LP
EL DESARROLLO
CENTRO MEXICANO      KERRY ANN ROBITAILLE          SMART CITY NETWORKS-
                                                   VA BEACH
CENTRO NP EAST       KERRY ANNE GIBBINS            SMART DM
LAKE PAVILLIONS
CENTRO NP            KERRY LEDGER                  SMART TRADING
HOLDINGS                                           COMPANY
CENTRYLINK-2961      KETTLER USA                   SMART, JOHN
CENTURION REALTY     KEVAN ROSSITER                SMARTMONEY.COM
CENTURY 21           KEVIN AYER                    SMARTREMINDERS.COM,
PRESTIGE REAL                                      INC.
ESTATE
CENTURY LINK-4300    KEVIN BARROW                  SMARTSOURCE RENTALS
CENTURY PANTHER      KEVIN BOIVIN                  SMC SQUARED, LLC.
LLC
CENTURY SHOPPES      KEVIN C. REILLY               SMG
OF GAINESVILLE INC
CENTURY SIGNS        KEVIN DUSZA                   SMITH INDUSTRIES
CENTURY-             KEVIN HAMILTON                SMITH INDUSTRIES -
HAWTHORNE CO                                       INACTIVE
CENTURYLINK          KEVIN HAMMOND                 SMITH, CARROAD, LEVY
                                                   & FINKEL, LLP
CENTURYLINK QCC-     KEVIN JAMES FINNERAN          SMITH, CATHY
52187
CENTURYLINK-1319     KEVIN JOHNSTON                SMITH, GAMBRELL &
                                                   RUSSELL, LLP
CENTURYLINK-1319     KEVIN LEISCHNER               SMITH, GLEN AND BETTY
CENTURYLINK-29040    KEVIN M. ROSS                 SMITH, GLORIA S.
CENTURYLINK-4300     KEVIN MANN                    SMITH, JASON
CENTURYLINK-91154    KEVIN MCKAGUE                 SMITH, KAREN
CERCA                KEVIN MCKAY                   SMITH, KENNETH E.
CERCA                KEVIN MCKAY                   SMITH, LISA
CERIDIAN EMPLOYEE    KEVIN MCNEILL STATE           SMITH, STEVE
SERVICES-10989       MARSHALL
CERTEGY CHECK        KEVIN PARENT                  SMITHBOWER, DANIEL
SERVICES, INC
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CERTIFIED          KEVIN REED                      SMITH-FULCHER,
PROPERTY                                           VALERIE M
MANAGEMENT, INC.
CERTIFIED          KEVIN RICHARD                   SMITTY'S BICYCLE SHOP
REPORTING                                          AND LOCKSMITH
SERVICES                                           SERVICE, LLC
CESAR CACERES      KEVIN STEINMETZ                 SMOKING GUN
                                                   ENTERTAINMENT
CESAR CHACON       KEVIN SUMMERS                   SMOM GOLF
LOARCA
C'EST-A-DIRE       KEVIN SUPPES                    SMS MEDIA GROUP, INNC.
COMMUNICATION
SERVICES
CF. ENTERPRISES    KEVIN T & VALERIE A BYRNE       SMULLEN, WILLIAM
CORP
CFAI               KEVIN THOMPSON                  SNAGAJOB, INC.
CFIC               KEVIN TIGHE                     SNAPPING SHOALS EMC
CFNR/NORTHERN      KEVIN TRUCHON                   SNELL & WILMER, LLP
NATIVE BROADCAST
CFQX-FM/CHIQ-FM    KEVIN W AND NANCY M WHITE       SNELLING 10291
CFS2               KEY BUSINESS SOLUTIONS          SNELLING PERSONEL
                                                   SERVICES
CGB PUBLISHING     KEY LEASE CANADA LTD.           SNI COMPANIES
LTD.
CGC CONCESSIONS    KEY WEST LOCK & SAFE            SNIPES, DALE & HEATHER
GROUP CANADA
CGLIC/EQUITY       KEYSER AVE PROPERTIES, LLC      SNOHOMISH COUNTY
WESTLAND MALL                                      TREASURER
CHAB 800           KEYWEST LOCK & SAFE             SNO-KING SIGNS
CHAD FITZPATRIC    KFDX-TV                         SNOWBALL
                                                   ENTERPRISES, LLC
CHAD WATSON        KFG-WVC INVESTMENTS LTD.        SNOWSHOE PROPERTIES
                                                   MANAGEMENT
CHAINWAVE          KG ENTERPRISES                  SNVC
SYSTEMS, INC.
CHAMBER OF         KG VENTURES                     SNYDER SIGN
COMMERCE GROUP
INSURANCE PLAN
CHAMBER OF         KH FOOD INDUSTRY LTD            SNYDER, AARON
COMMERCE OF
SOUTHWESTERN
AUGLAIZE COUNTY,
INC.
CHAMBER OF         KHALID SAFARI                   SNYDER, HARLEY
COMMERCE-CLOVIS
CHAMBER OF         KHALIDA ZAHEER                  SOASTA, INC.
COMMERCE-FRESNO
CHAMBER OF         KHAMIS BAKU GANDHI              SOBRO 2535 LLC
COMMERCE-FRESNO
METRO BLACK
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CHAMBER OF         KHAN, FARAS                     SOCAL SUBPOENA
COMMERCE-LOS
BANOS
CHAMBER OF         KHAN, RAHAT                     SOCALGAS
COMMERCE-
MADERA
CHAMBER OF         KHTT - FM                       SOCI, INC.
COMMERCE-MERCED
COUNTY HISPANIC
CHAMBER OF         KIDD, CHARLIE                   SOCIAL 123, LLC
COMMERCE-
PORTERVILLE
CHAMBER OF         KIDS IN MOTION                  SOCIETY FOR HUMAN
COMMERCE-THE                                       RESOURCE
GREATER MERCED                                     MANAGEMENT
CHAMBER OF         KIDS SAFE                       SOCK PUPPET, LLC
COMMERCE-TULARE
CHAMBER OF         KIERA AUSTIN                    SODEXO INC.
COMMERCE-VISALIA
CHAMPMAN,          KIFI-TV                         SOFTCHOICE CORP.
MICHAEL R.
CHAMPS SPORTS      KILDON PLACE PROMOTION FUND     SOFTWARE DIMENSIONS
#14480
CHAN, ANDREW       KILDONAN PLACE                  SOJO BASKETBALL
                                                   EXTRAVAGANZA
CHANCERY COURT     KILDONAN VILLAGE LIMITED        SOLANO COUNTY
OF HAMILTON                                        TREASURER
COUNTY
CHANDKY LANGHU     KILDONAN VILLAGE LTD            SOLANO GLASS
                                                   COMPANY, INC.
CHANDRAKANTH S P   KILLEEN MALL MEMBERS, LLC       SOLANO HEATING & AIR
                                                   CONDITIONING
CHANEL SAVER       KILLINGSWORTH, DONNA            SOLANO MALL LP
CHANNA COCHRANE    KIM & DENNIS KEEFE              SOLANO STORAGE
                                                   CENTER, LLC
CHANNEL LUMBER     KIM B PETERSON                  SOLARIS BY DESIGN
CO, INC.
CHANTAL JAMES      KIM BROWN                       SOLARWINDS, INC.
CHANTEL BEECROFT   KIM CAMARATA                    SOLEDAD CENTER LLC
CHANTEL BROWN      KIM CASSINO                     SOLES4SOULS, INC.
CHANTEL PEREIRA-   KIM CLARK                       SOLIMY DECIUS
VALENTINO
CHANTELLE AND      KIM HOAN, LLC                   SOLIUM TRANSCENTIVE
MERLE LETANDRE                                     LLC
CHANTILLY HEALTH   KIM MACNEARNEY                  SOLOMON & SOLOMAN,
& WELLNESS                                         PC
CHANT-O-FETES      KIM MCDOWELL                    SOLVABLE, LLC
CHAPDELAINE        KIM MCPHARLAND                  SOMAYA MACMILLAN
INVESTIGATIONS,
INC.
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CHAPEL HILLS MALL KIM R ROSSITER                   SOMMARI MUWWAKKIL
CHAPMAN AND        KIM WELLER                      SONITROL OF
CUTLER LLP                                         TIDEWATER
CHAPMAN SIGNS INC. KIMBALL OFFICE SUPPLY           SONNENBERG
                                                   INSURANCE INC
CHAPTER TOWNSHIP     KIMBALL, THOMAS R.            SONNY COSTANTINI
OF MT. MORRIS
CHARANTE             KIMBERLEY JAMES               SONWELL NEON
HOLDINGS                                           SYSTEMS
CHARIS WEBB          KIMBERLEY MCGREGOR            SONYA HOLLINGS
CHARLENE DURAND      KIMBERLY ASHBY                SONYA RYKERS
CHARLENE HANSON      KIMBERLY FEDICK               SONYA SAIJA
CHARLENE MOORES      KIMBERLY GAUDET               SOO CURLERS
CHARLENE P PERRY     KIMBERLY HAFFORD              SOOJIN AVALON PLAZA,
                                                   LLC
CHARLENNE            KIMBERLY JONES                SOONER CAPITAL, LLC
ASSELSTINE
CHARLES              KIMBERLY PINEDA               SOONER TWO LLC DBA
CARRICATO                                          MIDWEST PROPERTIES
                                                   AND MANAGEMENT
CHARLES CHADWICK     KIMBERLY PUFFER               SOPHIA JOHNSON
CHARLES              KIMBERLY S PIERCE             SOPHIE CLARK
CHAMBERLAIN
CHARLES D. HOLM      KIMBERLY STONE                SORSHER, ALEKSANDER
CHARLES DUNN RES,    KIMBLE DEVELOPMENT OF BAKER   SORSHER, ALEX & YANA
INC.                 LLC-DO NOT USE
CHARLES I FILL       KIMCO REALTY CORP 3333        SOS CHILDREN'S SAFETY
                                                   MAGAZINE
CHARLES L PAYSON     KIMCO REALTY CORPORATION      SOS COMMUNICATIONS
REALTY CORP                                        LTD.
CHARLES LOMELI,      KIMS MANAGEMENT, INC          SOS MARKETING
TAX COLLECTOR
CHARLES MOORE        KINETO VAN LINES              SOS TOYS
CHARLES N COOPER     KING COUNTY TREASURER         SOUND EXPRESSIONS,
                                                   LLC
CHARLES R WOLFE II   KING OF SIGNS, LLC            SOUND INVESTMENTS
                                                   LTD
CHARLES SABBAH       KING RESTORATION LLC          SOUNDS GOOD, INC.
CHARLES SCHWAB       KING, BILL                    SOURCE BOOK
AND CO. INC.                                       PUBLICATIONS
CHARLES SCHWAB       KING, CHRIS                   SOURCE MEDIA
TRUST CO.
CHARLES W            KING, PRESTON                 SOURCE OFFICE
FRANKENS                                           FURNISHINGS
CHARLES WOODS        KINGDOM WORK                  SOURCEGAS ARKANSAS,
                                                   INC
CHARLESON            KINGS MOVING, LLC             SOUTH BAY
HARBOR TOURS                                       COMMUNICATIONS, INC.
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CHARLESTON JOINT    KING'S VICTORIAN INN           SOUTH BEND TRIBUNE
VENTURE                                            CORPORATION
CHARLOTTE CHECK     KINGSPORT TIMES-NEWS           SOUTH BROADWAY
CASHERS                                            INVESTMENTS, INC
CHARLOTTE           KINGSTON FRONTENAC HOCKEY      SOUTH CAROLINA DEPT
CHECKERS HOCKEY     CLUB                           OF REVENUE
TEAM
CHARLOTTE           KINKO'S-GA-PO BOX 105522       SOUTH CAROLINA DEPT.
QUINLAN                                            OF REVENUE
CHARLOTTE SMITH     KINKO'S-TX - 672085            SOUTH CAROLINA DEPT.
                                                   OF TAXATION
CHARLYE NUNEZ       KIPLING REALTY MANAGEMENT      SOUTH CENTRAL
                    INC.                           INDUSTRIAL PROPERTIES
                                                   XIV, LP
CHARLYN FISCHER     KIPLINGER TAX LETTER           SOUTH COAST GROUP,
                                                   LLC
CHARLYNNE           KIPLINGER TAX LETTER           SOUTH DAKOTA
LOUCKS                                             DEPARTMENT OF
                                                   REVENUE
CHARMAINE           KIRBY MARKETING SOLUTIONS,     SOUTH DAKOTA DEPT OF
REDDICK             INC                            LABOR
CHARMIE JOHNSON     KIRIT MAHARAJ                  SOUTH DAKOTA
                                                   SECURITIES DIVISION
CHART MARKETING,    KIRK DARKING                   SOUTH DAKOTA
INC.                                               SECURITIES DIVISION
CHARTER BUS         KIRKE SZAWRONSKI               SOUTH DAKOTA
SERVICE CO INC.                                    SECURITY OF STATE
CHARTER CAPITAL     KIRKLAND & ELLIS LLP           SOUTH DAKOTA STATE
                                                   TREASURER
CHARTER             KIRKPATRICK, KEVIN             SOUTH TRUST BANK
COMMUNICATION                                      ESCROW ACCOUNT
CHARTER             KIRSTEN NESS                   SOUTH WESTGATE LLC
COMMUNICATIONS-
60229
CHARTER             KIS COMPUTERS                  SOUTHEASTERN
COMMUNICATIONS-                                    COMPUTER CENTER, INC
7173
CHARTER             KISHOR GAREWAL                 SOUTHERN
COMMUNICATIONS-                                    BROADCASTING
742614                                             COMPANIES, INC.
CHARTER MEDIA- WI   KISS 102.7                     SOUTHERN CALIFORNIA
                                                   EDISON
CHARTER MEDIA-TN    KISSIMMEE UTILITY AUTHORITY    SOUTHERN CALIFORNIA
                                                   EDISON-PO 300
CHARTER TOWNSHIP    KISTOPHER SIREN                SOUTHERN CALIFORNIA
OF GARFIELD-PPT                                    SHREDDING, INC.
CHARTER TOWNSHIP    KITCH DRUTCHAS WAGNER          SOUTHERN COAST
OF MT MORRIS        VALITUTTI                      PROPERTIES, LLC
CHASE & POWERS,     KITCHENER MEMORIAL             SOUTHERN COMMERICAL
LLC.                AUDITORIUM COMPLEX             CORPORATION
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CHASE CC           KITCHENER RANGERS JR A          SOUTHERN COMPANY
                   HOCKEY CLUB                     GAS
CHASE INSURANCE    KITCHENER UTILITIES             SOUTHERN
COMPANY                                            ENTERTAINMENT
CHASE ORDERS AND   KITCHENER VICTORIA HOLDINGS     SOUTHERN INSTITUTE OF
LEVIES             INC                             TECHNOLOGY
CHATEAU LACOMBE    KITCHENER WILMOT HYDRO INC      SOUTHERN NATIONAL
HOTEL                                              INC.
CHATHAM COUNTY     KITCHENERCLEAN                  SOUTHERN
TAX COMMISSIONER                                   PROFESSIONAL
                                                   INVESTIGATIONS
CHATHAM            KITCHENS, SUZANNE               SOUTHERN RHODE
OUTREACH FOR                                       ISLAND NEWSPAPERS
HUNGER
CHATHAM-KENT       KITRINA LUCUK                   SOUTHERN UNIVERSITY
UTILITY SERVICES                                   @ NEW ORLEANS
CHATISE THOMAS     KITSAP COUNTY                   SOUTHERN WISCONSIN
                                                   BROADCASTING, LLC
CHATTANOOGA CITY   KIZZ                            SOUTHGATE PROPERTIES
TREASURER                                          LTD
CHATTANOOGA        KJE COMPUTER SOLUTIONS, LLC     SOUTHPOINTE ON HIGH
COCA-COLA                                          LLC
BOTTLING
CHATTANOOGA GAS-   KJJY-FM                         SOUTHRING SC COMPANY
5408                                               LTD
CHATTANOOGA        KJMZ                            SOUTHSIDE CHAPTER OF
TIMES                                              MADD
CHATURVEDI,        KJTL-FOX 18                     SOUTHSIDE SOCCER
SHILESH                                            LEAGUE
CHAVES, TRACEY     KKFR                            SOUTHTRUST BANK
CHAWLA, MARY       KLAK, TJ MR.                    SOUTHWARD &
                                                   ASSOCIATES, INC
CHEAP MOBILE       KLCT-FM                         SOUTHWEST GAS
SIGNS
CHEATHAM,          KLDISCOVERY ONTRACK, LLC        SOUTHWEST GAS
DINETTA                                            CORPORATION
CHECK CASHING      KLEIN, HALEY                    SOUTHWESTERN BELL
PLUS, INC.
CHECKLIST          KLEIN, HALEY                    SOUTHWESTERN
                                                   MANAGEMENT & REALTY
                                                   TEAM
CHELSEA MINATSIS   KLINE, PATRICIA A.              SOUTHWIND
                                                   ACQUISITION, LLC
CHELSEA POSTMAN    KLM WINDOW CLEANERS             SOVOS COMPLIANCE, LLC
CHEN XU            KLONDIKE BROADCASTING           SOWDER, SANDY
CHEN XU            KLPR                            SPANISH NEWS, INC.
CHEN, LI           KLQL RADIO                      SPARK
                                                   COMMUNICATIONS
                                                   GROUP, LLC
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CHEN, SHUAI          KLS DIRECT MARKETING          SPARKFLY PERKS
CHERILYN             KLS MEDIA GROUP               SPARKLE
PANAMICK                                           INTERNATIONAL INC.
CHEROKEE SIGNS &     KLSL REALTY LLC               SPARTAN DETECTIVE
LIGHTING                                           AGENCY
CHERRY BEKAERT &     KLTI- FM                      SPARTAN MARKETING,
HOLLAND                                            INC.
CHERRY BEKAERT &     KLUR/ CUMULUS BROADCASTING    SPATIAL DATA, INC.
HOLLAND - DO NOT
USE
CHERRY BEKAERT       KM REALTY MANAGEMENT, LLC     SPATIAL INSIGHTS, INC.
LLP
CHERRY BEKAERT       K-MART (RESOURCE CENTER)      SPCA-GRANDE PRAIRIE &
LLP                                                DISTRICT SPCA CHARITY
CHERRY BEKAERT       KMART CORPORATION             SPEAK, INC.
LLP-DO NOT USE
CHERRY CARPET, INC   K-MART MANAGEMENT             SPEAK, INC-CO
                     CORPORATION
CHERRY, LYN          KM-EQYPT CROSSING, LP         SPEAKER AGENCY
CHERYHL L HILL       KMITCHELL, INC. DBA SPEAK!    SPEAKERS BUREAU OF
                                                   CANADA INC.
CHERYL COUCH         KMXA                          SPEAKERS GROUP INC.
CHERYL FLINN         KMXV FM                       SPEAKERS' SPOTLIGHT
CHERYL FRANKLIN      KNIFFEN FAMILY FINANCIAL      SPEAKERS' SPOTLIGHT
                     SERVICE LLC
CHERYL MANUEL        KNIGHTS OF COLUMBUS COUNCIL   SPECIAL COUNSEL II
                     #3548
CHERYL MCKAY         KNILA TECHNOLOGIES, LLC       SPECIAL OLYMPICS
                                                   VIRGINIA
CHERYL PROSSER       KNOWBE4, INC                  SPECIAL$ DELIVERY
CHERYL REID          KNOWLEDGE BUREAU INC          SPECIALITY SERVICES &
                                                   INSTALLATIONS
CHERYL SCHARMAN      KNOWLEDGE FRONT               SPECIALIZED
                                                   INVESTIGATIONS
CHERYL TUINDER       KNOWLES, JOSEPH               SPECIALIZED LEGAL
                                                   SERVICES
CHERYLE              KNOWLES, W. F. (BILL)         SPECIALTY TECHNICAL
BRATHWAITE                                         PUBLISHERS
CHESAPEAKE BANK      KNOX COUNTY CLERK             SPECK, ALYSA
CHESAPEAKE           KNOXVILLE MAYNARDVILLE, LLC   SPECTRUM BUSINESS -
INDUSTRIAL                                         4617
LEASING
CHESAPEAKE OFFICE    KOEHLER & COMPANY             SPECTRUM BUSINESS -
SUPPLY                                             6030
CHESAPEAKE           KOETH, RAYMOND                SPECTRUM BUSINESS -
OUTDOOR                                            7195
ADVERTISING, INC.
CHESAPEAKE           KOFI AKOSAH-SARPONG           SPECTRUM BUSINESS-
TREASURER                                          7186
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CHESAPEAKE             KOGER, ANNETTE               SPECTRUM BUSINESS-
TREASURER - SS#                                     TIME WARNER CABLE
570849089
CHESAPEAKE-JCP         KOHR ROYER GRIFFITH          SPECTRUM BUSINESS-
ASSOCIATES LLP                                      CHARTER 94188
CHESLEY MALL           KOHR ROYER GRIFFITH, INC.    SPECTRUM ENTERPRISE
CHESTER JABLONSKI      KOLBACH & ASSOICATES         SPECTRUM I MERCHANT,
                       INVESTIGATIONS INC.          LLC
CHESTNUT TAX           KOMARA, TODD                 SPECTRUM PROPERTY
GROUP, LLC                                          MANAGEMENT
CHEYENNE CHARD         KOMMOORI, SRINIVAS           SPECTRUM-60074
CHEYENNE PLAZA         KOMUNIK DATAMARK             SPEEDPRO
LLC
CHEZ BELLE LTD.        KONANZ, LOUISE & COLIN       SPEEDY DISPOSAL
CHIA CHUALAN           KONAT, PETER                 SPEEDY MONEY
                                                    NETWORK
CHIANNE BERGSMA        KONICA MINOLTA BUSINESS      SPENCER MCCLEARY
CHICAGO                KONICA MINOLTA BUSINESS      SPENCER SQUARE
PROFESSIONAL           SOLUTIONS (CANADA), LTD.     HOLDINGS*USE SPEN13*
SPORTS LIMITED
PARTNERSHIP
CHICAGO SUN-           KOONS, ROBERT                SPENCER SQUARE
TIMES, INC.                                         HOLDINGS, INC
CHICAGO TITLE &        KOOTENAI COUNTY TREASURER    SPENCER, TAMMY
TRUST COMPANY
CHICAGO TRIBUNE        KOPY COPY                    SPIRE ENERGY
CHIEF IRRIGATION,      KORDAY, ARLYNN               SPIRIT CRUISES LLC
LLC
CHIEF PARTY            KORDAY, J'NELLE              SPLINTER FAMILY TRUST
RENTALS                                             RENTALS CO
CHILD & FAMILY         KOREM CORPORATION            SPOMER, TIM
SERVICES OF
WESTERN MANITOBA
FOUNDATION
CHILD SUPPORT -        KORINA TAYLOR                SPOMER, TODD
040009175
CHILD SUPPORT -        KORN FERRY                   SPONSORSHIPS
050009997                                           UNLIMITED
CHILD SUPPORT          KORONA, ALBERT               SPORTAGA
ENFORCEMENT,
FAMILY SUPPORT
CHILD SUPPORT          KORRY BROWN                  SPRING SUITES
SERVICES - 518067429
CHLOE BENSON           KOTTKE, ISABELLE             SPRINGCM,INC
CHLUMSKY, DALE E.      KOUROS HOLDINGS LTD          SPRINGDALE HEATING &
                                                    AIR CONDITIONING, LLC
CHO, HEE IL            KP AND SONS LLC-PRABIN       SPRINGDALE, LLC
                       SHRESTHA
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CHOATE, HALL &       KP REALTY SERVICES INC-SEE     SPRINGFIELD FALCONS
STEWART LLP          KPRE01
CHOICE PROPERTIES    KP REALTY SERVICES, INC        SPRINGS LEASING CORP.
REIT
CHOICES              KPB                            SPRINT - 930331
NORTHWEST
CHON PRODUCTIONS     KPK PROPERTIES, LLC            SPRINT - 96064
                                                    CHARLOTTE NC
CHOPPA, ANTHONY      KPK RENTALS LLC                SPRINT (CELL PHONES)
CHOREY &             KPMG                           SPRINT 79133
ASSOCIATES
CHRIS A LABARGE      KPMG (CANADA)                  SPRINT CANADA INC.
                                                    COMMERCIAL
CHRIS ALAGGIA        KPMG LLP - DOMINION TOWER      SPRINT CHICAGO-88026
CHRIS BAAL           KPMG LLP (DALLAS)              SPRINT CONFERENCING
                                                    SERVICES
CHRIS BARTER         KPMG LLP (NJ)                  SPRINT- DALLAS
CHRIS BARTER         KPMG LLP (TX) - INACTIVE       SPRINT JACKSONVILLE FL
CHRIS GODFREY        KPMG LLP-416094                SPRINT- KANSAS CITY
CHRIS GONNEVILLE     KQQQ 92.1 FM/ KQQT 106.3 FM    SPRINT PCS - 4181
CHRIS HAMMER         KQRC RADIO                     SPRINT YELLOW PAGES-
                                                    805056
CHRIS HITT           KRAMONT REALTY TRUST           SPRINT YELLOW PAGES-
                                                    BRISTOL TN
CHRIS JOHNSON        KRANZ, W. PATRICK              SPRINT-143489 IRVING TX
CHRIS JOHNSTON       KRATT COMMERCIAL PROPERTIES    SPRINT-219100-CANADA
CHRIS MCGILLIS       KRESSLY/PARTNERSHIP            SPRINT-530503-ATLANTA
                                                    GA
CHRIS NORQUAY        KRF COMMERCE CITY, LLC         SPRINT-530504-ATLANTA,
                                                    GA
CHRIS PEDDLE         KRG INC.                       SPRINT-740503-ATLANTA
                                                    GA
CHRIS R BARRETT      KRIS COUGHLIN                  SPRINT-78931 PHOENIX AZ
CHRIS RANDEL         KRISLEN MANAGEMENT             SPRINT-CELL PHONE
                     CORPORATION
CHRIS ROBERTSON      KRISPY KREME DONUTS            SPRINT-CINCINNATI
CHRISSY RAMAGE       KRISPY KREME DOUGHNUT          SPROUSE FIRE & SAFETY
                     CORPORATION 465                (1996) CORP.
CHRIST MICHELAKIS-   KRISTA KNEE                    SQUARECO PROPERTIES
TREASURER                                           INC.
CHRISTA DICKSON      KRISTA MICHELIN                SQUIRE ONE, PRESCOTT
                                                    SQUARE-WOODRUFF, LLC
CHRISTEL MAJOR       KRISTEL BURZEK                 SRC TENN LLC
CHRISTI WILSON       KRISTEN LAUGHLIN               SRDS
CHRISTIAN CHUKWU     KRISTIAN MACDOUGALL            SRIDEVI CHEEPURUPALLI
CHRISTIAN CORTEZ     KRISTI-JO SHERMAN              SRP
CHRISTIAN EILER      KRISTIN HAYDEN                 SRW, INC.
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CHRISTIAN LABOUR    KRISTIN M PETERSON              SRX PROPERTIES LLC
ASSOCIATES OF
CANADA
CHRISTIAN LABOUR    KRISTINA BONATO                 SS DEVELOPMENT LLC
ASSOCIATION OF
CANADA
CHRISTIAN LABOUR    KRISTINA ROY                    SS&G PROPERTIES OF NC,
ASSOCIATION OF                                      LLC
CANADA
CHRISTIAN O OLMOS   KRISTY FISHER                   SSG BRIAN FREEMAN
                                                    MEMORIAL
CHRISTIAN PEARSON   KRISTY WECKL                    ST JOE PLAZA INC
CHRISTIANA          KRLA                            ST. ALBERT 1996 GIRLS
ACQUISITION LLC                                     SOCCER
CHRISTIANSEN &      KROLOFF,BELCHER, SMART,         ST. ANDREW'S PLACE
ASSOCIATES          PERRY & CHRISTOPHERSON
CHRISTIE'S          KROMA PRINTING                  ST. CHARLES COUNTY
WAREHOUSE                                           COLLECTOR
CHRISTINA           KRUG AND SONS, INC.             ST. GERALD CATHOLIC
ALEXANDRA                                           SCHOOL
CHRISTINA           KRYS MCKEE                      ST. JOSEPH MEDIA
ATKINSON
CHRISTINA CONITS    KRYSSI CONTRERAS                ST. JUDE CHILDREN'S
                                                    RESEARCH HOSPITAL
CHRISTINA DEARTH    KRYSTINA MCMILLAN               ST. LOUIS POST-
JOHNSON                                             DISPATCH
CHRISTINA DUBOIS    KRYSTLE BERRY                   ST. PETERSBURG TIMES
CHRISTINA DUBOIS    KSAT 12                         ST. THOMAS ENERGY INC.
CHRISTINA HARTLEY   KSEY TEJANO 1230 AM             ST. VITAL CENTRE
CHRISTINA HILLIER   KSG DEVELOPMENT, LLP            STACEY GAUCI
CHRISTINA MILLAR    KSK ENTERPRISE, LLC             STACEY J BARNES
CHRISTINA SANDER    KTL SOLUTIONS, INC.             STACEY JAMES BARNES-
                                                    THE SOUNDSIDE
                                                    SMOKERS
CHRISTINA SCOTT     KTS                             STACEY MARTIN
CHRISTINA           KUJICHAGULIA ACADEMY            STACEY MINNIE
SWATMAN             AFRIKAN-AMER. FAMILY DAY
CHRISTINA TURNER    KULIJEET WALIA                  STACEY SHINER
CHRISTINE GREGORY   KULLMAN INDUSTRIES              STACILYN SPENCER
CHRISTINE JOHNS     KULRAJ PLAZA                    STAFFMARK, INC.
CHRISTINE JOHNSON   KULT, JEFF                      STAGE RIGHT LIGHTING
CHRISTINE           KULVINDER MUKKAR                STAGEVISION RENTALS
LAROCQUE                                            INC.
CHRISTINE RAMIREZ   KULWINDER & JASBIR RAI          STAHL, JENNIFER
CHRISTINE SHIRLEY   KUMAR NAGENTHIRAM               STAHL, RICHARD
CHRISTINE WHITE     KUMAR, MONICA                   STALLINGS &
                                                    RICHARDSON, P.C.
CHRISTMAS IN ST.    KUNAL SONONE                    STALLINGS, HERRY
LOUIS
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CHRISTMAS MOUSE     KUNTESH STOREWALA              STAN BEECH
CHRISTOPHER ASKIN   KURT PFLANZER                  STAN JACKSON
CHRISTOPHER D       KUTJIM EMRA                    STANDARD LIFE
TAYLOR
CHRISTOPHER D.      K-VA-T FOOD STORES, INC.       STANDARD LIFE
BUDKA                                              INSURANCE
CHRISTOPHER         KVL AUDIO VISUAL SYSTEMSQ      STANDARD RADIO
ERSKINE
CHRISTOPHER FEHR    KWOA - FM                      STANDARD RADIO
                                                   (MIX999)
CHRISTOPHER J C     KXHT - RADIO                   STANDARD RADIO CHRE
PEACHEY                                            FM
CHRISTOPHER         KXPK-FM - LOTUS ENTRAVISION    STANDRIDGE, ADAM
JOHNSTON            REPS.
CHRISTOPHER JON     KYCK-FM                        STANDRIDGE, BETTY
LEZZI                                              JANE
CHRISTOPHER         KYLA BUCKINGHAM                STANGLAND, BILL
LADOUCEUR-
LACALLEE
CHRISTOPHER         KYLE ABEL                      STANLEY BUSH
MACLAREN
CHRISTOPHER         KYLE MACPHEE                   STANLEY CONVERGENT
MACNEILL                                           SECURITY SOLUTIONS
CHRISTOPHER         KYLE MARLEAU                   STANLEY FIENBERG
PARRIS
CHRISTOPHER         KYLE MILLS                     STANLEY G. PHELPS DBA
REALTY, INC                                        9 INCH MARKETING. LLC
CHRISTOPHER         KYLE PHILIP KIMBLE WINTER      STANLEY H GOLDSTEIN
RIELLY
CHRISTOPHER ROY     KYLE WALKER                    STANLEY PAUL
                                                   GALLANTRY
CHRISTOPHER S       KYLE ZAPF                      STANLEY STEEMER
CROSS
CHRISTOPHER         KYOKO M HAWKINS                STANLEY, LANDE &
SHORTT                                             HUNTER
CHRISTOPHER         KYU SIK LEE                    STANSBURY, TOM
TECHNOLOGY
CONSULTING
CHRISTOPHER         KYYX                           STANTON CHASE
TSCHIRHAT
CHRISTOPHER         KZFM - MALKAN BROADCASTING     STANTON, ROSEMARY
VANDERWEIDE
CHRISTOPHER WOOD    KZPR                           STAPLES
                                                   COMMUNICATIONS
CHRISTOPHER         L&M MASTER FUND SERIES LLC-    STAPLES CONTRACT &
WRIGHT              SERIES WEST HARLEM             COMMERICAL, INC
CHRISTOPHER         L. E. BALLANCE ELECTRICAL      STAPLES INC
YOUNG               SERVICE
CHRISTY LI          L. LAYCOCK                     STAPLES-DO NOT USE
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CHRISTY SIGNS         L.A.D. REPORTING COMPANY, INC.    STAR FINANCE, LLC
CHRONAKIS SIACHOS     L.C. ORIGINAL BUILD               STAR PEST CONTROL
CHSM                  L.H.LEVY INVESTIGATIONS, INC      STAR RADIO GROUP
CHU, ME               LA CROSSE CITY TREASURER          STAR SECURITY &
                                                        INVESTIGATION
CHU, YING             LA CUADRA LLC                     STARGELL, WILLENA
CHUCK'S LOCK          LA MEGA MEDIA, INC                STARK EXTERMINATORS
SERVICE
CHUCKS REPAIR, INC    LA MOVIDITA                       STARKART CANADA
                                                        LIMITED
CHUGACH ELECTRIC      LA OLA LATINO AMERICANO           STARKS, ANDREW
ASSOCIATION
CHUM LIMITED          LA PRO, LLC                       STARLITE JANITORS
CHURCH STREET         LA QUINTA 0644 DENVER NORTH       STARPATHS INC.
CROSSING              GLENN
CIARA GILROY          LA QUINTA INN - #0647 SAN DIEGO   STARRCO GP
                      CHULA
CIBC                  LA QUINTA INN & SUITES            STARRCO GP - **DO NOT
                                                        USE**
CIBC                  LA QUINTA INN & SUITES            STAR-TELEGRAM
                      CHICAGO DOWNTOWN
CIBC BANK USA         LA QUINTA INN & SUITES NEW        STAR-WEST SOLANO, LLC
                      BRITAIN
CICC                  LA REINA PROPERTIES, LP           STATE BOARD OF
                                                        EQUALIZATION CA
CICW FM-THE           LA TREMENDA RADIO NETWORK         STATE CENTRAL
GRAND @ 101                                             COLLECTION UNIT
CICX FM               LA X DE MEXICO, LLC               STATE COMPTROLLER TX
CIDC-FM Z103.5        LAB COM SYSTEM INC                STATE CORPORATION
                                                        COMMISSION
CIGNA LIFE            LABA KARKI, ESQ.                  STATE CORPORATION
INSURANCE CO. OF                                        COMMISSION
NEW YORK
CIGNA LIFE            LABOR READY                       STATE CORPORATION
INSURANCE CO. OF                                        COMMISSION
NEW YORK
CILG COUNTRY 100      LABOR READY - 820145              STATE CORPORATION
                                                        COMMISSION
CIMG THE EAGLE 94.1   LABOR READY INC-SOUTHWEST         STATE CORPORATION
                                                        COMMISSION OF
                                                        VIRGINIA
CIMX-FM               LABOR READY MIDWEST, INC          STATE CORPORTATION
WINDSOR/DETROIT                                         COMMISSION
CINCINNATI BELL       LABOR READY-614034                STATE CORPROATION
                                                        COMMISSION
CINCINNATI            LABOR READY-641034                STATE DEPARTMENT OF
ENQUIRER                                                ASSESSMENTS &
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CINCINNATI ST.        LABOUR READY                    STATE DISBURSEMENT
PATRICKS PARADE                                       UNIT
COMMITTEE
CINCO ESTRELLAS       LACEY TOWN SQUARE LLC           STATE FARM INSURANCE
INTERNACIONAL,
INC.
CINDY BATUSIC         LACKAWANNA COUNTY               STATE FARM INSURANCE
                      COURTHOUSE
CINDY BOISMIER        LACKEY, THOMAS                  STATE INSURANCE FUND
                                                      CORPORATION
CINDY C. STEWART      LACROIX, GWENDA                 STATE MARSHAL
CINDY CLELAND         LADCO LEASING                   STATE OF ALABAMA
CINDY FALLIS          LA-DE, LLC                      STATE OF ALABAMA
                                                      OFFICE OF STATE
                                                      TREASURER UNCLAIMED
                                                      PROPERTY
CINDY JENNINGS &      LAE SHON WISE                   STATE OF ALASKA
ASSOCIATES
CINDY R. EDEN         LAFAYETTE CONSOLIDATED          STATE OF ARKANSAS
                      GOVERNMENT
CINDY SAUCIER         LAFAYETTE PARISH TAX            STATE OF CALIFORNIA
                      COLLECTOR
CINDY THOMPSON        LAFRANCE & DECOEUR INC.         STATE OF CALIFORNIA
                                                      DEPARTMENT OF
                                                      CORPORATIONS
CINDY WEBB            LAJ, L.C                        STATE OF CALIFORNIA
                                                      FRAN. TAX BOARD
CINEBISTRO            LAKE ARBOR PLAZA LLC            STATE OF CALIFORNIA-
                                                      CONTROLLER'S OFFICE
CINEPLEX MEDIA        LAKE ARBOR PLAZA, LLC, A        STATE OF CALIFORNIA-
                      DELAWARE LIMITED LIABILITY      DEPT OF BUSINESS
                      COMPANY                         OVERSIGHT
CINGULAR WIRELESS     LAKE CITIES BROADCASTING        STATE OF CONNECTICUT
                      CORP.-WLKI
CINTAS                LAKE FOREST BANK & TRUST        STATE OF CONNECTICUT-
                      COMPANY, N.A.                   DEPT. OF LABOR
CINTAS                LAKE GENEVA CITY TREASURER      STATE OF DELAWARE
CINTAS CANADA         LAKE HAVASU CITY-BUSINESS       STATE OF DELAWARE-
LIMITED               LICENSE                         UNCLAIMED
CINTAS                LAKE SIMCOE GLASS & MIRROR      STATE OF FLORIDA
CORPORATION -         SERVICES                        DISBURSEMENT UNIT
DAYTON NORTH 002                                      139500028287FC
CINTAS DOCUMENT       LAKE STREET HOLDINGS, LLC       STATE OF HAWAII
MANAGEMENT
CINTREX PROPERTY      LAKEEMA CRAWFORD                STATE OF HAWAII
MANAGEMENT INC.                                       UNCLAIMED PROPERTY
                                                      PROGRAM
CINTREX PROPERTY      LAKEFOREST ASSOCIATES, LLC      STATE OF HAWAII-
MANAGEMENT, INC.                                      DEPARTMENT OF
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CIRCUIT COURT        LAKEFOREST OWNER LLC            STATE OF ILLINOIS
CLERK
CISCO CAPITAL        LAKEFRONT UTILITY SERVICES      STATE OF INDIANA
                     INC.                            (UNCLAIMED PROPERTY)
CISCO INC.           LAKELAND ASSOCIATES LP          STATE OF IOWA
CISCO SYSTEMS        LAKESHA COLLIER                 STATE OF LOUISIANA
CAPITAL CORP
CISCO WEBEX          LAKESHORE VILLAGE               STATE OF MAINE
CISCO WEBEX, LLC     LAKESIDE CENTER ASSOCIATES,     STATE OF MARYLAND
                     LLC
CISION US INC        LAKOTA COUNTRY TIMES            STATE OF MICHIGAN
CIT FINANCIAL LTD.   LAKOTA MEDIA, INC.              STATE OF MICHIGAN
CITADEL              LAKOTA, INC.                    STATE OF MICHIGAN
CITADEL ASSET        LAKY SC LLC                     STATE OF MICHIGAN
HOLDINGS, LLC                                        (UNCLAIMED PROPERTY)
CITADEL              LAMAR ASST. MGMT. RLTY/FOCUS    STATE OF MICHIGAN-
BROADCASTIG -                                        30113
WXTC/WWWZ/WMGL
CITADEL              LAMAR DUNN & ASSOCIATES, INC.   STATE OF MICHIGAN-
BROADCASTING                                         30702
CITADEL              LAMAR TRANSIT, LLC              STATE OF MICHIGAN-
BROADCASTING                                         30804
CITADEL              LANA PHILLIPS                   STATE OF MISSISSIPPI
BROADCASTING
CITADEL              LANCASTER COUNTY TAX            STATE OF MISSOUR
BROADCASTING         COLLECTOR
CITADEL              LANCASTER COUNTY TREASURER      STATE OF MISSOURI
BROADCASTING
CITADEL              LANCASTER, BARBARA              STATE OF NEBRASKA
BROADCASTING                                         (UNCLAIMED PROPERTY)
CITADEL              LANCE OCCHIPINTI                STATE OF NEBRASKA,
BROADCASTING CO.                                     SECRETARY OF STATE
CITADEL              LANCE SURETY BOND               STATE OF NEVADA
BROADCASTING         ASSOCIATES, INC.
COMPANY
CITADEL              LAND TREK PROPERTY              STATE OF NEVADA
BROADCASTING OF      MANAGEMENT                      BUSINESS LICENSE
KNOXVILLE                                            RENEWAL
CITADEL              LANDLORD                        STATE OF NEW
COMMUNICATIONS                                       HAMPSHIRE
CORP.
CITADEL              LANDLORD CAMP INVESTMENTS       STATE OF NEW JERSEY
COMMUNICATIONS
KATT-FM
CITADEL MALL         LANDMARK CONTRACTING &          STATE OF NEW JERSEY
                     DEVELOPMENT                     SALES&USE
CITI CARDS CANADA,   LANDMARK MEDIA ENTERPRISES,     STATE OF NEW JERSEY-
INC. (STAPLES)       LLC                             DIVISION OF TAXATION
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CITIBANK              LANDMARK MEDIA ENTERPRISES,    STATE OF NEW JERSEY-
                      LLC                            LABOR & WORKFORCE
CITIBANK USA          LANDRITH & KULESZ LLP          STATE OF NEW YORK
CITICORP VENDOR       LANG INVESTIGATIONS, LLC       STATE OF NEW YORK
FINANCE LTD.                                         ATTORNEY GENERAL
CITICORP VENDOR       LANGE, NICOLE T.               STATE OF NEW YORK
FINANCE LTD.                                         DEPT. OF LABOR
(STREETVILLE)
CITIGATE GLOBAL       LANGFORD, RICHARD              STATE OF OKLAHOMA
INTELLIGENCE
CITIZENS BANK -       LANGLEY CHAPTER AIR FORCE      STATE OF R.I.- DEPT OF
CORP MASTERCARD       ASSOCIATION                    BUS. REG.
CITIZENS BANK, N.A.   LANHAM, ROBERT DENNIS          STATE OF RHODE ISLAND
CITIZENS GAS &        LANIER WORLDWIDE, INC          STATE OF TENNESSEE
COKE UTILITY
CITY GROUP            LANSING STATE JOURNAL          STATE OF TENNESSEE
PROPERTIES. LLC
CITY OF ABILENE       LANTA AKIEWA                   STATE OF UTAH
CITY OF AKRON         LANTAGNE LEGAL PRINTING        STATE OF UTAH
CITY OF               LANZA GROUP                    STATE OF WASHINGTON
ALBUQUERQUE
CITY OF               LAP LIEN PLAZA, LLC            STATE OF WASHINGTON
ALEXANDRIA                                           UNCLAIMED PROPERTY
UTILITY CUSTOMER
SERVICE OFFICE
CITY OF               LAQUINTA INN & SUITES          STATE OF WEST VIRGINIA
ALEXANDRIA-PPT        LAKEWOOD
CITY OF               LAQUINTA INN VIDOR 6114        STATE OF WEST VIRGINIA
ALLENTOWN-                                           (REVENUE DIVISION)
BUSINESS LICENSE
CITY OF               LAQUINTA INNS & SUITES 0907    STATE OF WISCONSIN
ALLENTOWN-
BUSINESS PRIV TAX
CITY OF AMERICAN      LAQUINTA INNS 0103 TAMPA US    STATE OF WISCONSIN
CANYON                HWY 301                        EDUCATIONAL
                                                     APPROVAL
CITY OF ARVADA        LAQUINTA INNS 0167 COLISEUM    STATE OF WISCONSIN-
                                                     BUREAU OF TAX &
                                                     ACCTG
CITY OF ARVADA-       LAQUINTA INNS 0169 FREMONT     STATE PROCESS SERVERS
UTILTITY
CITY OF ASHEVILLE     LAQUINTA INNS 0170 ONTARIO     STATE TAX COMMISSION-
                      AIRPORT                        MS
CITY OF ATLANTA       LAQUINTA INNS 0171 ORLANDO     STATE TAX DEPARTMENT
CITY OF AURORA        LAQUINTA INNS 0172 HAYWOOD     STATE TREASURER OF
                                                     MISSISSIPPI (UNCLAIMED
                                                     PROPERTY)
CITY OF AURORA, IN    LAQUINTA INNS 0173 NORTHWEST   STATE TREASURER OF SC
                      TECH CENTER                    UCP
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CITY OF              LAQUINTA INNS 0175 PRIMACY       STATE TREASURER'S
BAKERSFIELD -        PKWY                             OFFICE-UPP
LICENSES
CITY OF              LAQUINTA INNS 0183 CHAPEL HILL   STATE TREASURER-WA
BARDSTOWN
CITY OF BARRIE       LAQUINTA INNS 0186 AUSTIN        STATESMEN JOURNAL
                     AIRPORT
CITY OF BATON        LAQUINTA INNS 0221 LAFAYETTE     STAUFFER & CAMERER
ROUGE                                                 INVESTMENTS
CITY OF BELOIT-      LAQUINTA INNS 0476 LONGVIEW      STAUNTON
LICENSE                                               INVESTMENTS INC -
                                                      PIQUA
CITY OF BENICIA      LAQUINTA INNS 0477 SOUTH         STAVE, LARRY
CITY OF              LAQUINTA INNS 0507 AIRPORT       STEEL SECURITY
BETHLEHEM-
BUSINESS PRIV TAX
CITY OF              LAQUINTA INNS 0516 WICHITA       STEELTIDE INC.
BLOOMINGTON(WAT      FALLS AIRPORT
ER PAYMENTS)
CITY OF BOUNTIFUL    LAQUINTA INNS 0532 TOWNE EAST    STEEPLE SQUARE LLC
                     MALL
CITY OF BOWLING      LAQUINTA INNS 0534 AIRPORT       STEFAN BELL
GREEN
CITY OF BREMERTON    LAQUINTA INNS 0541 ORANGE        STEFAN BUNEA
                     COUNTY DRIVE
CITY OF              LAQUINTA INNS 0544               STEFFES, TIM
BRIDGEPORT
CITY OF BRISTOL      LAQUINTA INNS 0545 RENO          STEINBERG, JESSE
                     AIRPORT
CITY OF BRISTOL,     LAQUINTA INNS 0549 COLUMBUS      STEINER CONSTRUCTION
TENNESSEE                                             SERVICES, INC.
CITY OF BUFORD       LAQUINTA INNS 0550 COLUMBUS      STEPAN HARUTYUNYAN
                     AIRPORT
CITY OF BULLHEAD     LAQUINTA INNS 0551 ORANGE        STEPHANIE DUBOIS
CITY-BUSINESS        PARK
LICENSE
CITY OF BURLEY       LAQUINTA INNS 0553 CHAMPAIGN     STEPHANIE GILES
CITY OF CALGARY      LAQUINTA INNS 0557 AURORA        STEPHANIE GONZALEZ
CITY OF CALGARY      LAQUINTA INNS 0562 CHICAGO/      STEPHANIE GRAY
FINANCE & SUPPLY     SCHAUMBURG
CITY OF CAMARILLO    LAQUINTA INNS 0566 SKY HARBOR    STEPHANIE JACKSON
                     AIRPORT
CITY OF CAMROS- RE   LAQUINTA INNS 0567 MARKET        STEPHANIE LAWLOR
TAX                  SQUARE
CITY OF CAMROSE      LAQUINTA INNS 0570 SAN           STEPHANIE MORRIS
                     BERNARDINO
CITY OF CARLSBAD -   LAQUINTA INNS 0574 BATON         STEPHANIE
LICENSES             ROUGE                            OSMACHENKO
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CITY OF              LAQUINTA INNS 0575 AIRPORT     STEPHANIE QUINT
CARROLLTON -
UTILITIES
CITY OF CASA         LAQUINTA INNS 0578 NORTH       STEPHANY CRUZ
GRANDE
CITY OF              LAQUINTA INNS 0579 NEW         STEPHEN & COLEEN
CHATTANOOGA          ORLEANS WEST BANK              SAWYER
CITY OF              LAQUINTA INNS 0580 VETERANS    STEPHEN BRIGGS
CHATTANOOGA
WASTE RESOURCES
DIVISION
CITY OF              LAQUINTA INNS 0583 VIRGINIA    STEPHEN CHADWICK
CHESAPEAKE           BEACH
CITY OF              LAQUINTA INNS 0584             STEPHEN FERGUSON
CHESAPEAKE -         CHICAGO/OAKBROOK
LICENSES
CITY OF              LAQUINTA INNS 0594 AUGUSTA     STEPHEN G. BELL
CHESAPEAKE
TREASURER
CITY OF CHILIWACK    LAQUINTA INNS 0595 SOUTH       STEPHEN HOLT, JASPER
                                                    COUNTY COLLECTOR
CITY OF              LAQUINTA INNS 0597 AIRPORT     STEPHEN J. RUDOLPH
CLARKSVILLE-PPT
CITY OF COLORADO     LAQUINTA INNS 0598 PENSACOLA   STEPHEN KORNUTA
SPRINGS
CITY OF COLUMBUS     LAQUINTA INNS 0625 STOCKTON    STEPHEN M HOWELL
CITY OF COMMERCE     LAQUINTA INNS 0627 AIRPORT     STEPHEN MACLEAN
CITY
CITY OF COMPTON      LAQUINTA INNS 0630 GARDEN OF   STEPHEN MCMAHON
                     THE GODS
CITY OF              LAQUINTA INNS 0634             STEPHEN MULCAHY
COOKEVILLE           CHICAGO/O'HARE
CITY OF CORSICANA-   LAQUINTA INNS 0638 PINELLAS    STEPHEN PAQUETTE
UTILITY              PK/ CLEARWATER
CITY OF COURTENAY    LAQUINTA INNS 0646             STEPHEN RAPSON
                     BAKERSFIELD
CITY OF CUYAHOGA     LAQUINTA INNS 0648 WEST        STEPHEN SCOTT
FALLS
CITY OF DALLAS       LAQUINTA INNS 0650             STEPHEN SHAVE
                     FRESNO/YOSEMITE
CITY OF DANIA        LAQUINTA INNS 0651 SOUTH       STEPHEN SPENCER
BEACH
CITY OF DANIA        LAQUINTA INNS 0655 VENTURA     STEPHEN WARREN
BEACH - UTILITIES                                   RICHARD III
CITY OF DAVENPORT    LAQUINTA INNS 0658 DEERFIELD   STEPHEN WEBER
                     BEACH
CITY OF DAYTON       LAQUINTA INNS 0659 S. SAN      STEPHSON CARPET
                     FRANCISCO AIRPORT              CLEANING
CITY OF DICKSON-     LAQUINTA INNS 0660 SANTA FE    STEPP, BENJAMIN
TAX COLLECTOR
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CITY OF DINUBA       LAQUINTA INNS 0667 AIRPORT       STERLING BALIFFS INC.
                     NORTH
CITY OF              LAQUINTA INNS 0674 WESTPORT      STERLING CHURCH ST
DOUGLASVILLE                                          FURNITURE - XXX-XX-XXXX
CITY OF DUBLIN       LAQUINTA INNS 0675 SEA-TAC       STERLING PROCESS
                     INTERNATIONAL                    SERVICES, INC.
CITY OF EAST POINT   LAQUINTA INNS 0676 KIRKLAND      STERLING SHOPPING
                                                      CENTER ASSOCIATES,
                                                      L.L.C.
CITY OF EDMONTON     LAQUINTA INNS 0679 ARLINGTON     STERLING, TOM
                     HEIGHTS/ CHICAGO
CITY OF              LAQUINTA INNS 0697 TULSA OK      STETZ, FRANK P
ENGLEWOOD -
SPONSORSHIP
CITY OF              LAQUINTA INNS 0700 I&SDENVER     STEVE BROWN
ENGLEWOOD            TECH CTR
UTILITIES
CITY OF              LAQUINTA INNS 0714 AIRPORT       STEVE COLES
ENGLEWOOD, OH
CITY OF ESCANABA     LAQUINTA INNS 0720 MARIETTA      STEVE FRACZEK
CITY OF FAIRFAX      LAQUINTA INNS 0722 RESEARCH      STEVE G RODRIGUEZ
                     PARK
CITY OF FAIRFIELD-   LAQUINTA INNS 0739 DETROIT       STEVE GADOMSKI
BUSINESS LICENSE     AIRPORT
CITY OF FINDLAY      LAQUINTA INNS 0784 CORPUR        STEVE KUIPER
                     CHRISTI AIRPORT
CITY OF FLAGSTAFF    LAQUINTA INNS 0785               STEVE LEPKOWSKI DO
(BUSINESS LICENSE    ORLANDO/WINTER PARK              NOT USE
DIVISION)
CITY OF FLORENCE     LAQUINTA INNS 0804 MOBILE        STEVE M BALLARD
CITY OF FLORENCE     LAQUINTA INNS 0806 LITTLE ROCK   STEVE NEWLIN
CITY OF FORT PAYNE   LAQUINTA INNS 0809 CHEYENNE      STEVE POLHAMUS
CITY OF FORT         LAQUINTA INNS 0811 OMAHA         STEVE REGAN
SASKATCHEWAN
CITY OF FRESNO       LAQUINTA INNS 0816               STEVE SMITH
                     ALBUQUERQUE NM
CITY OF FRUITLAND    LAQUINTA INNS 0819 FORT MYERS    STEVEN BADERTSCHER
CITY OF GRAND        LAQUINTA INNS 0856               STEVEN CORBETT
JUNCTION             WILSONVILLE
CITY OF GRANITE      LAQUINTA INNS 0859 CROWLEY       STEVEN DERA
CITY-UTILITY
CITY OF HAMILTON     LAQUINTA INNS 0866 COVINGTION    STEVEN EAST
CITY OF HARRISON-    LAQUINTA INNS 0881 - SALIDA      STEVEN GERBER
LICENSE
CITY OF HENDERSON    LAQUINTA INNS 0905 ROUND         STEVEN HALL &
                     ROCK                             PARTNERS
CITY OF HIALEAH-     LAQUINTA INNS 0908 NORTH         STEVEN J. ROTTMAN, PC
BUSINESS TAX
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CITY OF HICKORY       LAQUINTA INNS 0910 NEW          STEVEN JR JOHNSON
                      ORLEANS/SLIDELL
CITY OF HINESVILLE-   LAQUINTA INNS 0914              STEVEN KAREY
BUSINESS LICENSE      SACRAMENTO DOWNTOWN
CITY OF HUBBARD       LAQUINTA INNS 0918 AIRPORT      STEVEN KENNEY
CITY OF INGLEWOOD     LAQUINTA INNS 0924 AIRPORT      STEVEN KENNEY
- BUSINESS LICENSE
CITY OF               LAQUINTA INNS 0925 CORAL        STEVEN PERSONS
JACKSONVILLE -        SPRINGS
UTILITIES
CITY OF JOHNSON       LAQUINTA INNS 0929 SAN          STEVEN ROY
CITY                  MARCOS
CITY OF JOPLIN-       LAQUINTA INNS 0931              STEVEN S LITTLE
UTILITY               CHATTANOOGA
CITY OF KENNER        LAQUINTA INNS 0933 BRISTOL      STEVEN'S PAINTING
                                                      COMPANY
CITY OF KENOSHA       LAQUINTA INNS 0935 KINGSPORT    STEVEN'S PROPERTIES,
                                                      INC
CITY OF KINGMAN-      LAQUINTA INNS 0937 MOPAC        STEVENS, BONNIE
BUSINESS LICENSE      NORTH
CITY OF KITCHENER     LAQUINTA INNS 0938 GALLERIA     STEVERN M ZINZ
                      AREA
CITY OF LAFAYETTE     LAQUINTA INNS 0940 AIRPORT      STEWART ESTEN
CITY OF LANCASTER     LAQUINTA INNS 0942 CYPRESS      STEWART MITCHELL
                      CREEK/I-95
CITY OF LANCASTER     LAQUINTA INNS 0945 AIRPORT      STEWART
                                                      TECHNOLOGIES, INC.
CITY OF LAS VEGAS     LAQUINTA INNS 0946 DENVER       STEWART TRAVIS
SEWER SERVICES        TECH CTR
CITY OF LAS VEGAS-    LAQUINTA INNS 0946 TECH         STEWART, JODI-LEIGH
LICENSES              CENTER
CITY OF LAS VEGAS-    LAQUINTA INNS 0948 SCOTTSDALE   STIKEMAN ELLIOTT LLP
SEWER
CITY OF LEBANON       LAQUINTA INNS 0949              STILES, JONATHAN
                      BIRMINGHAM/HOMEWOOD
CITY OF LITTLE        LAQUINTA INNS 0951 MYRTLE       STILL HOPE
ROCK                  BEACH                           FOUNDATION, INC
CITY OF LODI          LAQUINTA INNS 0956 PARK 10      STILL HOPE
                                                      FOUNDATION, INC
CITY OF LONG          LAQUINTA INNS 0958 SALT LAKE    STINE, MARGARET A.
BRANCH                CITY AIRPORT
CITY OF LORAIN-       LAQUINTA INNS 0959 CRABTREE     STINGRAY
UTILITIES DEPT
CITY OF LOS           LAQUINTA INNS 0961              STINGRAY RADIO INC.
ANGELES               ALEXANDRIA
CITY OF LUMBERTON     LAQUINTA INNS 0963 GALLERIA     STINTSON, DOUGLAS
                      AREA
CITY OF LYNNVIEW      LAQUINTA INNS 0964              STITES & HARBISON,
                      ALPHARETTA                      PLLC
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CITY OF MADISON-     LAQUINTA INNS 0965              STIVRINS, SHERRY
PPT                  TAMPA/BRANDON
CITY OF MCHENRY      LAQUINTA INNS 0965              STOKES TIMMS BELL &
                     TAMPA/BRANDON                   VAIDEN, P.C.
CITY OF MELBOURNE    LAQUINTA INNS 0966 RALEIGH/     STOLL KEENON OGDEN,
UTILITIES            CARY                            PLLC
CITY OF MEMPHIS      LAQUINTA INNS 0968 DALLAS       STONE & ASSOCIATES,
                     PLANO WEST                      INC.
CITY OF MIAMI-       LAQUINTA INNS 0969 BUTLER       STONE, CYNTHIA
BUSINESS TAX         BLVD
CITY OF              LAQUINTA INNS 0971 CONYERS      STONE, STEVEN
MIDDLESBORO
CITY OF              LAQUINTA INNS 0972 PUEBLE       STOP HUNGER NOW
MILLEDGEVILLE
CITY OF              LAQUINTA INNS 0974 TAMPA/       STOR OFFICE FURNITURE
MILWAUKEE-           LAKELAND
LICENSES
CITY OF MOOSE JAW    LAQUINTA INNS 0977 U.S.F.       STORAGEMART
CITY OF NEW IBERIA   LAQUINTA INNS 0978 AIRPORT/     STORY, MIKE
                     DIA
CITY OF NEW          LAQUINTA INNS 0980 AIRPORT      STOSCH, DACEY &
ORLEANS              WEST                            GEORGE, P. C.
CITY OF NEWPORT      LAQUINTA INNS 0982 PLANTATION   STOUT, GARY
NEWS
CITY OF NEWPORT      LAQUINTA INNS 0983 CENTRAL      STRAIT, LAURAN
NEWS-PPT             BUSINESS DIST.
CITY OF NEWTON       LAQUINTA INNS 0985 FT           STRATEGIC ART
                     LAUDERDALE                      SOLUTIONS, LLC
CITY OF NORFOLK      LAQUINTA INNS 1027 SPRINGDALE   STRATEGIC MARKETING
                                                     SERVICES
CITY OF NORFOLK,     LAQUINTA INNS 1050 MIAMI-       STRATEGY WISE DIRECT
TREASURER            CUTLER RIDGE                    MARKETING
CITY OF NORTH LAS    LAQUINTA INNS 2005 LOS          STRATEGYTRAILS
VEGAS                ANGELES LAX
CITY OF NORTH        LAQUINTA INNS 4034 EL PASO      STRATFORD HOUSE OF
LITTLE ROCK          GATEWAY EAST                    BLESSING FOOD DRIVE
CITY OF NORWALK      LAQUINTA INNS 6062              STRATHMORE STANDARD
CITY OF OAK RIDGE    LAQUINTA INNS 6126 CARTER       STRAWBERRY PLAZA LLC
                     LAKE
CITY OF OCEANSIDE-   LAQUINTA INNS 771 WEST PALM     STRAYER UNIVERSITY
LICENSE              BEACH
CITY OF OLATHE-      LAQUINTA INNS 7710 NAPLES       STREAM ENERGY
ACT# 4220070007
CITY OF ORANGE-      LAQUINTA INNS ASHLAND           STREAMLOGICS INC.
LICENSES
CITY OF ORILLIA      LAQUINTA INNS CLEARWATER        STREET, MARY
CITY OF OSHAWA       LAQUINTA INNS COEUR D'ALENE     STREETSEEN MEDIA
CITY OF OXNARD,      LAQUINTA INNS EUGENE, OREGON    STRETTO INC
CITY TREASURER
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CITY OF PALM         LAQUINTA INNS INDIANAPOLIS N   STRICTLY NEON, INC.
COAST-PPT            @ PYRAMIDS
CITY OF PALMDALE     LAQUINTA INNS KISSIMMEE, FL    STRING FLAGS CANADA
CITY OF PEORIA-      LAQUINTA INNS LAFAYETTE        STROHACKER
TAXES                                               INVESTIGATIONS
CITY OF              LAQUINTA INNS LAKESIDE         STROIA, MATTHEW
PETERBOROUGH
CITY OF              LAQUINTA INNS LAS VEGAS        STRONGMAN SERVICES
PETERBOROUGH         TROPICANA
CITY OF              LAQUINTA INNS LEXINGTON KY     STRUCTURAL EDGE
PHILADELPHIA                                        ENGINEERING INC
CITY OF PIQUA        LAQUINTA INNS LOUISVILLE       STRUCTURAL
                                                    PRESERVATION
                                                    CORPORATION
CITY OF PORTAGE      LAQUINTA INNS MUSIC CITY       STUART & ASSOCIATES
                     CENTRE                         P.C.
CITY OF PORTLAND     LAQUINTA INNS OAKLAND          STUART RHODES
CITY OF              LAQUINTA INNS RICHMOND KY      STUART TODD HAYNES
PORTSMOUTH
CITY OF POTOSI-      LAQUINTA INNS RICHMOND VA      STUBLEN & SONS
LICENSE                                             CONTRACTING SERVICES,
                                                    INC
CITY OF PRINCE       LAQUINTA INNS ROSWELL          STUDENTS IN FREE
ALBERT               HOLCOMB BRIDGE                 ENTERPRISE
CITY OF PRINCE       LAQUINTA INNS SAN ANTONIO      STUDIO CENTER
ALBERT- UTILITIES    AIRPORT
CITY OF PRINCE       LAQUINTA INNS SAN FRANSISCO    STURDIVANT'S
GEORGE               DOWNTOWN                       MECHANICAL, LLC.
CITY OF PUDUCAH-     LAQUINTA INNS SD OLD TOWN      STUVER, BRANDON
PPT
CITY OF RACINE       LAQUINTA INNS SPOKANE          STYLISTIC NEWS
TREASURER-PPT
CITY OF RAINSVILLE   LAQUINTA INNS SPRINGFIELD      SUBHASH SUCHIN
CITY OF RALEIGH      LAQUINTA INNS SUITES #505      SUBROGATION
                                                    MANAGEMENT TEAM LLC
CITY OF RICHMOND     LAQUINTA INNS TULSA CENTRAL    SUBURBAN BUILDING
                                                    SERVICES
CITY OF RICHMOND     LAQUINTA INNS WEST PALM        SUBURBAN JOURNALS
                     BEACH
CITY OF RINCON       LARA PASSMORE                  SUBURBAN LODGE
CITY OF ROCHESTER    LARACY TAX LTD.                SUBURBAN NEWS
HILLS-PPT                                           PUBLICATIONS
CITY OF ROCK HILL-   LARAMIE ABINGDON, LP           SUCCESS IN MEDIA, INC
BUSINESS LICENSE
CITY OF ROCKY        LARAMIE COUNTY SCHOOL          SUCCESS MAGAZINE
MOUNT PARK &         DISTRICT #1
RECREATION
CITY OF ROME         LARCHE COMMUNICATIONS INC      SUCCESS PARTNERS
                                                    HOLDING CO
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CITY OF SALMON         LARISSA JANUSAS                 SUDBURY
ARM                                                    BROADCASTING GROUP
CITY OF SAN            LARKIN HOFFMAN DALY &           SUDBURY COFFEE NEWS
BERNARDINO -           LINDGREN LTD
BUSINESS LICENSE
CITY OF SAN DIEGO      LARRY BRANDY                    SUDBURY WOLVES
CITY OF SAN JOSE-      LARRY C MARTIN-DO NOT USE       SUDBURY WOLVES
BUSINESS TAX                                           HOCKEY CLUB LIMITED
CITY OF                LARRY C. MARTIN                 SUDDENLINK
SANDERSVILLE
CITY OF SANTA          LARRY DENTON                    SUDDENLINK BUSINESS-
ANNA                                                   70340
CITY OF SARATOGA       LARRY HICK                      SUE LYNN CAMERON
SPRINGS
CITY OF SEATTLE        LARRY KRAMER                    SUE POWERS
CITY OF SEATTLE        LARRY MILLER                    SUFFOLK BLOCK ASSOC
DEPT. OF FIN.                                          LLC
CITY OF SEATTLE-       LARRY PICKVANCE                 SUFFOLK BLOCK
LICENSING & TAX                                        ASSOCIATES LLC
ADMINISTRATION
CITY OF SENECA         LARRY STEEVES                   SUFFOLK FESTIVALS, INC.
CITY OF SHEBOYGAN      LARRY'S SUV                     SUFFOLK NEWS-HERALD
CITY OF SHERWOOD       LARS LARSON                     SUFFOLK TELEPHONE
                                                       BOOK
CITY OF                LARYSA KUZENKO                  SUGARCRM INC
SPRINGFIELD-OFFICE
OF TAX COLLECTOR
CITY OF ST             LAS VEGAS DETECTIVES            SUGARMAN, CARLA
PETERSBURG
CITY OF ST. FRANCIS-   LAS VEGAS EMPLOYMENT GUIDE      SUKHJINDER PARIHAR
LICENSES/PERMITS
CITY OF ST. MARY'S     LAS VEGAS REVIEW JOURNAL/LAS    SULAIMAN, AHMAD
                       VEGAS SUN
CITY OF ST. PETERS     LASALA DELOS SUENOS, INC.       SULEIMAN, MAMDOH
CITY OF STOCKTON       LASER CARTRIDGE SERVICES INC.   SULLIVAN COUNTY
                                                       CLERK
CITY OF                LASER DOCTOR                    SULLIVAN SQUARE INC
STOUGHTON-
TREASURER
CITY OF SUFFOLK -      LASER PLUS RECYCLING            SULLIVAN, DAN
SUFFOLK PARKS &
RECREATION
CITY OF SUISUN         LASER SOFT INFOSYSTEMS LTD      SULLIVAN, DANIEL
CITY-BUSINESS
LICENSE
CITY OF SUTHERLIN      LASERSPEED INC.                 SULO LEHTINEN
CITY OF SWIFT          LASTAND, INC                    SUMER FOX
CURRENT
CITY OF TACOMA         LASTAR                          SUMMER HARDY
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CITY OF TAMPA        LAT SPORTS                    SUMMIT 5, LLC
CITY OF TAYLOR       LATCHMIN MOHAN                SUMMIT 5, LLC
CITY OF THOMPSON     LATHAN & WATKINS LLP          SUMMIT PROPERTY
                                                   MANAGEMENT, LLC
CITY OF TIFTON       LATIN VISION MEDIA, INC.      SUN BOWL ASSOCIATION
CITY OF              LATINO COMMUNICATIONS INC.    SUN CAPITAL CORP
TILLAMOOK-
LICENSES
CITY OF TORONTO      LATINO LEADERSHIP COUNCIL     SUN LIFE AND HEALTH
                                                   INSURANCE COMPANY
CITY OF TUCSON       LATINO TAX PROFESSIONALS      SUN LIFE AND HEALTH
                     ASSOCIATION                   INSURANCE COMPANY
CITY OF UNION        LA-TOYA MACLEOD               SUN LIFE ASSURANCE
                                                   COMPANY OF CANADA
CITY OF UNION CITY   LATOYIA DENNIS & COMPANY      SUN MEDIA
CITY OF UTICA        LAU FU, LLC                   SUN SENTINEL
CITY OF VACAVILLE-   LAU, JOE                      SUN SOOK KIM
LICENSE
CITY OF VALDOSTA     LAUCKS & SPAULDING, INC.      SUN TRUST BANK
CITY OF VALLEJO      LAURA AVILES CARRO            SUN WHEELERS, INC.
CITY OF VIRGINIA     LAURA AVILES CARRO            SUN, LAI
BEACH
CITY OF VIRGINIA     LAURA BAILEY                  SUNBELT TEMPORARIES
BEACH - PAYROLL                                    AND CONTRACT
USE                                                SERVICES
CITY OF VIRGINIA     LAURA CHASE                   SUNCOAST LOCK &
BEACH - UTILITIES                                  TROPHIES
CITY OF VIRGINIA     LAURA LEE LYONS               SUNDANCE
BEACH                                              INTERNATIONAL EVENTS
(CONVENTION                                        INC.
CENTER)
CITY OF VIRGINIA     LAURA R JEANNOTTE             SUNDAY TIMES
BEACH ECONOMIC
DEVELOPMENT
CITY OF VIRGINIA     LAURA STEPHENSON              SUNLAND, LLC
BEACH, TREASURER
CITY OF VIRGINIA     LAURASTEEN JONES              SUNNY 101.9/ KBTO-FM
BEACH-LICENSES
CITY OF VIRGINIA     LAUREL ELECTRONICS            SUNNY-LEA TINKLER-
BEACH-PASSPORT                                     STALFORD
CITY OF VIRGINIA     LAURELHURST APARTMENT         SUNRISE PLAZA
BEACH-PPT            COMPANY                       ASSOCIATES LP
CITY OF VISALIA-     LAURELHURST APARTMENT         SUNSET WEST
UTILITY              COMPANY-DO NOT USE            INVESTIGATIONS
CITY OF VISTA -      LAUREN AUGER                  SUNSHINE COAST CREDIT
LICENSE                                            UNION
CITY OF              LAUREN MARTIN                 SUNSHINE JUNK
WASHINGTON                                         REMOVAL LTD.
COURT HOUSE
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CITY OF WEIRTON      LAURETTE TREMBLAY             SUNSHINE
                                                   MAINTENANCE AND
                                                   REMODELING
CITY OF WHEAT        LAURIE CALVERLEY              SUNTRUST BANK
RIDGE-LICENSES                                     (CORPORATE CREDIT
                                                   CARD)
CITY OF WHITEVILLE   LAURIE COLLINS                SUNTRUST BANK-
                                                   COMMERCIAL CREDIT
                                                   SVCS
CITY OF WINDER       LAURIE CORMIER                SUNTRUST CAPITAL
                                                   MARKETS, INC.
CITY OF WINDSOR      LAURIE LASHBROOK              SUNTRUST ROBINSON
                                                   HUMPHREY
CITY OF WINNIPEG     LAURINBURG SHOPS LLLP         SUPER SYSTEMS,
                                                   INCORPORATED
CITY OF WINSTON-     LAV, TY                       SUPERINTENDENT OF
SALEM REVENUE                                      FINANCIAL SERVICES
DIVISION
CITY OF WINTER       LAW OFFICE OF CHRISTINE N     SUPERIOR EXECUTIVE
GARDEN               FAILEY, P.A                   TRANSPORTATION
CITY OF WYOMING -    LAW OFFICE OF LAWERENCE A     SUPERIOR
UTILITIES            LEVINSON, P.C                 INVESTIGATIVE
                                                   SERVICES
CITY OF WYOMING-     LAW OFFICES OF ANDREW         SUPERIOR RECYCLE
PPT                  BECKER, P.L.C                 CENTRE INC.
CITY OF YUKON        LAW OFFICES OF CARL KHALIL    SUPERIOR SECURITY
                     AND SADA SHELTON
CITY PUBLIC          LAW OFFICES OF DUNN &         SUPERIOR SECURITY
SERVICES             PHILLIPS, P.C                 SERVICES
CITY TREASURER       LAW OFFICES OF KEVIN MURPHY   SUPERIOR SERVICES-
                                                   COLUMBUS
CITY TREASURER       LAW OFFICES OF NATALIE LUTZ   SUPERMEDIASTORE.COM
                     CARDIELLO
CITY TREASURER,      LAWANNA HASSAN                SUPREME BASIC
SAN DIEGO-
BUSINESS TAX
CITY TREASURER-      LAWLINE.COM                   SUPREME COURT
COLUMBUS INCOME                                    APPELLATE DIV.
TAX
CITY WATER LIGHT     LAWRENCE CRAWFORD             SUPREME COURT OF
& POWER                                            FLORIDA
CITY-COUNTY TAX      LAWRENCE HANDYMAN SERVICE     SUPRIYA GOUR
COLLECTOR-
CHARLOTTE NC
CITYMARK             LAWRENCE MILLER (LARRY)       SURAJ JAGTAP
PROPERTIES, LLC
CITYTV               LAWRENCE RUBIN                SUREN MAHARAJ
CJCD RADIO LTD.      LAWRENCE SIGN                 SURESITE
CJIJ RADIO/C99 FM    LAWTON WONG                   SUREWEST -ACCT# 104340
CJMX-FM              LAWYER'S STAFFING, INC.       SURFMYADS.COM
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CJMX-FM             LAWYERS TITLE INSURANCE         SURGENT MCCOY CPE,
                    CORPORATION                     LLC
CJRQ-FM             LAWYERS USA                     SURI
CKDK FM             LAWYERS WEEKLY INC.             SURPLUS LIQUIDATOR
CKDX FM (FOXY)      LAWYERS WEEKLY, INC. - DO NOT   SURROUND INTEGRATED
                    USE
CKDX-FM             LAZELLE MINI STORAGE LTD        SURRY COUNTY
                                                    REGISTER OF DEEDS
CKGY/CIZZ RADIO     LAZERSON, SCOTT                 SUSAN BOWEN
CKKN-FM             LB RADIO OF CHATTANOOGA         SUSAN BRUYERE
CKLQ-FM             LBC CAPITAL                     SUSAN CURTIN
CKOV & CKLZ FM      LBD PROPERTIES LLC              SUSAN DOWAN
CKPC AM             LC DORTCH ENTERPRISES LLC       SUSAN E VERGADOS
CKPG TELEVISION     LC"S SIGN CREATIONS             SUSAN FERNER
LTD
CKRW                LD LOWER HOLDINGS, INC          SUSAN FYKE
CKRW 96.1FM         LDC ENTERPRISES, LLC            SUSAN GERIGS
CKSW 570            LEAD SCIENTIST, LLC             SUSAN GULLIXSON
CKUE FM (95.1)      LEADER NEWS                     SUSAN K. WATERMAN
CLAIBORNE, JACKIE   LEADS2RESULTS, INC.             SUSAN KNOX
CLARA HELAL         LEADSRX, INC.                   SUSAN MCILVRIDE
CLARA STRONGOLI     LEAF CHRONICLE                  SUSAN MILNER
CLARENCE COPAN      LEAH JEWELL                     SUSAN PEPPER
CLARENCE HALLE      LEAH MCLAUGHLIN                 SUSAN STEVENS
CLARENCE HUGHES     LEAH TAYLOR                     SUSAN SWALES
CLARION HOTEL       LEAMON F. COUCH, JR.            SUSAN TANNER
CLARION HOTEL SAN   LEAMON F. COUCH, JR. FAMILY     SUSANA KLASSEN
FRANCISCO AIRPORT   LLC
CLARION SUITES-     LEANDRO FATTORI                 SUTHERLAND ASBILL &
COLLEGE PARK GA                                     BRENNAN LLP
CLARITY CREDIT      LEANNE GUDGEON                  SUTHERLIN REAL ESTATE
CORP. 98789                                         HOLDINGS LLC
CLARK COUNTY        LEAPFROG INTERACTIVE            SUTHERLIN SANITARY
                                                    SERVICE
CLARK COUNTY        LEARNING TREE INTERNATIONAL     SUVAM MAITY
ASSESSOR
CLARK COUNTY        LEASE FLORIDA HIALEAH LLC       SUZANNE CRITES
TREASURER
CLARK, DAN          LEASEFLORIDA LINDO LLC          SUZANNE GUITAR-FAJTA
CLARK, MARK         LEBCON ASSOCIATES               SUZETTE RESENDES
CLARK, RON          LECLAIR RYAN                    SWADESH ENTERPRISES,
                                                    INC.
CLARKSVILLE         LEE & TRAN RE: JTH V            SWAIN BROS.
DEPARTMENT OF       TRAVELER'S
ELECTRICITY
CLARKSVILLE GAS &   LEE COUNTY REGISTER OF DEEDS    SWAN CITY HOCKEY
WATER                                               ASSOCIATION
DEPARTMENT
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CLASSIC TRAVEL       LEE COUNTY TAX COLLECTOR      SWAN DUST CONTROL
CLAUDE ANTONELLI     LEE COUNTY TAX COLLECTOR      SWD, LLP
CLAUDE NEON          LEE COUNTY TAX COLLECTOR-     SWEENEY, TERESA
FEDERAL SIGNS, INC   PPT
CLAUDE ST GERMAN     LEE ENTERPRISES OF            SWETHA ALLURI
                     MADISONVILLE
CLAUDETTE            LEE FAIN                      SWETSKY, ERIC
BOURGON
CLAVERIE-GUDINO,     LEE H LONGSTREET JR           SWF INVESTMENTS, LLC
GRETA
CLAY A. HARTMANN     LEE HECHT HARRISON            SWIFTPAGE ACT!, LLC
CLAY HEPBURN'S       LEE MECHANICAL, INC           SWIFTPAGE E
ELECTRICAL
SERVICES
CLAY PLAZA           LEE SALTER                    SWIGART LAW GROUP
INVESTORS, LLC                                     APC
CLAYTON S.           LEE TRAN & LIANG              SWISHMAIL.COM
MORROW, P.C.
CLEAN 4 ME           LEE WING YEE                  SWISS HAMILTON
CLEAN AIR CONCEPT,   LEE, RICK                     SYCOM TECHNOLOGIES,
LLC                                                LLC
CLEAN AND CARE       LEEA SAWYER                   SYDNEY R STONE & CO.
SERVICES                                           LTD
CLEAN STREAK         LEE-ANN EDWARDI               SYDNEY R. MICHAEL
SERVICES                                           INVESTIGATIONS
CLEANMAX             LEE-ANN ZBOYOVSKY             SYDNEYSTONE
                                                   PRINTFINISHING
CLEAR CHANNEL        LEES TAX CITY                 SYED ZAIDI
CLEAR CHANNEL        LEGACY LIMOUSINE & LUXURY     SYKES, RICHARD
                     COACHES, LLC
CLEAR CHANNEL -      LEGAL ASSISTANT TODAY         SYKES,BOURDON,AHERN
ATLANTA                                            & LEVY PC
CLEAR CHANNEL -      LEGAL DOC MGMT. INC.          SYLVAN ASSOCIATES
ATLANTA - POB
406066
CLEAR CHANNEL -      LEGAL EAGLE                   SYLVANA SHEWBRIDGE
BISMARCK ND
MARKET
CLEAR CHANNEL -      LEGAL LOCKSMITH               SYLVIA CLARKE
DALLAS
CLEAR CHANNEL -      LEGAL PRIVATE DETECTIVES      SYLVIA MALLEY
DALLAS
CLEAR CHANNEL -      LEGAL SHIELD                  SYLVIA SN JACQUE
FARGO
CLEAR CHANNEL -      LEGENDS HOSPITALITY LLC       SYLVIA SOUSA
MANKATO
CLEAR CHANNEL -      LEGENDS MUSIC LLC             SYLVIE BERTRAND
NORFOLK
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CLEAR CHANNEL -      LEIF DRUMMOND                 SYMANTEC
OKC                                                CORPORATION
CLEAR CHANNEL -      LEIGH ANNE HUBLEY             SYNC STREAM
RICHMOND                                           SOLUTIONS, LLC
CLEAR CHANNEL -      LEIGHTON BROADCASTING         SYNDICUS LLC
ROCHESTER
CLEAR CHANNEL -      LEIGHTON ENTERPRISES INC.     SYNDICUS LLC
WHITEHALL PA
CLEAR CHANNEL        LEILA REYNOLDS                SYNERFAC
BROADCASTING
CLEAR CHANNEL        LEISHA BROYDELL               SYNERGY TECHNICAL
BROADCASTING
CLEAR CHANNEL        LEJEUNE, TINA B.              SYNOVUS BANK
BROADCASTING
CLEAR CHANNEL        LELLAND PEASE                 SYSFOB
BROADCASTING
CLEAR CHANNEL        LEN NIGHSWANDER               SYSTEMS C S SERVICES
BROADCASTING -                                     INC
CHICAGO
CLEAR CHANNEL        LENHART-FRAUENBERG            SYX, ZACK
BROADCASTING -       PARTNERSHIP, LLP
KHTS
CLEAR CHANNEL        LENHART-FRAUENBERG            T GORDON WYLLIE REAL
BROADCASTING         PARTNERSHIP, LLP              ESTATE LIMITED
INC.- CHICAGO
CLEAR CHANNEL        LENORE WHITE                  T& C TAX SERVICES LLC
BROADCASTING, INC.
- PITTSBURGH
CLEAR CHANNEL        LENY ASHTON                   T&C TAX SERVICES LLC
BROADCASTING-
SPRINGFIELD MA
CLEAR CHANNEL        LEO CECANTI                   T&C TAX SERVICES, LLC
BROADCASTING-
WICHITA FALLS
CLEAR CHANNEL        LEO DEUBROUCK                 T&T COURIER AND
COLUMBUS                                           TRUCKING
CLEAR CHANNEL        LEO DEURBROUCK                T. STEPHENS JOHNSON &
COMMUNICATIONS -                                   ASSOC. INC.
847567
CLEAR CHANNEL        LEONA NICOLETTI               TA/BANDERA II LTD
COMMUNICATIONS -
FRESNO
CLEAR CHANNEL        LEONA NIXON                   TA/BANDERA II, LTD
COMMUNICATIONS -
WUBT
CLEAR CHANNEL        LEONA WALLACE                 TABITHA SOLOMON
COMMUNICATIONS-
DETROIT
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CLEAR CHANNEL     LEONARD DYCK                    TACOMA PUBLIC
COMMUNICATIONS,                                   UTILITIES
INC. KSME
CLEAR CHANNEL-    LEONARD GRACEFFO                TAD'S DELI
DALLAS
CLEAR CHANNEL-    LEONARD HENDERSON               TAG-INK, INC.
DAVENPORT
CLEAR CHANNEL     LEONARDO LUCIER                 TAINA CONSULTING-
JACKSONVILLE                                      OLGA ROENA
CLEAR CHANNEL     LEONARDUS ARENDS                TAKE 5 SOLUTIONS
MINNEAPOLIS
CLEAR CHANNEL     LEOPOLDO ROCHA                  TAKE A LEAP OF FAITH
OUTDOOR, INC.                                     INC.
CLEAR CHANNEL     LEPCO HOME IMPROVEMENTS         TALBOT MARKETING
OUTDOOR-MEMPHIS
CLEAR CHANNEL     LEPKOWSKI, MIKE                 TALENTWISE SOLUTIONS,
RADIO                                             LLC
CLEAR CHANNEL     LEPKOWSKI, STEVEN               TALENTWISE, INC
RADIO
CLEAR CHANNEL     LERCO ELECTRIC, LLC             TALENTWISE-DONT USE
RADIO
CLEAR CHANNEL     LERMA ADVERTISING LLC           TALK BUSINESS START-
RADIO                                             UPS
CLEAR CHANNEL     LEROY SEBASTIAN SMIKLE-         TALK MEDIA
RADIO             MITCHELL
CLEAR CHANNEL     LES SERVICES, INC.              TALKPOINT
RADIO                                             COMMUNICATIONS
CLEAR CHANNEL     LESKO, JOHN                     TALL GRASS PUBLIC
RADIO                                             RELATIONS INC
CLEAR CHANNEL     LESLEE DERRICK                  TALLEY SIGN COMPANY
RADIO -
CHATTANOOGA
CLEAR CHANNEL     LES-LEV CORP.                   TALLWOOD DRAMA
RADIO - GRAND                                     BOOSTER, INC.
FORKS
CLEAR CHANNEL     LESLEY BIDUKE                   TALLY- ANCHOR SIGN
RADIO - GRAND                                     CO.
RAPIDS
CLEAR CHANNEL     LESLIE BILLINGS                 TALLY-HO DISTRIBUTING
RADIO - JACKSON                                   CO LTD
CLEAR CHANNEL     LESLIE EDMONDS                  TALON DETECTIVE
RADIO - KIIS-FM                                   AGENCY INC.
CLEAR CHANNEL     LESLIE ELIEFF                   TALX CORPORATION
RADIO - WGCI-FM
CLEAR CHANNEL     LESLIE FOX                      TAM OSHANTER PLAZA
RADIO - WKQI
CLEAR CHANNEL     LESLIE GAIL TRENSHAW            TAM TRUST, PATRICK W.
RADIO                                             Y.
KIFS/KZZE/KRWQ
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CLEAR CHANNEL          LESLIE HICKEY                   TAMARA DICKISON
RADIO OF DES
MOINES
CLEAR CHANNEL          LESLIE LESSING                  TAMARA GAVRIS
RADIO-ANCHORAGE
CLEAR CHANNEL-         LESLIE O'BRIEN                  TAMAS PFEIFFER
RICHMOND
CLEAR CHANNEL-         LESLIE VASCONEZ                 TAMER CHRISTO DBA
ROCHESTER, MN                                          PCS, INC.
CLEAR CHANNEL          LESLIE WOODBECK                 TAMINA ARISEMS
SEATTLE
CLEAR CHANNEL-         LEUNG, MARGARITA                TAMIRA ANSEMS
VICTORIA
CLEAR CHANNEL          LEVI SMITH                      TAMMIE CRONE
WORLDWIDE
CLEAR CHANNEL,         LEVINCENT SUTTON                TAMMY BARDAWILL
NORFOLK 139
CLEAR COMMERCE         LEVINE & LEVINE                 TAMMY BATES
CORPORATION
CLEAR COMPANY,         LEVINE, ANDREA                  TAMMY DELOACH
LLC
CLEAR LAW              LEVINSKY ELECTRIC, INC.         TAMMY GERVAIS
INSTITUTE
CLEARFIELD CITY,       LEVITES REALTY MANAGEMENT,      TAMMY MAHONEY
UT                     LLC
CLEARFIELD TOWN        LEVY SHOW SERVICE               TAMMY ROOTH
SQUARE LLC
CLEARINGHOUSE,         LEVY, PETER                     TAMMY SCHELL
ATLAS # 000648793900
CLEARVIEW              LEVY, ROBERT                    TAMMY THERIAULT
EXTERIOR CLEANING
SOLUTIONS, LLC
CLEBURNE NEWS          LEWIS BRISBOIS BISGAARD &       TAMMY VIGEN
                       SMITH LP
CLEMONS COURIER        LEWIS- HAYNE, BEVERLY           TAMMY WRIGHT
CLERK - SUPREME        LEWIS WEATHERL                  TAMPA BAY
COURT OF VIRGINIA                                      INTERCONNECT
CLERK AND MASTER       LEWIS, C. JAMES                 TAMPA BAY
                                                       INVESTIGATIONS
CLERK OF               LEWIS, DAN                      TAMPA EMPLOYMENT
CHANCERY                                               GUIDE
CLERK OF SUPERIOR      LEWIS, KING, KRIEG & WALDROP.   TAMPA TRIBUNE
AND STATE COURTS       P.C.
CLERK OF SUPERIOR      LEWIS, SAM                      TAN, HSING
COURT HENRY
COUNTY
CLERK OF THE           LEWIS-BROADNAX, BEVERLY         TANCRETO, JOHN
CIRCUIT COURT
CLERK OF THE           LEXACOM                         TANDEM/SARASOTA
COURT
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CLERK OF THE           LEXADIGM SOLUTIONS, INC.     TANGUAY MAGILL
DISTRICT COURT                                      AMERICAN LEGION POST
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CLERK OF THE STATE     LEXINGTON-FAYETTE URBAN      TANIA TECCHI
CORPORATION            COUNTY GOVERNMENT
CLERK, HAMILTON        LEXIS PUBLISHING             TANIA TILLEY
COUNTY CIRCUIT
COURT
CLERK, U. S.           LEXISNEXIS DOCUMENT          TANISHA PHILLIPS
DISTRICT COURT         SOLUTIONS
CLERK, U.S. DISTRICT   LEXISNEXIS, INC              TANQUE VERDE RANCH
COURT
CLERK, UNITED          LF2 COMMERCE CITY LP         TANVEE PAI
STATES COURT OF
APPEALS
CLERK, VA BEACH        LG&E01                       TANVENTURE, LLC
CIRCUIT COURT
CLERK,                 LGB PROPERTIES, LLC          TANYA MYERS
VANDERBURGH
SUPERIOR COURT
CLIFF PARKER AND       LH HOLDINGS ONTARIO LTD.     TANYA NEIL
ASSOCIATES, INC
CLIFFORD BELL          LI, LUYAN                    TANYA NICKLES
CLIFFORD               LIANNE M SMITH               TANYA PANAMICK
BIRNBAUM - DO NOT
USE
CLIFFORD D. BELL       LIAO & ASSOCIATES            TAP TITLE ABSTRACT CO.
CLIFF'S CHECK          LIB A&M LLC-ROBERT MELGAR    TAPASTATE LLC
CASHING STORES
INC
CLIFTON G. WHITT       LIBERTY ALARMS               TAPES PLUS
                                                    ADVERTISING
CLIFTON G. WOOD        LIBERTY BOWL FESTIVAL        TAPIS RICHARD RANGER
                       ASSOCIATION                  CARPET, INC
CLINE, STEVE           LIBERTY COUNTY TAX           TAPSCO ALARMS -
                       COMMISSIONER                 WHITBY
CLINT BENSON           LIBERTY DIXON CENTER, LTD.   TAPSCO ALARMS
                                                    LIMITED - OSHAWA
CLINTON                LIBERTY HEALTH EXCHANGE      TARA CHAPMAN
INVESTIGATIONS,
LLC
CLINTON PRINTING       LIBERTY LANDHOLDINGS, LLC    TARA ENERGY
OF ROCHESTER INC
CLINTON SAWATZKY       LIBERTY TAX SERVICE          TARA GOODNAUGH
CLIPPER MAGAZINE       LIBERTY TAX SERVICE          TARA MCMILLAN DBA
                                                    DEBRIZ VARNISH
                                                    PROPERTY CLEANUP
CLOCKWORK              LIBERTY TAX SERVICE          TARA NUGENT
PRODUCTIONS INC.
CLOUD 9 VOIP           LIBERTY TAX SERVICE          TARA RUSHLOW
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CLOUD CATERING      LIBERTY TAX SERVICE             TARA SORRELL
CLOUD, BERTHA       LIBERTY TAX SERVICE             TARA VIRGOE
CLPF-CLAIREMONT     LIBERTY TAX SERVICE - JAMES     TARGET DIRECT
MESA LP             BURKE
CLS MECHANICAL,     LIBERTY TAX SERVICE - KATHY     TARGET INFORMATION
INC.                PONTE                           SERVICES
CLUB KRYSTAL DE     LIBERTY TAX SERVICE - SCOTT &   TARGUS INFO
GYMNASTICS          NAOMI BLACK
CLUB SOFTWARE       LIBERTY TAX SERVICE - SCOTT     TARIQ SHAIKH
                    SHRADER
CLUTTER             LIBERTY TAX SERVICE #3958       TARLAN YAZDANI
INVESTIGATIONS,
BILL
CLV GROUP INC       LIBERTY TAX SERVICE- ANTONIO    TARR, KATHY
                    VARGAS
CLYDE MCKEEN        LIBERTY TAX SERVICE OF NEW      TARRYMORE SQUARE
(OSHAWA)            MEXICO
CM & Z HOLDINGS,    LIBERTY TAX                     TASCONA, PATRICK
LLC                 SERVICE/MCCARTNEY
CM MUSIC COMPANY    LIBERTY TAX SERVICE/RAY         TASHA SIMPSON
INC.                NOLMAN
CM&2 HOLDINGS,      LIBERTY TAX SERVICE-4128        TASK-CO BUILDING
LLC                                                 MAINTENANCE
CMG HOLDINGS, LLC   LIBERTY TAX SERVICE-CAPITAL     TATINA M TUCKER
                    ONE
CML GROUP INC.      LIBERTY TAX SERVICE-FRANK       TAUNTON MUNICIPAL
                    GRIM                            LIGHTING PLANT
CMM PROPERTIES      LIBERTY TAX SERVICE-NET SPEND   TAWNY A SCHNEIDER
                    ACCT.
CMZ HOLDINGS LLC-   LIBERTY TAX SERVICE-SANDRA      TAX ANALYSTS
DO NOT USE          HENRY
CNA INSURANCE       LIEBERT GLOBAL SERVICES         TAX COLLECTOR, CITY
COMPANIES                                           OF NORWALK CT
CNC COMMERICAL      LIFE INSURANCE COMPANY OF       TAX COLLECTOR,
REAL ESTATE, INC    NORTH AMERICA-CIGNA             GARLAND COUNTY
CNS-THIS WEEK       LIFE MATTERS INTERNATIONAL,     TAX DISTRICT
                    INC.                            LEXINGTON-FAYETTE
                                                    URBAN COUNTY
                                                    GOVERNMENT
COAST COMPUTER      LIFECARE                        TAX ENGINE.COM, INC.
SERVICES
COAST PUBLISHING    LIFELOCK, INC                   TAX FREEDOM FIGHTERS
LTD.
COAST REPORTER      LIFESTYLE 360, INC.             TAX HEROES LLC- RALPH
                                                    LOWTHER
COASTAL AREA        LIFESTYLE MEDIA WORLDWIDE       TAX MATERIALS INC
HEALTH
COASTAL CAROLINA    LIFT CAPITAL VENTURES LLC       TAX SWAMIS LLC
RADIO
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COASTAL CURRENCY    LIGHTHOUSE LIST COMPANY        TAXATION AND REVENUE
SERVICES, INC.                                     DEPARTMENT
COASTAL FIRE        LIGHTHOUSE SERVICES, INC.      TAXATION AND REVENUE
PROTECTION CO.                                     DEPT.
COASTAL SPORTS &    LIGHTS OF LAS VEGAS, INC.      TAX-FILER
ENTERTAINMENT,                                     EMPOWERMENT CANADA
INC.
COBB                LILCRIS INDUSTRIES LIMITED     TAXME LLC
INVESTIGATIVE
SERVICES INC
COBBLE HILL         LILIIA SITNYKOVA               TAXPAYER SERVICES
COMPUTERS                                          DIVISION (GA)
COCCA HOLDINGS II   LILLIAN VELASQUEZ HILLMAN      TAYLOE ASSOCIATES,
LLC                                                INC.
COCCA HOLDINGS II   LILLY KOVACEVIC                TAYLOE ASSOCIATES,
LLC                                                INC.
CODE COMPLETE       LILLY PLIAKES                  TAYLOR AND
SOFTWARE, INC DBA                                  ZIEGENBEIN
JETBRAINS AMERICA
COE COMPANY         LILY BEGG                      TAYLOR CORPORATION
COFFEE NEWS OF      LILY SCHWARTZ (#9118)          TAYLOR DOCUMENT
SIOUX FALLS                                        MANAGEMENT
COGENCY GLOBAL      LIMELIGHT COMMUNICATIONS       TAYLOR MADE GROUP
INC.                GROUP, INC                     ENTERTAINMENT
COGENCY GLOBAL      LIN ANDY                       TAYLOR RESEARCH &
INC.                                               INVESTIGATION
COGENT HOLDINGS-    LIN PLAZA LLC                  TAYLOR SOFTWARE, INC
1, LLC
COHEN AND MALAD,    LIN TELEVISION CORPORATION     TAYLOR, AL
P.C.
COLDWELL BANKER     LINA SHRAMKO                   TAYLOR, BILLY & PATTY
HARBOUR REALTY
COLEMAN             LINCOLN FINANCIAL MEDIA        TAYLOR, JOHANNA
LOCHMILLER &        GROUP OF COLORADO
BOND
COLIN ALEXANDER     LINCOLN PLAZA ASSOCIATES LLC   TAYLOR, KELLYE
COLIN HOLMES        LINCOLN SUNRISE LLC            TAYLOR, MARGARET
COLIN VINEHAM       LINDA A BURNS                  TAYLOR, MARGARET H
COLISEUM CENTRAL    LINDA BAILEY                   TAYLOR, PAUL
COLISEUM FF, LLC    LINDA BOT                      TAYLOR, RENAULTA
COLLABORATIVE       LINDA D. JOLLY                 TAYLOR, SPENCER
MARKETING GROUP,
INC.
COLLABORATIVE       LINDA DALTON                   TBB LONG NECK LLC
RESEARCH
SOLUTIONS, INC.
COLLECTCORP INC.    LINDA DI PAOLO                 TCS CORPORATE
                                                   SERVICES
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COLLECTION          LINDA DZYDZ                    TD BANKNORTH, N.A.
ADVISOR MAGAZINE
COLLECTION          LINDA E KWOUN                  TD HOLDING LLC
TECHNOLOGY, INC.
COLLEEM LLOYD       LINDA FERLATTE                 TDI DYNAMIC CANADA
COLLEEN GAGNE       LINDA HUGHES                   TDI LLC- MSP DESIGN
                                                   GROUP
COLLEEN LLOYD       LINDA JULIEN                   TDI TRANSPORTATION
                                                   DISPLAY INC
COLLEEN LUNN        LINDA KOZLOWSKI                TDWI REGISTRATION
COLLEEN MINOR       LINDA KWOUN & YOUNG JA         TEA MEDIA
                    KWOUN                          MANAGEMENT
COLLEENE JACK       LINDA LAFANTAISIE              TEAGLE & LITTLE
                                                   PRINTING
COLLEGE PARK        LINDA MAY WILLIAMS             TEAM SANDTASTIC
SQUARE
ASSOCIATES, LLLP
COLLETTE BEACH-     LINDA MCGILL                   TEAMMATES MENTORING
FISER MEMORIAL                                     PROGRAM OF COUNCIL
FUND                                               BLUFFS
COLLEY, JOHN        LINDA MORRIS                   TEAMVIEWER GMBH
COLLIER COUNTY      LINDA SCHULER                  TECH CONFERENCE INC.
TAX COLLECTOR -
LICENSE
COLLIERS            LINDA TRIDER                   TECHINN 360
ARKANSAS INC
COLLIERS            LINDA TURNER                   TECHNICAL
INTERNATIONAL                                      REGISTRATION EXPERTS
COLLIERS            LINDA WILLIAMS                 TECHNIQUE MFG
MACAULAY NICOLLS
INC.
COLLIERS PRATT      LINDENMEYR MUNROE              TECHNIQUE, THE
MCGARRY
COLLINS, OTIS       LINDMARK OUTDOOR               TECHREPUBLIC
                    ADVERTISING
COLLOGO             LINDSAY SARAZIN-COTE           TECO
NETWORKS, INC.
COLONIAL CORNER     LINDSEY & PORSHA BLEASDILLE    TECO
LLC
COLONIAL FOODS,     LINDSEY STRACEY                TECO-21218
LLC
COLOR GRAPHICS OF   LINDY SILVER                   TED DORNEY
VA BEACH
COLORADO            LINGOTEK, INC                  TED LAGMAN
DEPARTMENT OF
LABOR &
EMPLOYMENT
COLORADO            LINK SYSTEMS, INC              TEDD YURIK
DEPARTMENT OF
LAW
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COLORADO             LINKEDIN CORPORATION          TEENA FRENCH
DEPARTMENT OF
TREASURY-UCP
COLORADO DEPT OF     LINN COUNTY TAX COLLECTOR     TEJAS SHINDE
REVENUE
COLORADO             LINNENBRINK CONSTRUCTION      TEK SYSTEMS
SECRETARY OF
STATE
COLORADO SPRINGS     LINWOOD SHOPPING CENTER       TEKGUARD IT SOLUTIONS
SKY SOX BASEBALL     INITIATIVE, LLC
COLORCRAFT OF        LIONEL GAUTHIER               TEKSAVVY
VIRGINIA, INC
COLTON WALLACE       LIONS BALL HOCKEY CLUB        TEKSHARK, INC
COLUMBIA GAS OF      LIONSTING, INC                TEL-E CONNECT
MA                                                 INVESTMENTS LTD.
COLUMBIA GAS OF      LIPARI RENTALS                TELEGRAPH HERALD
OHIO-KY
COLUMBIA GAS OF      LIPKIN-MOLINAR LLC            TELEMUNDO ODESSA-
OHIO-OH                                            MIDLAND
COLUMBIA GAS-4629    LIPSON MANAGEMENT             TELEPHONE & MAIN
                                                   ASSOCIATES, LLC
COLUMBIA GAS-        LISA ARKSEY                   TELEPHONE DOCTOR
742510
COLUMBIA             LISA BAKER                    TELL-A-PHONE GUY
PROPERTIES
VENTURES V, LLC
COLUMBIA STATE       LISA ERICKSON DBA LHE         TELLIGENT
BANK                 ADVERTISING
COLUMBINE CENTER     LISA GRONDIN                  TELLY AWARDS
ASSOCIATES, LLC
COLUMBINE CENTER     LISA HALL                     TELNET
ASSOCIATES, LLC                                    COMMUNICATIONS
COLUMBUS AREA        LISA K. COPE,                 TELUS
CHAMBER OF                                         COMMUNICATIONS-
COMMERCE                                           VANCOUVER
COLUMBUS BLUE        LISA LARSEN                   TELUS MOBILITY
JACKETS
COLUMBUS CITY        LISA LAVOIE                   TELUS-BURLINGTON
TREASURER
COLUMBUS             LISA LIGHTFOOT                TEMPLE TERRACE
DISPATCH - 3RD ST.                                 ASSOCIATES, LLC.
COLUMBUS             LISA R OWEN                   TENAMARIE HAWK
DISPATCH - DO NOT
USE
COLUMBUS             LISA REHEL                    TENDER HEARTS
EMPLOYMENT NEWS                                    PROPERTIES, LLC.
COLUMBUS WEST        LISA SIAKALUK                 TENERY, TERRY L.
JOINT VENTURE
COLVIN. JAMES        LISA SNELGROVE                TENGCHONG
                                                   INVESTMENT INC
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COMAX VALLEY          LISA SOCH                       TENNESSE DEPT OF
ECHO                                                  REVENUE
COMBS, NANCY          LISA SODERLUND                  TENNESSEE AMERICAN
                                                      WATER
COMCAST - POB 840     LISA TAYLOR                     TENNESSEE CHILD
                                                      SUPPORT
COMCAST               LISA WARREN                     TENNESSEE DEPART. OF
ADVERTISING SALES-                                    REVENUE-INACTIVE
MD
COMCAST               LISA WRIGHTMAN-DAVIDSON         TENNESSEE
ADVERTISING SALES-                                    DEPARTMENT OF
PA                                                    REVENUE
COMCAST               LISA YAKELEY                    TENNESSEE HIGHER
ADVERTISING SALES-                                    EDUCATION COMMISSION
PA
COMCAST BUSINESS-     LISTK, LLC                      TENNESSEE PROCESS
60533                                                 SERVICES CORP.
COMCAST BUSINESS-     LITE-WAY ELECTRIC LTD           TENNESSEE SECRETARY
70219                                                 OF STATE
COMCAST-3001          LITHERLAND, WILLIAM             TENNESSEE-AMEICAN
                                                      H2O CO.
COMCAST-3002          LITORGICAL PUBLICATONS, INC     TENNEY MEDIA GROUP
COMCAST-3005          LITTLE FIVE POINTS COMMUNITY    TERAGO NETWORKS INC.
                      CENTER
COMCAST-34744         LITTLE ROCK INSURANCE           TERASEN GAS
                      AGENCY INC
COMCAST-37601         LITTLE ST GEORGE                TERESA A SPARKS
COMCAST-530098        LITTLE, DARREN                  TERESA CELEBRE
COMCAST-530099        LIVE NATION WORLDWIDE, INC.     TERESA M BRASHEARS
COMCAST-660618        LIVING WATER FIRE PROTECTION,   TERESA MILLS
                      LLC
COMCAST-71211         LIVING WATER RESORTS            TERESA RICHARDSON
COMDOC INC - 41602    LIVINGSTON, SHARON              TERESA ROULETTE
COMDOC INC - 932159   LIZCANO LLC                     TERESA SENATORE
COMED                 LJ BROBST RENOVATIONS           TERESA WATTERS
COMED                 LKMT ENTERPRISES, INC.          TERESA WEBB
COMED - 6111          LLORENS, ALFREDA J.             TERESA YOUNG
COMFORT SERVICES,     LLOYD & TAYLOR MORTGAGE         TERESA'S HOME SEWING
INC                   LLC
COMFORT               LLOYD AND PEGGY SCHAFER         TERMINIX
TELECOMMUNICATI                                       INTERNATIONAL
ONS INC                                               COMPANY LIMITED
                                                      PARTNERSHIP
COMFORT ZONE          LLOYD FRYHOVER                  TERRACE CURLING
SERVICES LTD                                          ASSOCIATES
COMMAND               LLOYD GRIGSBY                   TERRACE REALTY AND
INVESTIGATIONS                                        MANAGEMENT INC
LLC
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COMMAND             LM COMMUNICATION OF WV, LLC    TERRACOM
INVESTIGATIONS,
LLC
COMMERCIAL DOOR     LMVISUALS LLC                  TERRANCE KRYSAK
LLC
COMMERCIAL          LOCAL INTERNET LEADS           TERRANCE MCSWAIN
EXECUTIVES REAL
ESTATE SERVICES
COMMERCIAL          LOCAL PAGES OF OHIO LLC        TERRI BAHR
INVESTMENT
PROPERTIES INC
COMMERCIAL          LOCK & GO SELF STORAGE, INC.   TERRI GALLAN
INVESTMENT
PROPERTIES INC
COMMERCIAL          LOCKETT, BILL                  TERRI LYN HOCKEY
RECORDS CENTER -
EL PASO INC
COMMERCIAL          LOCKHART INDUSTRIES, INC.      TERRI MARSH
TULSA, INC.
COMMERICAL ROOF     LOCK-N-KEY STORAGE             TERRI SLAUNWHITE
MANAGEMENT, INC-
PROMENADE
COMMISIONAIRES      LODEROCK ADVISORS INC.         TERRI TELASCO
COMMISIONER OF      LOGAN CROSSING LLC             TERRILYN KAJANDER
FINANCE
COMMISSION          LOGAN CROSSING,LLC             TERRY BRIDGE DBA
JUNCTION                                           BRIDGE INVESTMENTS,
                                                   LLC
COMMISSIONER OF     LOGAN POWELL                   TERRY BROWN
REVENUE SERVICES
COMMISSIONER OF     LOGICIEL DR. TAX SOFTWARE,     TERRY ECKSTADT
REVENUE SERVICES-   INC.
CT
COMMISSIONER OF     LOGMEIN, INC.                  TERRY FINN
SECURITIES-HAWAII
COMMISSIONER OF     LOGO2GO                        TERRY HALLIGAN
TAXATION &
FINANCE
COMMISSIONER OF     LOGOS REAL ESTATE              TERRY LEE HARMON DBA
TAXATION AND        MANGEMENT LLC                  HARMON SIGNS LLC
FINANCE (NYS)
COMMISSIONER OF     LOGUE JR, EDWARD               TERRY LILLY
THE REVENUE-
NEWPORT NEWS
COMMISSIONERS OF    LOIS HAWKE                     TERRY MCCORMACK
PUBLIC WORKS
COMMIVESCO-         LOIS LOUGH                     TERRY NORTHRUP
LEVEINSON-VINER
GROUP INC.
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COMMODORE           LOKEY VENTURES, INC.           TERRY PECK SIGNS LTD.
REALTY
COMMON SPACE, LLC   LOLITO VILORIA                 TERRYN EVANS
COMMONWEALTH        LOMA VISTA ASSOCIATES, LLC     TERSIET WORKNEH
EXPRESS
COMMONWEALTH OF     LONDON DISTRICT ENERGY LP      TESLA ELECTRIC
MASSACHUSETTS                                      (WINDSOR) INC.
COMMONWEALTH OF     LONDON DRUGS LTD.              TEST VENDOR
MASSACHUSETTS(UC
P)
COMMONWEALTH OF     LONDON HYDRO                   TEST VENDOR - AMEX
PENNSYLVANIA
COMMONWEALTH OF     LONDON KNIGHTS HOCKEY          TETRO-TRONICS
PENNSYLVANIA
COMMONWEALTH OF     LONE STAR SIGNS                TEXAS COMPTROLLER OF
PENNSYLVANIA-                                      PUBLIC ACCOUNTS
UNCLAIMED PROP
COMMONWEALTH OF     LONESTAR PROPERTIES            TEXAS COMPTROLLER OF
PUERTO RICO                                        PUBLIC ACCOUNTS-
                                                   UNCLAIMED PROPERTY
COMMONWEALTH OF     LONG & FOSTER REAL ESTATE      TEXAS GAS SERVICE
VIRGINIA
COMMONWEALTH OF     LONG, MICHAEL                  TEXAS STATE
VIRGINIA-2478                                      COMPTROLLER
COMMONWEALTH OF     LONGFIELD CONSULTING LLC       TEXAS STATE
VIRGINIA-NOTARY                                    DISBURSEMENT UNIT
COMMONWEALTH        LONGFIELD, ROSS                TEXAS WORKFORCE
SAFE & SECURITY                                    COMMISSION
COMMONWEALTH        LONGSHIP CAPITAL LLC           THA PATIO SHOP
SIGN CO.
COMMUNICATION       LONNIE ROBERTS                 THALHIMER
BRIEFINGS                                          COMMERCIAL REAL
                                                   ESTATE
COMMUNICATION       LOOK COMMUNICATIONS            THANE FOWLER
PLANNING            INC./TELNET COMMUNICATIONS
CORPORATION
COMMUNIQUE INC      LOOK SIGNS                     THAT'S GREAT NEWS
COMMUNITY BANK      LOPEZ, ENID                    THE ABERDEEN
OF MANATEE                                         AMERICAN NEWS
COMMUNITY           LORAINE LOVER                  THE ACCOUNTING
BROADCASTERS, LLC                                  SOURCE
COMMUNITY           LORE VONMINNIGERODE            THE AIRDRIE ECHO
BROADCASTING
SERVICES
COMMUNITY DRUG      LORENA MENDOZA                 THE ALBERMARLE
ALERT                                              POTATO FESTIVAL
COMMUNITY           LORETTA SEYMOUR                THE ALS ASSOCIATION
FOUNDATION OF
GREATER
PETERBOROUGH
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COMMUNITY             LORI FORGRAVE                  THE AMERICAN MALL OF
OUTREACH                                             MEMPHIS, LLC
PROGRAM ERIE
COMMUNITY WAR         LORI HAVTUR                    THE ARIZONA REPUBLIC
VETERAN
COMOX VALLEY          LORI LYNN MACDONALD            THE ASCENDANT GROUP
ECHO
COMPANY 3/            LORIE CONTANT                  THE ASCENDANT GROUP,
METHOD INC                                           LLC.-DO NOT USE
COMPASS BANK          LORMAN EDUCATION SERVICES      THE ATLANTA JOURNAL-
                                                     CONSTITUTI
COMPASS GROUP         LORNA DYALL                    THE BALTIMORE SUN
CANADA
COMPASS               LORNE HEFFERTON                THE BARGAINS GROUP
TECHNOLOGY                                           LTD
GROUP, LLC
COMPDATA              LORNE MCCULLY                  THE BARNETT GROUP OF
SURVEYS DOLAN                                        MISSISSIPPI, LLC
TECHNOLOGIES
CORP.
COMPETITOR FIRE       LORRAINE GAUTHIER              THE BLOOR WEST
AND SAFETY                                           VILLAGER
COMPETITVE EDGE       LORRAINE GOMEZ                 THE BOSTON GLOBE
SERVICES, INC.
COMPLETE              LORRAINE GOOD                  THE BOTTOM LINE
COMMERCIAL
REPAIR, INC.
COMPLETE PAYMENT      LORRAINE HAMMOND               THE BREEZE
RECOVERY SERVICES
INC
COMPLETE              LORRI MCCOLGAN                 THE BRIDGEBUILDER
PRESERVATION                                         COMPANY
SERVICES, LLC
COMPLETE TAX AND      LORRI ROVERT                   THE BROOKS AND
BUSINESS                                             COUNTY CHRONICLE
SOLUTIONS
COMPLIANCEPOINT       LORRIEL THOMAS                 THE BROOKS BULLETIN
DM, INC.
COMPOLI JR., JOSEPH   LOS ANGELES BUSINESS JOURNAL   THE BUFFALO NEWS
R.
COMPONENET ONE        LOS ANGELES CONVENTION         THE BUREAU OF
                      CENTER                         NATIONAL AFFAIRS INC
COMPONENT ART         LOS ANGELES COUNTY -           THE BUSINESS & TAX
                      WATERWORKS DISTRICTS           CENTRE
COMPONENTS            LOS ANGELES COUNTY TAX         THE BUSINESS
ELECTRONIC            COLLECTOR                      EXCHANGE
SYSTEMS, LLC
COMPORIUM             LOS ANGELES DEPARTMENT OF      THE BUSINESS JOURNAL-
COMMUNICATIONS        WATER & POWER                  KANSAS CITY
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COMPTROLLER OF         LOS ANGELES REGISTRAR-         THE CADILLAC FAIRVIEW
MARYLAND               RECORDER/COUNTY CLERK          CORPORATION LIMITED
COMPTROLLER OF         LOS KITOS                      THE CADILLAC FAIRVIEW
MARYLAND-                                             CORPORATION LIMITED
UNCLAIMED
PROPERTY
COMPTROLLER OF         LOSCALZO ASSOCIATES, LLC       THE CANADIAN
PUBLIC ACCOUNTS                                       FRANCHISE &
                                                      DEALERSHIP MAGAZINE
COMPTROLLER OF         LOTENBERG, STANLEY             THE CANADIAN
PUBLIC ACCOUNTS                                       INSTITUTE OF
TX                                                    CHARTERED
                                                      ACCOUNTANTS
COMPTROLLER            LOTT & FRIEDLAND, P.A.         THE CAREER CENTER-
STATE OF NEW YORK                                     UNIVERSITY OF
                                                      MICHIGAN
COMPUMASTER            LOTUS RADIO CORP., RENO        THE CARING CUPBOARD
COMPUSA                LOUD CONSULTING INC.           THE CAVALIER
COMPUTER CABLES        LOUIS B. GERBERDING            THE CAVALIER HOTEL
AND MORE
COMPUTER               LOUIS SULLIVAN                 THE CHESTERMERE
ENTERPRISES, INC.                                     ANCHOR
COMPUTER RENTAL        LOUISANA DEPARTMENT OF         THE CHEUNG LAW FIRM
CENTRE INC             REVENUE                        PLLC
COMPUTER SUPPLY        LOUISIANA DEPARTMENT OF        THE CITY OF CALGARY
COMPANY OF             REVENUE
VIRGINIA, INC.
COMPUTERS INTEC &      LOUISIANA DEPARTMENT OF        THE CITY OF KENORA
MORE                   TREASURY-UCP
COMPUTERSHARE          LOUISIANA DEPT. OF REVENUE     THE CITY OF LONDON
COMPUWARE              LOUISIANA SECRETARY OF STATE   THE CITY OF TERRACE
CORPORATION
CON EDISON-1702        LOUISIANNA PRESS ASSOCIATION   THE CITY OF TERRACE
CONACULTA              LOUISVILLE METRO REVENUE       THE CITY OF WINNIPEG
                       COMMISSION
CONCEPT                LOUISVILLE WATER               THE CLARION LEDGER
UNLIMITED, INC.
CONCORDE FOOD          LOURDES MIRAMONTES             THE COLUMBUS
SERVICES (1996) LTD.                                  DISPATCH
CONCURSO               LOVEJOT SINGH                  THE COLUMBUS
SENORITA                                              DISPATCH - DO NOT USE
INDEPENDENCIA DE
CONDON, CHARLES        LOVELAND PUBLISHING CORP.      THE COMMERCIAL
                                                      APPEAL
CONECTIV               LOVERS ATWORK OFFICE           THE COMMUNITY
                       FURNITURE INC.                 NETWORK
CONEDISON              LOW COST SIGNS                 THE COMPUTER
                                                      SOLUTION COMPANY OF
                                                      VA, INC
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CONESTOGA LOANS      LOWE-MARTIN COMPANY, INC.     THE COOPER FAMILY
                                                   LIMITED PARTNERSHIP
CONEXION HISPANA     LOWENSKY CORTORREAL           THE CORPORATION OF
INTERNATIONAL,                                     THE CITY OF OSHAWA
LLC
CONFIDENTIAL         LOWER DEMUNDS PROPERTY        THE CORPORATION OF
SERVICES, INC.       MANAGEMENT LLC                THE CITY OF WINDSOR
CONFIGSOLUTIONS      LOWERY-HERNDON, FELICIA       THE COSTUME BAZAAR
                                                   INC.
CONLEY, TANISHA      LOYD D GULARTE INC            THE COUPON GUIDE, INC
CONNECTICUT          LPR GROUND TRANSPORATION      THE COURIER-JOURNAL
DEPARTMENT OF
REVENUE
CONNECTICUT          LRP PUBLICATIONS              THE CREEKMORE LAW
DEPARTMENT OF                                      FIRM PC FBO CLIVENS &
REVENUE                                            ANDREA GOLDMAN
CONNECTICUT-         LRP PUBLICATIONS-FL           THE CROWLEY POST
CCSPC                                              SIGNAL
CONNELL              LS SECURITY SYSTEMS           THE CURE STARTS NOW
REPORTING, INC.
CONNER, FLINT        LSU CAREER SERVICES           THE DAILY
CONNIE SCHMIDT       LT MANAGEMENT, INC.           THE DAILY COURIER
CONNOR STEED         LTS HOLDINGS ALBERTA LTD.     THE DAILY GLOBE
CONRAD BEAR          LTS SOFTWARE INC.             THE DAILY HELMSMAN
CONRAD CULANAY       LU LI                         THE DAILY RECORD
CONSERVICE           LUBBERS PROPERTIES INC        THE DAILY REPUBLIC
CONSOLIDATED         LUC VACHON                    THE DAILY STANDARD
CONTAINER SYS. LTD
CONSOLIDATED         LUCCA PROPERTIES LLC-DO NOT   THE DALLAS MORNING
PLASTICS CO., INC    USE                           NEWS
CONSTANT             LUCCA PROPERTIES,LLC          THE DAYTON BUILDERS
CONTACT, INC                                       EXCHANGE INC.
CONSTANT             LUCID SOFTWARE INC.           THE DESERT SUN
CONVOCATION
CENTER
CONSTELLATION        LUCIE MERCIER                 THE DESK DOCTOR
NEWENERGY - 5472
CONSTELLATION        LUCIEN CARRIERE               THE DISTILLATA
NEWENERGY INC                                      COMPANY
CONSTRUCTION         LUCKY BAMBOO SHOP             THE DOUGHNUT
ENGINEERING                                        CUPBOARD
DESIGN GROUP, LLC
CONSULATE            LUCKY GROUP INVESTMENTS LLC   THE DRUM CAFE
GENERAL OF
MEXICO
CONSULATE OF         LUCKY STRIKE                  THE DUTCHESS
MEXICO IN
INDIANAPOLIS
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CONSUMER JUSTICE    LUE HERNANDEZ                  THE EAST TEXAS
CENTER, P. A.                                      PEDDLER
CONSUMER LAW        LUFKIN GKD PARTNERS LP         THE EDMONTON SUN
GROUP LLC
CONSUMERINFO.CO     LUI, MICHAEL                   THE ELITE FLEET
M, INC                                             COURIER
CONSUMERS           LUIS CELAYA                    THE ESTATE OF HELLON
ENERGY                                             LIGHTNER
CONSUMERS UNIFIED   LUIS RIVERA                    THE ESTATE OF THE LATE
LLC                                                CHRISTINE CROUTCH
CONTEL Y FERRAEZ    LUISE ROSPERICH                THE FAIRWAY GROUP
ABOGADOS SC
CONTEMPORARY        LUKITO, HENDARSIN              THE FAQUIER CITIZEN
ART CENTER OF VA
CONTINENTAL         LUMIN-ART SIGNS INC            THE FLAGSHIP
DIVIDE
CONTINENTAL         LUMOS NETWORKS                 THE FLORIDA TIMES-
INVESTMENTS                                        UNION
CONTINENTAL         LUNAMETRICS LLC                THE FLYER
RESEARCH
CONTINENTAL         LUNDBERG, KENNETH              THE FLYER SHOP
VISINET
BROADBAND
CONTINU INC.        LUNDY, DAPHNE                  THE FRANCHISE
                                                   HANDBOOK
CONTRACT FUNDING    LUONG LY AND TRINH LY          THE FRANCHISING
GROUP                                              COMPANY LLC
CONTROLLER OF       LURLINE MONTEITH               THE FRYE FOUNDATION
MARYLAND
CONVERGENT          LUTHER BURNEY, ROY MEADERS     THE GEORGIA-ALABAMA
MOBILE, INC.        & JAMES J. DAVIDSON III        ADVERTISER
CONVERTOLOGIC       LUTHER W LONG                  THE GOURMET GANG
LTD
CONVERZE MEDIA      LUX MARKETING SOLUTIONS LTD    THE GRAND FM 92.9
GROUP
CONVERZE MEDIA      LUXOR MANAGEMENT               THE GRAPHICS
GROUP, LLC                                         DEPARTMENT, INC.
CONWAY REAL         LUXOR MANAGEMENT INC.          THE GRAPHIX HOUSE,
ESTATE SERVICES                                    LLC
INC.
COOK                LUXURIOUS PROPERTIES           THE GREENSHEET
INVESTIGATIONS
COOK, JOHN H.       LUZ D VAZQUEZ                  THE GUIDANCE CENTER
COOLIDGE MIDWAY     LUZ GALUT                      THE HAMPTON ROADS
MALL EQUITIES, LP                                  AREA SENIOR SOURCE
COOPER, ELIZABETH   LUZ MIRIAM BLANDON             THE HARTFORD-CA
M.
COOPER, LEVY &      LVM ELECTRONICS LLC            THE HERALD LANCE
PARTNERS, LLC                                      METRO TIME HEADLINER
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COOPER, TIM          LYAL, KONDOFF, KANTER         THE HERTZ
                                                   CORPORATION
COPELAND MILLS       LYALL DESIGN, INC.            THE HILL COUNTY
SCHOOL OF THE                                      COMMUNITY JOURNAL
ARTS
COPELAND,            LYDIA MESSENGER               THE HOLLAND SENTINEL
LACRECIA D.
COPELAND, RICHARD    LYDIA PRAGNELL                THE HOME DEPOT
COPI-EZ VIDEO        LYLE DAVIS                    THE HOME DEPOT CRC
PRODUCTIONS
COPY RIGHT           LYNCEN, LLC                   THE HOSPITAL ACTIVITY
SERVICES, INC                                      BOOK FOR CHILDREN
                                                   LTD.
CORAC NORTHLAND,     LYNCEN, LLC                   THE HUNTINGTON
LLC                                                NATIONAL BANK
CORALEE ZUEFF        LYNCH, BERNARD                THE INDEPENDENT
                                                   JOURNAL
CORBEILLE'S          LYNCH, BERNARD                THE INDIANAPOLIS STAR
JEWELERS, INC.
CORDELL ERIC         LYNCH, KEN                    THE INLET
SHEPPARD
CORDERO SIERRA,      LYNCH, PHILIP                 THE INSTITUTE OF
YEIDY M.                                           INTERNAL AUDITORS
CORE BTS, INC        LYNDA DYCK                    THE INSTITUTE OF
                                                   INTERNAL AUDTORS, INC.
CORECOMM             LYNDA PARKINSON               THE IQ GROUP, LTD.
COREY MAAS           LYNDA SCHOENMAKER             THE IRREGARDLESS
                                                   CATERING
CORI JONES           LYNN L. TAVENNER, TRUSTEE     THE IRVIN LAW FIRM
CORILEE V.           LYNN MARGISON                 THE JEFF ELSTON
WEATHERBY 1999                                     REVOCABLE TRUST
IRREVOCABLE
TRUST
CORINNA DEPOTIER     LYNN MORRISON                 THE JEWEL 98.5
CORINNE M BAKER      LYNN MULLEN                   THE JEWISH POST &
                                                   NEWS
CORINNE SHIPMAN      LYNN PROPERTIES LLC           THE JIM PATTISON
                                                   GROUP
CORMACK              LYNN WRIGHT                   THE JOURNAL
CONTRACTING                                        NEWSPAPERS
CORNELL              LYNN Y CONNORS                THE KANSAS CITY STAR
UNIVERSITY
CORNER OFFICE, INC   LYNNE FARRAR                  THE KATSIAS COMPANY
CORNER PERFORMER     LYNOLA HIPWELL                THE KHOURY GROUP
CORNERS PLAZA LLC    LYON COUNTY TREASURER         THE LAMONT LEADER
CORNERS PLAZA,       M & A LAWN CARE               THE LEADER-POST
LLC
CORNERSTONE          M & M SERVICES INC            THE LERU COMPANY
CLEANING SERVICES
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CORNERSTONE          M & N HALL LLC                 THE LEX GROUP VA
HOLDINGS LLC
CORODATA             M ELIE LLC                     THE LIBERAL
RECORDS
MANAGEMENT, INC
CORONA HILLS         M LEO STORCH DEVELOPMENT       THE LONDON
HOLDING CO.          CORP                           COMMUNITY NEWS
CORPAMERICA, INC.    M&M'S                          THE LONDON
                                                    PENNYSAVER
CORP-LINK            M&N HALL LLC                   THE LOOMIS
SERVICES, INC.                                      CORPORATION
CORPORATE            M&O ELECTRICAL CORP.           THE LOUISIANA HOME &
CLEANING                                            FOREIGN MISSIONS
SOLUTIONS, LLC                                      BAPTIST CONVENTION
                                                    INC
CORPORATE            M. ETA TRABING                 THE MACDONALD
CREATIONS                                           BROADCASTING
INTERNATIONAL, INC                                  COMPANY
CORPORATE            M. PICCIONI                    THE MAILBOX
EXECUTIVE BOARD
CORPORATE GAMES,     M. W. SCHOFIELD                THE MARGARITA MAN
INC.
CORPORATE PRESS,     M.A. OPERATING, INC            THE MARKETPLACE AT
INC                                                 CALLINGWOOD TENANT'S
                                                    OWNERS ASSOCIATION
CORPORATE            M.B.D.PROPERTIES, INC.         THE MASA CORPORATION
SERVICES
CONSULTANTS
CORPORATE            M.B.I., INC.                   THE MASON
SERVICES                                            RICHARDSON CORP LLC
CONSULTANTS, LLC
CORPORATE            M.BONDY                        THE MASTER'S BUILDER
TECHNOLOGY
GROUP INC.
CORPORATION          M.V. CONCORDE PROPERTY MGMT    THE MCCAMMON GROUP,
DIVISION (STATE OF   INC.                           LTD
OREGON)
CORPORATION OF       M-4 LLC                        THE MCGRAW- HILL
THE CITY OF                                         COMPANIES
MISSISSAUGA
CORPORATION          MAAGERO, RAY                   THE MERGIS GROUP
SERVICE COMPANY-
PA
CORPORATION TAX/     MAC 3 LLC                      THE MIAMI HERALD
ANNUAL REPORT
CORPORATION TAX-     MAC MURRAY & SHUSTER LLP       THE MIAMI HURRICANE
NEW JERSEY
CORRINE GILDING      MACDONALD BROADCASTING-        THE MICHIGAN PENSION
                     WHZZ FM                        GROUP
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CORT FURNITURE       MACERICH CITADEL LIMITED       THE MID NORTH
RENTAL               PARTNERSHIP                    MONITOR
CORTINAS, TONY       MACH PROPERTIES INC            THE MIRCHANDANI
                                                    FAMILY LIMITED
                                                    PARTNERSHIP
CORUS                MACHPUALOO ASHOONA             THE MIRROR
ENTERTAINMENT
CORUS                MACK PEST ELIMINATORS          THE MIRROR
ENTERTAINMENT
CORUS RADIO
SALES-INC
CORUS SALES INC      MACKENZIE KEDDY-BRZESKI        THE MONTGOMERY
(CIMJ)                                              STRATEGIES GROUP, LLC
CORVEL-AUTO PAY      MACKENZIE, GRANT & BRIDGET     THE MOOSE JAW &
                                                    DISTRICT FOOD BANK
CORY STINSON         MACKIE QHP OFFICE SERVICES     THE NATIONAL
                     LTD                            UNDERWRITER
                                                    COMPANY
CORYDON              MACLAREN PROPERTY              THE NEW YORK STATE
DEMOCRAT             MAINTENANCE                    SOCIETY OF CERTIFIED
                                                    PUBLIC ACCOUNTANTS
COSSMANPR LLC        MACON HOCKEY, LLC              THE NEWS HERALD
COSTAR REALTY        MACON TAX COMMISSIONER         THE NEWS OBSERVER
INFORMATION, INC
COSTUME INVASION     MACON WATER AUTHORITY          THE NEWSPAPERS OF
CORPORATION                                         WEST GEORGIA
COTHRAN, PAM         MAD DOG CRESTING               THE NEWSY NEIGHBOUR
                                                    MAGAZINE
COTHREN, BILL        MADDOX, JOSHUA                 THE NORFOLK &
                                                    PORTSMOUTH BAR
                                                    ASSOCIATION
COTTON, PAMELA       MADELINE MOORE                 THE OFFICE FURNITURE
                                                    SPECIALIST INC
COUCELL, PETER J.    MADERA DEVELOPMENT             THE OHIO MUNICIPAL
                                                    LEAGUE
COUNCIL UNITED       MADISON + MAIN                 THE OHIO SECRETARY OF
FILIPINO                                            STATE
ORGANIZATION OF
COUNSEL PRESS INC.   MADISON MOBILE MEDIA           THE ORIGINAL SIGNMAN,
                                                    LLC
COUNTERFORCE         MADISON, JANA                  THE ORLANDO SENTINEL
COUNTRY CORNERS      MADISON, MIKE                  THE OSHAWA EXPRESS
SHOPPING CNTR LLC
COUNTRY INN &        MADMAC, INC                    THE PANGBURN GROUP,
SUITES                                              INC
COUNTRY RIDGE        MADRIVO MEDIA LLC              THE PANGBURN GROUP,
SHOPPING CENTER                                     INC.
INC
COUNTRYSIDE MALL     MAE BRADLEY                    THE PETTIT COMPANY
LLC                                                 INC
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COUNTRYWIDE         MAEGAN SAVAGE                   THE PHILLIPS VENTURE
SUMMIT SERVICES                                     GROUP LLC
INC.
COUNTY OF MIAMI     MAELI A. LEE                    THE PHONE BOOK
DADE                                                COMPANY
COUNTY OF           MAFIZA RUSTAMOVA                THE PHONE GUIDE
NORTHAMPTON
COUNTY OF           MAG IV, INC                     THE PINK PAGES
ROANOKE, VIRGINIA
COUNTY OF SAN       MAGGIE CHAN                     THE POST & COURIER
BERNARDINO
COUNTY TREASURER    MAGGIE LEUNG                    THE POSTAL CENTER OF
(NORTHAMPTON)                                       NEWNAN
COURIER             MAGIERSKI, ALICE                THE POTTER'S HOUSE OF
COMMUNICATIONS                                      DALLAS INC
COURIER JOURNAL     MAGNETISIGNS WINDSOR NORTH      THE PRESIDIO
                                                    CORPORATION
COURIER NEWS        MAGNETSIGNS - SUDBURY           THE PRESS ROOM LTD.
COURSEY PROPERTY    MAGNETSIGNS ADVERTISING         THE PRESS ROOM LTD. -
LLC                 INC.-CAMROSE                    DO NOT USE
COURT REPORTING,    MAGNETSIGNS CALGARY INC.        THE PRESS ROOM LTD.-
INC.                                                GM FUNDS
COURT TRUSTEE -     MAGNETSIGNS OSHAWA              THE PROS AT 82ND
BY0218347                                           STREET INC
COURT TRUSTEE       MAGNETSIGNS SE EDMONTON         THE PROVIDENCE
BL0047574                                           JOURNAL CO.
COURTNEY            MAGNETSIGNS SE EDMONTON         THE PUBLICITY HOUND
CARPENTER
COURTNEY JACKSON    MAGNETSIGNS ST CATHARINES       THE QUALITY INN
                    INC
COURTNEY LOWE       MAGNETSIGNS VAUGHAN             THE RADIO NETWORK
COURTNEY PERRY      MAGNETSIGNS WATERLOO            THE REAL DEAL
COVENANT            MAGNETSIGNS-LONDON              THE RECORD
SECUTIRY & PATROL
COVERALL NORTH      MAGNOLIA ENTERPRISE LLC         THE REPORTER
AMERICA, INC
COVERED, INC        MAGNOLIA PLUMBING, INC.         THE REVIEW
                                                    NEWSPAPER/KRONER
                                                    PUBLICATIONS
COVERT              MAGNUM SECURITY AND             THE RICHDEN COMPANY-
INVESTIGATIVE       INVESTIGATION INC               DO NOT USE
SERVICES
COVINGTON           MAHER MALATY                    THE ROSEMYR
HUNTERS RIDGE                                       CORPORATION
ACQUISITIONS, LLC
COVINGTON           MAHMOUD AZIZI                   THE SALES STAFF, LLC
LANSING                                             DBA SALESSTAFF
ACQUISITION
COX BUSINESS        MAIDELYN ACEVEDO                THE SANDERLING INN
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COX BUSINESS -        MAIL BOXES ETC.               THE SAULT STAR
919367
COX BUSINESS-         MAIL CENTER HEAVEN            THE SCHERRER GROUP
248871
COX BUSINESS- 53214   MAIL MARKETING SYSTEMS        THE SCHREIBER LAW
                                                    FIRM,LLX
COX BUSINESS-2742     MAIL PRINT INC.               THE SCORE FOUNDATION
COX BUSINESS-53262    MAILFINANCE INC.              THE SEATTLE TIMES
COX BUSINESS-         MAIN HOCKEY PARTNERS          THE SENTINAL
771911
COX                   MAIN STREET PIQUA, INC        THE SHARING PLACE
COMMUNICATIONS
COX                   MAINE REVENUE SERVICES        THE SHELBYVILLE NEWS
COMMUNICATIONS
ROANOKE
COX                   MAINE SECRETARY OF STATE      THE SHERWIN-WILLIAMS
COMMUNICATIONS                                      COMPANY
SAN DIEGO
COX                   MAJEED RAMAN                  THE SHOPPING CENTER
COMMUNICATIONS-                                     GROUP OF
183124
COX                   MAJID, SHEHZAD                THE SHOPS AT
COMMUNICATIONS-                                     NORTHGATE, LLC
248851
COX                   MAJORFRANCHISES.COM           THE SHOPS ON STEELES &
COMMUNICATIONS-                                     404 PROMOTION
248876
COX                   MAJORIE BROWN                 THE SIGN GUY
COMMUNICATIONS-
53249
COX                   MAKOSHRED, LLC                THE SIGNS ACADEMY
COMMUNICATIONS-
78000
COX                   MALAIKA CHAMBERS              THE SNUG
COMMUNICATIONS-
9001008
COX DISPOSAL          MALDONADOALCAL, GABRIELA      THE SOUTHWEST
SYSTEMS, INC.                                       BOOSTER
COX RADIO             MALEH BROTHERS LLC            THE SPOTLIGHT
COX RADIO             MALEY, MICHELLE               THE STAFFING PEOPLE OF
                                                    GEORGIA, INC.
COX RADIO INC.-       MALGORZATA MALEWSKA           THE STANDARD
WACHOVIA BANK
COX RADIO, INC. -     MALKAN BROADCASTING           THE STANDARD
GREENVILLE                                          INSURANCE COMPANY
COZY MINI STORAGE     MALL 1-BAY PLAZA LLC          THE STANDARD-EYE
                                                    INSURANCE
CP SHUCKERS           MALLARD, DONNIE               THE STATE BAR OF
                                                    CALIFORNIA
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CPACTUARIES           MALLORY MELANSON              THE STATE BAR OF
                                                    CALIFORNIA
CPADIRECTORY          MALON D MIMMS                 THE STATE INSURANCE
MARKETING, INC.                                     FUND
CPS 764               MALONE DISPLAYS               THE STATIONERY HOUSE,
                                                    INC.
CR RAPID TAX INC      MANAGECAMP                    THE STROLLING SILVER
                                                    STRINGS
CRA                   MANAGED NETWORK SYSTEMS       THE SUN
INTERNATIONAL INC.    INC.
CRAIG C FOWLER        MANAGEMENT 2000               THE SUN
CRAIG, TOM            MANAGER OF FINANCE            THE TALKING PHONE
                                                    BOOK
CRAWFORD, LYNDA       MANBIR SINGH                  THE TELEGRAM
CRAWFORD,             MANCHESTER SIGNS PRINTING &   THE THEME FACTORY OF
WISHNEW & LANG        GRAPHICS                      PHILADELPHIA
PLLC
CRAZY DARRELL'S       MANCHESTER TOWNSHIP           THE TIMES HERALD
ENTERTAINMENT
CRAZYHORSE LLC        MANCON-COMMERCIAL SALES       THE TODD
                                                    ORGANIZATION OF
                                                    VIRGINIA, LLC
CREASON & SONS        MANDEEP KAUR                  THE TOLEDO BLADE
WELL SERVICE INC
CREATIVE              MANDHANA, MANJU               THE TORGON GROUP
ASSISTANT
CREATIVE CATERING     MANDY EDWARDS                 THE TREASURER, CITY OF
OF VIRGINIA                                         TORONTO
CREATIVE COVERS       MANDY GRAVELLE                THE TREND
FOR GOLF                                            ORGANIZATION, LLC
CREATIVE DIGITAL,     MANDY-LEE AITKEN              THE UBYSSEY
INC.
CREATIVE NEON         MANFRED SCHALK                THE UBYSSEY
SIGNS
CREATIVE OUTDOOR      MANGEAC, DANIEL               THE UNIVERSITY OF
                                                    VIRGINIA
CREATIVE PRINT ALL    MANGOS TROPICAL CAFE          THE UPS STORE
LTD.
CREATIVE              MANIFOLD DATA MINING INC.     THE VELASCO FAMILY
PUBLISHING                                          IRREVOCABLE TRUST
CREATIVE              MANITOBA CURLING              THE VENETIAN
SOLUTIONS             ASSOCIATION, INC.
CREATIVE TRAINING     MANITOBA HYDRO                THE VENTURE FORUM
TECHNIQUES
CREDIT ADMIRAL        MANIVANNAN PONNAMPALAM        THE VENUE CHANNEL
SOFTWARE LLC
CREDIT CLINIC U. S.   MANN & ALPERT RENTALS LLP     THE VINDICATOR
A.
CREDIT                MANRON, LLC                   THE VIRGINIAN PILOT
CONNECTION, LLC
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CREDIT CONTROL       MANSFIELD, EVIE               THE WALL STREET
CORPORATION                                        JOURNAL
CREDIT PROTECTION    MANTERO, VIRGINIA             THE WATER H20LE, INC
ASSOC.
CREDIT SAINT         MANUEL MUNOZ                  THE WEEKLY VILLAGER
LIMITED LIABILITY
COMPANY
CREEKSIDE            MANULIFE FINANCIAL            THE WEST COAST
SHOPPING CENTER                                    FRANCHISE EXPO
CRENSHAW, WARE &     MANVIR SEKHON                 THE WEST GEORGIA
MARTIN P.L.C                                       SHOPPER
CRESA GLOBAL, INC.   MANZANILLO, TAMAYO            THE WESTIN NOVA
                                                   SCOTIAN
CRESCENT STREET      MANZANO BAND BOOSTERS         THE WHITLOCK GROUP
CROSSING LLC
CRESCO SHOPPER,      MAPLE CITY MINI STORAGE       THE WHITLOCK GROUP
INC.
CRESTAR BANK         MAPLE CITY MINI STORAGE       THE WILLERTON GROUP
                                                   INC
CRF SOLUTIONS        MAPLE DRIVE PARTNERS, LLC     THE WINDSOR STAR
CRIMSON 1031         MAPLETOWN REALTY LLC          THE WOOTEN BUILDING
PORTFOLIO, LLC
CRIPPLE CREEK        MAPLETOWN REALTY LLC          THE YGS GROUP
ELECTRIC INC
CRISP IMAGING        MAPONICS                      THE ZONE
PRODUCTS
CRISTIAN             MARATHON CONSULTING, LLC      THEO BEER CONSULTING
SCHAEFFER                                          & CONTRACTING
CRISTINA FAMILY      MARBONITA LLC                 THEODIS ELZIE
PROPERTIES
CRISTINA PETERSEN    MARC BERGERON                 THEODORE JANKOWSKI
CRITICAL PATH        MARC HURTUBISE                THEODORE KEVIN
COURIERS                                           LOWRY
CRM                  MARC LONGPRE                  THEODORE WEICLE
CROFTON              MARC MANAGEMENT               THEORDORE DEMARINO
CONSTRUCTION
SERVICES, INC.
CROHN'S & COLITIS    MARC S GIOVINSKY DPM LLC      THEOTIS H BROWN, II
FOUNDATION
CRONOFY LIMITED      MARC S GIOVINSKY DPM LLC      THERESA DELORME
CROSBY OF            MARCA GLOBAL LLC              THERESA ELSWORTH
ELBRIDGE LLC
CROSS MATCH          MARCEL SAMPSON                THERESA ELSWORTH
TECHNOLOGY
CROSSCOM             MARCELLA N BECKUM             THERESA GREGOIRE
NATIONAL, INC.
CROWE SHREDDING      MARC-ERIC BARDEAU             THERESA SNEDDON
CROWLEY FLOWER       MARCH OF DIMES                THERESA VANDERZON
SHOP
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CROWN                 MARCH OF DIMES                THERMOL-TROL
ENTERPRISES LTD.                                    SYSTEMS
CROWN PROPERTIES      MARCH OF DIMES (NATIONAL      THIBODEAU, JOE
LTD-TRENTON           OFFICE)
CROWN PROPERTIES,     MARCHAND & ASSOCIATES LTD.    THIEL,DONNA C.
LTD-SUMMERVILLE
CROWN SHRED &         MARCIA C. TEAGLE PARKER       THIESS, ROBERT
RECYCLING
CROWN TROPHY          MARCIN MARCINIAK              THINCIT LLC
CROWNE PLAZA          MARCO AND WENDIE AYALA        THINKING PHONE , INC-
NIAGARA FALLS-                                      FUZE
FALLSVIEW
CRUISINE &            MARCUM LLP                    THIRD DAY RENTALS LLC
COMPANY
CRUMMEY               MARCUS INVESTMENTS, LLC       THIRD DISTRICT PTA
INVESTIGATION, INC.
CRUSH ADS, L.L.C.     MARCUS T JOHNSON              THIRD DOOR MEDIA, INC.
CRUZ, IVETTE          MARDEN, TIM                   THIRD MILLENNIUM
CRUZ, RONALD &        MARGARET AGUIAR               THIRD STAGE INC
DIANA
CRYSTAL A. CROAN      MARGARET BIRKENHEIER          THOMAS A & SANDRA K
                                                    MUNDY
CRYSTAL AIR           MARGARET HALEY                THOMAS AQUINAS DUFFY
CONDITIONING AND                                    PROPERTIES LLC
HEATING
CRYSTAL BETHUNE       MARGARET KING                 THOMAS BEEBE DBA
                                                    AFTER HOURS PLUMBING
CRYSTAL CLEAN         MARGARET KINLEY               THOMAS BULGER
SERVICES
CRYSTAL DRANE         MARGARET RAHM                 THOMAS BUTTERFIELD
CRYSTAL MALL, LLC     MARGARET SMITH                THOMAS CAMPBELL
CRYSTAL               MARGARET WILLIAMS             THOMAS CLAYTON
MORRISSEY
CRYSTAL REPORTS       MARGARITA LEUNG               THOMAS E. FISCHER
TRAINING &
CONSULTING
CRYSTAL ROCK          MARGO PEARSON                 THOMAS HENGGELER
HOLDINGS, INC.                                      ENTERPRISES LLC
CRYSTAL               MARGULIS ESQ, MAX             THOMAS HICKIN
SENSATIONS, INC.
CRYSTAL SPRINGS       MARIA DEL PILAR MARTINEZ      THOMAS J DELESSIO
CRYSTAL SPRINGS-      MARIA GUEVARA                 THOMAS NELSON
660579                                              COMMUNITY COLLEG
CRYSTAL STASIUK       MARIA ISKRIC                  THOMAS NEWMAN
CRYSTAL WARD          MARIA RAPOSO                  THOMAS PORTS
C'S RENOVATIONS,      MARIA RUGGIER                 THOMAS ROY JARRETT,
INC.                                                JR.
CS SERVICES GROUP,    MARIA SALGADO-MERLOS          THOMAS TAYLOR
INC.
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CSC CONSULTING,       MARIA SMODIS                  THOMAS TRAILER &
INC.                                                TRUCK SERVICE, INC
CSC HOLDINGS, LLC     MARIA SOARES                  THOMAS W. MULLINS
CSC LEASING           MARIA SOLIS                   THOMPSON CORBETT
COMPANY                                             WEBSTER LLP
CSG SYSTEMS, INC.     MARIA TERESA GREGORIO         THOMPSON CORBETT
                                                    WEBSTER LLP
CSI LEASING           MARIAN GRIMA                  THOMPSON FINANCIAL
CANADA LTD                                          SERVICES INC
CSI LEASING, INC      MARIAN WALTERS                THOMPSON TAX
                                                    BUSINESS
CSS SAHARA L.P.       MARIANNE MALIZIA              THOMPSON, JOYCE
CSSTYLES DESIGN,      MARICAR, SYED & SRINIVASAN,   THOMSON REUTERS
LLC                   SRIVIDYA
C-SUITE HOLDINGS,     MARIE A VIEN                  THOMSON REUTERS
LLC                                                 (MARKETS) LLC
CT CORPORATION        MARIE FLETCHER                THOMSON REUTERS (TAX
                                                    & ACCOUNTING) INC.
CT CORPORATION        MARIE FRASER                  THOMSON REUTERS GRC,
                                                    INC
CT CORPORATION -      MARIE LEAVITT                 THOMSON REUTERS-
4349 - CAROL                                        WEST
STREAM
CT CORPORATION -      MARIEANNE GUILBEAULT          THOMSON REUTERS-
WASHINGTON                                          CANADA
CT CORPORATION        MARIE-JOSEE LEDUC             THOMSON TAX &
SYSTEM                                              ACCOUNTING
CTA MEDIA             MARIELLE LOECHER              THORNE DONNELLY
C-TACKLE              MARIETTA DAILY JOURNAL        THORNHILL PLAZA
CTEC                  MARIETTA DRAPERY & WINDOW     THORNTON, FRANK
                      COVERINGS CO, INC
CTF-3 COMMERCE        MARIETTE BENDER               THRIFTY CAR RENTAL
PARK, LLC
CTS                   MARIJA SABO                   THRIFTY CAR RENTAL -
                                                    DO NOT USE
CTV NORTHERN          MARILEN INVESTMENTS, LTD.     THRIFTY CAR RENTAL-
ONTARIO                                             SUBROGATION DEPT.
CTV REGINA (CKCK-     MARILYN ANTHONY               THRIFTY CAR RENTAL-
TV)                                                 MISSOURI
CTV SASKATOON         MARILYN RAMAN                 THRIFTY NICKEL
(CFQC-TV)
CTV TELEVISION INC.   MARILYNN BLAIR                THRIFTY NICKEL, LLC-
                                                    ALABAMA
CUISINE AND           MARIN SILVIA                  THURMAN GAINES
COMPANY
CULLEN AND            MARINA SHORES LTD             TIA LEBEL
DYKMAN LLP
CULLIGAN              MARINER MARKETPLACE LLC       TIANNA R. LINDSAY
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CULLIGAN - PO BOX    MARINO, ULISES                  TIDBITS OF RIVERS &
4800                                                 LAKES
CULLIGAN - SEATTLE   MARINOW HELEN & GEORGE          TIDEWATER ARTS
                                                     OUTREACH
CULLIGAN SOFT        MARION AHRENS                   TIDEWATER CHAPTER,
WATER SERVICE CO-                                    VTAA
8511
CULLIGAN WATER       MARION RATLEY DBA BUDDY         TIDEWATER
CONDITIONING-        RATLEY SIGNS                    COMMERICAL CEILINGS
FLINT, MI                                            AND WALLS, INC
CULLIGAN-265         MARION RUEGER                   TIDEWATER
                                                     COMMUNICATIONS, LLC
CULP ELLIOTT &       MARION SHEA                     TIDEWATER COMMUNITY
CARPENTER, PLLC                                      COLLEGE
CULPEPER STAR-       MARION SHEA                     TIDEWATER DJ'S
EXPONENT
CULTURAL             MARISA CASTRO                   TIDEWATER GRAPHICS
ALLIANCE OF
GREATER HAMPTON
ROADS
CULVER, BILLY        MARJAN TCHESHMEHOUI             TIDEWATER HISPANIC
CUMBERLAND           MARJORIE ANN THOMPSON           TIDEWATER NEON SIGNS,
COUNTY REGISTER                                      INC.
OF DEEDS
CUMBERLAND           MARJORIE DANKERT                TIDEWATER PROCESS,
COUNTY TAX                                           INC.
COLLECTOR-PPT
CUMMINGS &           MARJORY NEWCOMBE                TIDEWATER SITTING
FRANCK, P.C.                                         SERVICE, INC
CUMMINGS & WHITE-    MARK A HOLLIS                   TIDEWATER TOASTERS
SPUNNER INC.
CUMULUS              MARK A STEWART                  TIDY CASTLE
BROADCASTING
CUMULUS              MARK BANSCHBACH                 TIFFANY BRADY
BROADCASTING
CUMULUS              MARK BRAYLEY BLISS              TIFFIN AVENUE
BROADCASTING                                         INVESTORS
CUMULUS              MARK CAMPBELL                   TIFTON RETAIL I LLC
BROADCASTING -
FLINT
CUMULUS              MARK CARLOS                     TIGER FERA INVESTMENT
BROADCASTING -                                       INC.
INDIANAPOLIS MKT
CUMULUS              MARK COOMBS                     TIGER TOM'S
BROADCASTING -
KALAMAZOO
CUMULUS              MARK DUNNING INDUSTRIES, INC.   TILLEKE & GIBBINS
BROADCASTING                                         INTERNATIONAL LTD.
CORP. -643303
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CUMULUS              MARK GADEMSKY                  TILLER TAX COMPANY
BROADCASTING
GROUP
CUMULUS              MARK GAREMSKY                  TILLER, GENE
BROADCASTING -
MIDLAND TX
CUMULUS              MARK GIBSON                    TIM BURTON'S HOLDING
BROADCASTING-                                       LIMITED
MOBILE
CUMULUS              MARK GOODMAN                   TIM CONCANNON
BROADCASTING, INC.
CUMULUS              MARK HOVEY                     TIM DEW
BROADCASTING, LLC
- MELBOURNE FL.
CUMULUS              MARK JEROME                    TIM EDWARDS
BROADCASTING-
CINCINNATI
CUMULUS              MARK KELLY                     TIM HUNT
BROADCASTING-
WICHITA FALLS
CUMULUS              MARK KROZEK                    TIM LEBLOND
LICENSING, LLC
CUMULUS              MARK MCLAREN                   TIM STRATTON
LICENSING, LLC-
YOUNGSTOWN
CUMULUS MEDIA        MARK MYERS                     TIM TIPPER
CUMULUS MEDIA        MARK R CASTO                   TIM TOMLINSON
CUNNANE, KEVIN       MARK RAMSDEN                   TIM TRAVAILLE
CUNNINGHAM,          MARK REINHARDT                 TIMA ABRAMS
MARK
CUNY FAMILY LLC      MARK W ROWE                    TIMBER WOLF SIGNS &
                                                    DISPLAYS
CURBEX               MARK W. BARFIELD, CPA          TIMBERCREEK CENTER
                                                    PARTNERS LP
CURIOSITIES ROCK     MARK W. STEPHENS &             TIMBERLAND HEATING &
SHOP                 ASSOCIATES, LLC                AIR
CURRIN ELECTRIC      MARK WILLIAMS                  TIME WARNER BOOK
                                                    GROUP
CURT PETRAK          MARK YABLONOVICH               TIME WARNER CABLE -
                                                    11820
CURTIS 1000          MARKET FORCE INFORMATION       TIME WARNER CABLE-
                                                    1060
CURTIS MEDIA         MARKET MAPS                    TIME WARNER CABLE-
GROUP, INC                                          1104
CUSIP GLOBAL         MARKET SQUARE PROPERTIES       TIME WARNER CABLE-
SERVICES             CORP                           4617
CUSTOM COMFORT       MARKET TOWN, LLC               TIME WARNER CABLE-
SYSTEMS INC                                         60074
CUSTOM SIGNS AND     MARKETPLACE STATION LLC        TIME WARNER CABLE-
DESIGNS, INC                                        70872
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CUSTOMER             MARKETWIRE, INC.                TIME WARNER CABLE-
MAGNETISM, INC.                                      742663
CVENT, INC.          MARKHAM TROPHY INC.             TIME WARNER CABLE-916
CWB NATIONAL         MARKIT ACCOUNTING SERVICES      TIME WARNER CABLE-
LEASING              LTD                             NORTHEAST 901
CXR HOLDINGS, INC.   MARKS WEATHERSEALS              TIMELESS
                                                     CONSTRUCTION &
                                                     RENOVATIONS
CY WAKEMAN, INC.     MARKUS, GEORGE                  TIMES & TRANSCRIPT
CYBER EXCHANGE       MARLENE D. LARSON & JOHN D      TIMES HERALD
#50                  LARSON
CYBERCODERS, INC.    MARLENE MATHER                  TIMES NEWS
CYBERNET             MARLIN BUSINESS BANK            TIMES UNION
CYCLOPS GRAPHICS     MARLISLE OLIVE                  TIMES-HERALD
CYGNOL               MARLISLE OLIVE                  TIMOTHY B MAGERLE
TECHNOLOGIES
CORP.
CYNTHIA ANITA        MARLON BECKFORD                 TIMOTHY BENNETT
BATTLE
CYNTHIA BROTHERS     MARLON SMITH                    TIMOTHY GREENFIELD
CYNTHIA BROTHERS     MARLOWE - YEOMAN LIMITED        TIMOTHY K HINDERKS
CYNTHIA DUGAS        MARLOWE INVESTIGATIONS, INC.    TIMOTHY OWENS
CYNTHIA FLOYD        MARLOWE -YEOMAN LTD             TIMOTHY PUNTON
CYNTHIA K GONU       MARNIE JOSS                     TIMOTHY ST.PIERRE
CYNTHIA STALFOID     MAROGIL FAMILY, LLC             TIMPER, TRISH
CYRULI SHANKS &      MAROGIL FAMILY, LLC             TINA BALDASSARA
ZIZMOR LLP IOLA
ACCOUNT
CY'S COURIER HOUSE   MARQUISE FACILITIES             TINA CADIEUX
                     CORPORATION
D&B                  MARRERO LAND & IMPROVEMENT      TINA CHANCE
                     ASSOCIATION LTD
D & S L II, LLC      MARRIOTT CALGARY                TINA HUNT
D' ANGELO, GORDON    MARRIOTT HOTEL SERVICES, INC.   TINA MCCARTY-BOIKE
D B KO ENTERPRISES   MARRIOTT INTERNATIONAL, INC     TINA MCDONNELL
LLC
D SIGNS              MARSEE, KAREN                   TINA SIMPSON
D SIGNS OF ALL       MARSH CANADA LIMITED            TINKER, HURD &
KINDS                                                ASSOCIATES
D&K MANAGEMENT       MARSH USA, INC.                 TIOGA CONTRACTORS,
& MARK DARNIEDER                                     LLC
D&M INVESTMENTS      MARSH USA, INC.                 TIPPER, MELODY
D&M LOCK AND         MARSH USA, INC.                 TIPPO BAY
SAFE, INC.                                           DEVELOPMENT CO.
D&T LEGAL            MARSHA MASON                    TISA CARPER STONE
SERVICES
D.C TREASURER        MARSHAL & ASSOCIATES, INC.      TISA CARPER STONE
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D.L. WILLIAMS        MARSHALL & STERLING              TISON COMMERCIAL
ELECTRIC COMPANY,                                     PROPERTIES, INC.
INC.
D.R. HOME            MARSHALL HOLMAN                  TITAN OUTDOOR, LLC
IMPROVEMENTS
D-1 ACCESS INC.      MARSHALL K KELSAY                TJ BERRY
DA DING ZHENG        MARSHALL REALTY                  TKL EAST, LLC
DABIR DUVERT         MARSHALL, PATRICIA               TKL-EAST LLC DBA
                                                      MARLEY STATION
DACO                 MARTCO                           TLG STOREFRONT &
INVESTIGATION, LLC                                    GLASS INC
DAGEM, INC.          MARTCO LLC                       TLJ ENTERPRISES
DAILY COURIER        MARTHA MARSHALL                  TLO LLC
DAILY HERALD-        MARTHA SMITH DECLARATION OF      TLO, LLC
TRIBUNE              TRUST
DAILY NONPAREIL      MARTHA UMANA                     TM WELLINGTON GREEN
                                                      MALL LP
DAILY PRESS          MARTIN & MARTIN LLC              TMI TAX SERVICES, INC.
DAILY PRESS          MARTIN CUNNINGHAM                TMJ BLDG LLC
DAILY PRESS          MARTIN EDGAR BROWN               TMP DIRECTIONAL
                                                      MARKETING
DAISY TOMKULAK       MARTIN GOLD                      TN DEPARTMENT OF
                                                      LABOR & WORKFORCE
                                                      DEVELOPMNENT
DAKARA HUFFMAN       MARTIN J. JENNINGS JR., ESQ.     TN HOCKEY LP
DAKOTA LOCK &        MARTIN KARASIN                   TNP SRT BLOOMINGDALE
SAFE, LTD.                                            HILLS, LLC
DALE ALGUIRE         MARTIN LUTHER KING JR.           TODAY MANAGEMENT
                     PARADE FOUNDATION                (WINDSOR) INC.
DALE AND SANDRA      MARTIN O MOAD                    TODAY'S FRANCHISE
DAVIDSON
DALE BLACKWELL       MARTIN WHITE                     TODD BARNES
DALE BROWN           MARTIN, CHRIS                    TODD SABOUREN
ENTERPRISES
DALE HANSON          MARTINA BEN                      TODD SCOTT NADEAU
DALE SAKALUK         MARTINELLI INVESTIGATINS, INC.   TODD STAHL
DALE TOMPKINS        MARTINETTE, THOMAS               TODD TAGGART II DBA
                                                      SIGNS BY SUNDOWN INC
DALE WARREN          MARTINEZ, KAREN L                TOKY RANAIVOSON
MCCARTHY
D'ALESANDRO,         MARTIN'S CUSTOM DESIGNS, INC.    TOM AND LARRY, INC.
ROBERT
DALGI, LLC           MARTY WHITE MAINTENANCE &        TOM CAVALIERE
                     REPAIR
DALLAS COUNTY        MARTZ PLUMBING &                 TOM CHAN
TAX ASSESSOR-        CONSTRUCTION, LLC
COLLECTOR
D'ALTO, THOMAS       MARVIN A GORODENSKY PC           TOM GATES
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DALTON ROOFING      MARVIN CHRISTIAN               TOM HERSKOVITS
COMPANY, INC.
DAM TAXES INC.-     MARY A FELICIAN                TOM MUSTY
DORI MILLER
DAMAGE RECOVERY     MARY ANDERSON                  TOM NGUYEN (# 1019)
UNIT
DAMON BOURGEOIS     MARY BANDUKWALA                TOMAHAWK
                                                   PROPERTIEX, LLC
DAMUS FAMILY        MARY BEAUDIN                   TOMAS RIVERA SANCHEZ
TRUST
DAMUTH SERVICES     MARY FEBBRINI                  TOM'S SIGNS
DAN BURNETT         MARY FOLDESI                   TONER INK LTD.
DAN CARON           MARY FOLDESI                   TONER TECH DOCUMENT
                                                   SOLUTIONS
DAN DONNELLY        MARY FOLDESI                   TONER, THOMAS
DAN GAUDREAULT      MARY GRACE MASON JOHNSON       TONI & LISA KRANTZ
DAN MALM            MARY HAMILTON                  TONI SHEPHERDS
DAN PEACOCK         MARY HANNA                     TONOPAH CRAIG ROAD
                                                   COMPANY, LLP
DAN ROMAN           MARY JO FALLE                  TONY DIGIOVANNI
DAN THE WINDOW      MARY KATHERINE BRATTON         TONY HOLLAND
MAN
DANA ALLEN          MARY KROLLZIK                  TONY JULIANO
DANA BAYER          MARY MACLACHLAN                TONY LUCIANO
DANA E. MCDOW-DO    MARY MCCREA                    TONY MA
NOT USE
DANA INVESTMENT     MARY MENDOZA                   TONY PRICE DBA
CORPORATION
DANA LAWRENCE       MARY NIEUWPOORT                TONY RUGGIER
DANA-MARIE          MARY PARK                      TONY'S LOCK
DOHERTY
DANDA INC.          MARY PRETSWELL                 TOOELE COUNTY
                                                   ASSESSOR
DANE ALTON JENSEN   MARY RONO                      TOOELE PLAZA
DANIEL              MARY RONO                      TOP FASHION LTD.
BAVERSTOCK
DANIEL DEVEAUX      MARY SHEPPARD                  TOP NOTCH
                                                   NETWORKING
DANIEL GAUDET       MARY WYLLIE                    TOP TO BOTTOM
                                                   REMODELING
DANIEL GAUDET       MARYANN BENEDICT               TOPPAN MERRILL USA
(CHURCH POINT)                                     INC
DANIEL KRETTEK      MARYANN BIDDLES                TOPPAN VINTAGE INC.
DANIEL LEVERE       MARYANN BRUCE                  TORANTO ZOO
DANIEL LIU          MARY-ANNE NICHOLLS             TORERO SPECIALTY
                                                   PRODUCTS
DANIEL              MARYIA JONES                   TORNOE, JUAN
MUCCIARELLI                                        GUILLERMO
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DANIEL REID          MARYJANE EMBROIDERY             TORONTO FIRE WATCH/
                                                     TORONTO PROFESSIONAL
                                                     FIRE FIGHTERS
                                                     ASSOCIATI
DANIEL ROMAN         MARYLAND ATTORNEY GENERAL       TORONTO HYDRO
DANIEL SHRIBMAN      MARYLAND COAST DISPATCH         TORONTO POLICE
                                                     ASSOCIATION
DANIEL STORM         MARYLAND HIGHER EDUCATION       TORONTO PROFESSIONAL
                     COMMISSION                      FIREFIGHTERS
DANIEL T THIEMANN    MARYLAND OFFICE - ATTORNEY      TORONTO REVENUE
                     GEN                             SERVICES
DANIEL W MAHOOD      MARYLAND UNEMPLOYMENT           TORONTO SUN
                     INSURANCE FUND
DANIEL W TITUS       MARYLAND-COMPTROLLER OF         TORONTO WINDOW
                     THE TREASURY                    CLEANERS INC
DANIEL W. HORNE      MARYNA GONCHAROVA               TORRES FLAGS
DANIEL WIENER        MASIH-DAS, CLEMENT              TORREY SQUARE
                                                     SHOPPING PLAZA LP
DANIEL WILLIAMS      MASINO REALTY-ELYSIAN FIELDS,   TORRY, LISA
                     LLC
DANIEL, COKER,       MASON, THELMA                   TORSTAR (TORONTO
HORTON & BELL P.A.                                   STAR NEWSPAPER)
DANIELLE DAGG        MASSACHUSETTS DEPARTMENT        TOSHIBA AMERICA INFO
                     OF REVENUE                      SYSTEMS
DANIELLE DENALLI     MASSACHUSETTS DEPT. OF          TOTAL ADMINISTRATIVE
                     REVENUE                         SERVICES CORPORATION
DANIELLE GRAHAM      MASSACHUSETTS LATINO-           TOTAL LEASE CONCEPTS
                     CHAMBER OF COMMERCE
DANIELLE KENNEDY     MASSACHUSETTS STATE             TOTAL PRINTING
PRODUCTION           TREASURERS OFFICE               SRVICES
DANIELLE MUIR        MASSACHUSETTS TAX PARTNERS,     TOTAL WINE & MORE
                     LLC
DANIELLE PITRE       MASSEY, GREG                    TOUCH OF ELEGANCE,
                                                     LTD
DANIELLE SURETTE     MASSIE-CLARKE DEVELOPMENT       TOUCH TONE
                     CO                              MARKETING, INC.
DANIELSON            MASTER BOWLERS ASSOCIATES       TOWER PARK
INVESTIGATIVE                                        MANAGEMENT CORP
SERVICES, INC.
DANILO PATRICIO   MASTER BOWLERS ASSOCIATION         TOWERS REALTY GROUP
                  OF MANITOBA INC
DANITE SIGN       MASTER LOCKSMITH SERVICES          TOWLE DENNISON &
COMPANY           INC                                MANISCALCO, LLP
DANKA             MASTER RISK INC.                   TOWN & COUNTRY
DANKA CANADA INC. MASTERFILE CORPORATION             TOWN & COUNTRY CITY,
                                                     INC.
DANKA OFFICE         MASUD INVESTMENTS, INC.         TOWN & COUNTRY
IMAGING-CFG                                          SHOPPER
DANNIE BEAUDRY       MATHEW GARBUTT                  TOWN & COUNTRY
                                                     SHOPPING CENTER
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DANNY MOK            MATHEW GOETHEYN                TOWN CENTER KIWANIS
                                                    CLUB
DANNY MOK            MATHEWS CONSTRUCTION INC.      TOWN OF ABINGDON
DANNY PAUL           MATHIEU ROUSSY                 TOWN OF APPLE VALLEY
DANNY ROY            MATHILDA RABOT                 TOWN OF CALEDON
                                                    PARKS & RECREATION
DANVILLE             MATHIS, MICHAEL                TOWN OF
CROSSING, LP                                        CHEEKTOWAGA-VICKIE L
                                                    DANKOWSKI
DAP DEVELOPMENT      MATRIX RESOURCES, LLC          TOWN OF
LLC                                                 CHRISTIANSBURG
DARAIL JAVON         MATSUMOTO, ALAN                TOWN OF DERRY
REYNOLDS
DARDARIS, THOMAS     MATSUMOTO, ROBIN               TOWN OF ELKTON
DAREN COEN           MATT BILDERBACK                TOWN OF EXMORE
DARK HORSE           MATT CHAVEZ                    TOWN OF FRONT ROYAL
VENTURES, LLC
DARLA ASHBY          MATT HANSSEN                   TOWN OF GIBSONS
DARLENE HUDON        MATT LEBAR                     TOWN OF IRMO
DARLENE LEE          MATT SALISBURY                 TOWN OF JUPITER
DARLENE MAYHEW       MATT STUNKEL                   TOWN OF KNIGHTDALE
DARLENE WILSON       MATTES SEAFOOD INC.            TOWN OF MARION
DARLINE              MATTES SEAFOOD INC.            TOWN OF NUTTER FORT
FITZPATRICK
DARNELL, JERRY       MATTHEW A PARSLEY              TOWN OF ORANGEVILLE
DARRAJ, ELIAS        MATTHEW AHERN                  TOWN OF RIB MOUNTAIN
DARRAJ, SAM          MATTHEW AVRIL                  TOWN OF SMITHFIELD
DARRAN HILL          MATTHEW B MITCHELL             TOWN OF SOUTH BOSTON
DARRELL CAROLL       MATTHEW B WILSON               TOWN OF STONEHAM
DARRELL              MATTHEW BENDER & COMPANY       TOWN OF STRASBURG
MOREHOUSE            INC
DARREN THOMPSON      MATTHEW BENDER-LEXISNEXIS      TOWNE NORTH S/C
                                                    PARTNERS, LTD
DARREN WILSON        MATTHEW BRUMSEY                TOWNE STORAGE
                                                    WASHINGTON DAM
DARRYL KINSLER       MATTHEW CLARK                  TOWNEBANK
DARRYLL              MATTHEW JACKSON                TOWNSHIP OF
MACDONALD                                           SPRINGWATER
DARVILLE, SEAN       MATTHEW JAMES DEMOSS           TOWNSHIP OF UNION
                                                    FIRE DEPARTMENT
DARYL COE            MATTHEW MCCALLUM               TOWNSQUARE MEDIA
DARYL DESIGNS        MATTHEW O'BRIEN                TOWNSQUARE MEDIA
                                                    BANGOR, LLC
DATA CABLE           MATTHEW PECKHAM                TOWNSQUARE MEDIA INC
TECHNOLOGIES, INC
DATA MANAGEMENT      MATTHEW PERLIC                 TPAAA
GROUP OF VIRGINIA,
INC.
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DATA                MATTHEW SCOTT LESMEISTER       TRA INVESTMENT
MANANGEMENT, INC
DATA SHRED          MATTHEW WATTS                  TRACE INVESTIGATIONS,
                                                   INC.
DATALINE            MATTIE RHODES MEMORIAL         TRACEY CHAVES
INCORPORATED        SOCIETY
DATAMARK            MATTILA, PAUL TRUSTEE          TRACEY GALLANT
SYSTEMS
DATANATIONAL        MAUI PROCESS SERVERS LLC       TRACEY LABELLE
DATATAX BUSINESS    MAULDING DEVELOPMENT, LLC      TRACEY MUIR
SERVICES, LTD
DAVE & BUSTER'S     MAUREEN GRIEVE                 TRACEY VASELENIUCK
DAVE CHRISTENSEN    MAUREEN MCCANN                 TRACY CONSIDINE, P.A.
DAVE EDGEMON        MAUREEN MORRIS                 TRACY DOUCETTE
DEANNA EDGEMON
DAVE QUINN          MAURICE H SOLOMON              TRACY HEMLOW
DAVENPORT & CO.     MAURICE WILLIAMS               TRACY HOWE
LLC F/B/O/ MELVIA
HEWITT IRA
DAVENPORT &         MAURICIO CASTRO                TRACY MCCAW
COMPANY
DAVENPORT &         MAURY KROLL LOCKSMITH, INC.    TRACY O'SULLIVAN
COMPANY A/C 6390-
1973
DAVENPORT &         MAX RADIO                      TRACY OVERHOLT
COMPANY F/B/O
DAVENPORT &         MAX RECOVERY GROUP, LLC        TRACY SEGUIN
COMPANY LLC A/C
4108-6431
DAVID A PEREZ       MAXDECISIONS, INC              TRACY SHARPHEAD
DAVID BEAUPRE       MAXEY CONSULTING GROUP, LLC    TRACY WIESCHOLLEK
DAVID BURTON        MAXIMAIN COMEAU                TRACY WOOD
DAVID C JACK,       MAXIME COLLIN                  TRADEMARK
ATTORNEY                                           ENTERPRISES, LLC
DAVID CROUCH        MAXIMUM SECURITY SHREDDERS     TRAIL OF THE LAKES
                                                   MUD
DAVID D.            MAYBELLE HOLDINGS CORP.        TRAINING RESOURCE
DICKERSON AND                                      CLINIC
ASSOCIATES
DAVID DONOVAN       MAYFAIR JOINT VENTURE          TRAININGABC.COM
DAVID FITZGERALD    MAYFLOWER EMERALD SQUARE,      TRAMMEL CROW CO.
                    LLC
DAVID FORTIER       MAYFLOWER TRANSIT, LLC         TRAMMELL CROW
DAVID G STANUTZ     MAYKEE INC                     TRANE PARTS
DAVID GOMEZ         MAYOLA BECHERET RUIZ           TRANS CAN MINI-STOR
                                                   INC.
DAVID HENSLER       MAYOR'S FUND TO ADVANCE NYC    TRANS CANADA
                                                   BUILDING
DAVID HILL          MAZZE, ROY                     TRANSAD, INC.
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DAVID HORAN         MBC GRAND BROADCASTING, INC.   TRANSCENTIVE
DAVID HUTCHISON     MBEC COMMUNICATIONS, L.P.      TRANSCENTIVE
DAVID J REGA &      MBH MERCEDES-BENZ              TRANSCOOL INC.
MAUREEN             HEADQUARTERS
MIGLIACCLO-REGA
DAVID KENNEDY       MBRG                           TRANSIT PRODUCTIONS,
                                                   INC.
DAVID L HAYDEN II   MBS RADIO                      TRANSPERFECT
                                                   HOLDINGS, LLC
DAVID L             MC SIGN LLC                    TRANSPORTATION
KORDONOWY                                          DISTRICT COMMISSION
                                                   OF HAMPTON ROADS
DAVID LESSARD       MCAGENCY PRIVATE               TRANS-UNITED INC.
                    INVESTIGATIONS
DAVID LISTON        MCALEER, AMANDA                TRANSWEST
INVESTIGATIVE                                      INVESTIGATIONS, INC.
SERVICES
DAVID LOVE          MCALEER, TONY                  TRAVELERS INSURANCE
DAVID LOVE          MCALLISTER, HYBERG, WHITE,     TRAVIS BROADCASTING
                    COHEN AND MANN, PC
DAVID M. WHITE      MCAP LEASING                   TRAVIS COUNTY CLERK
DAVID MACMILLAN     MCB TRUST SERVICES             TRAVIS MEPHAM
DAVID MCPHERSON     MCBEE, ELAINE                  TRAVIS MILLS GROUP,
                                                   LLC
DAVID MESSERVEY     MCBRIDE, PAT                   TRAVIS SPOONER
DAVID N.            MCCAIN, CHARLES W.             TRAYNOR, PAT
FLUMERFELT
DAVID NAZARIAN      MCCARTHY, BURGESS & WOLFF      TREASURE COAST FOOD
                                                   BANK, INC
DAVID NAZARIAN      MCCLANAN, GLENN B.             TREASURER CITY OF
                                                   NORFOLK
DAVID NIEBUHR       MCCLURE, GLEN                  TREASURER OF
                                                   COMMONWEALTH OF
                                                   VIRGINIA
DAVID PAUL          MCCORKLE SIGN COMPANY, INC     TREASURER OF RHODE
HOLDINGS INC                                       ISLAND
DAVID PAYNE         MCCORMICK, MONICA              TREASURER OF ROANOKE
                                                   COUNTY
DAVID PITTS         MCCORMICK, WYNNE W.            TREASURER OF STATE
                                                   (OH)
DAVID POOLE         MCCRACKEN COUNTY SHERIFF       TREASURER OF THE
                                                   UNITED STATES
DAVID PYPER         MCCRUM'S OFFICE FURNISHINGS    TREASURER OF VA -
                                                   229438214
DAVID REID          MCCULLOCH, WILLIAM             TREASURER OF VA #
                                                   142527932
DAVID ROY           MCDANIEL, DEBRA                TREASURER OF VA
                                                   #235231244
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DAVID SMITH        MCDERMOTT, STEVE                TREASURER OF VA
                                                   068585574 (2)
DAVID STANOVICH    MCDERMOTT, WILL & EMERY, LLP    TREASURER OF VA
                                                   REF#373901783
DAVID THOROGOOD    MCDONALD HOPKINS, LLC           TREASURER OF VA
                                                   REF#549497675
DAVID VARTANIAN    MCDONALD, HOPKINS, BURKE &      TREASURER OF VA-570-
                   HABER                           84-9089
DAVID W. HALL      MCDONNELL FOR GOVERNOR          TREASURER OF VA-STATE
                                                   BAR DUES
DAVID WALKER       MCDOUGAL, MOSES                 TREASURER OF VIRGINIA
                                                   - 052646925
DAVID WATSON       MCDOWELL, ELLEN                 TREASURER OF VIRGINIA
                                                   - P.O.7621
DAVID WHITE        MCDOWELL, RICE, SMITH &         TREASURER OF VIRGINIA
                   BUCHANAN                        - SS# XXX-XX-XXXX
DAVID WORDEN       MCEB, LLC                       TREASURER OF VIRGINIA
                                                   # 167688373
DAVID, MATTHEW     MCENROE, MCCARTHY &             TREASURER OF VIRGINIA
                   GOTSDINER, P.C.                 # 171461035
DAVID-FAYIZ        MCFARMER INC.                   TREASURER OF VIRGINIA
GHOBRIAL                                           # 226112508
DAVID-PAUL         MCGEHEE, LEWIS                  TREASURER OF VIRGINIA
HOLDINGS INC.                                      # 226170215
DAVIDSON MEDIA     MCGILL INVESTIGATION AGENCY     TREASURER OF VIRGINIA
CAROLINAS                                          # 226940248
STATIONS, LLC
DAVIDSON, FULLER   MCGRATH HIGHLANDS I LP          TREASURER OF VIRGINIA
& SLOAN, LLP                                       # 228270402
DAVIDSON, MEGAN    MCGRATH INVESTIGATIVE           TREASURER OF VIRGINIA
                   SERVICES, LLC                   # 228290337
DAVIS COUNTY       MCGRAW-HILL GLOBAL              TREASURER OF VIRGINIA
UTAH ASSESSOR'S    EDUCATION HOLDINGS, LLC         # 231989916
OFFICE
DAVIS MILL         MCGRIFF                         TREASURER OF VIRGINIA
STATION, LLC                                       (UNCLAIMED PROPERTY)
DAVIS, DENISE      MCGRIFF INSURANCE SERVICES,     TREASURER OF VIRGINIA
                   INC.                            0001705934
DAVIS, GEORGE      MCGRIFF INSURANCE SERVICES,     TREASURER OF VIRGINIA
                   INC.                            040606779
DAVIS, TIMOTHY     MCGUIRE DETECTIVE AGENCY        TREASURER OF VIRGINIA
                                                   040606779
DAVIS-KENDRICK,    MCGUIRE REVOCABLE TRUST         TREASURER OF VIRGINIA
MAGGIE             SHARE B                         068585574
DAVITA B NEWELL    MCGUYVER SIGN & DESIGN          TREASURER OF VIRGINIA
                                                   072601522
DAWE DENISE        MCHALE, JAY                     TREASURER OF VIRGINIA
                                                   224865677
DAWN BOSTON        MCI WORLDCOM                    TREASURER OF VIRGINIA
                                                   225410315
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DAWN CYPRESS         MCI WORLDCOM                  TREASURER OF VIRGINIA
                                                   231335459
DAWN HEDGECOTH       MCINNES COOPER                TREASURER OF VIRGINIA
                                                   28172244
DAWN M THIELE        MCINNES COOPER                TREASURER OF VIRGINIA
                                                   425576970
DAWN MILLER          MCINTIRE SCHOOL OF COMMERCE   TREASURER OF VIRGINIA-
                     FOUNDATION                    XXX-XX-XXXX
DAWN OF HOPE         MCINTOSH STATE BANK           TREASURER OF VIRGINIA
FOUNDATION                                         XXX-XX-XXXX
DAWN S FILETTI       MCINTYRE GROUP OFFICE         TREASURER OF VIRGINIA
                     SERVICES                      REFERENCE # 227989331
DAWN SCHMITT         MCINTYRE, RALPH               TREASURER OF VIRGINIA
                                                   TECH
DAWOOD AHMAD         MCKAY, GORDON                 TREASURER OF VIRGINIA
                                                   -VIRGINIA STATE BAR
DAWSON CREEK JR.     MCKEE CLEAR SERVICE           TREASURER OF VIRGINIA-
CANUCKS              SOLUTIONS, INC                0002585274
DAY & NIGHT          MCKELVEY REALTY CO.           TREASURER OF VIRGINIA-
ELECTRIC EEL &                                     0002959980
PLUMBING
DAY NITE NEON        MCKENZIE CONSTRUCTION CORP.   TREASURER OF VIRGINIA-
SIGNS LTD                                          MERRIFIELD
DAY PITNEY, LLP      MCKINLEY FREEWAY CENTER II,   TREASURER OF VIRGINIA-
                     INC.                          PO BOX 526
DAYNE DELANO         MCKINNEY, KELLY K.            TREASURER OF VIRGINIA-
                                                   RICHMOND
DAYNITE NEON SIGN,   MCKNIGHT, MARCUS              TREASURER OF VIRGINIA-
LTD                                                VIRGINIA STATE BAR
DAYS INN             MCLAUGHLIN HOLDINGS, LLC      TREASURER SMYTH
EXPRESSWAY                                         COUNTY
DAYSTAR, LLC         MCLEAN, NAKIA                 TREASURER STATE OF
                                                   IOWA
DAYTON DELTA LLC     MCLEAN, SUSAN                 TREASURER STATE OF
                                                   MAINE (UNCLAIMED
                                                   PROPERTY)
DAYTON MALL          MCLENDON-KOGUT REPORTING      TREASURER STATE OF
VENTURE, LLC         SERVICE                       NEW JERSEY
DAYTON POWER         MCMAHON PARATER               TREASURER STATE OF
AND LIGHT            FOUNDATION FOR EDUCATION      TENNESSEE UCP
COMPANY
DB ELECTRIC          MCMANUS, PAUL L, RMR, FCRR    TREASURER, CITY OF
                                                   LANSING
DBC IMAGING INC      MCMICHAEL, JERRY S.           TREASURER, CITY OF
                                                   ROANOKE
DBSI CANABERRA       MCNAMEE III, WILLIAM F.       TREASURER, CITY OF VA.
HEIGHTS                                            BEACH-RE TAX
DC BUSINESS GROUP    MCNAMEE, SEAN                 TREASURER, COUNTY OF
INC.                                               GLOUCESTER
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DC MOR HOLDING CO MCNAMEE, WILLIAM                  TREASURER, COUNTY OF
LLC                                                 YORK-PPT
DC OFFICE OF      MCNEAL, DEBORAH J.                TREASURER, STATE OF
FINANCE AND                                         CONNECTICUT
TREASURY                                            (UNCLAIMED PROP)
DC SERVICES       MCNICHOLAS ASSOCIATES, INC.       TREASURER, STATE OF
                                                    IOWA (UNCLAIMED
                                                    PROPERTY)
DC TRAILS, INC.      MCNULTY, THOMAS                TREASURER, STATE OF
                                                    MAINE
DCA MARKETING        M-CO TULSA, LLC                TREASURER, STATE OF
                                                    NEW HAMPSHIRE
                                                    (UNCLAIMED PROPERTY)
DCW & ASSOCIATES     MCP TALENT                     TREASURER, STATE OF
                                                    NEW JERSEY
                                                    (UNCLAIMED PROP)
DCWY-TV              MCPHEETERS CONFIDENTIAL        TREASURER, STATE OF
                     SERVICES                       TENNESSEE
DDC FARMINGTON       MCPHERSON, WILLIAM             TRELIANT, LLC
PROPERTY LLC
DDSS TAX SERVICE     MCPHILLIPS, ROBERTS & DEANS-   TRELLENE LLOYD
                     DO NOT USE
DE LAGE LANDEN       MCPHILLIPS, ROBERTS, & DEANS   TREMAYNE, LAY, BAUER,
FINANCIAL SERVICES                                  COLEMAN
CANADA INC.
DEACY & DEACY,       MCRARY, GLEN A.                TREMENDOUS LIFE
LLP                                                 BOOKS
DEAL & SONS          MD INVESTMENTS OF NC LLC       TREMONT CENTER, LLC
ELECTRIC
DEAN & PETER         MDB CONSULTING INC.            TRENDWAY
VOULGARIS                                           CORPORATION
DEAN BLANCHARD       MEADOWBROOK CENTER, LLC        TRETCHLER, SHAWN
DEANNA GARVEY        MEAGAN A VELENOSI              TREVIZO, ALBERT
DEANS LANDING,       MEBRAT ZEGHAI                  TREVOR BALDI-LUCIER
INC. DBA WEBFOOT
MARKETING
DEB COUPLAND         MECHANICAL ELECTRICAL AND      TREVOR LARSON
                     PLUMBING PARTNERS LLC
DEBARTOLO            MECHILLE BURKE                 TREVOR MIDDLEMISS
CAPITAL
PARTNERSHIP
DEBBIE GILLARD       MECKLENBURG COUNTY             TRI POWER CYCLING
                     REGISTER OF DEEDS
DEBBIE HANRAHAN      MECKLENBURG COUNTY TAX         TRI STATE FIRE SYSTEMS
                     COLLECTOR-PPT                  INC.
DEBBIE HARVIE        MEDIA ACCOUNTABILITY GROUP     TRIAD INVESTIGATIVE &
                                                    EXECUTIVE PROTECTION,
                                                    LLC
DEBBIE HIGGINS       MEDIA CITY PUB INC.            TRIAD RETAIL
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DEBBIE WALLACE       MEDIA EAST, INC.                 TRIANGLE RENT A CAR
                                                      INC.
DEBBIE WARD          MEDIA GENERAL                    TRIBUNE
DEBBIE WEAVER        MEDIA X PRESENTATIONS, INC.      TRIBUNE & GEORGIAN
DEBENHAM,            MEDIACOM                         TRIBUNE INTERACTIVE
MICHAEL
DEBORAH              MEDIACOM-105487                  TRIBUNE PUBLISHING
ARSENAULT                                             COMPANY, LLC
DEBORAH              MEDIACOM-5744                    TRIBUNE PUBLISHING
AXWORTHY                                              COMPANY, LLC
DEBORAH J. KLEIN     MEDIANT COMMUNICATIONS INC       TRI-CITIES THRIFTY
                                                      NICKEL
DEBORAH JOHNSON      MEDIANT COMMUNICATIONS INC.      TRI-CITY HOLDINGS
                                                      INCORPORATED
DEBORAH MACEDO       MEDUGORJE, LLC                   TRI-COUNTY
                                                      BROADCASTING INC.
DEBORAH NEWTON   MEETKUMAR PATEL                      TRIGON BLUE CROSS
JOHNSON DBA                                           BLUE SHIELD
NEWTON & SONS
REAL ESTATE
DEBORAH SAUNDERS MEGA OFFICE FURNITURE                TRIGON DENTAL
                                                      ALTERNATIVES
DEBORAH              MEGACITY FIRE & SECURITY, INC.   TRILOGY SOFTWARE, INC.
VANDUZEN
DEBRA A. AGUAYO      MEGAN BOSWELL                    TRIMEX MOBILE
                                                      MARKETING
DEBRA LIVINGOOD      MEGAN BOXWARVA                   TRI-MOR PROPERTIES,
                                                      INC.
DEBRA LIVINGOOD      MEGAN CLEVENGER                  TRINA COLLINS
DEBRA MCCONNELL      MEGAN ORRISS                     TRINITY DEVELOPMENT,
                                                      LLC
DEBT.COM, LLC        MEGASOURCE                       TRINITY HILLS PROP LLC
DECHERT LLP          MEGEN HAVARD                     TRINITY JOHNSON CITY,
                                                      LLC
DECICCO, NANCY       MEGHAN ROTH                      TRINITY ONE
DECISIONES, LLC      MEISHA HIDALGO-DIAZ              TRION GROUP, INC.
DECLARATIVE          MEJRA SEJDIC                     TRIPLE V MECHANICAL
HOLDINGS, INC.                                        CORP.
DECORAH              MEKORMA                          TRISTAN DUNCALF
NEWSPAPERS
DEELEY IT SERVICES   MEL KIESMAN                      TRISTAN GIROUX
LLC
DEEPAK BHAVNANI      MELADIE D. CROY                  TRI-STARR
                                                      INVESTIGATIONS, INC.
DEERFIELD            MELANIE BLACK                    TRIUMPH CENTURY
SEMINARS, INC.                                        BOULEVARD LLC
DEERFOOT MALL        MELANIE CRONAN                   TROMMER, MICHAEL
DEGIULIO, LOUIS      MELANIE DIXON                    TROPICAL SMOOTHIE
                                                      CAFE
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DEGRAFT OFORI        MELANIE GROOT                 TROPICANA 26, LLC
DEIRDRE PARKS        MELANIE LANGLOIS              TROPICANA SQUARE LLC
DEK ENTERPRISES      MELANIE LAVESQUE              TROUTMAN PEPPER
INC                                                HAMILTON SANDERS LLP
DEL CASTILLO,        MELANIE LODGE                 TROUTMAN PEPPER
CLEITON                                            HAMILTON SANDERS LLP
DEL GRIMSTAD         MELANIE MIDDELKOOP            TROUTMAN SANDERS
                                                   MAYS & VALENTINE LLP
DEL PAPA             MELANIE ROY                   TROUTMAN SANDERS,
VENTURES, LLC                                      LLP - VA BEACH
DEL SOL OF           MELBOURNE R. RICHARD, JR.     TROVATO, JENNIFER L.
VIRGINIA BEACH
DEL SOL PROPERTIES   MELINDA BLANCHETTE            TROXELL, LEE
LLC
DEL SOL PROPERTY     MELISSA B WILLIAMS            TROY HENDRICKS
MANAGERS
CORPORATION
DELAMAR PLAZA        MELISSA CHRISTOPHER           TROY MARTINEZ
LLC
DELANO PAUL PETTY    MELISSA COLE                  TROY TREMBLAY
JR
DELAWARE DIVISION    MELISSA COLEMAN               TRU TOUCHING HUMANS,
OF CORPORATIONS                                    LLC
DELAWARE DIVISION    MELISSA DATA CORPORATION      TRUCK SKIN
OF REVENUE-DO NOT
USE
DELAWARE             MELISSA DUQUE                 TRUDI S BARR
SECRETARY OF
STATE
DELAWARE             MELISSA FAUBERT               TRUDY TEMPLE
SECTRETARY OF
STATE-WI
DELAWARE STATE       MELISSA FROST                 TRUIST BANK
ESCHEATOR
DELIA SHAW           MELISSA L ALMAN               TRUMBULL COUNTY
                                                   HEALTH DEPARTMENT
DELILAH MCGUIRE      MELISSA LAWRENCE              TRUMBULL COUNTY
                                                   TREASURER
DELIVERY &           MELISSA MCINTYRE              TRUREED LLC
COMMUNICATIONS,
INC.
DELL CANADA INC.     MELISSA VENT                  TRUSTARC INC
DELL FINANCIAL       MELODIE (JOHNSON) HAYOR       TRUSTE
SERVICES             STARR
DELL MARKETING LP    MELODIE A. RODGERS            TRZASKO, MARZENA
DELL SOFTWARE,       MELODIE DAFOE                 TSANG REALTY LLC
INC.
DELLA DUVAL          MELODY SHIH                   TSE BONITO WATER
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DELMARVA            MELODY TIPPER                   TSX INC.
BROADCASTING -
WSTW-FM
DELMARVA POWER      MELODY TIPPER                   TSX TRUST COMPANY
DELMARVA POWER -    MELSHEIMER, SUSAN               TUCKER III, RONALD
13609
DELOACH, MIKEL      MELTWATER NEWS US INC           TUCSON NEWPAPERS
DELOITTE & TOUCHE   MELVA CARPENTER                 TUCSON RODEO PARADE
DELOITTE & TOUCHE   MELVIN AGUILAR                  TUFFY'S HOLDINGS LTD
LLP                                                 C/O WESTWOOD PUB
DELOITTE- CANADA    MELVYN STARBUCK                 TUITION GUARANTY
                                                    FUND
DELOITTE LLP        MEMEGUANS ESHKAWKOGAN           TULANE HULLABALOO
DELORES THOMAS      MEMORIAL AT DAIRY ASHFORD       TULANE HULLABALOO
                    CENTER, LTD
DELPRINCIPE, BILL   MEMPHIS JOINT VENTURE           TULARE COUNTY TAX
                                                    COLLECTOR
DELTA DENTAL        MEMPHIS LIGHT, GAS AND WATER    TULSA COUNTY
                    DIVISION                        TREASURER
DELTA DENTAL OF     MEN FOR HOPE                    TUMBLEWEED SIGN CO.
CALIFORNIA
DELTA               MENDELSON & ASSOCIATES          TUNSTILL, MICHAEL
MANAGEMENT          ADVERTISING, LLC
GROUP, INC.
DELTA TELECOM,      MENDEZ, GEORGE                  TURFLAND MALL
INC.-14497
DELUXE BUSINESS     MENELAOS, INC.                  TURLOCK LANDER
FORMS                                               PARTNERS LLC
DEMESHKIN,          MEPT TREE SUMMIT VILLAGE LLC    TURN KEY INVESTMENTS
ALEKSANDR
DEMING LLC          MERCEL ENTERPRISES DBA          TURNER, JENNA
                    MERCEL PAINTING
DENABY EQUITIES     MERCHANTS CORNER, L.P.          TURNER, WILLIAM
LIMITED
DENIS GAUTHIER      MERCURI URVAL, INC              TUSCALOOSA NEWS
DENISE B            MERCY PILE                      TV 48 WCPX AZTECA
VALLADARES                                          AMERICAN
DENISE BRIDGES      MEREDITH COLLINS                TWC PROPRIETARY
                                                    SCHOOLS
DENISE GRIFFIN      MEREDITH MCGIBBON               TWEEDS LOCKSMITH,
                                                    INC. SECURITY
                                                    HARDWARE
DENISE HALE         MERIDIAN MALL LIMITED           TWILIO, INC
                    PARTNERSHIP
DENISE MAGI         MERIDIAN WASTE                  TWIN BROOK CROSSINGS,
                                                    LLC
DENISE PUDDICOME    MERILYN COLBRAN                 TWIN CITY PRINTING
DENISE WILSON       MERLE LEGERE                    TWIN DIXIE LANES, INC.
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DENISE WINGER       MERLIN'S PARTY BOUNCERS        TWIN RIVERS
                                                   PROPERTIES, L.L.C.
DENISSE GUTIERREZ   MERRELL & ASSOCIATES, INC.     TWIN TECHNOLOGIES
DENNIS GAUMONT      MERRILL COMMUNICATIONS, LLC    TWO AMIGOS
DENNIS GOERTZEN     MERRILL HANCE                  TWO MEN AND A TRUCK
DENNIS HEIN         MERRILL LYNCH                  TX CHILD SUPPORT SDU
DENNIS              MERRIMAN, ROBIN                TXU ENERGY
JANISZEWSKI
DENNIS LALONDE      MERRIT PRESS                   TY-CO PETROLEUM
                                                   GROUP LLC
DENNIS MCFADYEN     MERRITT PROPERTIES             TYDON SAFETY
                                                   CONSULTING INC.
DENNIS MCKINNEY     MERRY, CATHERINE               TYLER ALLEN
DENNIS PICKUP       MERTIN ADAMS                   TYLER J. MCMASTER
DENNIS PRESCOTT     MERV PARABOO                   TYLER LILLEPOOL
DENNIS R WELCH      MESSORE, THOMAS J. & MARY A.   TYLER, STEPHEN
DENNIS R. STADNYK   MET LOCK & KEY CO.             TYLER, STEPHEN DEE
DENNIS WILSON       META BANK                      TYREL MAXWELL
DENNIS, TAMIA       META PAYMENT SYSTEMS           TYRONE WILSON
DENNISTON, ESTHER   METALWORKS, INC                U.S. BANK NATIONAL
                                                   ASSOCIATION
DENNY J. VAN LOON   METC                           U.S. DEPARTMENT OF
                                                   TREASURY
DENNY L. TAYLOR     MET-ED                         U.S. POSTAL SERVICE
DENOBREGA,          METEJEMEL, LLC                 U.S. SECURITIES AND
ZACHARY                                            EXCHANGE COMMISSION
DENSIE SHERREN      METLIFE LEGAL PLANS, INC       UBONG ETUK
DENTON, TINA        METLIFE LEGAL PLANS, INC       UBS
DENTONS US LLP      METLIFE SMALL BUSINESS         UCN
                    CENTER
DENVER              METRO ATLANTA FRANCHISE        U-HAUL
DEPARTMENT OF       EXPO LLC
FINANCE
DENVER POST         METRO CLERK & MASTER           ULINE CANADA
                                                   CORPORATION
DENY MUTAGANDA      METRO COURIER                  ULINE SHIPPING SUPPLY
                                                   SPECIALISTS
DEPART OF           METRO DETECTIVE AGENCY         ULMER & BERNE LLP
COMMERCE &
CONSUMER
DEPARTAMENTO DE     METRO INFORMATION SERVICES     ULTIMATE PROMOTIONS,
HACIENDA                                           INC.
DEPARTMENT OF       METRO PROCESS & LITIGATION     UMAR TANWIR
AGRICULTURE AND     SERVICES
CONSUMER SVCS
DEPARTMENT OF       METRO PRODUCTIONS/METRO        UMER IQBAL
ARKANSAS            COMMICATIONS
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DEPARTMENT OF       METROBANK, N.A.                UNAM FAMILIA SIN
ASSESSMENTS &                                      FRONTERAS
TAXATION
DEPARTMENT OF       METROLAND COMMUNITY            UNAM FOUNDATION
COMMERCE &          NEWSPAPERS
CONSUMER AFFAIRS-
HI
DEPARTMENT OF       METROLAND DIGITAL              UNCLE BOB'S SELF
COMMERCE &                                         STORAGE
CONSUMER AFFAIRS-
HI
DEPARTMENT OF       METROLAND MEDIA GROUP LTD      UNCLE SAMS TAXES, LLC
COMMERCE/BANKIN
G COMMISSION
DEPARTMENT OF       METROLAND MEDIA GROUP          UNIFIRST CANADA
COMMISSIONER OF     SHARED SERVICES                LTD/LTEE.
BANKS
DEPARTMENT OF       METROPLEX ECONOMIC             UNIKO PROPERTY GROUP
CONSUMER &          DEVELOPMENT CORP               LTD.
REGULATORY
AFFAIRS
DEPARTMENT OF       METROPOLITAN EXPOSITION        UNION BANK & TRUST
CORPORATIONS
DEPARTMENT OF       METROPOLITAN EXPOSITION        UNION ENERGY
FINANCE AND         SERVICES, INC.
ADMINISTRATION
DEPARTMENT OF       METROPOLITAN POLICE NEWS       UNION GAS
FINANCE AND
ADMINISTRATION-
AR
DEPARTMENT OF       METROPOLITAN ST. LOUIS SEWER   UNIONFRIENDLY.COM
FINANCIAL           DISTRICT
INSTITUTIONS
DEPARTMENT OF       METTER, GARY                   UNITED CHECK CASHING
HOMELAND
SECURITY
DEPARTMENT OF       METZER, ROBERT                 UNITED CHURCH OF GOD
JUSTICE (CA)
DEPARTMENT OF       MEYERS, RODBELL &              UNITED CONSULTANCY
JUSTICE, CA         ROSENBAUM, P.A.                SERVICES, INC.
DEPARTMENT OF       MEYTRES, LLC                   UNITED FULFILLMENT
LABOR                                              SOLUTIONS, INC.
DEPARTMENT OF       MEZ DESERT PROPERTIES, LLC     UNITED GAS COMPANY
LABOR &
INDUSTRIES
DEPARTMENT OF       MFS                            UNITED HEALTHCARE
MOTOR VEHICLES
DEPARTMENT OF       MFS RETIREMENT SERVICES INC.   UNITED HEALTHCARE
MOTOR VEHICLES
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DEPARTMENT OF      MFV EXPOSITIONS LLC             UNITED HEALTHCARE-
PUBLIC UTILITIES                                   HEALTH INSURANCE
DEPARTMENT OF      MG TRUST COMPANY                UNITED MAINTENANCE
REVENUE AND                                        SERVICES, INC.
REGULATION
DEPARTMENT OF      MHOG                            UNITED PARCEL SERVICE
REVENUE AND TAX                                    CANADA LTD.
DEPARTMENT OF      MI GENTE MAGAZINE               UNITED PROCESS
REVENUE-MONTANA                                    SERVERS
DEPARTMENT OF      MI HELLE GOULD                  UNITED REALTY GROUP,
REVENUE-MS                                         INC.
DEPARTMENT OF      MI TAM, PROPERTY ACCOUNT        UNITED SERVICE
REVENUE-TX         MANAGER                         ORGANIZATIONS, INC
DEPARTMENT OF      MIACHAEL CORDES                 UNITED SHIPPING
SAFETY AND                                         SOLUTIONS
PROFESSIONAL
SERVICES
DEPARTMENT OF      MIACHAEL W WALLING              UNITED STATE
SANITARY                                           TREASURY
ENGINEERING
DEPARTMENT OF      MIAMI POWER TEAM                UNITED STATES DISTRICT
STATE - NATL       FOUNDATION, INC                 COURT
PASSPORT
PROCESSING CTR
DEPARTMENT OF      MIAMI SYSTEMS, CORP.            UNITED STATES HISPANIC
STATE -                                            CHAMBER OF COMMERCE
PENNSYLVANIA
DEPARTMENT OF      MIAMI-DADE COUNTY TAX           UNITED STATES
STATE - TN         COLLECTOR                       INVESTIGATIVE &
                                                   PROTECTION AGENCY
DEPARTMENT OF      MICAELA SAENZ                   UNITED STATES POSTAL
STATE (PA)                                         SERVICE
DEPARTMENT OF      MICHAEIF TRAINOR                UNITED STATES POSTAL
STATE- FL                                          SERVICE - HASLER
DEPARTMENT OF      MICHAEL A CALHOON               UNITED STATES POSTAL
STATE- NY                                          SERVICE PITTSFORD
DEPARTMENT OF      MICHAEL A. CAMPANA JR.          UNITED STATES POSTAL
STATE-DE                                           SERVICES-CAPS ACCT
DEPARTMENT OF      MICHAEL A. FORD                 UNITED STATES PROCESS
STATE-FL                                           SERVICE CORP.
DEPARTMENT OF      MICHAEL ADAMS                   UNITED STATES
TAX & REVENUE                                      TREASURY
DEPARTMENT OF      MICHAEL AHMED                   UNITED STATES
THE TREASURY                                       TREASURY
DEPARTMENT OF      MICHAEL AKEHVRST                UNITED STATES
TREASURY                                           TREASURY
DEPARTMENT OF      MICHAEL BANTUGAN                UNITED STATES
TREASURY                                           TREASURY
DEPARTMENT OF      MICHAEL BASS                    UNITED STATES
TRESURY-NJ                                         TREASURY
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DEPT OF CHILDREN & MICHAEL BELL                     UNITED STATES
FAMILY SERVICES                                     TREASURY- IRS CA
DEPT. OF           MICHAEL BLYTHE                   UNITED STATES
ASSESSMENTS &                                       TREASURY NC
TAXATION-MD
DEREK CURTIS       MICHAEL BRENT TURNER             UNITED STATES
                                                    TREASURY-GA
DEREK KNORR         MICHAEL BRENT TURNER - DO       UNITED STATES
                    NOT USE                         TREASURY-IRS (UTAH)
DEREK VALLADARES    MICHAEL BRUNO                   UNITED STATES
                                                    TREASURY-LEVY
                                                    (BALDEEP)
DEREK WADE          MICHAEL BURLEY                  UNITED STATES
                                                    TREASURY-NY LEVY
DERHAN HORTON       MICHAEL CADEAU                  UNITED TAX SERVICE
DEROSIER STORAGE    MICHAEL CALLAGHAN               UNITED VAN LINES, LLC
CO., INC.
DERRENBACHER,       MICHAEL CAMARRO                 UNITED WAY OF TULARE
EDNA                                                COUNTY
DERRENT JAMES       MICHAEL CONNOLLY                UNITED YELLOW PAGES
                                                    INC
DERRICK             MICHAEL COPADA                  UNITEK EDUCATION
ROEBOTHAM
DERRICK SUTTON      MICHAEL DEMPSEY                 UNITY
                                                    COMMUNICATIONS, INC.
DESCHANBAULT,       MICHAEL DOY                     UNITY TELECOM
DON
DESIGN NOVELTY &    MICHAEL DUFFY                   UNIVERSAL TAX
SPECIALTY                                           SYSTEMS, INC.
COMPANY
DESIGNS             MICHAEL EGER                    UNIVERSITY HILLS WEST
                                                    LLC
DESIGNS, INC.       MICHAEL ERNST                   UNIVERSITY JOINT
                                                    VENTURE
DESMOND             MICHAEL FISHER                  UNIVERSITY OF
PIETERSEN                                           MISSOURI, KANSAS CITY
DESNOES             MICHAEL FREDETTE                UNIVERSITY OF ST.
INVESTIGATIONS                                      THOMAS
INC.
DESOTO TIMES        MICHAEL GLEN WADE LLC           UNIVERSITY OF
TODAY                                               WASHINGTON
DESSA, ADDIS M      MICHAEL GRIGG                   UNIVEST II
                                                    CORPORATION
DESSI HRISTOVA      MICHAEL HAN                     UNIVISION - TX LP
DESTINATION         MICHAEL HAWKSLEY                UNIVISION GROUP
CONCEPTS, INC.
DESTINATION         MICHAEL HEINRICH                UNIVISION KABE KBTF
NORTHWEST
DETECT INC.         MICHAEL HEINTZMAN               UNIVISION RADIO
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DETLEV BOEVE        MICHAEL HELD                    UNIVISION RADIO -
                                                    CHICAGO
DETR                MICHAEL HOHOL                   UNIVISION RADIO
                                                    FRESNO, INC.
DETROIT             MICHAEL HUSSEY                  UNIVISION RADIO NEW
NEWSPAPER                                           MEXICO INC.
DEVELOPER           MICHAEL ILLIES                  UNIVISION RECEIVABLE
EXPRESS, INC.                                       CO. LLC
DEVIN CAINES        MICHAEL J ROCHE                 UNLIMITED NET
                                                    RESOURCES LLC
DEVIN DALY          MICHAEL J WARD                  UNO-FOUNDATIONS
DEVON CSONTOS       MICHAEL J. GAUDET               UOFC VOLUNTEER TAX
                                                    PROGRAM
DEVON SEARLE        MICHAEL J. PETERSEN             UPADHYAYA, VIJAY
DEVONWORTH          MICHAEL J. SAWYER               UPPER QUADRANT
EMBROIDERY INC
DEX IMAGING         MICHAEL J. SAWYER               UPS
DEX IMAGING OF      MICHAEL JAMISON                 UPS / UPS SCS DALLAS
ALABAMA, LLC
DEX MEDIA           MICHAEL JANSEN                  UPS BROKERAGE
HOLDINGS INC -
619009
DEX MEDIA           MICHAEL JOHNSON                 UPS CANADA
HOLDINGS INC. -
9001401
DEXTER & JOY, LLC   MICHAEL LEES                    UPS- CAROL STREAM, IL
DEXTER CHECK        MICHAEL LEON DUKES              UPS CUSTOMHOUSE
CASHING                                             BROKERAGE INC.
DEXTER MALLORY      MICHAEL LONG                    UPS EXPEDITED MAIL
                                                    SERVICES, INC.
DGEG, PLLC          MICHAEL MATTESON                UPS FREIGHT
DHANASAGREN NAIR    MICHAEL MCBRIDE                 UPS FREIGHT
DHEERAJ GAWRI       MICHAEL MCCARTNEY               UPS FREIGHT
DHL EXPRESS         MICHAEL MCMILLIN                UPS GROUND FREIGHT,
(CANADA) LTD                                        INC.
DIAL GLOBAL RADIO   MICHAEL MEANS                   UPS STORE 329
NETWORKS
DIALAMERICA         MICHAEL NEMEC                   UPS SUPPLY CHAIN
MARKETING, INC.                                     SOLUTIONS INC.
DIAMOND             MICHAEL NORRIS                  UPS SUPPLY CHAIN
MARKETING                                           SOLUTIONS, INC.-DONT
SOLUTIONS                                           USE!!!!
DIAMOND PROPERTY    MICHAEL OWENS                   URBAN EDGE
(USA) INC                                           PROPERTIES LP
DIAMONDBACK         MICHAEL PARK                    URBAN LEAGUE OF
INVESTIGATIONS                                      HAMPTON ROADS INC.
DIANA DOWD          MICHAEL PIPER                   US DATA CORPORATION
DIANA S.REYNOLDS    MICHAEL Q LE                    US DEPARTMENT OF
                                                    HOMELAND SECURITY
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DIANE CHAPMAN        MICHAEL RAIMONDO              US DEPARTMENT OF
                                                   STATE
DIANE FRASER         MICHAEL ROSE                  US DISTRICT COURT
DIANE GODDEN         MICHAEL SALAIMUPALE           US DISTRICT COURT EAST
                                                   DISTRICT OF VA
DIANE HEBERT         MICHAEL SMOKE                 US LEC OF NORTH
                                                   CAROLINA INC.
DIANE HICKEY &       MICHAEL STAPLEY               US NEWSPAPERS
KATHLEEN
MULLALLY
DIANE MARTINO        MICHAEL THIES                 US RETAIL INCOME FUND
                                                   VIII-B, LP
DIANE MYERS          MICHAEL VASILIADIS            US SMALL BUSINESS
                                                   ADMINISTRATION
DIANE O'NEIL         MICHAEL VILLAGE LLC           USA HOSTS, LTD.
DIANE STRICKLAND     MICHAEL WALKER                USA LEASING, LTD
DIANNA LAMBREV       MICHAEL WHELAN                USA TODAY
DICE.COM             MICHAEL WOOD                  USB PROPERTIES
DICKINSON            MICHAEL, EDWARD               USC EDUCATIONAL
MACKAMAN TYLER                                     FOUNDATION
& HAGEN PC
DICKSON COUNTY       MICHAL, STEPHEN               USDIGITALMEDIA
TRUSTEE
DICKSON SQUARE       MICHEAL LAMCH                 USER TESTING, INC
PROPERTIES
DICKSON, FLAKE       MICHEAL MICHAELINSKY          USERWORKS, INC
PARTNERS
DIEDRA TAYLOR        MICHEL LAROCQUE               USHA RUMMUY
DIEFFENBACH          MI'CHELE JUBILEE              USHYEE
HOLDINGS LLC
DIFWS LLC            MICHELE LIBLING               USI TECHNOLOGY, INC.
DIGGS, DEWAYNE       MICHELLE BAIN                 USO OF HAMPTON ROADS
DIGI COMP            MICHELLE BURGESS              USPS-PROFESSIONAL
COMPUTERS                                          PRINTING
DIGILANT, INC.       MICHELLE BUTLER               USWEST
                                                   COMMUNICATIONS
DIGIOVANNI,          MICHELLE COLLIER              UTAH DEPARTMENT OF
ANTHONY M.                                         REVENUE
DIGITAL              MICHELLE COX                  UTAH DEPT. WORKFORCE
ADVENTURE                                          SERVICES
(CALGARY)
DIGITAL BANG         MICHELLE D. MCBRIDE           UTAH DIV. OF CONSUMER
                                                   PROTECTION
DIGITAL BUSINESS     MICHELLE D. MCBRIDE           UTAH FOOD BANK
SYSTEMS, INC
DIGITAL BUSINESS     MICHELLE E CLARK              UTAH STATE TAX
TECHNOLOGIES, INC.                                 COMMISSION
DIGITAL HIVE         MICHELLE ELLIS                UTAH STATE TREASURER
STUDIO
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DIGITAL JUNGLE       MICHELLE GIROUX                 UTAH STATE TREASURER
ELECTRONIC PRINT
DIGITAL TECH         MICHELLE GRYWACHESKI            UTILITIES KINGSTON
COMPUTERS
DIGITAL-DNS          MICHELLE HELMER                 UTILITY BILLING
                                                     SERVICES
DILIGENT             MICHELLE HOLLAND                V&E SYSTEMS AND
CORPORATION                                          SERVICES, LLC
DIMATTEO, JOSEPH     MICHELLE KAIN-LOVE              V12 GROUP
A. JR.
DIMENSION            MICHELLE L DUTIAUME             V2K WINDOW FASHIONS
CONSULTING INC
DIMITRY KITS         MICHELLE LINK                   VA ABC
DINA ALONZI          MICHELLE SWEENEY                VA HEATING AND
                                                     ELECTRICAL SERVICES,
                                                     LLC
DINA EL DABE         MICHIGAN ATTORNEY GENERAL       VA. BEACH PARKS & REC.
DINARDO, KEITH       MICHIGAN DEPARTMENT OF          VACO RICHMOND, LLC
                     TREASURY
DINESH KUMAR         MICHIGAN DEPARTMENT OF          VADIM ANTON
                     TREASURY
DIOCESAN             MICHIGAN DEPARTMENT OF          VAIL SOUTH INC.
PUBLICATIONS, INC.   TREASURY-SALES & USE
DIOCESE OF           MICHIGAN DEPARTMENT OF          VALASSIS CANADA INC.
JEFFERSON CITY       TREASURY-UCP
DIONE JOSEPH         MICHIGAN DEPT OF CONSUMER &     VALASSIS
                     INDUSTRY SVCS.                  COMMUNICATIONS, INC.
DIRECT DATA          MICHIGAN DEPT. OF LICENSING &   VALASSIS INTERACTIVE,
SYSTEMS              REGULATORY                      INC.
DIRECT DISPOSAL      MICRO VISION SOFTWARE           VALENTINA ALMA PRATO
CORP.                                                CECILIO
DIRECT ENERGY        MICRO WAREHOUSE                 VALERIE GREEN
REGULATED
SERVICES
DIRECT IMAGING       MICROAGE                        VALERIE HEIDEMAN
SYSTEMS
DIRECT MARKETING     MICROSOFT AD CENTER             VALERIE HEIDEMAN
ASSOCIATION
DIRECT MEDIA, INC.   MICROSOFT CERTIFIED PARTNER     VALERIE SILAS
                     PROGRAM
DIRECT RESPONSE      MICROSOFT CORPORATION-          VALHEN
MEDIA GROUP          TECHNOLOGY
DIRECT SELLING       MICROSOFT LICENSING, GP         VALIERY G SUMABONG
ASSOCIATES
DIRECT SELLING       MICROSOFT ONLINE, INC.-BING     VALLEJO SANITATION
EDUCATION            ADS                             AND FLOOD CONTROL
FOUNDATION                                           DISTRICT
DIRECTIONS ON        MICROSOFT SERVICES              VALLEJO TIMES HERALD
MICROSOFT
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DIRECTOR OF         MICROTEC SECURI-T              VALLEY VOICE
EMPLOYMENT
STANDARDS
DIRECTOR OF         MICROTEK                       VALLEY WEST GLASS
FINANCIAL
INSTITUTIONS
DIRECTOR OF         MID ATLANTIC NETWORK           VALLEYVIEW VALLEY
REVENUE                                            VIEWS
DIRECTORY           MIDAMCO                        VALPAK OF BLAIR
SYSTEMS GROUP                                      COUNTY
DIRECTSAVE          MIDAMERICAN ENERGY             VALPAK OF CANADA
CANADA              COMPANY                        LIMITED
DIRECTTV            MID-ATLANTIC BUSINESS          VALPAK OF CATAWBA
                    COMMUNICATIONS                 VALLEY
DIRK OKKERSE        MID-ATLANTIC GLASS             VALPAK OF EASTERN
                    CORPORATION                    CAROLINA
DIRK WUEHR          MID-ATLANTIC NOTARY SUPPLIES   VALPAK OF EDMONTON
DIROCCO, YOLANDA    MIDCONTINENT RADIO OF SOUTH    VALPAK OF GREATER
                    DAKOTA, INC.                   KANSAS CITY
DIRTY DICKS         MIDDLE TENNESSEE NATURAL       VALPAK OF P.G. COUNTY
                    GAS
DISABLED            MIDLAND FINANCIAL SERVICES     VALSAINT EDITH
VETERANS
NATIONAL
FOUNDATION
DISALVO, STEVE      MIDLAND LOAN SERVICES INC      VALUE CARD ALLIANCE
                                                   LLC
DISASTER            MIDLAND NORTHSIDE LIONS        VALUE MOMENTUM
RECOVERY            CLUB
PROFESSIONALS LLC
DISASTER            MIDLAND PARK                   VALUMAIL MAGAZINE
RECOVERY
SERVICES, LLC
DISCOUNT            MIDLAND POWER UTILITY          VAN HORN, ERIK
PLUMBING, INC.      CORPORATION
DISCOVER FIN        MIDLAND PRESS                  VAN HOUTTE COFFEE
SERVICES INC                                       SERVICE INC
CASE#02 36170
DISCOVERY           MIDLANDS MEDIA GROUP, LLC      VAN RU CREDIT CORP.
BENEFITS
DISCOVERY PLAZA     MIDTOWN DEVELOPMENT            VAN UNNIK JUDY
RETAIL PARTNERS     CORPORATION
LLC
DISCOVERY           MIDTOWN PLAZA, LC              VAN WIE, BILL
SERVICE, PRIVATE
INVESTIGATIONS
DISNEY              MIDWAY BROADCASTING            VANASSE HANGEN
RESERVATION         COMPANY                        BRUSTLIN, INC.
CENTER
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DISPATCH MEDIA       MIDWEST COMMUNICATIONS -      VANASSE HANGEN
GROUP                WIXX                          BRUSTLIN, INC.
DISPUTE ANALYTICS,   MID-WEST FAMILY               VANCOUVER ISLAND
LLC                  BROADCASTING                  NEWSPAPER GROUP INC.
DISTINCTIVE EVENT    MID-WEST REAL ESTATE &        VANDA NICOLETTI
RENTALS              APPRAISAL GROUP, INC
DISTRIBUTEL MEDIA    MIERAS, NEIL                  VANDEVENTER BLACK
DISTRIBUTION, INC.                                 LLP
DISTRICT OF          MIGUEL A OROZCO-DO NOT USE,   VANDEVENTER BLACK
COLUMBIA             NEW LL                        LLP
DEPARTMENT OF
REVENUE
DISTRICT OF          MIGWANS PITQWANAKWAT          VANESSA CARPENTER
COLUMBIA
TREASURER
DISTRICT OF          MIHALK, MARK-NAC REP          VANESSA MCKAY
COLUMBIA
TREASURER
DIVERSIFIED          MIHALKA ENTERPRISES, INC      VANESSA PEREZ
COMFORT SERVICES
DIVISION OF MOTOR    MIJO M JAGATIC                VANESSA VILLARUEL
VEHICLES
DIVISION OF          MIKE ADEY                     VANHORN & VANHORN,
TAXATION                                           INC.
DIVISION OF          MIKE BROWN                    VANN VIRGINIA CTR FOR
TAXATION - NJ                                      ORTHOPAE
DIXON HUGHES         MIKE BUCAR                    VANRYCKEGHAM, KATY
GOODMAN LLP
DJ BROADWAY LLC      MIKE BUCAR & RICK FORD        VANTAGE PRODUCTIONS
DJ MASTERMIX         MIKE CONWAY                   VAQUERO FINANCIAL
                                                   SERVICES, LLC
DJH ADVERTISING,     MIKE DORAN                    VARDEEP CHAHAL
LLC
DK GENERAL BOOTH     MIKE DUIKERSLOOT              VARUN PANDAY
LLC
DL INVESTMENT        MIKE FARADAY                  VASA
PROPERTIES                                         SITHAMBARANATHAN
DLA PIPER (CANADA)   MIKE FLAMAN                   VATALARO, ANNA
LLP
DLA PIPER LLP        MIKE GRDIC                    VB DAM INVESTMENT
                                                   CORP
DLA PIPER LLP (US)   MIKE LANDY                    VB SPCA
DLA PIPER RUDNICK    MIKE LOWERY                   VC ROOMS, LLC
GRAY GRAY US LLP
DLM ARCHITECTS,      MIKE MCMANUS                  VD INNOVATION
P.C
DLM                  MIKE MOBLEY REPORTING         VECTREN ENERGY
INVESTIGATIONS                                     DELIVERY
DLS INC.             MIKE NASSER                   VEDIAN, LLC
DM INVESTMENT CO.    MIKE NEIL                     VEGA NANCY
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DM3 VENTURES INC     MIKE PASQUALE                  VEGA, VICKY
DM3 VENTURES, INC    MIKE PRYTULA                   VELLO HOLDINGS
                                                    LIMITED
DMDBD, LLC           MIKE SVEDE                     VELOPERS.COM, INC.
DMITRI               MIKE TSIGIRLAH                 VENTANILLA DE SALUD
IOUNATANOV                                          WITH TX AHEC
DMITRI               MIKE'S COMPUTER SERVICES       VENTURA COUNTY STAR
IOUNATANOV
DMK CASTLE SHOPS     MIKE'S QUALITY PAINTING        VENTURE DIRECT
                                                    WORLDWIDE - 9020
DMK ELECTRICAL       MIL ITF 585562 BC LIMITED      VENTURE DIRECT
CONTRACTING, INC.                                   WORLDWIDE - 9484
DN & TL LLC          MILADY IRIZARRY                VENTURE SOURCING
                                                    GROUP
DO NOT USE BAKER     MILAM HOWARD NICANDRI DEES     VENTURE TOURS, INC
& DANIELS LLP        & GILLAM
DO NOT USE EBATES    MILAN HOTOVY                   VERA TURNBULL
& FAT WALLET
DO NOT USE ELDER,    MILENA ZIVOJINOVICH            VERGE AMERICA LTD
BECKY
DO NOT USE JEFFREY   MILES K. THOROMAN, CPA, P.C.   VERIDIAN
SCHUBERT
DO NOT USE SHRED-    MILES RACHAEL                  VERISIGN
IT - N. ARMISTEAD-
3801
DO NOT USE YULEE     MILES, PAUL                    VERIZON
STATE, LLC
DO NOT USEH.A.       MILIETTE REYES GARCIA          VERIZON
BRUNO, LLC DBA
MFV EXPO
DO NOT USE-MART      MILITARY BRIDGE, LLC           VERIZON - 4833 -TRENTON
FRANCHISE                                           NJ
VENTURE
DOBBS, JOHN          MILL END CENTER, LLC           VERIZON - 660720
DOBY'S BRIDGE LLC    MILL HOUSE PROPERTIES LLC      VERIZON - FREEHOLD
DOCHERTY             MILLAR TAX SERVICE, LLC        VERIZON CANADA
DOCUMENT             MILLER & BEAN COFFEE           VERIZON
RETRIEVAL            COMPANY                        COMMUNICATIONS -
NETWORK                                             920041-TX
DOCUMENT SERVE       MILLER & MARTIN                VERIZON- DFW AIRPORT
EXPRESS
DOCUMENT             MILLER FOOD STORE INC       VERIZON DIRECTORIES
SOLUTIONS, INC.                                  CORP.
DOCUMENT             MILLER PROPERTY MAINTENANCE VERIZON FLORIDA INC.
TECHNOLOGIES                                     920041
DOC-U-SEARCH         MILLER THOMPSON LLP         VERIZON SOUTH-DALLAS
DOCUSIGN INC         MILLER, CHARLES             VERIZON SOUTH-TAMPA
DOCUSIGN, INC.       MILLER, EVE L.              VERIZON WIRELESS -
                                                 17464
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DODSON &            MILLER, JOSEPH                  VERIZON WIRELESS
CHATMAN                                             DALLAS
CONSTRUCTION, INC
DODSON, TIFFANY     MILLER, KELLY                   VERIZON WIRELESS-16810
DOGS DESERVE        MILLER, RYAN                    VERIZON WIRELESS-PA
BETTER, INC
DOLEX DOLLAR        MILLER/WEINER                   VERIZON-15043
EXPRESS INC         COMMUNICATIONS
DOLLAR FINANCIAL    MILLER'S SIGN CO., INC.         VERIZON-15124
GROUP INC
DOLLAR RENT A CAR   MILLIKEN, BRIAN                 VERIZON-30001
DOLLAR THRIFTY      MILLION DOLLAR MEDIA, LLC       VERIZON-4830
AUTOMOTIVE
GROUP, INC.
DOLLAR THRIFTY      MILLS, JULIAN                   VERIZON-ALBANY
AUTOMOTIVE
GROUP, INC.
DOLOR HUBERT        MILLWOOD CLEANERS               VERIZON-BALTIMORE
                                                    17398
DOLORES MILLER      MILNES MOVING & STORAGE LTD.    VERIZON-BALTIMORE-
                                                    17577
DOLPHIN CAPITAL     MILWAUKEE JOURNAL SENTINEL      VERIZON-PA
CORP.
DOMA                MIMCO, INC.                     VERIZON-PO BOX 64809-
TECHNOLOGIES, LLC                                   BALTIMORE
DOMAIN REGISTRY     MIMCO, INC.                     VERIZON-RECEIVABLES
OF AMERICA                                          MANAGEMENT CALL
                                                    CENTER
DOMINGA TOMAS       MIMCO, INC.                     VERMONT DEPARTMENT
                                                    OF REVENUE
DOMINGO PEDRO       MIMMS INVESTMENTS               VERMONT DEPARTMENT
                                                    OF TAXATION
DOMINICS OF NEW     MINDY CLAIRE                    VERMONT DEPARTMENT
YORK                                                OF TAXES-SETTLEMENT
DOMINION COURIER    MINDY CLAIRE                    VERMONT DEPT. OF
INC.                                                TAXES
DOMINION ENERGY -   MINI MART                       VERMONT SECRETARY
WEFILE                                              OF STATE
DOMINION ENERGY     MININGHAM, BARBARA              VERNA JONES
NORTH CAROLINA
DOMINION ENERGY     MINISTER OF FINANCE             VERONICA GIANNINI
OHIO
DOMINION            MINISTER OF FINANCE - ONTARIO   VERRA MOBILITY
FIREWORKS                                           CORPORATION
DOMINION            MINISTER OF FINANCE & CORP      VERRINDER BHARMOTA
FRANCHISES          RELATIONS
DOMINION OHIO       MINISTER OF FINANCE &           VERSATILE
EAST                MUNICIPAL AFFAIRS               CONSTRUCTION
                                                    COMPANY, INC.
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DOMINION            MINISTER OF FINANCE (ALBERTA)   VERSTANDIG
PRINTERS, INC.                                      BROADECASTING
DOMINION REALTY     MINISTER OF FINANCE (BC)        VERTICAL SIGN SERVICE
ADVISORS,INC                                        LLC
DOMINION SERVICE    MINISTER OF FINANCE             VERTIS B. HADLEY
COMPANY OF          (MANITOBA)
RICHMOND
DOMINION VIRGINIA   MINISTER OF FINANCE             VERVEBA LLC
POWER               (MANITOBA) INACTIVE
DOMINIQUE GAUDOT    MINISTER OF FINANCE (QUEBEC)    VESELA PARAPOUNSKA
DON A. TURKLESON    MINISTER OF FINANCE             VESTIGANT, LLC
                    (SASKATCHEWAN)
DON CORDEIRO        MINISTER OF                     VETERANS BUSINESS
                    FINANCE(MANITOBA)               SERVICES
DON LIBOIRON        MINISTER OF FINANCE-MANITOBA    VIACOM OUTDOOR
                                                    CANADA
DON MCDOUGALL       MINISTER OF REVENUE OF          VIBES TECHNOLOGIES
                    QUEBEC                          INC.
DON REID PROPERTY   MINISTER OF REVENUE-ONTARIO     VICKI CROW, C.P.A
MANAGEMENT
DON RICHARDS        MINISTRY OF FINANCE (EHT)-      VICKI LONG
                    DONT USE!!!!
DON SOO KIM         MINNEHAHA/LAKE PARTNERS, A      VICKY BAKER
                    MINNESOTA PARTNERSHIP
DONAHUE             MINNESOTA DEPARTMENT OF         VICKY SALMOND
PROPERTIES          COMMERCE
ASSOCIATES, INC.
DONALD BLAKE        MINNESOTA DEPARTMENT OF         VICOM
                    COMMERCE (UCP)
DONALD BRADD        MINNESOTA DEPT. OF REVENUE      VICTOR CLAYTON
DONALD BRETT        MINNESOTA LAKES BANK            VICTOR M. VELEZ
DONALD              MINNESOTA REVENUE               VICTOR RAMOS
CALLAGHAN
DONALD CLEGG        MINNESOTA REVENUE-DO NOT        VICTORIA COTRONA
                    USE
DONALD E ACKER      MINNESOTA SECRETARY OF          VICTORIA DOUGLAS
                    STATE
DONALD L HOFFMAN    MINNESOTA STATE TREASURER       VICTORIA E. CODY
DONALD LOGAN        MINNESOTA UI FUND               VICTORIA FULLER
DONALD MORNEAU      MINNIES STORAGE LLC             VICTORIA GRIZZLIES
                                                    HOCKEY INC
DONALD MOXLEY       MINOLTA BUSINESS EQUIPMENT      VICTORIA PEREIRA
DONALD PRIGIONE     MINOLTA BUSINESS EQUIPMENT      VICTORIA RADIOWORKS,
                    (CANADA) LTD.                   LTD.
DONALD R RHOADES    MINSTER DISTIBUTORS             VICTORIA SHIER
DONALD R. HARVEY,   MINT MAGAZINE                   VICTORIA WOOTEN
INC.
DONALD              MINUTEMAN PRESS                 VICTORY CHRISTIAN
ROBERTSON                                           FELLOWSHIP
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DONALD STARLING    MIRAMAR PROPERTY INVESTORS,      VICTORY MEDIA, INC
                   LLC
DONALDSON, KELLY   MIRAMONTES, ROBERT               VIDEO ATLANTIC
S.                                                  TELEPRODUCTIONS
DONNA CLARKE       MIRANDA BEECHY                   VIDEO NEWS INC.
DONNA COWAN        MIRANDA GARVIE                   VIDEOTRON GP-11427
DONNA EBBS         MIRCHANDANI FAMILY LIMITED       VIDEOTRON S.E.N.C.
                   PARTNERSHIP
DONNA FERGUSON     MIROIR MAGIQUE CABINE PHOTO      VIEN, DON
DONNA              MISCELLANEOUS & ORNAMENTAL       VIETIMEX LLC
FERGUSON/CHRIS     METALS, INC
DAWSON
DONNA FLINN-NEHF   MISSION 2004 GROUP LLC           VIGEN ALLAHYARIAN
DONNA HICKS TAX    MISSION 2004 GROUP, INC          VIGGEY PROPERTIES LLC
RETURN
DONNA HILL         MISSION SERVICES OF LONDON       VIGRINIA STATE
                                                    UNIVERSITY
DONNA J. WALDEN    MISSISSIPPI DEPARTMENT OF        VIKTOR ZHEREBITSKIY
REVOCABLE LIVING   REVENUE
TRUST
DONNA MILLER       MISSISSIPPI DEPARTMENT OF        VILLA AVE. PARTNERS,
                   REVENUE                          LLC
DONNA MITCHELL     MISSISSIPPI SECRETARY OF STATE   VILLA LUISA, LLC
DONNA PAYNE        MISSISSIPPI STATE TAX            VILLAGE AUTO OUTLET
                   COMMISSION
DONNA QUINN        MISSISSIPPI STATE TREASURER      VILLAGE AUTO OUTLETT
DONNA RUGE AND     MISSOURI AMERICAN WATER          VILLAGE DEVELOPERS
ASSOCIATES
DONOHOE ADVISORY   MISSOURI AMERICAN WATER -        VILLAGE DEVELOPERS
ASSOCIATES LLC     6029
DON'S ASPHALT      MISSOURI DEPARTMENT OF           VILLAGE HALLOWEEN
PAVING &           REVENUE                          PARADE
MAINTENANCE
DOOR GUYS          MISSOURI DEPARTMENT OF           VILLAGE OF DEPEW
                   REVENUE
DOORS ON DEMAND,   MISSOURI DEPT. OF REVENUE        VILLAGE OF
LLC                                                 LIBERTYVILLE
DORCHESTER         MISSOURI DIRECTOR OF REVENUE     VILLAGE OF MIDLOTHIAN
DEVELOPMENTS                                        - LICENSES
DORCIA MINOTT      MISSOURI DIVISION OF             VILLAGE OF MIDLOTHIAN
                   EMPLOYMENT SECURITY              - UTILITIES
DOREEN MELLOW      MISSOURI GAS ENERGY              VILLAGE OF
                                                    SCHAUMBURG
DORI CALLAHAN      MISSOURI GAS ENERGY              VILLAGE SOUTH
                                                    SHOPPING CENTER
DORI ROWLAND       MISSOURI GAS ENERGY              VILLAGE SQUARE
                                                    SHOPPING CENTER OF
                                                    WINTER HAVEN, LLC
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DORI ROWLAND       MISSOURI GAS ENERGY             VILLAS AL LAGO
TRUST                                              DEVELOPMENT CORP
DORIAN JACKSON     MISSOURI GAS ENERGY             VILLE DE MONTREAL
DORINE OOMEN       MISSOURI GAS ENERGY             VIMEO, INC
DORIS BELL         MISSOURI GAS ENERGY             VINCE ANELLO
DORIS JONES        MISSOURI SECRETARY OF STATE     VINCE JOHNSON
DORIS MURRAY       MISSOURI STATE TREASURER        VINCENT E FYFIELD
                   (UNCLAIMED PROPERTY)
DORIS SINON-DINE   MISTER MOVER                    VINCENT GUZMAN
DOROTHY CHUNG      MISTY BOYD                      VINEY BAGGA
DOROTHY DOOLEY     MISTY COLLINS                   VINNEDGE BUILDING LP
DOROTHY E          MISTY HORNE                     VINSON & ELKINS LLP
WISWELL
DOROTHY SILZER     MISYS IQ LLC                    VINTAGE CAPITAL
DOROTHY WEBER      MITCH WILLIAMS SHERIFF          VINTAGE CORPORATION
DOROTHY            MITCHELL BUILDING CONCEPTS,     VINTAGE FORMS, LLC
YOUNG/NEIL JONES   INC
DORTCH SILVER      MITCHELL LEASING COMPANY        VIOLET MINTS LLC
LAKE, LLC
DORTHY NEWELL      MITCHELL PERRAULT INC.          VIRESCENT, INC.
DOS COSTAS         MITCHELL, BARDYN & ZALUCKY      VIRGIN 98.5 FM
COMMUNICATIONS
CORP
DOS MUNDOS INC     MITCHELL, DIANE                 VIRGIN PULSE, INC.
DOTDASH MEDIA,     MITCHELL, JUDAH                 VIRGINIA AQUARIUM &
INC.                                               MARINE SCIENCE CENTER
DOTY, RICK         MITESH RAHATE                   VIRGINIA BAR
                                                   ASSOCIATION
DOUBLE P           MITRA GOUNEH                    VIRGINIA BEACH
DEVELOPMENT LTD.                                   CHORALE, INC.
DOUBLETREE HOTEL   MJK/30TH REAL ESTATE HOLDING    VIRGINIA BEACH CLERK
VAB                COMPANY, LLC                    OF COURT
DOUG BEATTIE       MKI PRIVATE INVESTIGATION       VIRGINIA BEACH
                                                   CONSTRUCTION
DOUG BELDEN, TAX   MKJAS PROPERTIES                VIRGINIA BEACH
COLLECTOR                                          CONVENTION & VISITORS
                                                   BUREAU
DOUG CAMPBELL      MLGW                            VIRGINIA BEACH
                                                   CONVENTION CENTER
DOUG FOREMAN       MLK GRAND PARADE                VIRGINIA BEACH
                                                   DEVELOPMENT
                                                   AUTHORITY
DOUG MCISAAC       M-M, LLC                        VIRGINIA BEACH
                                                   ELECTRIC SERVICE, INC.
DOUGH BOYS, LLC    MMP PAINTING                    VIRGINIA BEACH EVENTS
                                                   UNLIMITED
DOUGLAS & LAURA    MMS USA INVESTMENTS, INC        VIRGINIA BEACH
MOORE                                              FIELDHOUSE
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DOUGLAS A BUSH     MNA REALTY                      VIRGINIA BEACH FIRE
                                                   DEPARTMENT
DOUGLAS ALLAN      MOATS, ANDY                     VIRGINIA BEACH FISHING
                                                   CENTER
DOUGLAS            MOBILE ALPHA LLC                VIRGINIA BEACH HIGHER
CARPENTER                                          EDUCATION CENTER
DOUGLAS GIBSON     MOBILE ONE COURIER              VIRGINIA BEACH KOA
DOUGLAS LOOMIS     MOBILE POSSE, INC.              VIRGINIA BEACH RESORT
                                                   HOTEL
DOUGLAS PETERSON   MOBILE REGISTER                 VIRGINIA BEACH
INVESTMENTS, LLC                                   SEAFOOD
DOUGLAS SNYDER     MODERN ENVIRONMENTS             VIRGINIA BEACH SPECIAL
                                                   OLYMPICS
DOUGLAS            MODERN OFFICE METHODS, INC      VIRGINIA BEACH, CITY
THOMPSON                                           TREASURER
DOUGLAS TRACHE     MODIS                           VIRGINIA BOARD OF BAR
                                                   EXAMINERS
DOUGLAS VENN       MODRALL,SPERLING,ROEHL,HARR     VIRGINIA BUILDING
                   IS & SISK, P.A.                 SERVICES, INC
DOUGLASVILLE       MOHAMAD ABOU KHAMIS             VIRGINIA BUSINESS
ASSOCIATES, LLP
DOUG'S CATERING    MOHAMED AHMED                   VIRGINIA CHAPTER NATP
DOW BUSINESS       MOHAMMAD KASSEM                 VIRGINIA CLE
GUIDE
DOW JONES &        MOHAVE LOCK AND SAFE            VIRGINIA DEPARTMENT
COMPANY, INC.                                      OF ABC
DOWD, JOHN T.      MOHSEN SAID                     VIRGINIA DEPARTMENT
                                                   OF MOTOR VEHICLES
DOWLING, KATIE     MOLLY DURNING                   VIRGINIA DEPARTMENT
                                                   OF REVENUE
DOWNTOWN           MOLLY MAID                      VIRGINIA DEPARTMENT
DENVER EVENTS                                      OF TAXATION - 413-17-
                                                   1046
DOWNTOWN           MOLLY TYRNER                    VIRGINIA DEPARTMENT
NORFOLK COUNCIL                                    OF TAXATION 22313496400
DOWNTOWN           MONA MOGA, LLC                  VIRGINIA DEPARTMENT
NORFOLK                                            OF TAXATION-
ENTERTAINMENT,                                     20544817700
LLC
DOWNTOWN           MONACO, PETRA                   VIRGINIA DEPT OF
RENUAL LP                                          TAXATION
DOYLE SECURITY     MONERIS                         VIRGINIA DEPT. OF
SYSTEMS INC                                        AGRICULTURE &
                                                   CONSUMER SERVICES
DP PLAZA LTD       MONEY CLIP MAGAZINE             VIRGINIA FARM BUREAU
DPIG, LLC          MONEY GROUP LLC                 VIRGINIA FOUNDATION
                                                   FOR RESEARCH &
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DR JOHNNY'S          MONEY MAILER                   VIRGINIA FRASER
APPLE/DECOR
EKLECT
DR MARKETING, INC.   MONEY MAILER                   VIRGINIA FREE
DR. BOB'S            MONEY MART                     VIRGINIA GENERAL
THEATRICITY, INC                                    BOOTH LLC
DR. HEATHER          MONEY PAK                      VIRGINIA INDEPENDENT
MARINACCIO                                          CHILDCARE HOMES
                                                    ASSN.
DR. J.OESTREICHER    MONGOOSE METRICS LLC           VIRGINIA LAW
                                                    FOUNDATION
DR. MAVEL VELASCO    MONICA BARNES                  VIRGINIA LAWYERS
                                                    WEEKLY
DRAKE ENTERPRISES    MONICA FLORES                  VIRGINIA LAWYERS
                                                    WEEKLY
DRAKE                MONICA GALLANT                 VIRGINIA NATURAL GAS
ENTERPRISES, LTD                                    INC. - 70840
DRAKE SOFTWARE       MONICA MCCOLL                  VIRGINIA NATURAL GAS-
                                                    5409
DREAM BIG            MONIGLE ASSOCIATES             VIRGINIA POWER
FOREVER LLC
DREAMLAND            MONIQUE KAULING                VIRGINIA SACRAMENTO
PRODUCTION                                          INVESTMENTS LLC
DREAMS IN MOTION     MONIQUE SAUVE                  VIRGINIA SHREDDERS,
                                                    INC DBA SHRED-IT
DREHER, TOMKIES,     MONIQUE SAUVE                  VIRGINIA SHREDDERS,
SCHEIDERER, LLP                                     INC. DBA SHRED-IT
DREW NEUFELD         MONITRONICS INTERNATIONAL,     VIRGINIA STATE BAR -
                     INC.                           8TH & MAIN BLDG -
                                                    RICHMOND
DRINKER BIDDLE &     MONK, GOODWIN                  VIRGINIA STATE BAR -
REATH IOLTA                                         ALEXANDRIA
ACCOUNT
DRINKMORE            MONOPOLY COMMERCIAL            VIRGINIA STATE BAR-
DELIVERY, INC        REALTY INC                     1111 E MAIN
DRIVEERT             MONROE TRANSFER & STORAGE      VIRGINIA STATE BAR-707
                     CO.,                           MAIN
DRUCKER, BRIAN       MONSTER WORLDWIDE CANADA       VIRGINIA STATE BAR-
                                                    EAST FRANKLIN STREET-
                                                    RICHMOND
DRUMMOND             MONSTER WORLDWIDE, INC.        VIRGINIA STATE BAR-
RESEARCH, LLC                                       NEWPORT NEWS
DRY & TASSIN         MONSTER. CA                    VIRGINIA STATE
                                                    CORPORATION
                                                    COMMISSION
DRYCON NASHVILLE     MONSTER.CA                     VIRGINIA STORAGE
INC                                                 SYSTEMS, INC.
DS SERVICES OF       MONSTERTRAK                    VIRGINIA TECH
AMERICA, INC.
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DSAIR                MONTAGNA PROPERTIES, INC.      VIRGINIA TOY
ENTERTAINMENT
INC
D'SEAN JONES         MONTANA DEPARTMENT OF          VISALIA NUMBER ONE,
                     REVENUE                        LTD
DSG ASSOCIATES       MONTANA DEPARTMENT OF          VISHAL PATEL
                     REVENUE (UNCLAIMED PROP)
DSI TECHNICAL        MONTANA DEPT OF REVENUE        VISIBILITY SIGNAGE
SYSTEMS INC.                                        EXPERTS
DT LAND GROUP        MONTANA SECRETARY OF STATE     VISINET
DTE ENERGY-740786    MONTCALM ASSOCIATES, INC.      VISION CRITICAL
                                                    COMMUNICATIONS (US)
                                                    INC
DTE ENERGY-740786    MONTE CARLO INN & SUITES       VISION REAL ESTATE
                     DOWNTOWN MARKHAM
DTG HOLDINGS, INC.   MONTE CARLO INN-OAKVILLE       VISION SERVICES
                     SUITES
DTG OPERATIONS       MONTE CARLO RESORT & CASINO    VISTA GRAPHIC, INC.
INC.
DU PHAM LEE          MONTE WORLD WIDE STAFFING,     VISTA PLAZA
                     INC.                           INVESTMENTS, LLC
DUAL MAC LTD         MONTEREY BEACH PARTY           VISTA PLAZA
                                                    INVESTMENTS, LLC
DUALITE SALES &      MONTEREY LICENSES, LLC         VISTA RADIO
SERVICE, INC.
DUANE CHEPEKA        MONTGOMERY COUNTY AUDITOR      VISTA RADIO LTD
DUANE MORRIS, LLP    MONTGOMERY COUNTY              VISTA RADIO LTD.-2DAY
                     TREASURER (VA)                 FM
DUCK, JOHN           MONTGOMERY COUNTY TRUSTEE      VISTARY USA INC
DUCKWOOD SQUARE      MONTGOMERY COUNTY TRUSTEE      VISUAL DESIGNS INC.
LLC
DUE PROCESS       MONTGOMERY COUNTY TRUSTEE         VISUAL HARBOR LLC
ATTORNEY SERVICES
DUFF ENTERPRISES  MONTGOMERY COUNTY, MD             VISUAL MARKETING
                                                    GROUP LLC
DUFRENE, MARK        MONTGOMERY COUNTY, MD C/O      VISUAL SCIENCES,
                     COUNTY ATTORNEY                INC.(OMNITURE)
DUG & OK             MONTICELLO MARKETPLACE         VISUAL STUDIO
ENTERPRISES, INC.    SHOPPES LLC                    MAGAZINE
DUGAN, TIM           MONTICELLO MARKETPLACE         VITAL REALTY INC.
                     SHOPPES LLC
DUHAMEL              MONTRÉAL -- SAINT-LAURENT      VITAL SIGNS
BROADCASTING
ENTERPRISES
DUHAMEL              MONTY TREADWAY( PROPERTY       VITAL SIGNS
BROADCASTING         TAX)                           PROMOTIONS LTD
ENTERPRISES
DUKA DJORDJEVIC      MOONSHOT MARKETING LTD         VITRUE
DUKE ENERGY          MOONSTAR 2100, LLC             VLATKO JONCEVSKI
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DUKE ENERGY - 1094   MOORE & VAN ALLEN PLLC         VMY PROPERTIES LLC
DUKE ENERGY -        MOORE BUSINESS                 VNEG PROPERTY
CHARLOTTE            COMMUNICATION                  MANAGEMENT, LLC
DUKE ENERGY-1003     MOORE BUSINESS                 VO, TRANG
                     COMMUNICATIONS
DUKE ENERGY-70516    MOORE COUNTY REGISTER OF       VOCUS SOCIAL MEDIA,
                     DEEDS                          LLC
DULCE MONTOYA        MOORE COUNTY TAX               VOCUS, INC.
                     DEPARTMENT
DULCE NANCY          MOORE INGRAM JOHNSON &         VOHRA ENTERPRISES LLC
CUEVAS               STEELE, LLP
DUMARESQ VALPY       MOORE WALLACE BCS              VOLL PROPERTIES LLC
DUNBAR DAVIS,        MOORE, JESSICA                 VOLUNTEER HAMPTON
PLLC                                                ROADS
DUNDAS DATA          MOORE, KAREN                   VONAGE BUSINESS
VISUALIZATION
DUNKIN DONUTS        MOORE, ROBERT                  VORA FINANCIAL
                                                    SERVICES, LLC
DUNLAP BENNETT &     MOORESVILLE MARKETPLACE        VOUCHFOR!
LUDWIG PLLC          STATION
DUPLIUM              MORALE, WELFARE &              VOYAGER.NET
CORPORATION          RECREATION DEPT.
DUQUESNE LIGHT       MORAN FOODS, INC.              VPC GROUP
DURHAM COUNTY        MORAN, JERRY                   VRJ DPB LLC
REGISTER OF DEEDS
DURHAM COUNTY        MORBEN REALTY CO INC           VSC DAWSON LLC
TAX COLLECTOR
DURHAM RADIO INC     MORCOS, GEORGE                 VSC FIRE AND SECURITY,
                                                    INC
DURHAM REGIONAL      MORDEN, KAREN                  VSD, LLC.
LOCKSMITHS
DUSAN ADZIC          MORE MUSIC GROUP               VTAA - VIRGINIA TECH
                                                    ALUMI ASSOCIATION
DUSOME, SHARON       MORENO, ESTELA C.              VTAA TIDEWATER
                                                    CHAPTER
DUSTIN ALFORD        MORGAN COUNTY TREASURER        VUKAJ PROPERTIES LLC
DUSTIN MCKAY         MORGAN L FRASER-DREAM          W & R VENTURES
                     MAKER DIGITAL MARK.
DUSTY HUNTLEY        MORGAN STANLEY CAPITAL I INC   W C & I INC
                     TRUST COMMERCIAL MTG
DUSZA, KATHLEEN      MORGAN, PERRY                  W C HANDYMAN
                                                    SERVICES
DUTCH PROPERTIES     MORGUARD INVESTMENTS LTD.      W. E. WELLER HEATING &
LLC                                                 A/C
DUTCHESS COUNTY      MORILLO, CARLOS                W.C & I INC
SCU
DUVAL COUNTY TAX     MORNING JOURNAL                W.D. WITH & ASSOCIATES
COLLECTOR
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DUVAL ROYAL          MORRIS COMFORT SYSTEMS         W.E. ROTH
INVESTMENTS INC.                                    CONSTRUCTION LTD.
DUWANE E             MORRIS MEDIA                   W.M. GRACE
WILLIAMS                                            DEVELOPMENT CO.
DWIGHT DYE           MORRISON & FOERSTER LLP        W.Y. HERITAGE GROVE
                                                    LLC
DYANE LAWRIE         MORRISSEY, JAMES               W3GLOBAL, INC.
DYCOM DIRECT         MORRISTOWN ROAD LLC            W4 LLC
MAIL
DYKSTRA, NICOLLE     MORRISTOWN ROAD, LLC           WA GROUP INC
DYLAN DUNN           MORTON G THALHIMER INC         WAAL SECURITY EAST
                                                    INC.
DYLAN RAMSEY         MORTON G. THALHIMER, INC.      WADDELL RAPONI
DYNAMITE IMAGING     MORTON G. THALHIMER, INC.      WADDELL RAPONI
INC.                                                LAWYERS
E & A SOUTHEAST      MOSIER-PETERSON, WILL          WADE POWELL &
LIMITED                                             ASSOCIATES, INC.
PARTNERSHIP
E&D LEGACY LLC       MOSSBERG & COMPANY, INC.       WADE THOMAS &
                                                    ASSOCIATES
E&E 0416, LLC        MOSTLY RESIDENTIAL PAINTING    WADE, JACK WARREN JR
E&J ELECTRIC LLC     MOTEL 6 #4052                  WADSWORTH ALLIANCE
                                                    CORPORATION
E. P. VALLEY         MOTOR VEHICLE TRANSACTION      WADSWORTH ALLIANCE
INVESTMENTS, INC.    RECOVERY FUND                  CORPORATION, INC.-DO
                                                    NOT USE
E. TEXAS PEDDLER     MOTUS ADVISORS, INC.           WADZITA, JEANIN
E.B.S.               MOUNTAIN ECHO                  WAFX
INVESTIGATIONS
E.L.K. ENERGY INC.   MOUNTAIN LAUNDRY CORP          WAGG'S LTD.
EA VIDEO             MOUNTAIN SIXTH ASSOCIATES,     WAGNER, DIANE
PRODUCTION           LLC
EADS CALDERWOOD,     MOUNTAIN VIEW COFFEE NEWS      WAHOO INC.
LLC
EAGLE PRINTING &     MOUNTAINGATE ASSOCIATES LLC    WAIT, JUDITH
GRAPHICS LLC
EAGLE RADIO          MOUTON, LARREY                 WAKE COUNTY REGISTER
                                                    OF DEEDS
EAGLE TECHNOLOGY     MOVABLE PARTS LLC DBA NEED     WAKE COUNTY REVENUE
MANAGEMENT, INC      A NERD                         DEPARTMENT
EAGLES TALENT        MOYOCK GARDENS & NURSERY       WAKG
CONNECTION, INC.     INC.
EAGLE-TRIBUNE        MPOWERING AMERICA, LLC         WAL MART
PUBLISHING
COMPANY
EAN SERVICES, LLC    MQ&C ADVERTISING, INC          WALBERG, RON
EARL CRAIN           MR ELECTRIC                    WALCORSE LLC
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EARL R. BROWN       MR MOBILE SIGN                 WALDROP LEGAL AND
                                                   BUSINESS SOLUTIONS,
                                                   PLLC
EARLEY, KEN         MR. DONUT                      WALISER, DON
EARTHLINK           MR. FIX IT HOME SERVICES       WALK, SHANNON
BUSINESS
EARWORKS DIGITAL    MR. J. GARY IBBOTSON           WALKER & LABERGE CO.,
AUDIO INC.                                         INC
EAST BATON ROUGE    MR. KEY LOCKSMITH              WALKER, KIM &
SHERIFF'S OFFICE                                   LEOPOLDO GONZALE
EAST BAY PLAZA,     MR. LIM                        WALKER, TANYA
LLC
EAST CAROLINA       MR. T CARTING CORP.            WALKER, VERNON
RADIO, INC.
EAST COAST          MR. YOUNG LIM                  WALKERTOWN
PROCESS SERVICE                                    HOLDINGS LLC
EAST COAST          MR.HANDYMAN HOME               WALL 2 WALL MEDIA
PUBLISHING, INC     IMPROVEMENT PROFESSIONALS
EAST COAST          MR.MIKES PLUMBING              WALL EINHORN &
PUBLISHING, INC                                    CHERNITZER
EAST LYME TAX       MRI INTERMEDIATE HOLDINGS,     WALL STREET JOURNAL
COLLECTOR           LLC
EAST SIDE MINI      MRP HARRISON LLC               WALLA WALLA COUNTY
STORAGE                                            TREASURER
EAST TEXAS          MRP HOT SPRINGS PLAZA LLC      WALLACE LAWSON
BROADCASTING
EAST TEXAS          MRW SMYRNA JOINT VENTURE       WALLACE MEDICAL
PEDDLER                                            CONCERN
EAST TEXAS RADIO    MS FAMILY DEALERSHIPS          WALLER SHOPS LLC
GROUP
EASTCOM             MS. CLEAN SERVICES, INC.       WALLIS, MADELINE
DIRECTIONAL
DRILLING, INC
EASTERN INTERLAKE   MSA, P.C.                      WALLWIN ELECTRIC
PLANNING DISTRICT
EASTERN             MSC FINANCIAL, INC             WAL-MART CANADA
KENANSVILLE                                        CORP.
MISSIONARY
BAPTIST
ASSOCIATION INC
EASTERN LOCK &      MSC VENTURES, LLC              WALMART STORES, INC
KEY CO.
EASTERN PROPERTY    MSDN MAGAZINE                  WALNUT AVENUE
DEVELOPMENT LLC                                    PARTNERS
EASTERN SHORE       MSI DETECTIVE SERVICES         WALNUT AVENUE
DEVELOPMENT                                        PARTNERS LLC
EASTERN SHORE       MSSSSOFTWARE, INC.             WALNUT CREEK
NEWS                                               HOLDINGS, INC
EASTERN SHORE       MT VERNON RETAIL LLC           WALNUT HILL WEST LLC
POST
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EASTERN SURFING     MT VERNON RETAIL, LLC          WALSH MEDIA, INC
ASSOCIATION
EASTERN VIRGINIA    MT. RUSHMORE BROADCASTING,     WALT CUNHA
MEDICAL SCHOOL      INC.
EASTFIELD           MTS BROADCASTING               WALT WATTERSON
ASSOCIATES, LLC                                    (#3004)
EASTHOM             MTS COMMUNICATIONS INC.        WALTER BLACKSTOCK
BAKERVIEW, LLC
EASTLINK            MTS MOBILITY                   WALTER EWELL
EASTLINK            MTS-HOLDINGS LLC               WALTER F HENNE-
ADVERTISEMENT                                      VALLEY SAFETY
                                                   EQUIPMENT CO
EASY LAWN LLC       MUCKLOW, WILLIAM               WALTER MILLER
EASYHOME            MUDD, LEROY                    WALTER, CYNTHIA
EBATES              MUHAMMAD, JIBRAN               WALTERS MEDIA GROUP
PERFORMANCE
MARKETING, INC
EBCON PROPERTIES    MULHALL, ERIC & FELICIA        WALTERS, SCOTT
LTD.
EBERHARDT &         MULLEN COUGHLIN LLC            WALTHER, KIRSTEN
BARRY PROPERTY
MANAGEMENT, LLC
EBRAHIM AYUB        MULLER, BRIAN                  WALTI, JUDI
EBRO, ELSA          MULROY SCANDAGLIA              WALTON EMC
                    MARRINSON & RYAN
EC HISPANIC MEDIA   MULTI-UNITFRANCHISE.COM        WANDA BEACOM
EC IRVINGTON        MULTIVIEW, INC. DBA            WANDA BLAKELY
FOUNDATION, LLC     MULTIBRIEFS
ECA ELLE            MUNA A MOHAMUD                 WAPPINGER SHOPPING
NORTHWOOD                                          CENTER LLC
PARTNERS LLC
ECHELON MALL        MUNCHKIN PROPERTIES LLC        WARD BROS. COUNTY
MANAGEMENT                                         LOCKSMITHS
OFFICE
ECKHARDT,           MUNICIPAL CONSULTING GROUP     WARNE, RITA S.
RICHARD
ECO ELECTRIC LLC    MUNICIPAL REVENUE              WARNICK ASHLEY
                    COLLECTION CENTER
ECO MEDIA DIRECT    MUNICIPAL SERVICES BUREAU      WARP CARTOONS
ECOL LASER          MUNICIPIO DE CAROLINA          WARREN & EKBLAD
SERVICES
ECOOPERATIONS       MUNSON, CRYSTAL                WARREN GLEN
LTD                                                WIELANDT
ECOS                MURDOCK, KEN                   WARREN SINCLAIR LLP
ED EMBERLEY         MURPHY BUSINESS & FINANCIAL    WARREN TOWLER AS
                                                   RECEIVER GENERAL
ED GIMPELJ          MURPHY, JAMES DERRICK          WARWICK MALL
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ED KINGSBURY          MURPHY, LYNDA J.               WARWICK MALL-JOHN T.
CARPET CLEANING                                      BRENNAN
LTD
ED MANFREDI, JR.      MURPHY, MICHAEL R.             WARWICK THORNTON
                                                     DICKSON LLC
EDDIE EDWARDS         MURPHY'S CABLE WHARF-          WASAGA DISTRIBUTION
SIGNS, INC.           WHALEWATCHING                  INC.
EDDIE MOORE           MURPHY'S IRISH PUB             WASHINGTON COUNTY
                                                     NEWS
EDDIE'S BUS SERVICE   MURRAY DUFF ENTERPRISES        WASHINGTON COUNTY
INC                   LIMITED                        SERVICE AUTHORITY
EDEENA MERRETT        MURRAY STARLING                WASHINGTON COUNTY
                                                     TREASURER-PPT
EDELMAN, COMBS &      MURRAY WAKEMAN                 WASHINGTON DEPT OF
LATTURNER                                            REVENUE (UNCLAIMED
                                                     PROP)
EDENS & AVANT         MURRAY WELLS WENDELIN &        WASHINGTON DEPT. OF
                      ROBINSON CPAS INC              LABOR & INDUSTRIES
EDENS & AVANT         MURRAY, CHRISTOPHER            WASHINGTON GAS
FINANCING, LP
EDGAR NEVES           MURRAY, THOMAS W.              WASHINGTON GAS
EDGAR, WILLIAM        MURRAY'S SIGNS                 WASHINGTON GRAPHICS,
                                                     INC.
EDGE HOSTING, LLC     MUSA SAEED                     WASHINGTON GT
                                                     INVESTMENTS
EDGE PUBLISHING       MUSE BILLE                     WASHINGTON POST
EDGEMARK              MUSE, DANIEL & JAMIE           WASHINGTON PRIME
SYSTEMS                                              GROUP, L.P.
EDGEWATER MEDIA       MUSGRAVE, TOM                  WASHINGTON STATE
                                                     DEPT. OF REV.
EDGEWATER             MUSHETT, MOLLIE                WASHINGTON STATE
PARTNERSHIP, LP                                      TREASURER
EDISON MALL           MUSIAL, KENNETH                WASHINGTON STATE
                                                     TREASURER
EDISON                MUSIC BY DJ E, INC             WASHINGTON TIMES
MANAGEMENT CORP.
EDISON VENTURE        MUSKEGON CHARTER TOWNSHIP      WASSERMAN, MANCINI,
FUND IV LLP                                          AND CHANG, P.C.
EDITH GINTER          MUSTAFA HUSSEIN BULLALEH       WASTE INDUSTRIES
EDITH MARTIN          MUTH, ROY                      WASTE INDUSTRIES- DO
                                                     NOT USE
EDITH TAYLOR          MVP GROUP - MARKETING VIA      WASTE MANAGEMENT -
                      POSTAL                         13648
EDLEN                 MWT SUMYOSHI LLC               WASTE MANAGEMENT -
                                                     541065
EDMOND JANDO          MY BENEFIT PARTNERS, LLC       WASTE MANAGEMENT
                                                     LAMP TRACKER, INC.
EDMONDSON,            MY BROADCASTING CORP.          WASTE MANAGEMENT OF
LEDBETTER &                                          COLUMBUS
BALLARD, L.L.P.
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EDMONTON FOOD       MY LOVED ONES LLC               WASTE MANAGEMENT OF
BANK                                                MI, INC.
EDOC PUBLISH INC.   MYA MOORE                       WASTE MANAGEMENT OF
                                                    VIRGINIA, INC
EDUARDA WILLIGAR    MYERS, ANTHONY D.               WASTE MANAGEMENT
                                                    RECYCLE AMERICA
EDUCATION EQUITY,   MYERS, TERRY                    WASTE MANAGEMENT,
INC.                                                INC.-DO NOT USE
EDUCATIONAL         MYKHAYLO KRACHKOVSKYY           WASTE WATCHERS LLC
APPROVAL BOARD
(THE)
EDUCATIONAL         MYLES CASCADDEN                 WATER TREATMENT
RESOURCES FOR                                       SOLUTIONS
CHILDREN, INC
EDWARD A PICKETT    MYLES HEFFERAN                  WATER WORKS
                                                    (NEWPORT NEWS)
EDWARD A. HILL      MYRNA SHEINBLUM                 WATER WORKS
                                                    SPRINKLER SYSTEM INC
EDWARD BOWSER &     MYRON GLASSMAN, PH.D.           WATERBURY ORCHARDS,
ASSOCIATES                                          LLC
EDWARD DAVIDSON     MYUNG JA YOO                    WATERFIELD PAINTING
                                                    CO.
EDWARD JONES        MYY MANAGMENT, LLC              WATERFORD PLAZA LLC
EDWARD              N INVESTMENTS I LLC             WATERHOUSE
KOMYSHYN                                            MECHANICAL
EDWARD LANGMAN      N&N DEFENSE SHOPPING CENTER     WATERLOO-CEDAR
                    GP                              FALLS COURIER/
                                                    HOMETOWNER
EDWARD LAVERGNE     NABIL SOMO                      WATERMASTER/
                                                    WYANDOTTE CENTER
EDWARD MILLAR       NABLASOL DIGITAL SERVICES       WATERS INCORPORATED
                    PVT. LTD.
EDWARD POLZIN       NABLASOL DIGITAL SERVICES       WATERS, KRISTOPHER
                    PVT., LTD
EDWARD WILLIAMS     NACD                            WATERTOWN MALL
                                                    ASSOCIATES LP
EDWARDS HOME        NACTP                           WATERWORKS BOARD OF
MAINTENANCE                                         SECTION
EDWARDS, JIM        NADBRO RIVIERA INC- DO NOT      WATTIGNY, VICTORIA
                    USE
EDWARDS, JOHN       NADER HAIFA                     WAVF FM
EDWIN FRIEST        NADIA BABAYI                    WAVY TV
EDX ELECTRONICS     NADIA RAPONI                    WAWRZYNIAK, ERIK
LIMITED
EFAX CORPORATE      NADIA ZEROUAL                   WAWRZYNIAK, ROLAND
EFILE ASSOCIATION   NADINE BIGRAS                   WAYLOR INDUSTRIES
OF CANADA                                           LTD
EFILE ASSOCIATION   NADINE BIRD                     WAYNE BENNETT
OF
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CANADA
EFT PROMOTIONS,      NAE FEDERAL CREDIT UNION       WAYNE COLLING
INC.
EGGLESTON SMITH      NAEA                           WAYNE FROST
P.C.
EGGSPUEHLER          NAFEES HASNIE                  WAYNE MACNEIL
LIMITED
PARTNERSHIP II
EHAB BASHA           NAGHAM ABDEL SATER             WAYNE MCCARTNEY
EIDI FAMILY          NAI CAPTIAL MANAGEMENT INC     WAYNE NABORS
PROPERTIES, LLC
EIDI FAMILY          NAI OHIO EQUITIES, LLC         WAYNE SANDRERS (K401)
PROPERTIES, LLC-
USE FIND02
EINBINDER & DUNN,    NALLA, MADHURI                 WAYNE ST.
LLP                                                 INVESTMENTS LLC
EIRASSI-WRIGHT,      NAM JIM CORP                   WAYNE SUMMERHAYES
ALEYA
EJ SYSTEMS, INC.     NAME BADGE PRODUCTIONS, LLC    WAYNE WATTS
EJAZ SYED            NAMON ROY BULLARD              WAYNE.MEDA@HSCMAN
                                                    AGEMENT.
EJ'S ELECTRICAL      NANCY BATTAGLIA                WAYNE'S WINDOWS
SIGN SERVICE, LLC
EKG IMAGES           NANCY CAMPBELL                 WAZIM FAKIRA
EKOW NKETSIOCH       NANCY CLARKE                   WBA ASSOCIATES
QUANSAH
EKTRON, INC.         NANCY DOUGALL                  WBBM-FM
EL AVISO DE          NANCY E ROBERTS                WBCV RADIO
OCASION, INC.
EL CREECH & CO.      NANCY GINTER                   WBNS - AM-FM
EL ECO DE VIRGINIA   NANCY MCGILL                   WBQB-FM
EL HISPANO           NANCY MCLAUGHLIN               WBTU- FM/ ARTISTIC
                                                    MEDIA PARTNERS
EL INFORMADOR        NANCY MELO                     WBYR 98.9 FM
DEL VALLE
EL NORTE             NANCY POST                     WBZX-FM
NEWSPAPER
EL PASO ELECTRIC     NANCY RUTHERFORD               WC SERVICES &
                                                    CONTRACTING LLC
EL PASO WATER        NAPA COUNTY TAX COLLECTOR      WCFX
EL SEGUNDO           NAPIWOSKI, ROYLANE & THOMAS    WCKX FM
CENTER-BURKES
INVESTMENT GROUP
EL TORO.COM LLC      NAPLES BEEFS INC.              WCLX- FM
ELAINE CORBIERE      NAPLES COMMERICAL              WCVQ-FM/Q-108
                     MANAGEMENT, LLC
ELAINE GIANNINI      NAPOLITANO, OZZIE              WCWSR, LLC
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EL-AMIN, HASSAN     NARLAND PROPERTIES (VICTORIA   WDEF TV
                    SQUARE) LTD.
ELAMMAR &           NARRAGANSETT ELECTRIC          WDKX RADIO
COMPANY INC
ELDEN ELECTRICAL    NASDAQ, INC                    WE ARE TITANS
EXHIBITION
SERVICES
ELEANOR             NASON, CHARLES                 WE ENERGIES
ALLBRIGHT
ELEANOR JONES       NASSAU BROADCASTING            WE FINANCE
ELEANORE            NASSIRI & JUNG, LLP            WEAVER AND TIDWELL
SHOLOPIAK                                          LLP
ELECTRA SIGN        NATALIE CAMPEAU-YULE           WEAVER, HOLLY
ELECTRIC POWER      NATALIE GUILLEMETTE            WEB BY NUMBERS, LLC
BOARD OF CHATT.
ELECTRICAL          NATALIE KAROU                  WEB SCRIBBLE
SERVICE AND                                        SOLUTIONS, INC
DESIGN
ELECTRONIC          NATASCHIA CREW MORGAN          WEB SOLUTIONS
SYSTEMS INC                                        TECHNOLOGY
ELECTRONIC          NATASHA BURNSIDE               WEBB, CINDY
SYSTEMS, INC.
ELEMENT K           NATASHA MUNR^E                 WEBB, RYAN
CORPORATION
ELENA LOUTSIV       NATASHA PERSAUD                WEBBER ENDEAVORS,
                                                   INC.
ELEVATED INTERNET   NATASHA TJONG                  WEBBER, KAREN AND
MARKETING, LLC                                     RAY
ELEXICON            NATERICA FERREIRA              WEBER, TIM
ELGIN COUNTRY       NATHALIE CRETE                 WEBFILINGS, LLC
PLUMBING
ELIAS JAWISH        NATHAN LORENTZ                 WEBSTER LLC
ELIO QUAQLIERI      NATHANIEL WARREN               WEBTEKS, INC.
ELISA BROWN         NATIK PAREKH                   WEBTIMECLOCK.COM
ELISABEL MEDINA     NATIONAL ASSOCIATION OF        WEBTRENDS
                    CORPORATE DIRECTORS
ELISABETH CRISCI    NATIONAL ASSOCIATION OF        WEEMS & ASSOCIATES
                    ENROLLED AGENTS
ELISABETH POPE      NATIONAL ASSOCIATION OF        WEHMEYER, PAMELA
                    ENROLLED AGENTS
ELISABETH ROSS      NATIONAL BOOK NETWORK          WEI YU LIN
AND JORDAN
ISBISTER
ELISHA BUTLER       NATIONAL BOULEVARD SELF        WEILER, MARK
                    STORAGE
ELISSA COSTANZA     NATIONAL BUSINESS INSTITUTE    WEINGARTEN NOSTAT,
                                                   INC.
ELITE FIRE          NATIONAL CAR RENTAL            WEINGARTEN REALTY
PROTECTION LTD
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ELITE FLOORS LTD     NATIONAL CAR RENTAL            WEINGARTEN REALTY
ELITE SIGN &         NATIONAL CAR RENTAL -          WEINGARTEN REALTY
MANUFACTURING        CANADA                         INVESTORS
ELITE TREE SERVICE   NATIONAL CENTER FOR            WEINGARTEN REALTY
                     PROFESSIONAL EDUCATION, INC.   INVESTORS
ELIZABETH &          NATIONAL COMPRESSOR            WEINGARTEN REALTY
RONALD MAGUIRE       EXCHANGE, INC.                 INVESTORS
ELIZABETH BAKER      NATIONAL CUSTOMS MUSEUM        WEINGARTEN REALTY
                     FOUNDATION                     INVESTORS
ELIZABETH            NATIONAL DEBT RELIEF LLC       WEINGARTEN REALTY
GAUTHIER                                            INVESTORS-924133 DO
                                                    NOT USE
ELIZABETH M.         NATIONAL DEVELOPEMENT          WEINHEIMER, SCHADEL
BRADLEY              GROUP                          & HABER P.C.
ELIZABETH MARTIN     NATIONAL DISTRIBUTION          WEIR & PARTNERS LLP
                     SYSTEMS
ELIZABETH            NATIONAL EVENT MANAGEMENT      WELCOME WAGON
MCBRINN
ELIZABETH PADUANI    NATIONAL EXEMPTION SERVICE     WELDON, HUSTON &
                                                    KEYSER, LLP
ELIZABETH RIVER      NATIONAL EXTERMINATION         WELLINGTON
TUNNELS              COMPANY, INC                   ADVERTISER
ELIZABETH ROSE       NATIONAL FINANCIAL SERVICES    WELLPORT
AYERS                CORPORATION                    BROADCASTING
ELIZABETH S          NATIONAL FOOTBALL LEAGUE       WELLS FARGO
MCEWAN               ALUMNI ASSOCIATION
ELIZABETH SINDEN     NATIONAL FRANCHISE COUNCIL     WELLS FARGO
                                                    EQUIPMENT FIN CO-7446
ELIZABETH            NATIONAL FUEL                  WELLS FARGO
STAINTHORPE                                         SHAREOWNER SERVICES
ELIZABETH            NATIONAL GRID                  WELLS FARGO VENDOR
ZOLDERDO                                            FINANCIAL SERVICES,
                                                    LLC
ELIZABETHTON         NATIONAL GRID - 371416         WEN DONG
NEWSPAPERS, INC.
ELIZABETHTOWN        NATIONAL GRID-11737            WENDY A. PROWS
WATER & GAS
ELKHART COUNTY       NATIONAL GRID-11741            WENDY DIONNE
TREASURER
ELLA BLVD RETAIL     NATIONAL GRID-11742            WENDY GARTNER
CENTER, LLC
ELLEN WAY            NATIONAL INVESTOR RELATIONS    WENDY GILLEN
                     INSTITUTE
ELLENOFF             NATIONAL LATINO PEACE          WENDY HARAM
GROSSMAN &           OFFICERS ASSOCIATION
SCHOLE LLP
ELLIOTT PROPERTIES   NATIONAL LAZER SUPPLY LTD.     WENDY HOFFART
ELLIS ENTERPRISES,   NATIONAL LEASING GROUP INC.    WENDY TEAHEN
LLC
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ELLIS SHAWNLEE      NATIONAL LEASING- WINNIPEG      WE'RE PRETTY DAM
                                                    QUICK DELIVERY
                                                    SERVICE INC
ELLIS, LEEROY       NATIONAL LEGAL RESEARCH         WERNER WEHRLE
                    GROUP
ELMHURST SQUARE     NATIONAL MAIL-IT, INC.          WERQ & WOLB
ASSOCIATES, LLC
ELMS PARK CENTER    NATIONAL MONEY MART             WERRES CORPORATION
ELOY                NATIONAL MONEY MART             WESBILD SHOPPING
CONSTRUCTION        COMPANY                         CENTERS
INTERIORS, LLC
ELOY RODRIGUEZ      NATIONAL NOTARY ASSOC.          WESLEY L. KARLSON
                                                    FAMILY TRUST
ELSO PROPERTIES     NATIONAL POST-PAYMENT           WESLEY R HOUSE
INC                 CENTRE
ELSY SIBRIAN        NATIONAL SEMINARS GROUP         WESNER ESQ., ARTHUR
ELVIS MAHOUKPO      NATIONAL SIGNS                  WESR
ELVIS RIVERS        NATIONAL SOCIETY OF PUBLIC      WEST BROAD BUILDING,
                    ACCOUNTANTS                     LLC
ELZA HANCZ          NATIONAL SOFTWARE INC           WEST CENTRAL FLORIDA
                                                    OIL CO.
ELZA HANCZ-USE      NATIONAL SPEAKERS               WEST CORPORATION
HANC07              ASSOCIATION
EMAXIMATION         NATIONAL SPEAKERS BUREAU        WEST EDMONTON MALL
EMERALD CITY        NATIONAL TAX SERVICES INC.      WEST FARGO PIONEER
DISPOSAL & RECYCL
EMERALD COAST       NATIONAL TECHNICAL              WEST FERRIS
UTILITIES           INFORMATION SERVICE             INTERMEDIATE AND
AUTHORITY                                           SECONDARY SCHOOL
EMERALD             NATIONAL WASTE SERVICES & IRS   WEST HEALTH
MANAGEMENT &                                        ADVOCATE SOLUTIONS
REALTY LTD.                                         INC
EMERGENCY           NATIONWIDE- COLUMBUS REAL       WEST KERR CURRENT
ACCOUNTING INC      ESTATE INV.
EMERGIFIRE LLC      NATIONWIDE COLUMBUS REAL        WEST MAIN PARTNERS
                    ESTATE INVESTMENTS
EMERSON NETWORK     NATIONWIDE INCOME TAX           WEST MARKET SHOPPING
POWER               SERVICES LTD                    CENTER, LLC
EMERSON, ERIC       NATIONWIDE NEWSPAPERS           WEST MICHIGAN
                                                    MAINTENANCE
                                                    SERVICES. LLC
EMERY               NATIONWIDE YELLOW PAGES         WEST NIPISSING FOOD
COMMUNICATIONS,     SERVICE                         BANK
INC
EMI                 NATIONWIDE YELLOW PAGES         WEST NORTH HOLDINGS,
ENTERTAINTAINMEN    SERVICES                        INC.
T WORLD, INC.
EMILY GALLOWAY      NATIONWIDE-514540               WEST PALM PLAZA INC
EMLING FORENSIS,    NATIVE COMMUNICTIONS            WEST VA STATE TAX
P.C. IOLTA          SOCIETY OF NWT                  DEPARTMENT
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EMMA INC           NATP                            WEST VALLEY PLAZA
                                                   WEST LLC
EMMANUEL           NATP - VA CHAPTER               WEST VIRGINIA RADIO
PAGOTTO                                            CORP OF CHARLESTON
EMMIS AUSTIN       NATVARIAL B. PATEL              WEST VIRGINIA
RADIO - KDHT-FM                                    SECRETARY OF STATE
EMPIRE             NAUGHTON, KELLI                 WEST VIRGINIA
ENTERTAINMENT                                      SECRETARY OF STATE
EMPIRE EVENTS &    NAUTICUS                        WEST VIRGINIA STATE
ENTERTAINMENT                                      TAX DEPT.
EMPIRE HOLDINGS    NAUTILUS INVESTIGATIONS         WEST VIRGINIA STATE
INC.                                               TAX DEPT.
EMPIRE HOLDINGS,   NAVANEETH PONNAMBALAM           WEST VIRGINIA STATE
INC                                                TREASURY
EMPIRE STATE TAX   NAVIGATORS BASEBALL TEAM        WESTAFF (CA) INC.
PUBLISHERS
EMPIST, LLC        NAVREET KAUR                    WESTAR
EMPLOYEE           NAVY EXCHANGE SERVICE           WESTAR
NAVIGATOR          COMMAND
EMPLOYMENT GUIDE   NAVY FEDERAL CREDIT UNION       WESTBROOK &
                                                   ASSOCIATES
EMPLOYMENT NEWS    NAZIM CHANDRANI                 WESTCOAST PHONEMAN
EMPLOYMENT         NC CHILD SUPOORT                WESTECH CONSULTING
SECURITY                                           LIMITED
DEPARTMENT
EMPLOYMENT         NC CHILD SUPPORT CENTRALIZED    WESTERN ASSOCIATES,
SECURITY DEPT      COLLECTIONS                     INC.
EMPOWER            NC SANITATION, INC.             WESTERN CPE, LLC
MARKETING INC.
EMPYR,             NC SECRETARY OF STATE           WESTERN MANAGEMENT
INCORPORATED                                       CO
EMTERRA            NCO FINANCIAL SYSTEMS, INC.     WESTERN MEDIA GROUP
ENVIRONMENTAL                                      SALES CO., INC.
REGINA
E-MYTH             NCR CORPORATION                 WESTERN NEW YORK
WORLDWIDE                                          DATA CABLING LLC
E-MYTH             NCSPLUS                         WESTERN OFFICE
WORLDWIDE                                          PRODUCTS
EN CORRIGAN LLC    NDEA GAINES                     WESTERN RESERVE
DBA CORRIGAN                                       REALTY GROUP, INC
REALTY TIC
ENABLEPATH, LLC    NDNLS.NET                       WESTERN UNION
                                                   FINANCIAL SERVICES
ENBRIDGE           NEAL BRAVER                     WESTERN UPSTATE
                                                   REALTY, INC
ENBRIDGE GAS       NEAL, BETH                      WESTERN WHEEL
(UNION GAS)
ENCOMPASS MEDIA    NEAL, CATHERINE                 WESTFIELD MALL
GROUP
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ENCOMPASS MEDIA     NEBRASKA DEPARTMENT OF          WESTFIELD PROPERTY
INC                 REVENUE                         MANAGEMENT, LLC
ENCORE              NEBRASKA DEPT. OF BANKING &     WESTGATE BROCKTON
BROADCASTING LLC    FINANCE                         MALL MEMBER LLC
ENDURANCE           NEBRASKA DEPT. OF REVENUE       WESTGATE ENTERPRISES
NETWORK SERVICES,                                   LLC
LLC
ENGEL, CHRIS        NEBRASKA SECRETARY OF STATE     WESTGUARD INSURANCE
                                                    COMPANY
ENGINEERING &       NEBRASKA YOUTH RUGBY            WESTKEY GRAPHICS LTD
TESTING SERVICES,   ASSOCIATION
INC.
ENGLEWOOD           NEC BUCKNER AND SAMUEL, LP      WESTLAKE ASSOCIATES,
LANDSCAPE                                           INC.
SERVICE, LLC
ENGLISH HILLS       NEEVIA TECHNOLOGY               WESTLAND SQUARE
PROPERTIES, LLC                                     ASSOCIATES LTD
ENH CANADA LTD.     NEFF & ASSOCIATES               WESTMAN
                                                    COMMUNICATIONS
ENHANCED            NEFF COLVIN                     WESTMINSTER
COMMUNICATIONS                                      EDUCATION
GROUP,LLC
ENMAX               NEGLIA YOPP REALTY              WESTON COMPANIES
                    ASSOCIATES
ENOVA POWER         NEIL AIME CURTIS                WESTON RANCH
                                                    STERLING PROPERTIES,
                                                    LLC
ENQUIRER MEDIA      NEIL H GREENBERG &              WESTON RANCH
                    ASSOCIATES, P.C.                STERLING PROPERTIES,
                                                    LLC
ENR                 NEIL JONES                      WESTRIDGE PROPERTIES,
                                                    INC.
ENRICHED ACADEMY    NEILSON FORMS                   WESTSOUND PLAZA LLC
ENTECOM WICHITA,    NEKOLA, RHEA L.                 WESTWOOD FINANCIAL
LLC                                                 CORPORATION
ENTEGRUS            NELCO                           WESTWOOD HOLDINGS
POWERLINES INC.                                     LLC
ENTEGRUS SERVICES   NELCO MECHANICAL LIMITED        WEX HEALTH, INC.
INC.
ENTERCOM            NELLIE COFFMAN PTSA             WFLS
COMMUNICATIONS -
PITTSTON
ENTERCOM            NELSON B & MARIA E FERREIRA     WFMS LICO, INC.
GREENVILLE, LLC
ENTERCOM            NELSON MULLINS RILEY &          WGH RADIO
INDIANAPOLIS        SCARBOROUGH LLP
LICENSE, LLC
ENTERCOM KANSAS     NELSON TAPLIN GOLDWATER, INC    WGM RE-NC, LLC
CITY LICENSE, LLC
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ENTERCOM             NEMITZ, VERNON                 WGME, INC. DBA WGME-
NORFOLK LICENSE,                                    TV
LLC
ENTERGY 61830        NENA-RAE WATSON                WGNT, UPN 27
ENTERGY              NEOFUNDS BY NEOPOST            WH NORMANDY CREEK,
LOUISIANA, LLC                                      LP
ENTERGY-8106         NEON NIGHTS, INC.              WHEATLAND MALL
ENTERPRISE &         NEOPOST CANADA                 WHEATLAND WATERS,
ALBANY COUNTY                                       INC
POST
ENTERPRISE BANK      NEOPOST USA INC.               WHEELER PROPERTIES,
                                                    INC.
ENTERPRISE           NEPTUNE FESTIVAL               WHEREOWARE, LLC
LOCKSMITHS
ENTERPRISE LOS       NEPTUNE'S RESTAURANT           WHICHFRANCHISE.ORG
ANGELES AREA
ENTERPRISE           NERDS ON-SITE INC              WHISPER CONCERTS, INC
MAGAZINES, INC.
ENTERPRISES GODON    NERDWALLET, INC.               WHISPER WALLS OF VA
                                                    LTD
ENTERPRISES-         NESS SECURITY INC.             WHITAKER'S HOLDINGS
RECORD                                              LLC
ENTRAVISION          NESTLE PURE LIFE DIRECT        WHITBY HYDRO
COMMUNICATIONS                                      ELECTRIC CORPORATION
CORPORATION
ENTREPRENEUR         NET UNIVERSE INTERNATIONAL     WHITE BEAR SERVICES
MEDIA                CORP
ENVEST HOLDINGS,     NETBANK BUSINESS FINANCE       WHITE DIRECTORY
LLC                                                 PUBLISHERS, INC.
ENVEST II, LLC.      NETCOM INFORMATION             WHITE ELECTRIC
                     TECHNOLOGY, INC.               COMPANY
ENVEST III, LLC      NETIQ CORPORATION              WHITE GLOVE WINDOW
                                                    CLEANING
ENVEST VENTURES I,   NETSEC                         WHITE RIVER FIRST
LLC                                                 NATION
ENVIRO KIDS GUIDE    NETSPEND - BRIAN PANELO        WHITE STONE
                                                    CONTRACTING LLC
ENWIN UTILITIES      NETSPEND - NANCY NELSON        WHITE, ERIKA & ANTOINE
LTD.
EPB                  NETSPEND - NANCY SIMONSEN      WHITE, SARAH
EPB FIBER OPTICS     NETSPEND - NICOLE RHODES       WHITE, STEVE
EPCOR                NETSPEND CORPORATION           WHITEHEAD LAND, LLC
EPCOR                NETSPEND-TEXAS                 WHITEHEAD, DON
EPCOT GRAPHICS       NETTIZEN - WALTER MARROU       WHITEHEAD, THOMAS
EPIC JOURNEY, LLC.   NETTIZEN.COM                   WHITEHURST, JOYCE &
                                                    WENDELL
EPICOR SOFTWARE      NETWORK INTELLIGENCE CORP      WHITEHURST, LINDA
CORPORATION
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EPIQ EDISCOVERY      NETWORK SOLUTIONS             WHITE-SPUNNER &
SOLUTIONS, INC                                     ASSOCIATES, INC.
EPIQ EDISCOVERY      NETWORK TELSYS INC.           WHITEWAY
SOLUTIONS, INC.                                    CONSTRUCTION INC
EPLEE & ASSOCIATES   NETWRIX SYSTEMS               WHITEWOOD TAX
                     MANAGEMENT & COMPLIANCE       SOLUTIONS, LLC
EPLUS                NETWRKZ                       WHITFIELD COUNTY TAX
TECHNOLOGY, INC.                                   COMMISSIONER
EPNM INC. DBA        NETWRKZ                       WHITLOCK GROUP
ELECTRICAL
PRODUCTS
COMPANY
E-PROCESS &          NEUSTAR                       WHITMORE, RICHARD
INVESTIGATIONS,
LLC
EQ PHOENIX LLC &     NEUVISION, INC.               WHITNEY, KIM
RE PHOENIX LLC AS
TIC
EQA OFFICE           NEVADA DEPARTMENT OF          WHITTAKER NORTHWEST
FURNITURE            TAXATION                      PARTNERS 1
EQUIFAX CANADA       NEVADA DEPARTMENT OF          WHITTIER, VALERIE
INC.                 TAXATION
EQUIFAX              NEVADA DEPARTMENT OF          WHITTLESEY MCDOWELL
INFORMATION          TAXATION                      & RIGA
SERVICES
EQUIFAX              NEVADA ENERGY                 WHLR JANAF, LLC
MARKETING
SERVICES
EQUIMAX              NEVADA LEGEL NEWS             WHOLESALE CHESS
MANAGEMENT
EQUINITI TRUST       NEVADA PACIFIC HOLDINGS 1,    WHORTON, PHILIP
COMPANY              LLC
EQUITABLE LIFE OF    NEVADA POWER COMPANY          WHYTE HIRSCHBOECK
CANADA                                             DUDEK S.C.
EQUITABLE            NEVADA SECRETARY OF STATE     WICK PUBLICATIONS
MANAGEMENT CORP.
EQUITABLE TRUST      NEVADA UNCLAIMED PROPERTY     WICKFIRE, LLC
COMPANY
EQUITY               NEW CARROLLTON PLAZA          WIDERFUNNEL
COMMUNICATIONS /     CENTER LLP                    MARKETING, INC.
WAYV
EQUITY INVESTMENT    NEW COVENANT UNITED           WIDEWATERS GROUP
GROUP, LLC           METHODIST
EQUITY ONE           NEW HAMPSHIRE DEPT OF         WIEL- AM
(FLORIDA             REVENUE
PORTFOLIO) INC
EQUITY ONE REALTY    NEW HAMPSHIRE DEPT. OF REV.   WIERCINSKI, DEBBIE
& MANAGEMENT,        ADMIN.
INC
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EQUITY ONE, INC.    NEW HAMPSHIRE MOTOR              WIGGIN AND DANA LLP
                    SPEEDWAY INC
EQUITY VENTURES     NEW HAMPSHIRE SECRETARY OF       WILBUR S LAKE
                    STATE
EREP MARKET PLACE   NEW HAVEN REGISTER               WILCOX, LISA
I LLC
ERI ECONOMIC        NEW JERSEY CORPORATION TAX       WILD WINGS PROPERTY
RESEARCH
INSTITUTE
ERIC BENOIT         NEW JERSEY DEPARTMENT OF         WILEN GROUP
                    REVENUE
ERIC BERRY          NEW JERSEY DEPARTMENT OF         WILFRED HAWKINS SR.
                    TREASURY
ERIC BOURGON        NEW JERSEY DEPT OF THE           WILHELMUS VAN DE
                    TREASURY                         WIJNBOOM
ERIC CHARTIER       NEW JERSEY DIVISION OF           WILKES BROADCASTING
                    TAXATION
ERIC ELDER          NEW KINGSBRIDGE LLC              WILL BRANTLEY AND
                                                     KAYLA DESOUZA
ERIC H. CHRONA      NEW LONDON SHOPPING CENTER,      WILL RODGERS
                    LLC
ERIC L. MAJETTE     NEW MEXICO DEPARTMENT OF         WILL SPENCER
                    REVENUE
ERIC LANNAN         NEW MEXICO DEPARTMENT OF         WILLCOX & SAVAGE
                    REVENUE
ERIC LAVICTOIRE     NEW MEXICO GAS COMPANY           WILLIAM B. DANIELS JR.
ERIC MARCHI         NEW MEXICO OFFICE OF             WILLIAM BATSON
                    SUPERINTENENT OF INSURANCE
ERIC PAYNE          NEW MEXICO PUBLIC                WILLIAM BLAIR
                    REGULATION COMMISSION
ERIC SALMON         NEW MEXICO TAXATION &            WILLIAM BUCKLE
                    REVENUE DEPARTMENT-UCP
ERIC SWETSKY        NEW MEXICO TAXATION &            WILLIAM CADE
                    REVENUE DEPT.
ERIC W GUILE        NEW ORLEANS SCHOOL OF            WILLIAM CAHILL
                    COOKING
ERIC WYNDER         NEW PLAN EXCEL REALTY TRUST      WILLIAM CONNOR
ERICA ARNOUSE       NEW PLAN EXCEL REALTY TRUST      WILLIAM CRAIG O'NEAL
ERICA BERRY         NEW PLAN OF SILVER POINTE, LLC   WILLIAM CUMMINGS
ERICA L. WILSON     NEW SUDBURY HOLDINGS, INC.       WILLIAM D. SUMMERS
ERICA MARCELLUS     NEW WEST BROADCASTING            WILLIAM DUNFORD
ERICA MONROE        NEW WEST ENTERPRISE              WILLIAM E. NEAL
                    PROPERTY GROUP                   ELECTRIC
ERICA NELSON        NEW WEST HARLEM OWNER LLC        WILLIAM E. WOOD &
                                                     ASSOCIATES
ERICA PROCOPIS      NEW YORK CITY DEPT OF            WILLIAM E. WOOD &
                    FINANCE                          ASSOCIATES
                                                     FOUNDATION
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ERICA SOTO           NEW YORK DEPARTMENT OF         WILLIAM E. WOODS
                     REVENUE                        ASSOCIATES
ERICSON, JUDI        NEW YORK DEPARTMENT OF         WILLIAM EDWARD
                     TAXATION AND FINANCE           HODGES
ERIK CROWDER         NEW YORK STATE COMPTROLLER     WILLIAM EDWARD
                                                    MEMORY JR
ERIK VANHORN         NEW YORK STATE DEPARTMENT      WILLIAM FAULHAFER
                     OF STATE
ERIKA SULTANI        NEW YORK STATE DEPT. OF LAW    WILLIAM H DELP III
ERIN BRONN           NEW YORK STATE SALES TAX       WILLIAM H JOHNSON
ERIN GIBBONS         NEWAD INC                      WILLIAM H SMITH JR
ERNEST AND RUTH      NEWCAP RADIO NEW BRUNSWICK     WILLIAM HALL
SORENSEN
ERNEST DANIAL        NEWCAP RADIO-                  WILLIAM HAYES
SNOWDON              CHARLOTTETOWN
ERNEST WEST          NEWCAP RADIO-RED DEER          WILLIAM HYNES
ERNIE'S              NEWELL NORMAND, SHERIFF AND    WILLIAM IDE
                     EX-OFFICIO TAX COLLECTOR
ERNST & YOUNG LLP    NEWMAN,WILLIAMS,MISHKIN,CO     WILLIAM J. BLAIR
                     RVELEYN,WOLFE & FARERI
ERNST & YOUNG LLP    NEWPORT NEWS CIRCUIT COURT     WILLIAM J. STOFFER
ERNST & YOUNG, LLP   NEWPORT NEWS GENERAL           WILLIAM JOHNSON
                     DISTRICT COURT
ERP OPERATING        NEWPORT NEWS WATERWORKS        WILLIAM KHALIL
LIMITED
PARTNERSHIP
ESBIN REALTY         NEWPORT NEWS WATERWORKS-       WILLIAM L
CORPORATION          979                            MANDELBAUM
ESCAMBIA COUNTY      NEWPORT SIGNS                  WILLIAM LEVEQUE
TAX COLLECTOR
ESERRI EKRAM         NEWS ADVERTISER                WILLIAM P SCOTT
ESI INTERNATIONAL    NEWS DAILY / DAILY HERALD      WILLIAM P. ROGOWSKI,
                                                    RECEIVER OF TX
ESKINDER JIFAR       NEWS GLEANER PUBLICATIONS      WILLIAM READ
ESMAT SHEIKH         NEWS PRESS, INC.               WILLIAM RIPLEY
ESOURCE.NET LLC      NEWSDAY, INC                   WILLIAM ROBERT
                                                    DEVINNEY
ESPANOL              NEWS-JOURNAL CORPORATION       WILLIAM ROCHEFORT
MARKETING &
COMMUNICATIONS,
INC.
ESPANOLA HELPING     NEWTON & SONS REAL ESTATE      WILLIAM SIMPSON
HAND FOOD BANK
ESPANOLA MALL        NEWTON COUNTY COLLECTOR        WILLIAM STEPHENS
ESPERANZA AQUINO     NEWTON, MFEEOMEAH U.           WILLIAM STRETLOW
ESPLANADE PLAZA      NEWWEST ENTERPRISE PROPERTY    WILLIAM TIPPETT
CO                   GROUP (SASK) INC.
ESPY, PAUL           NEWWEST ENTERPRISE PROPERTY    WILLIAM VAN DIEPEN
                     GROUP (SASK) INC.
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ESQUIMALT            NEXT BIG FRANCHISE            WILLIAM WASHNUK
TRADING
ESQUIRE DEPOSITION   NEXT FINANCIAL HOLDINGS       WILLIAM WEIR
SERVICES INC.
ESQUIRE DEPOSITION   NEXT JUMP, INC.               WILLIAM WILSON
SOLUTIONS LLC
EST-A-DIRE           NEXT LEVEL EVENTS, LLC        WILLIAM WRIGHT
COMMUNICATION
SERVICES
ESTATE OF JACK OR    NEXT MEDIA - WRNS             WILLIAM, JUSTIN
MILDRED SELLERS
ESTATE OF JOHN       NEXTIRAONE BUSINESS           WILLIAMINA MUGFORD
PETRYNA              COMMUNICATIONS, LLC
ESTATE OF ROLLAND    NEXTMEDIA OUTDOOR, INC.       WILLIAMS & CONNOLLY
BEGIN                                              LLP
ESTATE OF VIVA M.    NEXUS ALLIANCE GROUP, INC     WILLIAMS & WILLIAMS
FENGLER
ESTEBAN-TRINIDAD     NGA THI TRAN                  WILLIAMS MULLEN
LAW, PC
ESTELLE & ROGER      NGUYEN, TOM                   WILLIAMS SCOTSMAN
BRAZEAU                                            INC.-CHESAPEAKE
ESTES EXPRESS        NHCLC                         WILLIAMS SCOTSMAN,
                                                   INC.-CHICAGO
ESTEY ASSOCIATES     NIAGARA FUN TOURS             WILLIAMS, CHAS
ESTHER HA            NIAGARA HOME HEATING          WILLIAMS, DONALD &
                                                   DAWN
ETABEZAHU        NIAGARA PARKS                     WILLIAMS, ERIC
METAFERIA
ETARGETMEDIA.COM NIAGARA PENINSULA ENERGY          WILLIAMS, LARRY
                 INC
ETHAL DRENNAN    NICHOLAS HAMILTON-ARCHER          WILLIAMS, MICHAEL
ETHAN BRADFORD   NICHOLAS KRAMPS                   WILLIAMS, PATTEE
ETHAN CONRAD     NICHOLAS MARTIN V JTH TAX INC     WILLIAMS, STEVE
                 SETTLEMENT FUND
ETOBICOKE        NICHOLAS PALMERIO                 WILLIAMS, TONYA
GUARDIAN
ETTORE           NICHOLAS RICHTER                  WILLIAMSON ELECTRIC
ASSOCIATION
ETUKS, ITORO     NICHOLAS YIOKARIS                 WILLIE REX ANDERS
EUNJEONG CHOI    NICHOLS, CYNTHIA                  WILLIS, BRENT
EUREKA           NICK OF TIME IRRIGATION           WILLIS, WILLIAM
DEVELOPMENT, LLC
EUREKA WATER     NICK TRKULJA                      WILLKIE FARR &
COMPANY                                            GALLAGHER LLP
EVA GABRIS       NICKEL ELECTRIC LTD               WILLKIE FARR &
                                                   GALLAGHER LLP
EVA ROBICHAUD        NICOLAS RECOLLET              WILLOW BEND TOWNE
                                                   CENTRE LTD
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EVAN RICHARD        NICOLE ARNER                    WILLOW GROVE CENTER
HUGHES                                              LLC
EVAN W. TANDY       NICOLE JENNIFER PROSSER-SCOTT   WILLOW VALLEY
                                                    ASSOCIATES, INC
EVANGEL             NICOLE KUJAWA                   WILMA CHAPMAN
PUBLISHING HOUSE
EVANS ELECT.        NICOLE LAMURE                   WILMINGTON PAINTING
GROUP INC                                           INC
EVANS, DENNIS       NICOLE LANCASTER                WILSHIRE CENTER
EVANS, JOHN         NICOLE MACDONALD                WILSON ANDERSEN
EVANSVILLE          NICOLE OLENGA                   WILSON COUNTY
COURIER & PRESS
MAILING ADDRESS
EVE GORDON RAMEK    NICOLE OSSENFORT-DO NOT USE     WILSON HANDYMAN AND
TRUST                                               CLEANING SERVICE
EVE LAFLAMME        NICOLE ROBINSON                 WILSON, CHARLES
EVELYN PLANE        NICOLE STRICKER                 WILSON, DARLENE
EVELYN VERGOS       NICOLE SWANSON                  WILSON, ELSER,
                                                    MOSKOWITZ, EDELMAN
                                                    & DICKER LLP
EVENT BOOTH         NICOLES ROSE                    WILSON, JIM
EVENT STAFFING      NICOLETA OPREA AND/OR JOHN      WILSON, STACY
INC.                OPREA
E-VENTS             NICOM TECHNOLOGIES INC          WIMBUSH, CRYSTAL
REGISTRATION
E-VENTS             NICOR GAS                       WINCHESTER REAL
REGISTRATION, LLC                                   ESTATE
E-VENTS             NICOR GAS - 5407                WINDHAM
REGISTRATION, LLC                                   PROFESSIONALS INC
EVERGREEN           NIELSEN BUSINESS MEDIA          WINDHAM
CONSTRUCTION INC                                    PROFESSIONALS INC
EVERGREEN           NIELSEN MEDIA RESEARCH          WINDHAM REVENUE
DEVELOPMENT LLC                                     DEPARTMENT
EVERGREEN           NIETZ & GREEN LLC               WINDHAM RT 32
MIDTOWN PLAZA,                                      ASSOCIATES LLC
LLC
EVERGREEN PLAZA     NIETZ & GREEN, LLC              WINDMILL HILL LLC
II, LLC
EVERGREEN STATE     NIFTY NICKEL                    WINDSOR ESSEX FOOD
INVESTMENTS L.P.                                    BANK ASSOCIATION
EVERGY- 219089      NIGHT MOVES OF DENVER           WINDSOR FAMILY
                    PRIVATE INVESTIGATIONS          CREDIT UNION
EVERGY-219915       NIGHTHAWK INVESTIGATIONS        WINDSOR PARKS AND
                                                    REC
EVERGY-419353       NIKHLESH KUMAR                  WINDSOR POLICE
                                                    SERVICES
EVERSHEDS           NIKIFOROS AND GEORGIA           WINDSOR RACEWAY
SUTHERLAND (US)     VALASKANTJIS
LLP
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EVERSIGN, LLC        NIKKI MONTGOMERY               WINDSOR SPITFIRES INC.
EVERSOURCE           NIKOLAS EZENNAYA AJAGU         WINDSOR-ESSEX COUNTY
                                                    PENNYSAVER
EVIE MANSFIELD       NILOTHPAUL DELTA               WINDSTREAM
MODELING                                            COMMUNICATIONS
EVISIBILITY, INC.    NIMON SIGNS                    WINDSTREAM-9001908
EVOLUTION            NINA CASTELLO                  WINDWARD PROMENADE,
INTERNATIONAL                                       LLC
GROUP
EVOLVE               NIRAV PARIKH                   WINE & DINE EVENTS
COLLABORATION                                       GROUP
EXCEL                NITE 2 LITE COMMERCIAL         WING HING METAL
EMPLOYMENT           CLEANING SERVICES              WORKS
OPTIONS
EXCEL REALTY         NITE MOVES PUBLICATIONS LTD    WINMAR
TRUST-NC
EXCELLENT            NIXON PEABODY, LLP             WINNIPEG FREE PRESS
PRINTING AND
GRAPHICS, LLC
EXCELO, INC.         NJ LAWYERS SERVICE             WINNIPEG HUMANE
                                                    SOCIETY
EXCLUSIVE COOLING    NJC CONSULTING, LLC            WINNIPEG JETS HOCKEY
LTD.                                                CLUB
EXECUTIVE BOOKS      NJEWEL, JAY                    WINNIPEG OMG
EXECUTIVE            NM TAXATION AND REVENUE        WINNIPEG SYMPHONY
FRANCHISES.COM,      DEPARTMENT                     ORCHESTRA
LLC
EXECUTIVE            NMSP ITF ARTIS VICTORIA        WINNIPEG WATER AND
LANDSCAPING, INC.    SQUARE LTD.                    WASTE DEPARTMENT
EXHIBITS USA, INC    NO SKY STUDIOS                 WINPARK DORCHESTER
                                                    PROPERTIES
EXHIBITS, INC.       NOAM CORPORATION               WINTERBERRIES
                                                    DECORATING CONCEPTS
EXP SERVICES, INC.   NOBLE LOCKSMITH, LTD           WIRE SUSPENSE
                                                    GENERAL LEDGER
EXPEDITE MEDIA       NOBLE MANAGEMENT COMPANY       WIRTJES, KATHLEEN
GROUP
EXPENSE              NOBLE PACIFIC                  WISAL BABAR
MANAGEMENT
CONSULANTS
EXPERIAN             NOBLE ROAD PRESBYTERIAN        WISCONSIN
INFORMATION          CHURCH                         DEPARTMENT OF
SOLUTIONS, INC.                                     FINANCIAL INSTITUTIONS
EXPERIAN             NOCO PROPERTIES, LLC           WISCONSIN
MARKETING                                           DEPARTMENT OF
SOLUTIONS, LLC                                      REVENUE
EXPERIENCE           NODUS TECHNOLOGIES, INC        WISCONSIN
PUBLISHING, INC.                                    DEPARTMENT OF
                                                    REVENUE
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EXPERIS US, INC.    NOE MARTINEZ                    WISCONSIN
                                                    DEPARTMENT OF
                                                    REVENUE-INACTIVE
EXPERTISE LLC       NOELLA MASSIA                   WISCONSIN DEPT OF
                                                    WORKFORCE
                                                    DEVELOPMENT
EXPLOREBIZ          NOELLA PICARD                   WISCONSIN DEPT. OF
                                                    FINANCIAL INSTITUTIONS
EXPLORERTOUR, INC   NOLTE, RICHARD                  WISCONSIN DIVISION OF
                                                    SECURITIES
EXPO DATA           NOORANI, NIZAR                  WISCONSIN
CAPTURE, INC.                                       EDUCATIONAL
                                                    APPROVAL BOARD
EXPRESS PERSONNEL   NOR-DON COLLECTION NETWORK      WISCONSIN STATE
SERVICES            INC.                            TREASURY (UNCLAIMED
                                                    PROPERTY)
EXPRESS PROCESS     NOREEN AHMED                    WISCONSIN
SEVICE, INC.                                        UNEMPLYMENT INS.
EXPRESS SERVICES    NOREEN SCHUSTER                 WITHLACOOCHEE RIVER
                                                    ELECTRIC
EXPRESS SERVICES    NORFOLK & PORTSMOUTH BAR        WITHLACOOCHEE RIVER
INC.                ASSOCIATION                     ELECTRIC
EXPRESS             NORFOLK ADMIRALS                WITMAN PROPERTIES,
TRANSACTION                                         INC
SERVICES INC.
EXPRESS VALET       NORFOLK CIRCUIT COURT           WITMER, COLLETTE
EXPRESSCOPY.COM     NORFOLK CITY TREASURER          WJF ENTERPRISES LTD
EXTENDED STAY       NORFOLK ELECTRIC MOTOR          WJMZ-FM
AMERICA 4178        SERVICE
EXTERIOR DESIGN     NORFOLK FESTEVENTS, LTD         WJNT NEWS TALK RADIO
SPECIALIST
EXTREME REACH       NORFOLK FIRE MARSHAL'S          WJTT-FM
CANADA, ULC         OFFICE
EXTREME RODEO       NORFOLK FLORIST & GIFTS         WKBX-FM
TOUR
EYE SEARCH          NORFOLK LAW LIBRARY             WKHX-FM / WYAY-FM /
                                                    WDWD
EYEWITNESS          NORFOLK PARADE, INC             WKLC, INC.
INVESTIGATIONS
EZ CASH SERVICES    NORFOLK SECURITY VAULT CORP     WKMO- FM
EZ SIGNS            NORFOLK STATE UNIVERSITY        WKMY
EZ                  NORFOLK STATE UNIVERSITY        WKOC 93.7 FM
TRANSPORTATION      (CAREER FAIR)
EZ-SHRED            NORFOLK STATE UNIVERSITY        WKPT-AM KINGSPORT, TN
                    CONTINUING EDUCATION
F & N CENTER, LLC   NORFOLK TIDES BASEBALL CLUB     WLKI- FM
F. INGHAM           NORFOLK WHOLESALE FLORISTS      WLVY RADIO
CONSTRUCTION
COMPANY LIMITED
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F.I.S.T. SECURITY    NORFOLK WIRE AND                WM CORPORATE
LTD.                 ELECTRONICS                     SERVICES, INC - 4648
FABER, BRAD          NORMA JAHNS                     WM RECYCLE AMERICA
FABIAN BEST          NORMA MCCOMB                    WM. CHARLES EALY &
                                                     CO.
FABIAN PASCOE        NORMA OBRIEN                    WMRE RADIO
FABRICS SAVE-A-      NORMA SQUIRES                   WNCI RADIO
THON 3RD AVE, INC
FACILITIES           NORMAN FOGEL                    WNIS 790AM-999
COMMERCIAL                                           WATERSIDE
REALTY, INC.
FADI SOBHI           NORMAN LAWLESS                  WNKI
FAEGRE BAKER         NORMAN MCPHEDRIAN               WNNC RADIO
DANIELS LLP
FAHEEM RANDAAWA      NORRIS GHOLSTON                 WNOR RADIO
FAHEY EQUITIES LLC   NORTH AMERICAN CO. FOR L&H      WNVZ RADIO
FAHRHALL             NORTH AMERICAN                  WOKN-FM 99.5
MECHANICAL           INVESTIGATIONS
CONTRACTORS LTD
FAIRBAIRN            NORTH AMERICAN RECEIVABLE       WOLCOTT RIVERS GATES
HOLDINGS INC.        MGMT SERVICES
FAIRFAX              NORTH AMERICAN SAND SOCCER      WOLFF, BRAD
ASSOCIATES LLC       CHAMPIONSHIP
FAIRFAX STATION      NORTH BAY FOOD BANK             WOLFF, OWEN &
SQUARE LIMITED                                       HEATHER
PARTNERSHIP
FAIRFIELD BLOCK      NORTH BAY HYDRO                 WOLFGANG JEEHOW
LTD
FAIRFIELD INN BY     NORTH CAROLINA CHAMBER OF       WOLFINGBARGER,
MARRIOTT             COMMERCE                        TRACY E.
FAIRVIEW GOLF        NORTH CAROLINA DEPARTMENT       WOLFPACK TAX INC.
COURSE               OF REVENUE
FAIRVIEW LIQUOR      NORTH CAROLINA DEPT OF          WOLFSON, CASH
STORE                REVENUE
FAIRVIEW PRINTING    NORTH CAROLINA DEPT. OF REV.    WOLVES SOCCER CLUB
AND SILKSCREENING
FAIRWAY GROUP        NORTH CAROLINA DEPT.OF STATE    WOMADZ, LLC
                     TREASURER
FAIZAL PREMJI        NORTH CAROLINA                  WOMBLE BOND
                     INVESTIGATIVE SERVICES          DICKINSON LLP
FAIZAN AHMED         NORTH CAROLINA OFFICER OF       WON G. CHU
                     COMMISSIONER OF BANKS
FALER, KEVIN         NORTH CAROLINA STATE            WONDERLIC, INC
                     UNIVERSITY
FALLS AVE RESORT     NORTH CHARLESTON JOINT          WONG, ALAIN
                     VENTURE
FAMILY DOLLAR        NORTH COAST ELECTRIC, INC.      WOOD, CLIFTON
STORES
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FAMILY SUPPORT       NORTH CORNERS CENTER           WOOD, GARY
REGISTRY
FAMOUS TATE          NORTH DAKOTA OFFICE OF STATE   WOOD, JENNIFER
SPRING HILL, LLC     TAX COMMISSIONER
FANG, KEUR C.        NORTH DAKOTA SECRETARY OF      WOODHOUSE GROUP
                     STATE
FARGY INK            NORTH DAKOTA SECURITIES        WOODLIEF, GLENN
                     DEPARTMENT
FARIBORZ NOURIAN     NORTH DAKOTA STATE LAND        WOODRUFF-ROEBUCK
                     DEPARTMENT (UCP)               WATER DISTRICT
FARLEY'S MASONRY,    NORTH DAKOTA STATE             WOODS ROGERS
INC.                 SECURITIES COM                 VANDEVENTER BLACK
                                                    PLC
FARMER, ED           NORTH DAKOTA STATE TAX         WOODSON ELECTRIC,
                     COMMISSIONER                   LLC
FARMERS              NORTH DAKOTA WORKFORCE         WOODWARD, HOBSON &
INSURANCE            SAFETY & INSURANCE             FULTON, LLP
EXCHANGE-894731
FARQUHARSON,         NORTH FOREST PROPERTIES #3     WOOLFSTON &
DONALD               LLC                            WOOLFSTON, IN TRUST
FAST BREAK SPORTS,   NORTH GEORGIA EMC              WORKER TRAINING FUND
LLC
FAST PITCH           NORTH HILLS SCHOOL DISTRIC     WORKFLOWONE
FAST SIGNS           NORTH LIMESTONE, LLC           WORKFRONT, INC.
FAST SIGNS           NORTH MALL ASSOCIATES          WORKING MOTHER
                                                    MEDIA
FAST SIGNS OF        NORTH RIM PROPERTIES           WORKIVA INC.
VENTURA
FAST SIGNS OF        NORTH SAILS HAMPTON            WORKIVA INC.
WINNIPEG
FASTENAL CANADA,     NORTH TEXAS ROVER              WORKIVA, LLC
LTD
FASTRAX              NORTHAMERICAN VAN LINES        WORKMAN NYDEGGER
GUARANTEED           CANADA
DELIVERY SERVICE
FASTSIGNS            NORTHAMPTON COUNTY             WORKPLACE INTERIORS,
                     GENERAL DISTRICT COURT         LLC
FASTSIGNS- BATON     NORTHAMPTON COUNTY             WORKPLACE SAFETY
ROUGE                TREASURER                      AND INSURANCE BOARD
FASTSIGNS            NORTHCOM AUDIO VISUAL          WORLD CLASS EXHIBIT
NATIONAL
ADVERTISING
COUNCIL, INC.
FASTSIGNS-4724       NORTHEAST HOLDING              WORLD OF WATER
                     ASSOCIATION LLC
FASTSIGNS-5444 VAB   NORTHEAST WEEKLY LTD.          WORLD OFFICE SYSTEMS,
BLVD                                                INC.
FATMA                NORTHERN ATHLETIC WEAR &       WORLD PAY
SULEYMANOF           ADVERTISING
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FATWALLET &            NORTHERN BUSINESS SOLUTIONS   WORLD POND HOCKEY
EBATES                                               CHAMPIONSHIP
FAULKNER & GRAY        NORTHERN CLEANING             WORLDCOM CANADA
                       CONTRACTORS LTD.              LTD.
FAXER TISEMENTS        NORTHERN ELECTRIC             WORLDWIDE
                                                     FRANCHISING NETWORK
FAY STEFANOU           NORTHERN LEASING SYSTEMS,     WORLDWIDE IMAGING
                       INC.
FAY VENTURA            NORTHERN LIFE                 WORLDWIDE MEDIA, INC.
FAYE GORDON            NORTHERN PLAINS RADIO         WOUNDED WEAR, INC.
                       NETWORK
FAYETTE COUNTY         NORTHERN ROCKIES REG          WOW! BUSINESS
PUBLIC SCHOOLS         MUNICIPALITY
FAYETTE                NORTHERN SECURITY             WOW! ENTERTAINMENT,
NEWSPAPERS, INC.                                     INC.
FAYETTEVILLE           NORTHERN SECURITY             WOWI RADIO
PUBLIC WORKS
COMMISSION
FBBT/US PROPERTIES     NORTHERN TOOL & EQUIPMENT     WPL ENTERPRISE LLC
LLC
FBJ INVESTORS, INC.    NORTHERN UNIFORM SERVICE      WPOW / POWER 96 FM
FCHT HOLDINGS          NORTHERN VISION               WPPL FM
(ONTARIO               DEVELOPMENT LIMITED
CORPORATION)
FCR MANAGEMENT         NORTHERNLIGHTS                WPTE RADIO
SERVICES LP            IMPROVEMENT, LLC
FDACS                  NORTHGATE ASSOCIATES          WQMG-FM
                       LIMITED
FDH GROUP              NORTHGATE DEVELOPMENTS INC.   WQOK FM
FEATHER                NORTHGATE LOTTO CENTRE        WQXE FM- 98.3
PUBLISHING CO., INC.
FEDERAL BAR            NORTHGATE MALL LLC            WRAZ-TV
ASSOCIATION
FEDERAL DIRECT,        NORTHGATE MALL PARTNERSHIP    WRD SHIPPENSBURG LP
INC.
FEDERAL EXPRESS -      NORTHGATE MARKETING FUND      WRIGHT, BARBARA
660481
FEDERAL EXPRESS-       NORTHGATE OLYMPIC             WRIGHT, BILL
332                    PROPERTIES
FEDERAL EXPRESS-       NORTHLAKE INVESTIGATIONS      WRIGHT, DAVID
371461
FEDERAL EXPRESS        NORTHLAND JOINT VENTURE       WRIGHT, EMILY
CANADA LTD.
FEDERAL KEMPER         NORTHMONT AREA CHAMBER        WRIGHT, JESSICA
LIFE ASSURANCE
COMPANY
FEDERAL TRADE          NORTHUMBERLAND PUBLISHERS     WRIGHT'S MEDIA
COMMISSION
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FEDERAL WAGE AND      NORTHVILLE GREEN ASSOCIATES    WROX RADIO
LABOR LAW             LLC
INSTITUTE
FEDERAL WAY           NORTHWALL ENTERPRISES          WRS CENTERS I LLC
FEDERAL WAY           NORTHWEST BENCH PROMOTIONS     WRSV-FM RADIO
TOWNE SQUARE
FEDERATED PI          NORTHWEST NEWS GROUP           WRZI- FM
FEDERATION OF TAX     NORTHWEST TENNESSEE REALTY     WRZK- FM
ADMINISTRATORS        LLC
FEDERATION OF TAX     NORTHWESTEL INC                WSKY-TV
ADMINISTRATORS
FEDEX                 NOTARY CLERK-OFFICE OF THE     WSRADIO
                      SECRETARY
FEDEX FREIGHT-        NOVAMEX                        WSTO-FM - SOUTH
223125                                               CENTRAL
                                                     COMMUNICATIONS
FEDEX KINKO'S -       NOVARE NATIONAL SETTLEMENT     WTAII PLLC
672085                SERVICE
FEDEX OFFICE-572085   NOVEDADES TV PUBLISHING, LLC   WTAII PLLC
FEDEX TRADE           NOVELLA TROIA                  WTAR NEWS/TALK RADIO
NETWORKS CAN INC.                                    850AM
FEDEX-PO BOX 1140     NOW NEWSPAPERS                 WTB LANGUAGE GROUP,
                                                     INC.
FEED THE NEED IN      NPBA                           WTHX- FM
DURHAM
FEEHRER               NRG INVESTMENTS, INC.          WTKR TV
DEVELOPMENT
FEERICK LYNCH         NSD NEWCO, INC                 WTT, S.E.
MACCARTNEY PLLC
FEITIAN               NUHA BAROUDI                   WTTE-TV
TECHNOLOGIES US,
INC.
FELDMAN ADVISORS,     NUMERACLE, INC.                WTVZ TV
LLC
FELICIA M. BOWDEN     NUTEC ELECTRO TEL              WU, JIALING
FELIX DADULA          NV ENERGY-30150                WULF, THOMAS W.
FELIX GONZALEZ        NVENERGY                       WURST, ANNE
RUIZ
FELIX STRATER         NW NATURAL                     WVBT TV
FELKER, TIMOTHY       NY DEPARTMENT OF STATE         WVEA TV
FELLER, CAPTAIN       NY STATE DEPT OF TAXATION &    WVEC TV
FRED                  FINANCE
FELLER, FRED          NYC DEPARTMENT OF CONSUMER     WVEE FM - CBS RADIO
                      AFFAIRS
FELLOWS, ERIC         NYE COMMERCIAL ADVISORS INC    WVIC- FM
FEREN SIGNS &         NYS CORPORATION TAX            WVKL RADIO
AWNINGS LTD.
FERGUSON, DONNA       NYS CORPORATION TAX            WVT ENTERPRISES INC
FERMOS                NYS UNEMPLOYMENT INSURANCE     WWDE RADIO
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FERNANDA PEREIRA      NYSEG                             WWOC- FM
FERNE O'NEIL          NZR RETAIL OF TOLEDO, INC.        WWR PROPERTIES
FEROZ GADWAH          O&Y ENTERPRISE ITF PARKWAY        WXGM
                      MALL
FERRAEZ               OAK PARK APARTMENTS               WXII
PUBLICATIONS OF       PARTNERSHIP LLC
AMERICA CORP
FERRARELLI, DINO      OAK PARK CENTER LLC               WXLK-FM
FERTIG AND            OAKSHAW LLC                       WXSS
GORDON
COMPANIES, INC.
FEST EVENTS           OAKWOOD RESORT, GOLF, SPA         WYATT, JENNIFER
                      AND CONFERENCE CENTRE
FESTIVAL AT           OANA MORAN                        WYCHE, PROFESSIONAL
HAMILTON, LLC                                           ASSOCIATES
FESTIVAL AT           OBENSHAIN FOR ATTORNEY            WYCLIFFE PROPERTY
HAMILTON, LLC         GENERAL                           MANAGEMENT LTD.
FESTIVAL DU           OBIE MEDIA LIMITED                WYLWOOD AND
VOYAGEUR INC.                                           ASSOCIATES
FETTICHA              OBION COUNTY TRUSTEE              WYOMING CAVALRY
DANDAPANI
FIAT HOLDINGS, INC.   OBJECT CLOUDS TECHNOLOGY          WYOMING SECRETARY
                      SOLUTIONS INC                     OF STATE
FIBER                 OBJECT FRONTIER SOFTWARE          WYRE ELECTRICAL
TECHNOLOGIES                                            CONTRACTING, INC.
NETWORKS, LLC-
CROWN CASTLE
FICKLING &            OBJECTIF LUNE INC                 WZRX RADIO
COMPANY, INC.
FIDELE IRABIZI        O'BRIEN ADVERTISING               X1 TECHNOLOGIES
FIDELITY              O'BRIEN ET AL. ADVERTISING, INC   XAD, INC.
CONSTRUCTION, INC
FIDES FINANCIAL       O'BROS LLC                        XBRAND ENTERPRISES,
CORPORATION                                             LLC.
FIDLER SALES, LTD.    OBSERVER PUBLISHING               XCEL ENERGY
FIDUCIARY             OC OFFICE SUPPLIES                XENTEL DM INC.
REPORTING, INC.
FIFTH THIRD BANK      OCCUPATIONAL TAX                  XERO SOFTWARE
ACH ONLY              ADMINISTRATOR                     (CANADA) LTD
FINAL ACT             OCEAN BLUE FACILITY               XEROX CANADA LTD.
ENTERPRISES, LLC      SOLUTIONS
FINAL TOUCH           OCEAN BREEZE WATERPARK            XEROX CORPORATION -
FLOORING AND                                            7405
INTERIORS
FINANCE AND           OCEAN CATERING COMPANY            XEROX CORPORATION -
COMMERCE                                                827181
FINANCEBUZZ           O'CONNOR, DOUGLAS                 XEROX CORPORATION -
                                                        827598
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FINANCEPAL            ODD JOBS BY JOHN                  XINNING ZHOU
HOLDINGS LLC
FINANCEPAL            ODELL, JAMES H.                   XL SPECIALTY
HOLDINGS LLC                                            INSURANCE COMPANY
FINANCIAL             ODETTE ATHANAS                    XOSOFT
ACOUNTING
STANDARDS BOARD
FINANCIAL ASSIT       ODU CONSTANT CENTER               XPENSETRAX
MANAGEMENT
SYSTEMS, INC.
FINANCIAL             ODU OFFICE OF THE UNIVERSITY      X-POSURE MARKETING
EXECUTIVE             REGISTRAR
INTERNATIONAL
FINANCIAL             ODUYALE, SOLOMAN                  XPRESS NSTALLS
EXECUTIVES
INTERNATIONAL
FINANCIAL             OFFICE DEPOT, INC                 XPRESSDOCS.COM
REPORTING
ADVISORS, LLC
FINANCIAL SERVICE     OFFICE DESIGN                     XRUN INC.
CENTERS OF
MISSISSIPPI
FINDLAY MARKET        OFFICE FURNITURE OUTLET           XTENSION
ASSOCIATION                                             TECHNOLOGIES
FINE PROPERTIES       OFFICE FURNITURE OUTLET, INC.     YAHOO ! USA
FINE PROPERTIES       OFFICE MAX IMPRESS                YAHOO, INC
FINEST HOLDINGS,      OFFICE OF ATTORNEY GENERAL        YAKES, JEFF
INC.
FINK, KEVIN           OFFICE OF ATTORNEY GENERAL -      YALE NEWBERRY, LLC
                      MD
FINN, MARY            OFFICE OF COMPLIANCE              YALE NEWBERRY, LLC
FINRA                 OFFICE OF SECRETARY OF STATE -    YAMILE DORY
                      RHODE ISLAND
FIORE, DAN            OFFICE OF THE ATTORNEY            YAN POULIOT
                      GENERAL
FIRBY THIBEAULT       OFFICE OF THE STATE TREASURER     YAREK LIN
                      SD
FIRE & LIFE SAFETY    OFFICE PRODUCTS & SERVICES        YARIVETTE ROSADO
AMERICA, INC
FIRE & SAFETY         OFFICE PRODUCTS CENTRE            YARMOUTH JR A HOCKEY
CENTRE
FIRE FIGHTERS'        OFFICE PRODUCTS, INC              YARNELL, JASON & LISA
ASSOCIATION OF
ONTARIO
FIRE SERVICE CORP     OFFICEMAX - (NAT'L ACCT)          YASSINE HIAM
FIRE SERVICE CORP.    OFFICEMAX - (PUBLIC SITE) (DONT   YATES PROPERTIES
                      USE FOR INHOUSE)
FIRE SERVICES, INC.   OFFICES ON MAIN, LLP              YBM INC
FIRE TECH SERVICES,   OFFICETEAM                        YEAGER, AMY
INC.
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FIREFLY LEGAL OH,     OFFICETEAM                     YEIMAR SERVICES
INC.
FIRETEK, LLC          OFFICIAL FRANCHISES, LLC       YELLOW BOOK
FIREWHEEL SIGNS &     OFICINA L DE CAROLINA          YELLOW BOOK USA
GRAPHICS
FIRST ATLANTIC        OFS GROUP                      YELLOW FREIGHT
RESTORATION                                          SYSTEM, INC.
FIRST AVENUE          OG& E                          YELLOW PAGES GROUP
PARTNERSHIP
FIRST BANK OF         OG&E                           YELLOW
DELAWARE                                             TRANSPORTATION
FIRST CELLULAR        OGDEN, CONNIE                  YELP INC.
FIRST CENTURY         OGDEN, NEWELL & WELCH          YEON J KIM
BANK, N.A.
FIRST CENTURY         OGDEN, SAM                     YESCO ONTARIO EAST
BANK, N.A.
FIRST COMMERCIAL      OGESTA GUBEK                   YESENIA MELENDEZ
MANAGEMENT                                           GONZALEZ
FIRST COMMERCIAL      OGINO, LLC                     YESHIVA OF GREATER
REALTY, LLC                                          WASHINGTON
FIRST HORIZON CC      OGINO, LLC DBA VALLEJO PLAZA   YEXT INC.
                      CENTER
FIRST HORIZON-CC      OHANA HANA, INC                YFC ENTERPRISES, LLC
FIRST LA BREA LLC     OHIO BUREAU OF EMPLOYMENT      YIFEI WANG
                      SRV.
FIRST MANAGEMENT      OHIO BUREAU OF WORKERS'        YIRA GRIEGO
INC                   COMPENSATION
FIRST NIAGARA         OHIO CONSUMER'S USE TAX        YMCA MT. TRASHMORE
BANK                  RETURN
FIRST PRIORITY        OHIO DENTAL ASSOCIATION-       YMCA YOUTH SPORTS
FUNDING, LLC          DAYTON SOCIETY
FIRST TENNESSEE       OHIO DEPARTMENT OF             YOGESWAR, INC
BANK N.A.             COMMERCE, DIVISION OF
                      UNCLAIMED FUNDS
FIRST USA BANK, NA    OHIO DEPARTMENT OF REVENUE-    YOLANDA AGUAYO DE
                      SALES AND USE TAX              STRONG
FISHEL'S PAINT &      OHIO DEPARTMENT OF TAXATION    YOLANDA BALDOCK
REMODEL               - LICENSES
FISHER                OHIO DEPARTMENT OF             YOLANDA BUSSEY
BROADCASTING, INC.    TAXATION-CAT PAYMENTS
FISHER ZUCKER, LLC    OHIO EDISON- 3687              YOLANDA OWSIENKO
FISHMAN PR            OHIO JOB & FAMILY SERVICES     YOMO MANAGEMENT
FITZGERALD,           OHIO SECRETARY OF STATE        YONGE-KINGSTON
STEVEN                                               CENTRE INC
FIVE FISH PRESS LLC   OHIO STATE LANTERN             YORK ADAMS TAX
                                                     BUREAU
FIVE POINT DATA       OHIO TREASURER OF STATE        YORK ADAMS TAX
SYSTEMS INC.                                         BUREAU
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FIVE POINT DATA      OK& D MARKETING GROUP          YORK ELECTRIC
SYSTEMS-DO NOT                                      COOPERATIVE, INC
USE
FIVE POINTS, LLC     OKANAGAN COMPUTER              YORK NEWSPAPER
                     PRODUCTS RECYCLING INC.
FIVE STAR PRINTING   OKLAHOMA COUNTY TREASURER      YORK REGION
                                                    PROFESSIONAL FIRE
FIXTURES GROUP,      OKLAHOMA DEPARTMENT OF         YORK RIVER CROSSING
INC.                 HUMAN SERVICES                 ASSOCIATES
FLAMINGO LAS         OKLAHOMA DEPARTMENT OF         YORK, SHAUN
VEGAS                REVENUE
FLAMINGO, INC.       OKLAHOMA NATURAL GAS           YORK-EGLINTON BIA
FLATH, BRIAN &       OKLAHOMA SECRETARY OF          YOSHARA MONCADA
LESLIE               STATE
FLAVIANA             OKLAHOMA STATE TREASURER,      YOUNG AUDIENCES
NOMBRADO             UNCLAIMED PROPERTY DIVISION    VIRGINIA
FLEMING, DEAN        OKLAHOMA TAX COMMISSION        YOUNG BOLD AND
                                                    BEAUTIFUL
FLETCHER BRIGHT      OKLAHOMA TAX COMMISSION        YOUNG DON NAM
COMPANY
FLETCHER, ARNOLD     OLD BRANDON FIRST COLONIAL     YOUNG FITNESS INC.
                     ASSOCIATES, LLC
FLEX REVOLUTION,     OLD COAST GUARD STATION        YOUNG LIM
LLC
FLICK, KENNETH B.    OLD DOMINION RECOVERY          YOUR FRANCHISES LLC
FLOOR COVERINGS      OLD DOMINION TREE & LAWN       YOUR OWN FRANCHISE,
INTERNATIONAL        CARE SPECIALIST                INC
FLOOR DECORATOR      OLD DOMINION UNIVERSITY        YP HOLDINGS, LLC
LLC
FLOOR STORE          OLD DOMINION UNIVERSITY        YPPA
FLORA ALLAN          OLD DOMINION UNIVERSITY        YRC REIMER
FLORENCE UPHAM       OLD DOMINION UNIVERSITY        YUEN LUI SQUARE LLC
FLORENTINA           OLD DOMINION UNIVERSITY        YUK YUK'S ON TOUR
MORARU               CAREER MANAGEMENT CENTER
FLORIA MOORE         OLD DOMINION UNIVERSITY        YUKON QUEST
                     RESEARCH FOUNDATION            INTERNATIONAL
                                                    CANADA
FLORIDA ASSUMED      OLD DOMINION UNIVERSITY-       YULEE STATE, LLC
NAME SERVICES        DINING SERVICES
FLORIDA ATLANTIC     OLD DOMINION UNIVERSITY-       YULIANA SLAVOVA
UNIVERSITY           FINANC
FLORIDA BAR          OLD NATIONAL LP                YUN AND SIMONIAN. PC
FLORIDA              OLD QUEBEC TOURS               YURI LIPKOV
DEPARTMENT OF
FINANCIAL SERVICES
FLORIDA              OLD TOWNE RETAIL               YUSEF HAMIDEH
DEPARTMENT OF        INVESTMENTS, LLC
REVENUE
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FLORIDA DEPT OF      OLDTIMER BENEFIT HOCKEY       YUYU BARBEN
AGRICULTURE AND
CONSUMER
SERVICES
FLORIDA DEPT OF      OLDTIMERS HOCKEY CHALLENGE    YVES RHEAULT
FINANCIAL SERVICES
FLORIDA DEPT. OF     OLEANA PROPER                 YVETTE DUGAS
STATE
FLORIDA POWER &      OLEKSENDRA SOROKINA           YVON LACROIX
LIGHT COMPANY
FLORIDA REALTY       OLEVIER CHAMPAGNIE            YVON LAFRANCE
GROUP
FLORIDA REALTY       OLGA MOTKINA                  YVONNE JULIET
INVESTERS, L.P.                                    MULLINGS
FLORIDA STATE        OLGA MOTKINA                  YVONNE NAVARRO
DISBURSEMENT UNIT
FLORIDA TIMES        OLGA MUSYKHINA                YVONNE SCHWALM
UNION
FLOR-LINE            OLIVER & WINKLE, P.C          YWCA
ASSOCIATES
FLOW 93.5            OLROGGE, GEORGE               YWCA - SOUTH HAMPTON
                                                   ROADS
FLOYD COUNTY TAX     OLSEN, GEORGE                 YWCA OF S. HAMPTON
COMMISSIONER                                       ROADS
FLOYD PRESS          OLSON ELECTRIC LTD.           Z COMPANY STORES
FLSPRING HILL        OLSON, FRED                   Z COMPANY STORES
CORTEZ, LLC
FLUENT, LLC.         OM INTERNATIONAL              Z103.5
                     CORPORATION
FLYING HOG CYCLES    OMAHA LANCERS HOCKEY CLUB     ZACHARY M STROM
INC
FLYNN, MONICA        OMAHA WORLD HERALD            ZADA, LLC DABA METRO
                                                   INVESTIGATIONS, LLC
FM HEATING & AIR     OMAR SMOKE ON THE BEACH       ZAHER, MAHMOUD A.
CONDITIONING
FMM PROPERTIES       OMNINET PROPERTIES            ZAHN COURT
INC                  MANCHESTER CENTER LLC         REPORTING, LTD.
FOCCA, ANTHONY       OMNIPRINT                     ZAHN, HALL & ZAHN LTD.
FOCUS BRANDS, INC.   OMNITURE, INC.                ZAHOUREK, RICHARD
FOG CREEK            OMS EAST LLC                  ZAIR MANAGEMENT
SOFTWARE, INC.                                     COMPANY
FOLEY & LARDNER      ON BOARD ADVERTISING INC      ZARES, LLC
LLP
FOLIO                ON BOARD ADVERTISING INC.     ZAYMA REALTY
INVESTMENTS, INC.                                  HOLDINGS INC
FOLKLORAMA           ON THE GO MAGAZINE            ZEAL CAPITAL
                                                   MANAGEMENT LLC
FOLLETT'S            ONE ACCORD REALTY CORP        ZEE CALLS, LLC
TIDEWATER
BOOKSTORE
      Case
       Case23-10983-TMH
            23-10983-TMH Doc
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                              16 Filed
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FONCA/DONATIVOS      ONE MAN WITH A PAINTBRUSH     ZEENAT SHAFI
FOOD FOR THE POOR,   ONE O ONE DELIVERY SYSTEMS    ZEESHAN HAIDER ABIDI
INC
FOOD-A-RAMA          ONE WAVERLY LLC               ZEIGLER FLORISTS, INC.
FOODBANK OF          O'NEAL, WILLIAM               ZELDES NEEDLE &
SOUTH EASTERN                                      COOPER
VIRGINIA
FOOK YOUNG LIM       ONECARD MARKETING, INC. DBA   ZEMANIAN LAW GROUP
                     REVTRAX
FOOTNOTES PRESS,     O'NEILL & BORGES, LLC         ZENCZAK LIVING TRUST
LLC
FOR THE RECORD,      ONETONE TELECOM, INC          ZENDESK, INC
INC.
FORBES               ONOFRIO STRONGOLI             ZENITH INSURANCE
                                                   COMPANY
FORBES MAGAZINE      ONSET CAPITAL CORPORATION     ZEPHYR CONSTRUCTION
FORBES REPRINTS      ONSLOW COUNTY TAX             ZERO IN MEDIA LLC
AND LICENSING        COLLECTOR
FORD, TIMOTHY        ONTARIO COMMUNITY             ZFERRAL, INC (DBA
                     NEWSPAPER ASSOCIATION         AMBASSADOR
                                                   SOFTWARE)
FORDHAM              ONTARIO FIREFIGHTERS SAFETY   ZIMMERMAN, FRED J.
RENAISSANCE          MAGAZINE
ASSOCIATES
FORESIGHT            ONTARIO HOME RENOVATIONS      ZIMMERMAN, PAUL
CONSULTING, INC.     INC.
FOREST HARLEM        ONTARIO SECURITIES            ZIRIMWABADABO
PROPERTIES LIMITED   COMMISSION                    HUBARUGIRA
PARTNERSHIP
FOREVER YOURS        ONTREA INC.                   ZOEL BABINEAU
PHOTOGRAPHY
FORLINI, JUSTIN      ONWUKA, CHUKWUDI              ZOHO CORPORATION
FORMS & SUPPLY,      OPALA IRENEUSZ                ZONC ENTERPRISES, INC.
INC.
FORREST SEWER        OPB REALTY INC.               ZONES
PUMP SERVICE, INC
FORSYTHIA            OPEN A FRANCHISE              ZONES
FOUNDATION
FORT MYERS           OPEN ARMS MISSION             ZONES LLC
BROADCASTING
FORT NELSON MINI     OPERATION HOMEFRONT MID-      ZOOTS CLEANERS
STORAGE              ATLANTIC
FORT YORK FOOD       OPERATION SCUGOG              ZUBI ADVERTISING
BANK                                               SERVICES, INC.
FORTISBC-NATURAL     OPIPOZ LLC                    ZULIANI GLASS CENTRE
GAS
FORTRA, LLC          OPPD                          ZURICH KEMPER
FORTUNE - NEW        OPT GOLDEN HILLS              ZXUH, ANGIE
BUSINESS VENTURES
      Case
       Case23-10983-TMH
            23-10983-TMH Doc
                          Doc117-3
                              16 Filed
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FORTUNE            OPTIMA HEALTH - 2812
COMMERCIAL
MANAGEMENT, LLC
                  Case
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Fill in this information to identify the case and this filing:



Debtor Name NextPoint Financial Inc.

United States Bankruptcy Court for the:                          District of Delaware
                                                                           (State)
Case number (If known):           23-10983

Official Form 202

Declaration Under Penalty of Perjury for Non-Individual Debtors 12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document, and
the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
and 3571.


                       Declaration and signature

                   I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
                   another individual serving as a representative of the debtor in this case.

                   I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


                   ☐              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)


                   ☐              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)


                   ☐              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


                   ☐              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)


                   ☐              Schedule H: Codebtors (Official Form 206H)


                   ☐              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)


                   ☐               Amended Schedule


                   ☐              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders (Official
                                  Form 204)


                   ☒              Other document that requires a declaration Rule 1007(a)(4) Statement and Corporate Ownership Statement

I declare under penalty of perjury that the foregoing is true and correct.

Executed on            07/26/2023
                       MM / DD / YYYY                              /s/ Peter Kravitz
                                                                  Signature of individual signing on behalf of debtor

                                                                  Peter Kravitz
                                                                  Printed name

                                                                  Chief Restructuring Officer
                                                                  Position or relationship to debtor
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Due to the voluminous nature of the remaining 29 pe��ons ﬁled in these bankruptcy proceedings, the

documents may be (i) viewed and downloaded free of charge at the Debtors’ case website

(htps://cases.streto.com/NextPoint/), or (ii) obtained upon writen request (including by e-mail) to

counsel to the Foreign Representa�ve, DLA Piper (US) LLP, 1201 N. Market Street, Suite 2100

Wilmington, Delaware 19801 (Atn: R. Craig Mar�n, Esq. [craig.mar�n@us.dlapiper.com]), and 1251

Avenue of the Americas, New York, New York 10020 (Atn: Rachel Ehrlich Albanese, Esq.

[rachel.albanese@us.dlapiper.com] and Jamila Jus�ne Willis, Esq. [jamila.willis@us.dlapiper.com]):


  Case Number       Docket       Date
                    Number       Filed     Document Name

     23-10984           1      7/26/2023   Chapter 15 Pe��on for Recogni�on of Foreign Proceeding
                                           Filed by NextPoint Financial Inc., NPI Holdco LLC.

     23-10985           1      7/26/2023   Chapter 15 Pe��on for Recogni�on of Foreign Proceeding.
                                           Filed by NextPoint Financial Inc., NPLM Holdco LLC.

     23-10986           1      7/26/2023   Chapter 15 Pe��on for Recogni�on of Foreign Proceeding.
                                           Filed by NextPoint Financial Inc., LT Holdco, LLC.

     23-10987           1      7/26/2023   Chapter 15 Pe��on for Recogni�on of Foreign Proceeding.
                                           Filed by NextPoint Financial Inc., MMS Servicing LLC.

     23-10988           1      7/26/2023   Chapter 15 Pe��on for Recogni�on of Foreign Proceeding.
                                           Filed by NextPoint Financial Inc., LT Intermediate Holdco LLC.

     23-10989           1      7/26/2023   Chapter 15 Pe��on for Recogni�on of Foreign Proceeding.
                                           Filed by NextPoint Financial Inc., LoanMe, LLC.

     23-10990           1      7/26/2023   Chapter 15 Pe��on for Recogni�on of Foreign Proceeding.
                                           Filed by NextPoint Financial Inc., SiempreTax+ LLC.

     23-10991           1      7/26/2023   Chapter 15 Pe��on for Recogni�on of Foreign Proceeding.
                                           Filed by NextPoint Financial Inc., JTH Tax LLC.

     23-10992           1      7/26/2023   Chapter 15 Pe��on for Recogni�on of Foreign Proceeding.
                                           Filed by NextPoint Financial Inc., LoanMe Funding, LLC.
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23-10993     1    7/26/2023   Chapter 15 Pe��on for Recogni�on of Foreign Proceeding.
                              Filed by NextPoint Financial Inc., Liberty Tax Holding
                              Corpora�on.

23-10994     1    7/26/2023   Chapter 15 Pe��on for Recogni�on of Foreign Proceeding.
                              Filed by NextPoint Financial Inc., LM Reten�on Holdings, LLC.

23-10995     1    7/26/2023   Chapter 15 Pe��on for Recogni�on of Foreign Proceeding.
                              Filed by NextPoint Financial Inc., LoanMe Trust Prime 2018-1.

23-10996     1    7/26/2023   Chapter 15 Pe��on for Recogni�on of Foreign Proceeding.
                              Filed by NextPoint Financial Inc., LoanMe Trust SBL 2019-1.

23-10997     1    7/26/2023   Chapter 15 Pe��on for Recogni�on of Foreign Proceeding.
                              Filed by NextPoint Financial Inc., LoanMe Stores, LLC.

23-10998     1    7/26/2023   Chapter 15 Pe��on for Recogni�on of Foreign Proceeding.
                              Filed by NextPoint Financial Inc., InsightsLogic, LLC.

23-10999     1    7/26/2023   Chapter 15 Pe��on for Recogni�on of Foreign Proceeding.
                              Filed by NextPoint Financial Inc., LM 2020 CM I SPE, LLC.

23-10100     1    7/26/2023   Chapter 15 Pe��on for Recogni�on of Foreign Proceeding.
                              Filed by NextPoint Financial Inc., Liberty Tax Service Inc..

23-10101     1    7/26/2023   Chapter 15 Pe��on for Recogni�on of Foreign Proceeding.
                              Filed by NextPoint Financial Inc., JTH Financial, LLC.

23-10102     1    7/26/2023   Chapter 15 Pe��on for Recogni�on of Foreign Proceeding.
                              Filed by NextPoint Financial Inc., JTH Proper�es 1632, LLC.

23-10103     1    7/26/2023   Chapter 15 Pe��on for Recogni�on of Foreign Proceeding.
                              Filed by NextPoint Financial Inc., Liberty Credit Repair, LLC.

23-10104     1    7/26/2023   Chapter 15 Pe��on for Recogni�on of Foreign Proceeding.
                              Filed by NextPoint Financial Inc., Weﬁle, LLC.

23-10105     1    7/26/2023   Chapter 15 Pe��on for Recogni�on of Foreign Proceeding.
                              Filed by NextPoint Financial Inc., JTH Tax Oﬃce Proper�es,
                              LLC.

23-10106     1    7/26/2023   Chapter 15 Pe��on for Recogni�on of Foreign Proceeding.
                              Filed by NextPoint Financial Inc., LTS So�ware, LLC.
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     23-10107           1      7/26/2023   Chapter 15 Pe��on for Recogni�on of Foreign Proceeding.
                                           Filed by NextPoint Financial Inc., JTH Court Plaza, LLC.

     23-10108           1      7/26/2023   Chapter 15 Pe��on for Recogni�on of Foreign Proceeding.
                                           Filed by NextPoint Financial Inc., 360 Accoun�ng Solu�ons,
                                           LLC.

     23-10109           1      7/26/2023   Chapter 15 Pe��on for Recogni�on of Foreign Proceeding.
                                           Filed by NextPoint Financial Inc., LTS Proper�es, LLC.

     23-10110           1      7/26/2023   Chapter 15 Pe��on for Recogni�on of Foreign Proceeding.
                                           Filed by NextPoint Financial Inc., CTAX Acquisi�on LLC.

     23-10111           1      7/26/2023   Chapter 15 Pe��on for Recogni�on of Foreign Proceeding.
                                           Filed by NextPoint Financial Inc., Community Tax Puerto Rico
                                           LLC.

     23-10112           1      7/26/2023   Chapter 15 Pe��on for Recogni�on of Foreign Proceeding.
                                           Filed by NextPoint Financial Inc., Community Tax LLC.


A copy of the cer�ﬁed Ini�al Order, as entered by the Canadian Court, is available to be viewed and

downloaded free of charge as Exhibit 1 to Docket Number 20 on the Debtors' case website

(https://cases.stretto.com/NextPoint/) or obtained upon written request (including by e-mail) to

counsel to the Foreign Representative, DLA Piper (US) LLP, 1201 N. Market Street, Suite 2100

Wilmington, Delaware 19801 (Attn: R. Craig Martin, Esq. [craig.martin@us.dlapiper.com]), and 1251

Avenue of the Americas, New York, New York 10020 (Attn: Rachel Ehrlich Albanese, Esq.

[rachel.albanese@us.dlapiper.com] and Jamila Justine Willis, Esq. [jamila.willis@us.dlapiper.com]).
